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1
                                 UNITED STATES DISTRICT COURT
2
                                    DISTRICT OF CALIFORNIA
3
                                    SAN FRANCISCO DIVISION
4

5    Federal Trade Commission,                 No. 3:22-cv-1973-CRB
6                   Plaintiff,
7            v.
8    Intuit Inc.,
9
                    Defendant.
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                             DECLARATION OF JOHN R. HAUSER, SC.D.
15
                                         APRIL 4, 2022
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1    I, John Hauser, hereby declare as follows: I have personal knowledge of the facts set forth in this

2    Declaration, and the opinions expressed represent my professional opinion. If called to testify, I could

3    testify competently to the facts and opinions discussed in this Declaration.

4      I.   INTRODUCTION

5                A. Qualifications

6           1.      I am the Kirin Professor of Marketing at the Massachusetts Institute of Technology

7    (“MIT”) Sloan School of Management. The principal areas of my research and teaching at MIT have

8    been in marketing management, new product and service development, consumer satisfaction,

9    marketing research, research methodology (including survey research, experimental design, and field

10   experiments), and competitive marketing strategy. My research includes the evaluation of consumer

11   decision-making, product and service development, customized communications designed around

12   customers’ cognitive styles, and determination of relative feature preferences and implicit product

13   valuations. I have evaluated the factors that influence consumer purchasing decisions, consumer

14   preferences, and consumer impressions in a variety of matters related to pricing, distribution, and

15   advertising.

16          2.      I have testified as an expert for both plaintiffs and defendants on matters related to my

17   research. For example, I have testified about marketing research, sales forecasting, product confusion,

18   and other topics involving consumer behavior. My testimony history includes, but is not limited to,

19   matters on behalf of SiriusXM, Dish Network, Comcast, Tivo, WE Woman’s Entertainment,

20   iHeartRadio, Louis Vuitton, Apple Inc., Microsoft, Johnson & Johnson, MasterCard, and Procter &

21   Gamble. I recently testified on behalf of the United States Department of Justice in its challenge to the

22   proposed merger between AT&T and Time Warner. In addition, I have provided strategic market-

23   research-based consulting to numerous consumer products, technology/software, and durable goods

24   manufacturers, including American Airlines, Johnson & Johnson, IBM, Procter & Gamble, Fidelity

25   Investments, Pacific Gas & Electric Company, Ford Motor Company, General Motors, and Chrysler.

26          3.      I have served as Editor-in-chief of Marketing Science and have held senior editorial

27   positions with Management Science, the Journal of Marketing Research, and the Journal of Product

28   Innovation Management. I have received numerous awards for excellence in research and teaching in

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1    marketing and was recognized by the American Marketing Association with the Paul D. Converse

2    Award for “outstanding contributions to the development of the science of marketing.” 1 In 2001, I

3    received the Parlin Award, which is a “preeminent national honor . . . [awarded for] outstanding

4    leadership and sustained impact on advancing the evolving profession of marketing research over an

5    extended period of time,” according to the American Marketing Association. 2 In 2011, I received the

6    Churchill Lifetime Achievement Award of the American Marketing Association for contributions to

7    marketing research. In 2013, I was awarded the Buck Weaver Award by the Institute for Operations

8    Research and the Management Sciences (“INFORMS”) Society of Marketing Science (“ISMS”), for

9    lifetime contributions to the theory and practice of marketing science. 3 In 2016, I received a Doctor
10   Honoris Causa, Erasmus School of Economics, Erasmus University. I am a Fellow of INFORMS and
11   an Inaugural Fellow of the ISMS. I have also served as President of the ISMS, and earlier, as Secretary,
12   as well as a Trustee of the Marketing Science Institute.
13          4.      I am the co-author of two textbooks, Design and Marketing of New Products and
14   Essentials of New Product Management, as well as more than 100 articles and papers, including
15   articles on various methods used to determine the importance of product features in consumer
16   decision-making and methods to forecast consumer response under various scenarios. I have
17   developed market research techniques that enable marketing researchers, experts, and business
18   managers to predict the value of individual features in both existing and hypothetical products and to
19   forecast consumer response. These methods have been employed numerous times by academic
20   researchers, as well as major international corporations. Many of these papers have been recognized
21   with national and international awards. 4
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       “The Paul D. Converse Awards,” American Marketing Association, available at
24   https://www.ama.org/listings/2019/10/28/converse-award/; Lampe, D., “Two from Sloan win marketing
     awards,” MIT News, April 3, 1996, available at https://news.mit.edu/1996/converse-0403.
25   2
       “Charles Coolidge Parlin Marketing Research Award,” American Marketing Association, available at
     https://www.ama.org/AboutAMA/FoundationAwards/Pages/Parlin-Award.aspx.
26   3
       “Buck Weaver Award,” INFORMS, available at https://www.informs.org/Recognizing-
27   Excellence/Community-Prizes/Marketing-Science-Society/Buck-Weaver-Award/Buck-Weaver-Award-
     Application-Process.
28   4
       Toubia, O., Hauser, J.R. and Simester, D.I., 2004. “Polyhedral Methods for Adaptive Choice-Based

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1           5.      My curriculum vitae and testimony as an expert witness at deposition or trial within the

2    last four years are listed in Appendix A.

3                B. Assignment

4           6.      I have been retained by WilmerHale, Counsel for Intuit, to evaluate Plaintiff’s

5    allegations regarding the potential for consumer deception in connection with Intuit’s advertising,

6    website communications, and disclosures for its tax preparation products as it relates to Plaintiff’s

7    request for a temporary restraining order and preliminary injunction. In particular, I have been asked

8    to review and offer my opinion regarding the consumer survey conducted by Professor Nathan

9    Novemsky (“Novemsky Survey”) in support of the Federal Trade Commission’s (“FTC”) complaint.5

10   I also have been asked to evaluate consumer preferences for various tax preparation solutions, the

11   behaviors consumers exhibit in the buying process, and the factors that contribute to their tax filing

12   solution selection. To address this assignment, I designed, implemented, and analyzed a market

13   research survey (“Purchase Driver Survey”) and reviewed related materials, which I describe in more

14   detail later in my Declaration.

15          7.      In undertaking this assignment, I utilized my experience in developing, testing, and

16   analyzing surveys, as well as my experience in interpreting qualitative and quantitative research

17   pertaining to consumer attitudes, intentions, and behavior. Appendix B includes a complete list of

18   materials I have relied upon to date in connection with this particular assignment, including the

19   Novemsky Declaration, a white paper report by Ms. Rebecca Kirk Fair that was previously submitted

20   to the FTC in connection with its initial investigation and includes a survey that she conducted

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     Conjoint Analysis.” Journal of Marketing Research, 41(1), 116-131; Yee, M., Dahan, E., Hauser, J.R. and
24   Orlin, J., 2007. “Greedoid-Based Noncompensatory Inference.” Marketing Science, 26(4), 532-549; Toubia,
25   O., Simester, D.I., Hauser, J.R. and Dahan, E., 2003. “Fast Polyhedral Adaptive Conjoint Estimation.”
     Marketing Science, 22(3), 273-303; Dahan, E. and Hauser, J.R., 2002. “The Virtual Customer.” Journal of
26   Product Innovation Management, 19(5), 332-353; Toubia, O., Hauser, J.R. and Garcia, R., 2007.
     “Probabilistic Polyhedral Methods for Adaptive Choice-Based Conjoint Analysis: Theory and Application.”
27   Marketing Science, 26(5), 596-610.
     5
       Declaration of Nathan Novemsky, March 28, 2022, Federal Trade Commission v. Intuit Inc., No. 3:22-cv-
28   1973, United States District Court Northern District of California San Francisco Division (“Novemsky
     Declaration”), GX-302.
                                                   4
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1    pertaining to these issues, 6 internal Intuit documents, academic literature, and publicly available

2    materials. As a scientist, I will supplement or update my analysis in the event that new information

3    relevant to my opinions is produced by the parties.

4              8.       Part of the work for this investigation was performed under my direction by others at

5    Analysis Group, Inc., an economic and litigation consulting firm headquartered in Boston,

6    Massachusetts. My rate of compensation is $1,100 per hour. In addition, I receive compensation based

7    on the professional fees of Analysis Group for work in support of my opinions contained herein. No

8    compensation is contingent on the nature of my findings or on the outcome of this litigation.

9              9.       I understand that discovery is ongoing. Should additional relevant documents or
10   information be made available to me, I may adjust or supplement my opinions as appropriate. 7
11       II.   CASE BACKGROUND

12                   A. Parties Involved

13             10.      Plaintiff in this matter is the Federal Trade Commission (“FTC”). 8 I understand
14   Plaintiff has filed its complaint in request of a temporary restraining order and a preliminary injunction
15   to stop Intuit from “engaging in deceptive acts or practices in connection with the advertising,
16   marketing, promotion, distribution, and sale of online tax preparation products and services, including
17   TurboTax.” 9
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       Kirk Fair, R., “Analysis of Consumer Choices in a Test and Control Study of TurboTax Upgrade Screens,”
     Submitted to the FTC on November 4, 2020 (“2020 Kirk Fair Report”). See, Section V.D. for a brief
24   summary of the 2020 Kirk Fair Disclosure Survey.
     7
       For example, screenshots and data from the Novemsky Survey have not yet been produced. If and when
25   these materials become available, as is common practice with surveys conducted for litigation, I may conduct
     additional analyses and supplement or adjust my findings in response.
26   8
       “Complaint for a Temporary Restraining Order and Preliminary Injunctive Relief Pursuant to Section 13(b)
27   of the Federal Trade Commission Act, 15 U.S.C. § 53(b),” March 28, 2022, Federal Trade Commission v.
     Intuit Inc., No. 3:22-cv-1973, United States District Court Northern District of California San Francisco
28   Division (“Complaint”), ¶ 11.
     9
       Complaint, p. 1.
                                                     5
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1            11.      Defendant in this matter is Intuit Inc., a tax preparation and financial services software

2    company based in Mountain View, California. 10 At issue in this matter are Intuit’s TurboTax online

3    products and services. 11

4                  B. Relevant Allegations

5            12.      I understand that Plaintiff has alleged that Intuit engaged in “deceptive business

6    practices in the advertising, marketing, distribution, and sale of TurboTax” 12 by disseminating “ads,

7    including via television, YouTube, and other social media, marketing the ‘freemium’ version of

8    TurboTax,” 13 with the claim that consumers can file their taxes for free using TurboTax when this is

9    not true for all customers. 14 For example, Plaintiff alleges that Intuit deceived customers by running

10   TV advertisements in which the primary word spoken is “free” and that only inform consumers of

11   limitations to who can file for free via fine print disclaimers at the end of the advertisements. 15

12           13.      Plaintiff additionally claims that the TurboTax website home page similarly fails to

13   properly disclose the limitations on who can file for free. 16 Plaintiff goes on to claim that once

14   consumers are lured in to start using TurboTax to file their taxes via the “door opener” advertisements

15   and the website home page, they would face “hard stop” screens that confront consumers to upgrade

16   to a paid version only after they “expended substantial time inputting sensitive personal and financial

17   information into Intuit’s user interface.” 17 Plaintiff further alleges that this process forces consumers

18   who expected to file for free when starting the process to upgrade, causing them to suffer injury. 18

19           14.      Plaintiff’s complaint also discusses a variety of Intuit’s acts and practices relating to

20   the IRS Free File Program and Intuit’s former participation in this program. I have not been asked to

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23   10
        Complaint, ¶ 13.
24   11
        Complaint, ¶ 1.
     12
        Complaint, ¶ 5.
25   13
        Complaint, ¶ 30.
26   14
        Complaint, p. 1.
     15
        Complaint, ¶¶ 30-36.
27   16
        Complaint, ¶¶ 45-51.
28   17
        Complaint, ¶¶ 64-65.
     18
        Complaint, ¶ 52.
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1    opine on the allegations relating to the IRS Free File Program, which I understand are not part of the

2    single cause of action in the Plaintiff’s complaint.

3    III.   SUMMARY OF OPINIONS

4    The Novemsky Survey Does Not Provide Evidence that Intuit’s TurboTax Free Edition

5    Advertisements Were Deceptive

6           15.     The Novemsky Survey is fundamentally flawed and unreliable. It does not reliably
7    assess whether Intuit’s advertisements, website communications, or disclosures caused consumers to
8    have a misimpression that they would qualify to file for free with Free Edition. The Novemsky Survey
9    has several serious flaws, each of which individually would render the survey unsuitable for its stated
10   purpose and all of which taken together render the survey completely unreliable.
11          16.     First, the Novemsky Survey does not appear to study or even provide respondents with
12   any of the at-issue representations. Therefore, the Novemsky Survey cannot be used to assess anything
13   about Intuit’s marketing, advertisements, website communications, or disclosures.
14          17.     Second, the Novemsky Survey does not employ an experimental design, such as a
15   randomized test-and-control study, that would allow one to draw causal conclusions. Even if one
16   ignores the biased question design, the Novemsky Survey at best simply measures respondents’ pre-
17   existing impressions and aspirations regarding their eligibility to file for free with TurboTax, not the
18   effect of the at-issue communications from Intuit.
19          18.     Third, even if the Novemsky Survey’s design was suited to assessing the question at
20   issue, its results are biased and unreliable. The Novemsky Survey sample is not representative of its
21   target population. The Novemsky Survey includes only taxpayers who had not yet filed their taxes by
22   mid-March, it allows respondents who have minimal involvement in the tax preparation decisions of
23   their household to qualify, and it allows respondents to opt-out after they have learned the purpose of
24   the survey.
25          19.     Fourth, the survey instrument fails to follow necessary practices to ensure reliability,
26   and its key questions are frequently leading and encourage guessing. The Novemsky Survey repeatedly
27   includes one-sided questions and yes/no questions, both of which are known to bias results by non-
28   trivial amounts. In addition, the key questions encourage respondents to guess because the survey

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1    provides inadequate information. The key questions further encourage guessing because they allow

2    respondents to answer that they “think” a certain statement is correct. Evidence of respondents

3    guessing due to the biased nature of these questions can be observed directly in the results. For

4    example, respondents who have been screened into the survey by asserting they do not have recent

5    TurboTax experience nonetheless suggest that they know whether or not they would qualify to file for

6    free after being given implicit permission to guess. A large percentage of respondents who qualified

7    for the survey by reporting tax situations that would not qualify for Free Edition 19 and who have

8    previously paid for TurboTax, and thus likely know that they have not qualified in the past to file for

9    free, report that they would be able to file for free. It is highly unlikely that the tax status of all of these
10   respondents changed from previous filings. Both of these results are more likely due to the biased
11   nature of the questions rather than due to the true state of respondents’ understanding and information.
12   Properly Designed Surveys Demonstrate That Consumers Actively Engage in Finding and Selecting
13   a Tax Preparation Provider and Are Not Deceived

14           20.     In contrast to the Novemsky Survey and its biased results, the research I conducted
15   using scientific methods demonstrates that consumers conduct extensive research before filing their
16   taxes, consider an array of factors beyond direct out-of-pocket costs for utilizing a specific service,
17   and prioritize ease of use and the balance between out-of-pocket price and quality-indicating factors
18   (e.g., maximizing returns). My Purchase Driver Survey, as well as the 2020 Kirk Fair Disclosure
19   Survey and other publicly available research, demonstrate that consumers do not rely on
20   advertisements and the Intuit website alone to make their purchase decision, and instead evaluate tax
21   filing options based on the factors they consider important. These results further suggest that opinions
22   in the Novemsky Declaration regarding consumer perception are inaccurate and that Intuit’s
23   advertisements, web communications, and disclosures would not mislead consumers. My survey
24   follows accepted guidelines for survey research; it is a study that I would conduct and rely upon in my
25   academic work and my work for business clients.
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       To the extent respondents’ answers to the screeners were accurate, I understand that they would likely not
28   qualify for Free Edition, though they still may have been able to file their taxes for free using TurboTax if, for
     example, they were members of the military.
                                                        8
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1            21.    Additionally, while free tax filing may be enticing to a subset of consumers, evidence

2    shows that consumers consider many factors when filing their taxes, including a trade-off of quality-

3    indicating factors and price, and do not strictly prefer the cheapest or free option, as would be implied

4    by Plaintiff’s allegations. While price was a key factor, respondents in my Purchase Driver Survey

5    frequently indicated that other factors such as ease of use were just as, if not more, important than

6    price, and respondents also distinguished between seeking a free product, e.g., “free” 20 or “no cost,”21

7    and seeking a well-priced or affordable product, e.g., “affordability” 22 or “reasonably priced.” 23

8            22.    Lastly, I observed no evidence that respondents felt “locked in” to a provider, either

9    year over year or within a given year. My survey shows that consumers feel comfortable switching
10   providers between tax years and some respondents even report that they filled out multiple online tax
11   websites prior to filing (including to compare prices 24 and to compare refunds), 25 meaning the
12   respondents changed providers during or after filling in their information. Because consumers are

13   freely able and willing to switch providers, TurboTax must satisfy consumers to retain them. In the

14   presence of competitive options, both on and off-line, and consumers’ demonstrated willingness to

15   consider and switch to alternative providers, consumers’ use of TurboTax reflects customer

16   satisfaction, not lock-in or deception. TurboTax’s positive brand image, high retention rate, and high

17   satisfaction ratings are consistent with the responses in my survey where individuals who did not

18   change providers in the past tax year (including respondents who are TurboTax customers) reported

19   being satisfied rather locked in, again refuting the claim that consumers are deceived.

20           23.    The 2020 Kirk Fair Disclosure Survey provides further support that consumers conduct

21   research to determine the appropriate tax filing solution and that most consumers don’t feel locked-in

22   to upgrading with a paid TurboTax product even if they were prompted to do so after starting in the

23   Free Edition. Specifically, in the context of a scientific randomized control test (RCT), that is a test

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25   20
        Respondent ID 883.
26   21
        Respondent ID 47.
     22
        Respondent ID 1698.
27   23
        Respondent ID 767.
28   24
        Respondent ID 1138.
     25
        Respondent ID 1722.
                                                    9
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1    versus control experiment with respondents randomized to conditions, Ms. Kirk Fair’s Disclosure

2    Survey demonstrates a consistent interest in and selection of paid TurboTax products regardless of

3    consumer awareness of alternative free filing options. The open-ended responses in the 2020 Kirk Fair

4    Disclosure Survey confirm that consumers can and do research alternative tax filing options, even in

5    the face of such upgrade screens, to find the best solution.

6    IV.       THE NOVEMSKY SURVEY DOES NOT PROVIDE EVIDENCE THAT INTUIT’S

7              TURBOTAX FREE EDITION ADVERTISMENTS WERE DECEPTIVE

8              24.      The Novemsky Declaration purports to “evaluate claims made by Intuit when it
9    advertises and markets its TurboTax online tax preparation services as ‘free.’” 26 Professor Novemsky
10   designed and implemented the Novemsky Survey in an effort to evaluate these claims. Yet, the
11   Novemsky Survey cannot be used to address these allegations. The results do not demonstrate that the
12   at-issue Intuit advertisements, website communications, or disclosures deceived consumers, nor do
13   they suggest any harm or injury to consumers as a result of the alleged deception. The Novemsky
14   Survey fails to use scientific methods that are necessary to evaluate whether the at-issue messaging in
15   Intuit’s advertisements, website communications, or disclosures caused consumers’ understanding or
16   perceptions. The Novemsky Survey does not use a control group, nor does it appear that respondents
17   were exposed to the at-issue communications. The Novemsky Survey sample is biased and is not
18   representative of the target population identified in the Novemsky Declaration. The Novemsky Survey
19   asks leading questions that encourage guessing and therefore produce unreliable data. The failure to
20   follow scientific principles and necessary best practices to avoid demand artifacts and biases is clearly
21   reflected in the Novemsky Survey results. Thus, the Novemsky Survey is fundamentally flawed and
22   cannot be relied on as evidence that Intuit’s advertisements, website communications, or disclosures
23   represent an ongoing harm to consumers.
24                   A. Overview of the Novemsky Survey
25             25.      Between March 11, 2022 and March 24, 2022, Professor Novemsky conducted a survey
26   (“Novemsky Survey”) to assess three topics: “the likelihood of [taxpayers who are not eligible to use
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     26
          Novemsky Declaration, ¶ 2.
                                                    10
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1    a free version of TurboTax] having the misimpression that they can file their income taxes for free

2    using TurboTax,” 27 the source of those impressions, and “these taxpayers’ understanding of the phrase

3    ‘simple U.S. returns’.” 28

4              26.   The Novemsky Declaration identified the “consumers of interest” as “potential

5    taxpayers who were considering using an online tax preparation service to file their 2021 taxes and do

6    not qualify to file for free using TurboTax Free Edition.” 29 Specifically, the Novemsky Survey’s

7    sample includes respondents who: “(i) were planning to file an income tax return in 2022 (based on

8    income earned in 2021) [but had not yet done so]; (ii) make or contribute to tax-filing decisions in

9    their household; (iii) have considered or might consider using an online tax preparation service; and
10   [(iv)] who would not have qualified for TurboTax Free Edition if they were to use TurboTax.” 30 To
11   establish that respondents would not qualify to use TurboTax Free Edition, the survey asks a series of

12   questions related to types of income received, whether respondents expect to take a standard or

13   itemized deduction, and a variety of other more complex tax situations. 31 It is notable that even as

14   Plaintiff alleges that consumers are deceived by Intuit’s marketing communications and do not

15   understand Intuit’s “simple returns” disclosures that list these very types of tax situations as “situations

16   not covered in TurboTax Free Edition,” 32 the Novemsky Survey relies on respondents to understand,

17   remember, and accurately report the same details of their financial and tax situation to screen into the

18   survey.

19             27.   For the purpose of analysis, Professor Novemsky splits the results of the Novemsky

20   Survey into two groups, titled “Group A” and “Group B.” Group A included 404 respondents who

21   self-reported that they have not filed their taxes using TurboTax in the last three years. Group B

22   included 203 respondents who self-reported that they have filed their taxes with TurboTax in the last

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25   27
        Novemsky Declaration, ¶ 2.
26   28
        Novemsky Declaration, ¶¶ 2, 16.
     29
        Novemsky Declaration, ¶ 18.
27   30
        Novemsky Declaration, ¶ 18.
28   31
        Novemsky Survey Programming Instructions, GX-305, Questions S90, S100, S110.
     32
        Novemsky Declaration, ¶ 2 and Figure 3: 2022 Simple Returns.
                                                     11
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1    three years, using only paid products. 33 The Novemsky Declaration refers to Group A as the “main

2    group of interest” because they would be “less likely to respond based on their past usage of

3    TurboTax.” 34

4            28.       The Novemsky Survey then asked respondents a series of questions including: 35

5                  •   Open-ended questions about whether there is a cost to filing for respondents personally
6                      and who can file for free;

7                  •   A closed-ended question about whether respondents can personally file for free;
8                  •   A closed-ended question about from where respondents’ impression originated;
9                  •   Follow-up questions with respondents who indicated they couldn’t file for free; and
10                 •   A series of closed-ended and open-ended questions about whether respondents believe
11                     their taxes qualify as a “simple U.S. return.”

12           29.       From the survey, the Novemsky Declaration details three opinions. First, it says that a
13   “substantial portion of taxpayers who do not qualify to use TurboTax Free Edition” held the
14   assumption that they could file their taxes using TurboTax Free Edition. 36 Second, it says that the
15   TurboTax website and advertisements are the two most common sources of information behind the
16   aforementioned understanding. 37 Finally, it offers the opinion that a “substantial portion of taxpayers
17   who are not eligible to use TurboTax Free Edition” believed that their tax returns could be categorized
18   as “simple,” which means that these respondents “have the misimpression their returns meet
19   TurboTax’s definition of a ‘simple U.S. return.’” 38
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        The programming instructions for the “TurboTax Perception Study” include a quota for 500 Group A
24
     respondents and 250 Group B respondents. The Novemsky Declaration provides no explanation for reporting
25   on 607 respondents rather than 750 respondents. I plan to evaluate Professor Novemsky’s explanation if and
     when I receive one. See, Novemsky Survey Programming Instructions, GX-305, p. 1.
26   34
        Novemsky Declaration, ¶ 19.
     35
        Novemsky Survey Programming Instructions, GX-305, Questions TAT220 – TAT310.
27   36
        Novemsky Declaration, ¶ 4.
28   37
        Novemsky Declaration, ¶ 4.
     38
        Novemsky Declaration, ¶ 4.
                                                      12
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1                  B. The Novemsky Survey Does Not Provide Causal Evidence Linking Consumer

2                    Perceptions to Intuit’s Advertisements, Website Communications, or Disclosures

3                    1.      The Novemsky Survey Does Not Evaluate the At-Issue Advertisements or Any
4                            Representations Made by Intuit

5            30.     Professor Novemsky’s assignment is “to evaluate claims made by Intuit when it

6    advertises and markets its TurboTax online tax preparation services as ‘free.’” 39 However, based on

7    the information provided in the Novemsky Declaration, it appears that the Novemsky Survey does not

8    evaluate any claims made by Intuit. 40 Typically, in designing a survey intended to study respondents’

9    perceptions as a result of a particular claim or allegedly false advertisement, an expert should show

10   the respondents that claim and assess responses. Best practices would also include a control group for

11   which control-group respondents were shown a neutral “control” stimulus. 41 Instead, from the

12   materials so far provided, it appears that the Novemsky Survey did not expose respondents to any

13   allegedly deceptive advertisement, disclosure, or claim by Intuit. If respondents were indeed not

14   shown any stimuli in the Novemsky Survey, then it simply measures pre-existing beliefs that could be

15   derived from anywhere — including from the design of the survey.

16           31.     The Novemsky Declaration notes that “[o]ver the course of my engagement as an

17   expert for the FTC, I received and reviewed a variety of materials,” including six video advertisements,

18   three “screenshots provided to me by counsel,” and that “[i]n addition, I explored turbotax.intuit.com,”

19   but it does not indicate that any of this information was shown to respondents. 42 All available evidence

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     39
        Novemsky Declaration, ¶ 2.
     40
        The Novemsky Declaration does not contain screenshots of the Novemsky Survey as it appeared to
23   respondents, nor were any data produced. Thus, I must infer which stimuli, if any, were presented to
     consumers. The Novemsky Declaration implies that no stimuli were given, but the Novemsky Declaration
24   does not provide sufficient information to confirm that implication. Should additional relevant information be
     made available to me, I will supplement my analysis if necessary to reflect the material. I note that such
25   material would normally be provided in both litigation and academic studies.
26
     41
        “It is possible to adjust many survey designs so that causal inferences about the effect of … an allegedly
     deceptive commercial become clear and unambiguous. By adding one or more appropriate control groups, the
27   survey expert can test directly the influence of the stimulus.” Diamond, S.S., 2011. “Reference Guide on
     Survey Research.” In Reference Manual on Scientific Evidence, 359-423. The National Academies Press, p.
28   398.
     42
        Novemsky Declaration, ¶¶ 12-14.
                                                      13
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1    in the Novemsky Declaration materials point to this omission: the Novemsky Declaration does not

2    describe showing any stimuli to respondents, there were no screenshots of any stimuli shown to

3    respondents produced, the Novemsky Survey script does not include any reference to presenting

4    respondents with stimuli, and the questions in the survey itself do not reference respondents having

5    reviewed any stimuli. For example, question TAT290 begins “In some of its advertisements, TurboTax

6    mentions ‘simple U.S. returns’.” 43 If respondents had been shown a TurboTax advertisement, I would

7    expect the survey to refer to that stimulus rather than to broadly refer to “some” advertisements

8    respondents may or may not have seen.

9            32.     If, as it appears from my review of the Novemsky Declaration and associated survey
10   script, the Novemsky Survey did not show respondents any stimuli, this is a fundamental flaw in its
11   design. Without showing respondents any at-issue messaging, the Novemsky Survey does not and
12   cannot tie respondents’ perception or understanding to any of Intuit’s at-issue advertisements, website
13   communications, or disclosures. By failing to test any stimuli, the Novemsky Declaration cannot
14   ascribe the results of the Novemsky Survey to any alleged misrepresentations made by Intuit versus
15   any other source of information that respondents may have encountered. Instead, and ignoring all of
16   its other flaws, the Novemsky Survey at best simply measures general impressions and unsupported
17   guesses that cannot be connected in any meaningful way to Intuit’s advertisements, website
18   communications, or disclosures. Additionally, by not providing respondents with any relevant
19   information (or providing them with inaccurate information) through the survey process, respondents
20   are prone to guessing or answering questions based on other unknown information, beliefs, or
21   aspirations. 44 The Novemsky Survey’s attempt to solicit such general beliefs about eligibility are
22   contrary to well-established survey design principles.

23

24   43
        Novemsky Survey Programming Instructions, GX-305, Question TAT290. Of course, Intuit does more than
25   “mention” that phrase; it affirmatively states that its Free Edition product is for “simple U.S. returns only.”
     This is yet another way the Novemsky Survey is biased towards the FTC’s position.
26   44
        “Some survey respondents may have no opinion on an issue under investigation, either because they have
     never thought about it before or because the question mistakenly assumes a familiarity with the issue. For
27   example, survey respondents may not have noticed that the commercial they are being questioned about
     guaranteed the quality of the product being advertised and thus they may have no opinion on the kind of
28   guarantee it indicated.” Diamond, S. S., 2011. “Reference Guide on Survey Research.” In Reference Manual
     on Scientific Evidence, 359-423. National Academies Press, p. 389.
                                                      14
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1              33.   Without tying its findings to any alleged misrepresentation through accepted survey

2    design decisions, and setting aside the numerous other flaws, the Novemsky Survey is at best

3    measuring respondents’ general beliefs about their eligibility to file their taxes for free using TurboTax,

4    which could be the result of many different sources, including sources that are entirely unrelated to

5    Intuit.

6                    2.       The Novemsky Survey Does Not Control for Any Outside Factors or Noise, and

7                             Hence, Cannot Infer Causality

8              34.   To bear on the question of whether consumers were misled by the advertisements at

9    issue in this case, a survey should test causality by ruling out alternative explanations and noise. The

10   Novemsky Declaration implies that it tested causal relationships, but it has not. One of the key

11   questions that the Novemsky Survey purports to address is “whether, and to what extent, consumers

12   point to TurboTax advertisements and the TurboTax website (or both) as playing a role in these

13   taxpayers forming the misimpression that they can file their income taxes for free using TurboTax.” 45

14   With surveys such as the Novemsky Survey, a control group is necessary to isolate the potential impact

15   of certain claims from other sources of impression. 46,47 Disentangling the impressions created by at-

16   issue messaging from respondents’ preexisting beliefs is so crucial that survey researchers have tried

17   to adopt numerous strategies to distinguish between the two. 48 For example, if respondents have seen

18

19   45
        Novemsky Declaration, ¶ 20 (emphasis added).
20
     46
        “[C]ontrols play a central role in enabling a survey to rule out threats to valid causal inference. A control
     group design that includes an appropriate control is the best way to ensure that noise from preexisting beliefs,
21   yea-saying, and guessing (both random and biased) cannot explain away or undermine evidence of confusion
     or deception reflected in the responses of survey participants. [...] Designing an appropriate control is thus an
22   analytic rather than a mechanical task, one that is crucial in a valid trademark or deceptive advertising
     survey.” Diamond, S. S., 2012. “Control Foundations: Rationales and Approaches.” In Trademark and
23   Deceptive Advertising Surveys: Law, Science, and Design, 201-239. American Bar Association, p. 216;
     “Hence experiments are well-suited to studying causal relationships. No other scientific method regularly
24   matches the characteristics of causal relationships so well.” Shadish, W.R., Cook, T.D. and Campbell, D.T.,
     2002. “Experimental and Quasi-Experimental Designs for Generalized Causal Inference.” Wadsworth
25   Cengage Learning, p. 7.
26
     47
        By comparison, Ms. Kirk Fair’s November 2020 white paper report to the FTC included discussion of her
     survey that employed a test and control experimental design (“2020 Kirk Fair Disclosure Survey”).
27   48
        “Some surveys attempt to reduce the impact of preexisting impressions on respondents’ answers by
     instructing respondents to focus solely on the stimulus as a basis for their answers. Thus, the survey includes a
28   preface (e.g., ‘based on the commercial you just saw’) or directs the respondent’s attention to the mark at

                                                       15
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1    advertisements from a variety of tax preparation providers, including from entities other than Intuit,

2    they might infer that free filing is available from all providers. The test-and-control methodology

3    requires a comparison of respondents’ perceptions between those who were exposed to the alleged

4    misrepresentation and those who were exposed to a neutral or corrective disclosure.

5            35.      An appropriate test-and-control experimental study design, also known as a

6    randomized control trial in medical testing, involves presenting respondents in the test group with a

7    stimulus that contains the causal aspect that is being studied (in this case, the “free” claims that Plaintiff

8    alleges are deceptive). Typically, a control group answers the same questions as the test group, but the

9    control group would be shown a neutral stimulus. In this manner, the control group serves as a proxy
10   for the but-for world, where consumers are not exposed to the allegedly deceptive claims and/or are
11   provided with more information.
12           36.      To establish causality, it is important that respondents be assigned randomly between
13   the test and control groups. Random assignment ensures that respondents do not differ between groups
14   on the characteristic that is being measured or on characteristics that affect the topics being examined.
15   For example, because education is correlated with income, it would not be appropriate to compare
16   highly educated consumers in one group to less educated consumers in a second group and then infer
17   (falsely) that a test stimulus affects income. Likewise, it would not be appropriate to test a stimulus by
18   assigning consumers based on whether or not they had seen the stimulus in the past. For example, the
19   Novemsky Survey’s Group B would not be an appropriate control for Group A. Not only are
20   respondents not assigned randomly, but Group B respondents, who self-reported having experience
21   using a TurboTax paid product, are likely to be more familiar with TurboTax. The respondents in Group
22   B are systematically different than the respondents in Group A on characteristics other than whether

23   or not the respondents were exposed to at-issue advertising or website statements and can be expected

24   to differ in their responses to the survey questions simply because they have or have not used

25

26
     issue (e.g., ‘these stripes on the package’). Such efforts are likely to be only partially successful. It is often
27   difficult for respondents to identify accurately the source of their impressions.” Diamond, S. S., 2011.
     “Reference Guide on Survey Research.” In Reference Manual on Scientific Evidence, 359-423. National
28   Academies Press, pp. 397–398, citing Nisbett, R.E. and Wilson, T.D., 1977. “Telling More Than We Can
     Know: Verbal Reports on Mental Processes.” Psychological Review, 84(3), 231–259.
                                                         16
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1    TurboTax. When respondents are allowed to self-select themselves into the test or control group based

2    on characteristics that affect what is being measured, the resulting bias is known as a self-selection

3    bias. 49

4               37.   If respondents are assigned randomly to the test group (shown the at-issue stimuli) or

5    to the control group (shown comparable stimuli adjusted for the at-issue content), then the survey

6    expert can examine the differences in responses between the test group and the control group.50

7    However, accurate estimates of the impact of the causal aspect can only be obtained if the stimuli and

8    the questions in the test and control groups are otherwise reliable, do not introduce biases that inflate

9    the differences between the groups, do not add excessive noise, and are accurate, realistic, and
10   externally valid. Thus, even if the Novemsky Survey had shown the respondents stimuli, the analysis
11   of the survey data would not have been able to identify any causal effect of Intuit’s advertising or
12   Intuit’s website without a randomly assigned control group. The threats to inference are compounded
13   if the Novemsky Survey did not show any stimuli. Thus, even if the Novemsky Survey had shown
14   respondents stimuli and used a test-versus-control design, the unrepresentative sample and biased
15   questions render it unreliable.
16              38.   In other contexts, Professor Novemsky is an advocate of test and control experimental

17   design. He has published several academic articles in which he described conducting experiments that

18   randomly assigned participants into one of two or multiple experimental groups. 51 Professor

19

20

21   49
        “Self-selection bias is the problem that very often results when survey respondents are allowed to decide
     entirely for themselves whether or not they want to participate in a survey,” See, Lavrakas, P., 2008. “Self-
22   Selection Bias.” Sage Research Methods.
     50
        “In the simplest version of such a survey experiment, respondents are assigned randomly to one of two
23   conditions. For example, respondents assigned to the experimental condition view an allegedly deceptive
     commercial, and respondents assigned to the control condition either view a commercial that does not contain
24   the allegedly deceptive material or do not view any commercial.” Diamond, S.S., 2011. “Reference Guide on
25   Survey Research.” In Reference Manual on Scientific Evidence, 359-423. National Academies Press, p. 398.
     51
        See, e.g., Frederick, S. et al, 2009. “Opportunity Cost Neglect.” Journal of Consumer Research, 36(4), 553-
26   561; Novemsky, N. et al, 2007. “Preference Fluency in Choice.” Journal of Marketing Research, 44(3), 347-
     356; Baskin, E. et al., 2016. “Proximity of Snacks to Beverages Increases Food Consumption in the
27   Workplace: A Field Study.” Appetite, 103, 244-248; Wang, J. et al, 2010. “Trade-offs and Depletion in
     Choice.” Journal of Marketing Research, 47(5), 910-919; Pocheptsova, A. and Novemsky, N., 2010. “When
28   Do Incidental Mood Effects Last? Lay Beliefs versus Actual Effects.” Journal of Consumer Research, 36(6),
     992-1001.
                                                      17
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1    Novemsky is familiar with the fact that test and control experimental methods are necessary for causal

2    inferences, but he decided not to adopt that approach in the Novemsky Survey. He does so without

3    providing any explanation for this decision.

4              39.       Because the Novemsky Survey does not employ a test and control design, it cannot net

5    out potential noise and cannot distinguish respondents’ pre-existing impressions from those

6    attributable to the alleged misrepresentations. For example, it is not clear if respondents’ impressions

7    would be different absent the alleged misrepresentations or if respondents generally believe they can

8    file for free regardless of the tax filing provider. Without a control group, it is impossible to tie the

9    results to the at-issue Intuit advertisements and communications that Plaintiff is seeking to restrict.
10                       3.     The Novemsky Survey’s Source Question Cannot Be Used to Reliably Establish
11                              the Source of Respondents’ Impressions

12             40.       Rather than testing for causal relationships between respondents’ impressions and the
13   allegedly deceptive statements and disclosures, the Novemsky Survey includes a set of questions
14   (TAT255 and TAT265) asking respondents directly: “You have stated that you [think/don’t think] you
15   can file your 2021 income taxes for free using TurboTax online software. Which of the following
16   sources played a role in you forming that impression?” 52 The response options include:
17                   •   “TurboTax advertisements,”
18                   •   “TurboTax website,”
19                   •   “Word of mouth (such as information from family, friends, etc.),”
20                   •   “Advice from a financial professional (such as an accountant or a tax preparer),”
21                   •   “Information online not from TurboTax (such as articles on websites, blog posts, etc.),”
22                   •   “Other,”
23                   •   “Don’t know / Not sure.”
24             41.       Questions TAT255 and TAT265 are simply a memory test and do not establish causality.
25   Because there is no control whatsoever, the Novemsky Declaration cannot rule out that the results of
26   the Novemsky Survey are driven by the myriad flaws in this question that render it unusable to
27

28
     52
          Novemsky Survey Programming Instructions, GX-305, Questions TAT255 and TAT265.
                                                       18
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1    establish the origin of respondents’ perceptions. The Novemsky Declaration also cannot rule out any

2    other sources of information (other than the at-issue communications) that led to consumer beliefs for

3    at least six reasons.

4            42.     First, these questions are subject to a demand artifact. Demand artifacts include any

5    parts of the survey which cause subjects to form an interpretation of the purpose of the study and

6    change their behavior to align with what they believe is desired by the experimenter. 53 The questions

7    are abrupt and do not encourage the respondent to reflect on potential sources of information, instead

8    simply highlighting that their belief must come from someplace and implying that the respondent

9    should provide an answer. Because advertisements or websites are common sources of information,
10   the respondent is encouraged to guess that these sources are the source of origin.
11           43.     Second, the list of options is incomplete and biased toward a finding that the source of
12   information is Plaintiff’s hypothesis. Consumers must file their taxes every year and a critical source
13   of information about tax preparation options is likely to be the consumers’ own prior experiences. The
14   Novemsky Survey’s Group A respondents self-reported that they are not recent TurboTax customers
15   and therefore are more likely to have had recent experiences and familiarity with competing tax
16   preparation providers, while Group B respondents self-reported that they have recent experience with
17   TurboTax in particular. Group A’s experience therefore likely includes other online tax preparation
18   providers with similar models that include qualification requirements for their free products. Although
19   the Novemsky Survey does provide an “other” category, such an “other” category is not sufficient if
20   missing options would have been chosen at a high rate.
21           44.     Third, consumer recall is subject to many biases. When answering recall questions,
22   respondents may use cues from their general knowledge and expectations as well as the question
23   context in addition to what they retrieve from memory. 54 Without careful pretesting, the Novemsky
24

25   53
        Schwarz, N., 1999. “Self-Reports. How the Questions Shape the Answers.” American Psychologist, 54(2),
26   93-105, abstract.
     54
        “[R]espondents may use both information retrieved from memory and cues from the situations in
27   formulating their answers.” “[M]emory for experience is intertwined with general knowledge; similarly, the
     process of remembering what actually happened is inextricably bound up with the process of inferring what
28   probably happened;” Tourangeau, R., Rips, L.J. and Rasinski, K., 2009. “The Psychology of Survey
     Response.” Cambridge University Press, pp. 17, 97.
                                                     19
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1    Survey cannot establish that respondents would be able to remember, rather than guess or construct,

2    the source of their beliefs. 55

3            45.     Fourth, recall measures are specifically unreliable when asking about the source of a

4    consumer’s beliefs, as the Novemsky Survey does here. For example:

5                    [s]ource Amnesia is the inability to recall where, when, or how one has

6                    learned knowledge that has been acquired and retained. In a 2008 NY
                     Times article, psychologists Sandra Aamodt and Sam Wang explained:
7
                     ‘False beliefs are everywhere. Dispelling false information may be
8
                     more difficult than it seems, due to the quirky way our brains store
9
                     memories…in time, a fact is separated from the context in which it
10                   was learned. For example, you probably know that the capital of
11                   California is Sacramento, but you probably don’t remember how you
12                   learned it. This phenomenon, known as source amnesia, can also lead

13                   people to forget whether a statement is true. 56

14
             46.     Fifth, the Novemsky Survey is relying on respondents remembering advertising that
15
     they may or may not have seen over the past months (or even years). In fact, Intuit is not the only
16
     provider which advertises free filing. 57 Respondents may have seen advertising from competing tax
17
     preparation providers that advertise their own free options or that compare their tax preparation
18
     offerings to TurboTax, and not necessarily the at-issue advertising or website. The Novemsky Survey
19
     does not establish or even try to establish that the at-issue advertising is so salient that the advertising
20
     would be the sole source of the respondents’ beliefs or that it would be remembered. 58
21

22   55
        Although the Novemsky Declaration refers to pretesting, it gives no details. (See, Novemsky Declaration, ¶
23   16 n.1). There is no indication or results to indicate that the Novemsky Declaration has established that
     respondents are able to remember, rather than guess or construct, the source of their beliefs.
24   56
        Wilson, A. and Smith, L., 2016. “Source Amnesia (working paper),” available at
     https://economics.harvard.edu/files/economics/files/wilson_spring_2016.pdf.
25   57
        For example, H&R Block’s current advertising of its Free Online product states, “[t]he best part about
26   doing things yourself? It’s free. Like doing your own taxes with H&R Block Free Online.” The advertisement
     then goes on to draw a direct comparison with TurboTax Free Edition by claiming that “more people can file
27   free than with TurboTax.” See, “File Online Free,” H&R Block, February 14, 2022, available at
     https://www.youtube.com/watch?v=EnzdfD0bcr4.
28   58
        “[I]t is important to note that recall aids can only be effective for material that was encoded in memory.

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1            47.      Finally, because recall of the source of a belief is often difficult, respondents may not

2    have an opinion on the question they are asked. The Novemsky Survey includes a quasi-filter on this

3    question (“Don’t know/ Not sure”). However, very few respondents (11 out of 607 or 1.8%) selected

4    this option. Given the critical nature of this question to the conclusions of the Novemsky Declaration,

5    a full filter would have been justified. A full filter would ask whether or not the respondent can recall

6    the source before asking for the source. 59

7            48.      Each of these flaws is individually problematic, but they also have the potential to

8    interact and compound the biases associated with each flaw. The Novemsky Survey asks respondents

9    a question that is particularly difficult to reliably answer due to consumers’ well-studied difficulties
10   with recall and source amnesia and then, rather than assisting respondents with the difficult task,
11   presents an incomplete list of options without sufficient filtering. In sum, the Novemsky Survey’s
12   approach of apparently attempting to connect respondents’ general impressions with Intuit’s
13   communications via this question rather than simply providing respondents with the at-issue
14   advertisements, website communications, or disclosures is inappropriate, misleading, and completely
15   unreliable. It is extremely unlikely that respondents, when faced with a non-exhaustive list that clearly
16   emphasizes TurboTax, would accurately recall the sources of their impressions about whether they
17   qualified for the TurboTax free product.
18                 C. The Novemsky Survey Sample Is Not Representative of the Target Population and
19                    Is Biased

20           49.      The Novemsky Declaration defines the Novemsky Survey’s target population as
21   “potential taxpayers who were considering using an online tax preparation service to file their 2021
22

23
     […] When information is encoded in memory, its retrieval is strongly affected by both the information’s
24   salience and the elapsed time since the information was encoded.” Krosnick, J.A. and Presser, S., 2009.
25   “Question and Questionnaire Design.” In Handbook of Survey Research. Elsevier, p. 288.
     59
        “The survey can include full-filter questions, that is, questions that lay the groundwork for the substantive
26   question by first asking the respondent if he or she has an opinion about the issue or happened to notice the
     feature that the interviewer is preparing to ask about (e.g., ‘Based on the commercial you just saw, do you
27   have an opinion about how long Clover stated or implied that its guarantee lasts?’). The interviewer then asks
     the substantive question only of those respondents who have indicated that they have an opinion on the issue.”
28   Diamond, S.S., 2011. “Reference Guide on Survey Research.” In Reference Manual on Scientific Evidence,
     359-423. National Academies Press, pp. 389-390.
                                                       21
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1    taxes and do not qualify to file for free using TurboTax Free Edition.” 60 However, the screening

2    procedure in the Novemsky Survey does not generate a sample representative of its target population.

3            50.     First, the Novemsky Survey was in the field from March 11 to March 24, 2022 and

4    only surveyed respondents who had not yet filed their taxes. 61 To the extent that later filers are different

5    from earlier filers, the under-representative sample affects the results from the survey and the overall

6    conclusions of the Novemsky Declaration. In fact, according to a 2018 study, early filers tend to be

7    younger and have lower incomes than later filers. 62 Early filers also tend to be owed higher refunds.

8    These discrepancies in demographics suggests that the Novemsky Survey’s respondents, none of

9    whom could be considered an early filer, were not representative of its target population.
10           51.     Second, the Novemsky Survey’s sample includes respondents who do not make their
11   household’s tax filing decisions. In the survey screener, respondents were asked about their level of
12   involvement in the tax-filing process in their household, and the Novemsky Survey allowed
13   respondents who selected “I contribute to the tax filing decisions, but someone else in my household
14   makes the decisions” to proceed with the survey. 63,64 The Novemsky Survey relies on these
15   respondents who are less involved in tax filing (i.e., they do not make the filing decisions) to provide

16   accurate responses on these very detailed questions about their tax situations, including about the types

17   of income they’ve received, whether they plan to take a standard or itemized deduction, and other

18   specific tax situations. Importantly, immediately before asking the involvement question, the survey

19   states: “We will now ask you some questions about the income tax return you may file this year, based

20   on your income in 2021. These questions are being asked solely for the purposes of determining

21   whether you qualify for the survey.” 65 Because the survey discloses the purpose for asking these

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23   60
        Novemsky Declaration, ¶ 18.
24
     61
        Novemsky Declaration, ¶ 18.
     62
        Farrell, D., Greig, F. and Hamoudi, A., “Filing Taxes Early, Getting Healthcare Late,” JPMorgan Chase &
25   Co., April 2018, available at https://www.jpmorganchase.com/institute/research/healthcare/insight-filing-
     taxes-early#finding-1.
26   63
        Novemsky Survey Programming Instructions, GX-305, Question S70, pp. 3-4.
27
     64
        The Novemsky Survey also included respondents who “make the tax-filing decisions jointly with others in
     my household.” The Novemsky Declaration provides no evidence that these respondents were sufficiently
28   versed in tax preparation to answer the Novemsky Survey questions accurately.
     65
        Novemsky Survey Programming Instructions, GX-305, Question S50, p. 3. Emphasis added.
                                                     22
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1    questions, it is likely that some respondents falsely claim involvement in the tax-filing process and/or

2    falsely claim to have more complicated tax situations only to qualify for the survey and receive

3    compensation.

4            52.     These screening issues are exacerbated because of a phenomenon known as

5    “professional respondents” or “inattentive respondents.” 66 Survey panelists receive incentives to

6    complete surveys. Although incentives are common and do not, by themselves, bias results, they do

7    bias results if the survey researcher does not use sufficient screening methods to eliminate professional

8    or inattentive respondents. For example, a respondent who is taking the survey only for the incentive

9    has sufficient experience to know that the respondent needs to pass screening questions and, hence,
10   the respondent would answer “yes” to all screening questions. Such respondents are not qualified to
11   take the survey, but are included nonetheless. Such respondents also have a tendency to click randomly
12   and hence add noise to survey answers. For example, many such respondents would guess the answers
13   to Question S140 and thus falsely indicate their beliefs about whether or not they could file their tax
14   returns for free using TurboTax. 67
15           53.     To screen out such respondents, researchers can use a number of methods including

16   “red herring” options such as a believable but fictious response option in Question S90 in order to

17   eliminate respondents who take the survey too rapidly, or “instructional manipulation checks (IMC)”

18   designed to “trap” professional/inattentive respondents. 68 To its credit, the Novemsky Survey uses one

19   instructional manipulation check, but there is no indication it uses any other methods to eliminate

20   unqualified respondents. The Novemsky Declaration does not provide any data on the number of

21   respondents screened out by the IMC, hence I cannot, at this time, evaluate the adequacy of the

22   instructional manipulation check. The lack of such screening methods and/or the use of a potentially

23

24   66
        See, e.g., Paas, L.J. and Morren, M., 2018. “Please do not answer if you are reading this: respondent
     inattention in online panels.” Marketing Letters, 29, 13-21, p. 13; Oppenheimer, D., Meyvis, T. and
25   Davidenko, N., 2009. “Instructional Manipulation Checks: Detecting Satisficing to Increase Statistical
     Power.” Journal of Experimental Social Psychology, 45(4), 867-872, p. 867.
26   67
        Novemsky Survey Programming Instructions, GX-305, Question S140, p. 6.
27   68
        See, e.g., Oppenheimer, D., Meyvis, T. and Davidenko, N., 2009. “Instructional Manipulation Checks:
     Detecting Satisficing to Increase Statistical Power.” Journal of Experimental Social Psychology, 45(4), 867-
28   872, p. 867; Paas, L.J. and Morren, M., 2018. “Please do not answer if you are reading this: respondent
     inattention in online panels.” Marketing Letters, 29, 13-21, p. 13.
                                                      23
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1    weak IMC is particularly important when — as is true here — the survey does not use a control group

2    to eliminate the effect of noise. 69, 70

3            54.     In addition to the selection of the initial sample, which is prone to allowing inattentive

4    respondents, there is significant potential for selection bias resulting from respondents being able to

5    opt-out of the survey after completion. At the end of the survey, the Novemsky Survey informs

6    respondents about the sponsor of the survey (the FTC), the entity being investigated (Intuit), and the

7    purpose for the survey (an investigation into “unfair and deceptive conduct”). The survey even claims

8    that “The FTC investigates unfair and deceptive conduct by companies. The information you provide

9    could help us further our mission under the FTC Act to protect consumers” and that “[t]he information
10   collected in this survey may be made available to others (for example, in the course of litigation against
11   companies for potential alleged violations of consumer protection laws, or if required by a court).” 71
12   The survey then asks respondents if they would like to delete or keep their submission. 72 The

13   Novemsky Declaration has not provided sufficient information to identify the share of respondents

14   who selected to delete their responses. 73 Critically, respondents who request to opt-out may

15   fundamentally differ from respondents who do not in ways that would be unobservable after the fact,

16   raising the likelihood of bias in the final sample population. It may very well be the case that those

17   with more positive views of TurboTax exited the survey after learning that it was designed to be used

18   against TurboTax.

19

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21   69
        With a valid control group, guessing occurs at the same rate in the control group as in the test group. This
     enables the survey expert to net out noise as is done in the 2020 Kirk Fair Disclosure Survey. The Novemsky
22
     Survey does not use a control group and Group B is not a valid control group for Group A, thus the
23   Novemsky Survey cannot net out noise.
     70
        My Purchase Driver Survey, which I discuss in Section V, includes both a red herring tax preparation
24   provider (FastTax Filing) and a red herring activity (Climbed Mount Kashoun) in its screener.
     71
        Novemsky Survey Programming Instructions, GX-305, p. 10.
25   72
        Novemsky Survey Programming Instructions, GX-305, Question TAT400, pp. 10-11.
26   73
        The final sample from the Novemsky Survey includes 404 Group A respondents and 203 Group B
     respondents, which is notably less than the quota for 500 Group A respondents and 250 Group B respondents
27   noted at the top of the Novemsky Survey Programming Instructions. The Novemsky Declaration does not
     explain the discrepancy, but if this is a reflection of respondents opting out after seeing the opt-out message,
28   this would reflect an opt-out rate of nearly 20%, creating significant opportunity for self-selection bias in the
     final sample population.
                                                        24
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1            55.      Furthermore, it is typical in surveys for the purposes of litigation to ask respondents if

2    they are familiar with any litigation that relates to the at-issue stimuli or more generally the parties to

3    the litigation. Such consumers may react to at-issue stimuli or to the parties’ products differently than

4    consumers who are not aware of relevant litigation. Plaintiff’s investigation into Intuit has received

5    substantial media attention for the past several years. 74 The focus on TurboTax throughout the

6    Novemsky Survey coupled with the FTC opt-out provision at the end would likely clue in any

7    respondents familiar with the allegations to the purpose of the survey. The Novemsky Survey does not

8    appear to ask any questions to identify such respondents and cannot analyze them separately or screen

9    them out. 75
10                  D. The Novemsky Survey Asks Leading Questions that Likely Create Demand
11                    Artifacts

12           56.      The Novemsky Declaration claims that “[t]he design, implementation, and fielding” of

13   the Novemsky Survey were “consistent with guidelines for survey research” such that “[t]he questions

14   asked were clear and not leading.” 76 But this is not accurate. Several elements in the screening and

15   main questionnaire of the Novemsky Survey are likely to create demand artifacts and lead respondents

16   into providing certain responses favorable to Plaintiff’s position. As discussed earlier, demand artifacts

17   “include all aspects of the experiment which cause the subject to perceive, interpret, and act upon what

18   he believes is expected or desired of him by the experimenter.” 77 Specifically, “[s]elf-reports of

19   behaviors and attitudes are strongly influenced by features of the research instrument, including

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     74
        See, Elliot, J., “The FTC Is Investigating Intuit Over TurboTax Practices,” ProPublica, September 8, 2020,
24   available at https://www.propublica.org/article/the-ftc-is-investigating-intuit-over-turbotax-practices; Sandler,
     R., “FTC Probes Intuit Over Suspicions It Diverted TurboTax Users From Free Filing,” Forbes, September 8,
25   2020, available at https://www.forbes.com/sites/rachelsandler/2020/09/08/ftc-probes-intuit-over-suspicions-it-
     diverted-turbotax-users-from-free-filing/?sh=2f7d8bec265a.
26   75
        My Purchase Driver Survey asked respondents whether they were aware of any media reports,
     investigations, or lawsuits involving tax preparation websites or providers.
27   76
        Novemsky Declaration, ¶ 17.
28   77
        Sawyer, A.G., 1975. “Demand Artifacts in Laboratory Experiments in Consumer Research.” Journal of
     Consumer Research, 1(4), 20-30, p. 20.
                                                       25
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1    question wording, format, and context.” 78 The following elements in Novemsky Survey likely create

2    demand artifacts in favor of Plaintiff.

3                    1.      The Novemsky Survey Asks One-Sided Questions that Are Leading and Likely

4                            Create Demand Artifacts
             57.     To avoid putting undue emphasis on certain answer options, a survey should ask survey
5
     questions in a double-sided manner when feasible (e.g., “do you or do you not …”). In fact, “[w]hen
6
     the question itself or the response options provided with the question are weighted more in one
7
     direction rather than another, the question is a leading question. Failure to be balanced assumes many
8
     different forms.” 79
9
             58.     Key questions in the Novemsky Survey screener and in the main questionnaire are
10
     asked in one-sided manner. For example, S100 in the screener asks: “Are you planning to itemize your
11
     deductions or claim the standard deduction on your 2021 income tax return?” 80 This format (along
12
     with the seeming lack of rotation in the order of those two options in the question itself, based on the
13
     lack of instructions) could have led some respondents who were not actually planning to itemize their
14
     deductions in 2022 (or who would not ultimately find it in their interest to do so) to indicate they were
15
     planning to do so, and hence, could have screened in unqualified respondents. 81 Questions S60 and
16
     S140 are also one-sided. The effect of a one-sided versus two-sided question has a real and measurable
17
     impact. 82
18

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20   78
        Schwarz, N., 1999. “Self-Reports. How the Questions Shape the Answers.” American Psychologist, 54(2),
     93-105, abstract.
21   79
        Jacoby, J., 2012. “Are Closed-Ended Questions Leading Questions?” In Trademark and Deceptive
22   Advertising Surveys: Law, Science and Design, 261-285. American Bar Association, p. 274.
     80
        Novemsky Survey Programming Instructions, GX-305, Question S100, pp. 4-5. See also, Questions S60
23   and S140.
     81
        For example, a two-sided question would have asked “Are you or are you not … .”
24   82
        Novemsky Survey Programming Instructions, GX-305, Questions S60 and S140, pp. 3, 6. The effect of
25   one- vs. two-sided questions depends upon the context and can be very large or more modest. Although the
     Novemsky Declaration refers to pretesting, it gives no details, so we cannot know the extent of the bias. For
26   example, there are many examples in Payne, S.L., 1951. “The Art of Asking Questions.” Princeton University
     Press, Princeton, New Jersey. In one example, changing a question from “should allow” to “should not
27   forbid” resulted in a change of an affirmative response from 21% to 39%. See, Payne, Stanley L., 1951, “The
     Art of Asking Questions” Princeton University Press, Princeton, New Jersey, p. 57. In another example,
28   making the negative option explicit resulted in a change from 77% to 74%. See, Payne, S.L., 1951. “The Art

                                                      26
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1                    2.      The Novemsky Survey’s Key Question on Respondents’ Ability to File for Free

2                            Encourages Guessing and Is Unreliable
             59.     The Novemsky Survey’s key question to assess “the likelihood of [taxpayers who are
3
     not eligible to use a free version of TurboTax] having the misimpression that they can file their income
4
     taxes for free using TurboTax” is TAT240: 83
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15           60.     This question design is fundamentally flawed because Question TAT240 encourages

16   guessing by including the word “understanding” in the question and “I think” as a qualifier to the

17   responses and failing to include any ability to reference the qualification requirements. The first two

18   answer options include “I think” as a qualifier, which encourages respondents who have some doubt

19   to select one of the two options rather than “I do not have enough information.” Thus, even though the

20   Novemsky Survey uses quasi-filters (“I do not have enough information,” “I’m not sure”), the format

21   of the answer options undermines the advantage of quasi-filters. The question phrasing “which of the

22   following best describes your understanding” (emphasis added) further encourages guessing if the

23   respondent is unsure. Respondents do not like to admit that they do not know the answer to something,

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27   of Asking Questions.” Princeton University Press, Princeton, New Jersey, pp. 56-57. There are other examples
     in Chapter 4 of Payne and in the literature.
28   83
        I note that the open-ended answers may be considered even more critical to understanding respondent
     impressions, but these have not been provided to me nor analyzed in the Novemsky Declaration.
                                                     27
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1    and therefore respondents can be prone to guessing if encouraged to do so, particularly in the absence

2    of relevant information. 84

3            61.     Not surprisingly, a relatively small share of respondents responded that they “do not

4    have enough information to say,” or “are not sure,” which is notable evidence of guessing by

5    respondents. This is particularly true for Group A — which is described as taxpayers who have not

6    used TurboTax to file their taxes in the past three years and have not yet filed their taxes this year, and

7    therefore are unlikely to have had exposure to the information and disclosures related to qualifications

8    that are available on the TurboTax website. Yet, only 20% of respondents, with no TurboTax

9    experience in the last three years, indicated they couldn’t answer definitively. 85 With little or no prior
10   experience with TurboTax and having been provided no information about TurboTax’s allegedly
11   deceptive advertisements, website communications, or disclosures, Group A is particularly prone to
12   guessing. In light of this implicit permission to guess, it is no wonder that 80% of respondents provided
13   a decisive answer.
14           62.     Not only do the answer choices lead respondents to be overly determinative in their
15   assessment of their ability to file with TurboTax for free, the absence of information in the survey
16   related to TurboTax’s actual advertisements, website communications, or disclosures will likely lead
17   respondents to be overly optimistic about their ability to file for free. At the point of responding to the
18   survey, respondents may hold these aspirational expectations that they can file for free with TurboTax
19   — not because of Intuit’s advertisements, website communications, or disclosures — but because
20   they’ve seen other offers for free tax preparation support from competitors with different qualification
21   criteria (or possibly even used these competitor products for free); 86 because they have an impression
22

23   84
        Diamond, S.S., 2011. “Reference Guide on Survey Research.” In Reference Manual on Scientific Evidence,
     359-423. The National Academies Press, pp. 389-390.
24   85
        TurboTax’s home page and products and pricing webpage contains a link titled “Simple tax returns only”
     directly beneath the Free Edition product offering. This link opens a pop-up panel which lists “situations
25
     covered in TurboTax Free Edition” and “situations not covered in TurboTax Free Edition.” See, “Three ways
26   to get your taxes done right,” Intuit TurboTax, available at https://turbotax.intuit.com/personal-taxes/online/.
     86
        For example, H&R Block Free Online currently covers several situations which are not included in
27   TurboTax Free Edition, such as Form 1098-T (Tuition and Fees Statement), Form 8863 (Education Credits),
     and Form 8615 (Tax for certain children with investment income). See, “H&R Block Free Online vs.
28   TurboTax Free Edition: Get More FREE with Block,” H&R Block, available at https://www.hrblock.com/tax-

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1    that the qualification rules have changed over time; or because they simply would like to believe that

2    they could file for free. As noted earlier, the inclusion of the “I think” qualifier in the answer options

3    to this question gives respondents license to guess when they have very little information. It is fully

4    reasonable that, in the absence of any information provided by the survey itself and having not yet

5    filed taxes for the year, respondents would not know for sure whether they would qualify for a

6    particular tax preparation provider’s free product, and therefore, would be more prone to guessing.

7            63.     The Novemsky Survey’s Group B results reveal this inherent bias towards overly

8    optimistic responses. That is, the Novemsky Survey finds that 24.1% of Group B respondents report

9    that they think they could file for free, when they have also reported that they filed their taxes with
10   TurboTax and did not file for free in the past three years. These respondents have been provided no
11   information in the Novemsky Survey suggesting that they could file for free or otherwise exposing
12   them to the allegedly deceptive claims and have prior experience that indicates that they could not file
13   for free. Yet a large proportion still report that they believe they could file for free. 87 This large
14   percentage demonstrates the biased nature of this key question in the Novemsky Survey and is not, as

15   the Novemsky Declaration would suggest, evidence of deception.

16           64.     Due to the design choices in the Novemsky Survey, specifically the failure to use

17   stimuli and to employ the necessary test-control design to infer causation and to net out noise and bias

18   stemming from the structure of the questions, answers, and survey instrument, the results cannot be

19   analyzed in a manner that controls for the bias described above.

20                   3.      The Novemsky Survey’s Key Question on Respondents’ Understanding of

21                           “Simple U.S. Returns” Is Leading and Unreliable

22           65.     The Novemsky Survey’s key question to assess “taxpayers’ understanding of the phrase

23   ‘simple U.S. returns’” 88 (TAT290) uses a yes/no format, which is generally considered leading because

24

25

26
     center/around-block/offers/hrblock-free-vs-turbotax-free/. See also, “Three ways to get your taxes done
27
     right,” Intuit TurboTax, available at https://turbotax.intuit.com/personal-taxes/online/.
28   87
        Novemsky Declaration, ¶ 4.
     88
        Novemsky Declaration, ¶ 2.
                                                      29
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1    it is “much more likely” to create “yes” responses than “no” responses. 89 This question likely leads

2    the respondent to an answer preferred by Plaintiff.

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12           66.     Yes/no questions have long been discussed in the literature as “a systematic source of

13   bias that has produced an inflation effect of 10% across a number of studies.” 90 In fact, “respondents—

14   generally, agreeable people who have agreed to participate in the first place—are more inclined to be

15   agreeable and answer ‘yes’ than to answer ‘no.’” 91 Here, the question text highlights the phrase “simple

16   U.S. returns,” signaling to the respondent that it might be important. Respondents might infer that it

17   is expected from them to answer this question affirmatively, and thus, select “Yes, I think my 2021

18   income tax return meets TurboTax’s definition of a ‘simple U.S. return.’” The tendency to answer

19   “yes” is reinforced by the statement in TAT290 that “You are almost done.” The respondent might

20   infer (correctly as it turns out) that if they answer “no,” they will be asked to explain their “no” answer.

21

22
     89
        Novemsky Survey Programming Instructions, GX-305, Question TAT290, p. 9. Jacoby, J., 2012. “Are
23   Closed-Ended Questions Leading Questions?” In Trademark and Deceptive Advertising Surveys: Law,
     Science and Design, 261-285. American Bar Association, p. 274.
24   90
        “One form of closed-ended question format that typically produces some distortion is the popular
25   agree/disagree, true/false, or yes/no question. Although this format is appealing because it is easy to write and
     score these questions and their responses, the format is also seriously problematic. With its simplicity comes
26   acquiescence, ‘[T]he tendency to endorse any assertion made in a question, regardless of its content,’ is a
     systematic source of bias that has produced an inflation effect of 10% across a number of studies.” Diamond,
27   S.S., 2011. “Reference Guide on Survey Research.” In Reference Manual on Scientific Evidence, 359-423.
     The National Academies Press, p. 394.
28   91
        Jacoby, Jacob, 2012. “Are Closed-Ended Questions Leading Questions?” In Trademark and Deceptive
     Advertising Surveys: Law, Science and Design, 261-285. American Bar Association, p. 274.
                                                       30
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1    Having been promised that they are almost done, they might like to avoid further elaboration. This

2    effect would be exacerbated for “professional” respondents who were not screened out. If the question

3    wording or format is not changed, the preferred solution to deal with the leading nature of yes/no

4    questions is to add control groups or control questions to the survey. 92 The Novemsky Survey does

5    not include any such control group or control questions, and as a result, any results based on TAT290

6    are very likely inflated, and in this instance, inflated in Plaintiff’s favor.

7            67.     Moreover, in the absence of any information in the survey about what constitutes

8    “simple returns,” respondents will be prone to guessing in the artificial context of the Novemsky

9    Survey. As discussed above, respondents do not like to admit that they do not know the answer to
10   something, and therefore will be more like to guess rather than say that they don’t know the answer. 93
11   In the real world, however, consumers who were unsure about whether their tax situation qualified

12   would be likely to conduct research and seek out the information needed, if that information is

13   important to them. For example, the 2020 Kirk Fair Disclosure Survey found that 17% of respondents

14   indicated in open-ended responses that they would, after seeing an upgrade screen that says they don’t

15   qualify for free, “conduct additional research or otherwise evaluate which product would best fit their

16   needs.” 94 Consumers looking for additional information on whether their tax situation constitutes a

17   “simple return” will find that information readily available from multiple sources, including from the

18   disclosures on the TurboTax website and through several third-party product reviews that describe the

19   eligibility requirements for using TurboTax’s free products. 95 This information is available to

20   consumers both before they start a return at TurboTax and throughout the preparation process.

21

22   92
        “Only when control groups or control questions are added to the survey design can [yes/no] question format
23   provide reasonable response estimates.” Diamond, S.S., 2011. “Reference Guide on Survey Research.”
     In Reference Manual on Scientific Evidence, 359-423. The National Academies Press, p. 394.
24   93
        Diamond, S.S., 2011. “Reference Guide on Survey Research.” In Reference Manual on Scientific Evidence,
     359-423. The National Academies Press, pp. 389-390.
25   94
        2020 Kirk Fair Report, ¶ 23. For a brief description of the 2020 Kirk Fair Disclosure Survey, see, Section
26   V.D.
     95
        See, e.g., Parys, S. and Orem, T., “TurboTax Review 2022,” Nerdwallet, March 3, 2022, available at
27   https://www.nerdwallet.com/article/taxes/turbotax-review/; Ward, C., “TurboTax Review In-Depth: Does
     Free Really Mean Free?,” Listen Money Matters, available at https://www.listenmoneymatters.com/turbo-tax-
28   review/; Rosenberg, E., “TurboTax review: Not the cheapest online tax software, but good for complex

                                                      31
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1                  E. The Novemsky Declaration Does Not Report Any Respondent Statistics nor

2                     Provide Data or Backup

3            68.      The information provided in the Novemsky Declaration was particularly sparse with
4    respect to the actual results and fielding of the Novemsky Survey. In particular, it did not include the
5    underlying survey responses, any information about responses to screening questions that could be
6    used to assess whether the survey sample was representative, any information about the open-ended
7    responses, details regarding the pretesting of the survey, screenshots of the fielded survey, or
8    information about whether the survey was reformatted for smartphones. The Novemsky Declaration
9    also does not discuss any effort to confirm representativeness of the sample, or any attempts to screen
10   out speeders/laggers or nonsense answers. Additionally, there was little to no reporting of direct
11   responses to open-ended questions or clarity on how those were interpreted. Each and every one of
12   these items of evidence provide important insight into the reliability of the survey or the reported
13   results. I will supplement my analysis if this information is provided at a later date.
14    V.     PROPERLY         DESIGNED         SURVEYS         DEMONSTRATE             THAT      CONSUMERS
15           ACTIVELY ENGAGE IN FINDING AND SELECTING A TAX PREPARATION
             PROVIDER AND ARE NOT DECEIVED
16

17           69.      The Novemsky Survey attempts to study consumer “impressions” generally, in the
18   seeming absence of any stimuli and without accounting for the process by which consumers make
19   purchase decisions. Tax preparation is typically considered a high-involvement product because it
20   relates directly to consumers’ personal finances and, in some cases, a tax refund can be the single
21   largest check a consumer receives in a particular year. 96 With high-involvement goods, consumers
22   typically engage closely with the purchase process and conduct substantial research prior to making a
23

24   situations,” Business Insider, March 24, 2022, available at https://www.businessinsider.com/personal-
25   finance/turbotax-review; and Baluch, A., Van Bloom, C. and Rosenberg, E., “TurboTax Tax Software
     Review,” U.S. News & World Reports, February 2, 2022, available at https://www.usnews.com/360-
26   reviews/technology/tax-software/turbotax.
     96
        Assael, H., 2004. “Consumer Behavior: A Strategic Approach.” Houghton Mifflin Company, Boston, MA,
27   pp. 90-91. Tax software can be considered important to the consumer and can entail significant risk, making
     its purchase more likely to be a high-involvement, considered process; Farrell, D., Greig, F. and Hamoudi, A.,
28   “Filing Taxes Early, Getting Healthcare Late,” JPMorgan Chase & Co., April 2018, available at
     https://www.jpmorganchase.com/institute/research/healthcare/insight-filing-taxes-early#finding-1.
                                                      32
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1    purchase decision. The Novemsky Survey ignores the valuable information that consumers gain

2    through the process of researching and evaluating available tax filing solutions. In fact, by selecting

3    respondents who have not yet filed their taxes this year, the Novemsky Survey specifically studies

4    respondents who have not yet filed in 2022 and thus may not have invested in the relevant consumer

5    buying process yet. In addition, the Novemsky Survey allows respondents who may never engage in

6    the consumer buying process because they are not substantially involved in the tax filing decision in

7    their household. 97 Understanding the consumer buying process for tax preparation is critical both to

8    assessing the likelihood that actual users of paid TurboTax products were confused by the time they

9    paid for their filing service and to evaluating the reliability of responses to questions about the sources
10   of information or impressions in the Novemsky Survey.
11           70.     To study the process of information acquisition, I designed, conducted, and analyzed
12   an online survey (the “Purchase Driver Survey”) to evaluate the process that tax filers go through to
13   identify a tax preparation solution, including any research they may conduct, and the factors they
14   consider important when selecting a tax preparation method/provider. My Purchase Driver Survey was
15   fielded from July 1, 2021 to July 9, 2021, after the 2021 filing deadline 98 and, therefore, after tax filers
16   made a decision with respect to tax preparation for that year. A comprehensive description of my

17   Purchase Driver Survey design, target population, pretesting, and independent coding analysis of

18   open-ended responses is attached as Appendix C to my Declaration.

19           71.     Contrary to the allegations outlined by Plaintiff, I found that consumers conduct

20   substantial research when selecting a tax preparation method/provider. During this research they could

21   learn more about the eligibility requirements of TurboTax Free Edition. Most also do not rely solely

22   or primarily on advertisements. Results from my Purchase Driver Survey also demonstrate that

23   consumers find a variety of factors important when selecting a tax preparation method/provider and

24   that consumers do not display a simple preference for “free” options. Additionally, the Purchase Driver

25

26

27
     97
       Novemsky Survey Programming Instructions, GX-305, Question S70.
     98
       “The 2021 Tax Deadline Extension: Everything You Need to Know,” TurboTax, January 21, 2022,
28   available at https://turbotax.intuit.com/tax-tips/general/the-2020-tax-deadline-extension-everything-you-need-
     to-know/L8Ph4Vnci.
                                                      33
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1    Survey provides evidence that consumers generally do not feel “locked in” to a tax software provider

2    and instead feel comfortable abandoning returns and switching providers, both within and across tax

3    years. These points are also supported by evidence from public-facing resources, internal Intuit

4    materials, as well as the 2020 Kirk Fair Disclosure Survey.

5                   A. My Purchase Driver Survey Demonstrates That Consumers Conduct Substantial

6                      Research Before Selecting a Tax Preparation Provider and Do Not Rely Solely on
                       Advertisements
7

8             72.      When shopping for high-involvement goods like tax software, consumers typically
9    engage in an involved purchase process. Consistent with this general finding, my Purchase Driver
10   Survey results indicate that consumers conduct substantial research when choosing a tax preparation
11   provider or method. On average, respondents reported using 3.0 different sources of information in
12   their research process, with 73.6% of respondents reporting using two or more sources of information
13   when researching tax preparation methods. 99 Respondents repeatedly mentioned exploring tax
14   preparation websites, reading reviews or testimonials, and speaking with friends and family — results
15   consistent in both unaided open-ended answer choices and in aided closed-ended answers. For
16   example, one respondent, when asked what research the respondent conducted noted, “I checked
17   around [for] prices as well as how long [it] would take to get my taxes back. I called around places
18   and did a lot of reading before going back to the site I used before.” 100 Another respondent stated, “I
19   researched who had the best pricing for what I needed, and also offered the best support. I used an
20   online search engine to compare and read reviews.” 101 A third respondent noted that the respondent,
21   “asked friends and did google searches.” 102
22            73.      When consumers research tax preparation solutions, they are likely to find that many
23   third-party consumer-facing websites report that TurboTax Free Edition is not free for everyone and
24   that describe the eligibility requirements. For example:
25

26
     99
        Exhibit 7.
27   100
         Respondent ID 1708.
28   101
         Respondent ID 1670.
     102
         Respondent ID 1698.
                                                    34
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1             •     NerdWallet has included information on the eligibility requirements for TurboTax Free
2                   Edition in every annual review since at least 2018. 103

3             •     The TurboTax review on Listen Money Matters, a personal finance resource website,
                    even entitled their review “TurboTax Review In-Depth: Does Free Really Mean Free?”
4
                    and described TurboTax Free Edition’s limitations. 104
5
              •     Business Insider’s TurboTax review notes what tax situations qualify for TurboTax
6
                    Free Edition. 105
7             •     The TurboTax review on U.S. News & World Report also explains what TurboTax
8                   means by “simple” tax returns. 106
9             •     Consumers could have also learned about limitations for filing for free from competitor

10                  websites like H&R Block 107 or YouTube How-To videos. 108, 109

11            74.    My Purchase Driver Survey results confirm that consumers are not likely to have relied

12   solely on advertisements or email marketing when researching tax preparation solutions. In open-

13

14
     103
         See, Orem, T., “TurboTax Review 2018,” Nerdwallet, January 26, 2018, available at
15   https://web.archive.org/web/20180925035640/https://www.nerdwallet.com/blog/taxes/turbotax-review/;
     Orem, T., “TurboTax Review 2019,” Nerdwallet, January 25, 2019, available at
16   https://web.archive.org/web/20190722074738/https://www.nerdwallet.com/blog/taxes/turbotax-review/;
     Orem, T., “TurboTax Review 2020,” Nerdwallet, April 7, 2020, available at
17
     https://web.archive.org/web/20200610162627/https://www.nerdwallet.com/blog/taxes/turbotax-review/;
18   Orem, T., “TurboTax Review 2021,” Nerdwallet, March 15, 2021, available at
     https://web.archive.org/web/20210403145347/https://www.nerdwallet.com/article/taxes/turbotax-review/;
19   Parys, S., and Orem, T., “TurboTax Review 2022,” Nerdwallet, March 3, 2022, available at
     https://www.nerdwallet.com/article/taxes/turbotax-review/.
20   104
         Ward, C., “TurboTax Review In-Depth: Does Free Really Mean Free?,” Listen Money Matters, available
     at https://www.listenmoneymatters.com/turbo-tax-review/. See also, Fiebert, Andrew “About Listen Money
21   Matters,” Listen Money Matters, available at https://www.listenmoneymatters.com/about/.
     105
         Rosenberg, Eric “TurboTax review: Not the cheapest online tax software, but good for complex
22
     situations,” Business Insider, March 24, 2022, available at https://www.businessinsider.com/personal-
23   finance/turbotax-review.
     106
         Baluch, A., Van Bloom, C. and Rosenberg, E., “TurboTax Tax Software Review,” U.S. News & World
24   Reports, February 2, 2022, available at https://www.usnews.com/360-reviews/technology/tax-
     software/turbotax.
25   107
         See, “H&R Block Free Online vs. TurboTax Free Edition: Get More FREE with Block,” H&R Block,
     available at https://www.hrblock.com/tax-center/around-block/offers/hrblock-free-vs-turbotax-free/.
26   108
         See, Lee, B., “2022 Step by Step EASY TurboTax Tutorial: How To File Your Own Taxes This Year!,”
27   available at https://www.youtube.com/watch?v=WwyDmU7iaSQ.
     109
         Although the Novemsky Survey, e.g., TAT265, allows respondents to indicate that they have considered
28   such sources, there are many biases in the question design that encourage respondents to answer other
     options. See, Section IV.B.3 for discussion of the flaws in TAT265.
                                                     35
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1    ended responses, only 2.4% of respondents were identified by independent judges, who were blind to

2    any hypotheses, as mentioning “Viewed advertisements” as a research method. 110 Even when

3    prompted with a closed-ended answer choice, only 26.4% of respondents selected “Viewed

4    advertisements” as a research method. 111 Of note, the vast majority of these respondents selected other

5    research methods in addition to viewing advertisements. Only three respondents out of 125 (2.4%) in

6    Tracks 2, 3, and 4 of my Purchase Driver Survey reported that they only “Viewed Advertisements”

7    and/or “Reviewed Marketing Emails.” 112

8             75.    This significant amount of research by consumers is not surprising given consumers’

9    general understanding that for-profit companies earn revenue and do not provide everything for free.
10   In 2015 Intuit conducted market research on their AbsoluteZero campaign (a campaign raised in
11   Plaintiff’s complaint) and found that “Skepticism is strong and ‘no hidden costs’ does not mitigate the
12   skepticism by itself.” 113 Similarly, a 2017 report on TurboTax Brand Insights performed by MGZ
13   research found that participants in the focus group were “skeptical and ‘distrust’” the claim that

14   TurboTax was truly free, citing that “This company is not a charity[.]” 114 A FY2018 Go-To-Market

15   white paper also notes that, in reference to the Absolute Zero campaign, “Consumer testing and

16   insights continue to reveal high levels of skepticism that tax prep can be truly free…” 115

17            76.    Together, this evidence shows that most consumers do not simply rely solely on a

18   TurboTax advertisement like the advertising at-issue in this matter, and they do not go directly to filing

19   after seeing an advertisement. Instead, most consumers engage in significant research using a variety

20   of methods. During this research, consumers are likely to encounter information about TurboTax Free

21

22
     110
         Exhibit 6b.
23   111
         Exhibit 6a.
24   112
         In their open-ended responses, two of these respondents also alluded to conducting price comparisons
     between different services before choosing their method/provider. When asked about what research they
25   conducted, respondent ID 767 noted, “I looked at prices online to compare,” and respondent ID 1179
     described, “I looked at different prices for Tax services. I tried to determine how easy/difficult it would be to
26   switch my information over from Turbo Tax. I looked at what safety measures store front tax prep services in
     my area were using in light of COVID.”
27   113
         INTUIT-FFA-FTC-000139031-032. See also, Complaint, ¶ 30.
28   114
         INTUIT-FFA-FTC-000549928-959 at 950.
     115
         Intuit, 2017 Consumer Group FY18 Go-To-Market White Paper, p. 16.
                                                       36
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1    Edition from Intuit, as well as a variety of popular, reputable consumer-facing sources, and are thus

2    unlikely to be deceived as alleged by Plaintiff.

3             77.      Consumers’ willingness to conduct research is not limited to the time period before

4    starting a return. The 2020 Kirk Fair Disclosure Survey 116 finds that a meaningful share of respondents

5    indicated that, upon seeing an upgrade screen in the TurboTax “hard stop” upgrade process,

6    respondents would pause and conduct further research to understand why they were being asked to

7    upgrade, or respondents would shop around and see what other alternative tax preparation methods or

8    providers would offer in terms of price and support. 117 Even if consumers were motivated to start their

9    return with TurboTax based on Intuit’s Free Edition marketing as alleged by the Plaintiff, these survey
10   data suggest that consumers generally would conduct additional research to make sure the upgrade
11   was the right next step for their tax situation.
12                  B. My Purchase Driver Survey Demonstrates That “Free” Is Not a Universal Priority
13                     for Consumers in Selecting Tax Preparation Providers

14            78.      My Purchase Driver Survey results indicate that, as one might expect, price is an

15   important factor that respondents considered in choosing a tax preparation provider. However,

16   respondents do not focus exclusively on price and, in fact, regularly separate the concept of a good or

17   reasonable price from a desire for a free option.

18            79.      My Purchase Driver Survey asked respondents to cite factors important to them in their

19   choice of a tax preparation provider — respondents could cite a single factor or more than one factor.

20   As with most products, price was the most frequently cited factor that was important to respondents

21   in their choice of a tax preparation provider, with 70.4% of respondents indicating so. 118 Critically,

22   though, price is not the only factor consumers consider and having an interest in the price of a product

23   is not the equivalent to seeking a “free” product. Respondents frequently cited non-price factors such

24   as ease of use (68.8%), confidence in the accuracy and reliability of the results (52.8%), and data

25

26

27   116
         For a brief description of the 2020 Kirk Fair Disclosure Survey, see, Section V.D.
28   117
         2020 Kirk Fair Report, ¶¶ 21-23.
     118
         Exhibit 8a.
                                                        37
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1    security (45.6%) as important factors in their choice of a tax preparation method/provider. 119 On

2    average, respondents reported 4.6 different product attributes that were important in their choice of a

3    tax preparation method/provider, and 91.2% of respondents selected two or more factors. 120 Although

4    consumers may consider price in their choices, they clearly also care about factors relating to the

5    quality of the service they receive.

6             80.    Many consumers consider price and quality-indicating factors as trade-offs when

7    selecting a tax preparation provider. Academic literature finds that consumers tend to view higher

8    priced products as higher quality or value. 121 Consumers form perceptions about price based on price

9    tiers, which capture the range of acceptable prices for products in a particular category. Ultimately,
10   consumers’ perceived value of a product is informed, among other factors, by price, which also factors
11   into consumers’ ultimate purchase decisions. 122 Further, it is common that consumers pay more for
12   products they perceive as higher quality or value, even if there is a free alternative. For example,

13   consumers often choose to pay to purchase books or other media even if there is a library nearby

14   offering free rentals. It is therefore reasonable that consumers could have preferences for alternatives

15   other than the lowest priced tax filing option they can find.

16            81.    Popular, consumer-facing websites publish reviews of TurboTax products, with several

17   noting that while TurboTax is generally more expensive than other online options (though still less

18   than in-person or accountants), it is worth the extra cost. For example:

19            •     A 2021 Nerdwallet review noted that “TurboTax is generally pricier than everything
20                  else out there, but even though confident filers may not need all the bells and whistles

21                  that most TurboTax online products offer, many people will find the experience and the

22                  availability of human help worth the extra cost.” 123

23

24   119
         Exhibit 8a.
25   120
         Exhibit 9.
     121
         Keller, K. and Swaminathan, V., 2020. “Strategic Brand Management - Building, Measuring and
26   Managing Brand Equity.” Pearson Education, Hoboken, New Jersey, pp. 160-161.
27
     122
         Keller, K. and Swaminathan, V., 2020. “Strategic Brand Management - Building, Measuring and
     Managing Brand Equity.” Pearson Education, Hoboken, New Jersey, pp. 160-161.
28   123
         Orem, T., “TurboTax Review 2021,” Nerdwallet, March 15, 2021, available at
     https://web.archive.org/web/20210403145347/https://www.nerdwallet.com/article/taxes/turbotax-review/.
                                                     38
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1             •     A 2022 U.S. News & World Report review similarly states “TurboTax retains the top
2                   spot in our annual analysis of the best tax software. While it’s not the cheapest option

3                   around, TurboTax provides the best overall user interface that makes it easy to do your

4                   taxes, efficiently handling most households’ needs for inputting your income from

5                   work, self-employment, investments, or rental properties, and most common deductions

6                   and credits.” 124

7             •     A 2022 Business Insider review was even titled “TurboTax review: Not the cheapest
8                   online tax software, but good for complex situations” 125 and the current Listen Money

9                   Matters review highlights that “TurboTax offers accurate and user-friendly software.
10                  It’s a steal if you qualify to use it for free.” 126
11            82.     Consumers’ consideration of “price” as part of this product choice does not mean that

12   “free” is necessarily the only price the consumer will consider. In analyzing the open-ended responses

13   from my Purchase Driver Survey, the independent judges identified two distinct concepts of “price”

14   as a factor in respondents’ choices: “affordability” and “free service.” 127 Some respondents indicated

15   a preference for a “free service” (14.4%), 128 while many more described the “affordability” of the

16   service as a key consideration (43.2%). 129 Market research conducted by Intuit in January 2015 is

17

18
     124
         Baluch, A., Van Bloom, C. and Rosenberg, A., “TurboTax Tax Software Review,” U.S. News & World
19   Report, February 2, 2022, available at https://www.usnews.com/360-reviews/technology/tax-
     software/turbotax.
20   125
         Rosenberg, E., “TurboTax review: Not the cheapest online tax software, but good for complex situations,”
     Insider, March 24, 2022, available at https://www.businessinsider.com/personal-finance/turbotax-review.
21   126
         Ward, C., “TurboTax Review In-Depth: Does Free Really Mean Free?,” Listen Money Matters, available
22   at https://www.listenmoneymatters.com/turbo-tax-review/. See also, Fiebert, A., “About Listen Money
     Matters,” Listen Money Matters, available at https://www.listenmoneymatters.com/about/.
23   127
         See, Appendix C, Section C.ii for a discussion of the independent coding process.
     128
         For example, when asked about what product attributes were important to them, respondent ID 872 noted
24   “that I could file for free. I could get help if [I] needed it.” Across all open-ended questions, there are a total
     of 18 respondents (14.4%) who the independent judges coded as preferring a “free service”. Any respondent
25
     who indicated a preference for “affordability” in one set of questions but free service in a different set of
26   questions is counted as preferring a “free service.” See, Exhibit 6b and Exhibit 8b for the count of
     respondents that prefer a “free service” by group of open-ended questions.
27   129
         For example, when asked about what product attributes were important to them, respondent ID 767 noted
     “Easy convenient and reasonably priced.” Across all open-ended questions, there are a total of 54 respondents
28   (43.2%) who the independent judges coded as prioritizing “affordability.” Any respondent who indicated a

                                                        39
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1    consistent with this finding. That research found that consumers have the mindset of “looking for low

2    cost prep, not necessarily completely free.” 130 More recently, a 2022 MITRE Report found that only

3    27% of respondents expressed an unwillingness to pay for “products or services to help [them] file

4    their taxes,” while 29% of respondents expressed a willingness to pay up to $50 and another 44% of

5    respondents expressed a willingness to pay more than $50. 131

6            83.     This means that while some consumers may prioritize (and therefore seek out) free

7    options, others would be willing to pay some amount in order to satisfy other preferences. Academic

8    research distinguishes between different decision-making processes that consumers factor into

9    purchase decisions, namely compensatory and non-compensatory processes. A compensatory
10   decision-making process allows a preferred feature to balance out (“compensate for”) a non-preferred
11   feature in a product. 132 For example, a consumer may prefer non-sugary cereals but allow for increased
12   calcium in the cereal to compensate for a high sugar content. In contrast, a non-compensatory decision-

13   making process includes strict “must have” or “must not have” rules. 133 The purchase process for tax

14   solutions is more likely non-compensatory than compensatory in that some consumers are likely to

15

16
     preference for “affordability” in one set of questions but free service in a different set of questions is counted
17   as preferring a “free service.” See, Exhibit 6b and Exhibit 8b for the count of respondents that prioritize
     “affordability” by group of open-ended questions.
18   The remaining 53 respondents (42.4%) did not mention either “affordability” or “free service” their open-
     ended responses on important product attributes. Responses from these respondents include for example: “I’d
19   like something that is easy to understand, easy to use, helps me make sense of my taxes, and gets the job done
     accurately,” (Respondent ID 84); “The ease of preparing, the accuracy of preparing, and making sure that I
20   get the most out of my returns.” (Respondent ID 28). This finding is consistent with the 2022 MITRE Report
     which explains that their, “survey responses show clearly that the reasons for choosing filing methods are
21   varied and cost is not always a factor. Many taxpayers, even if they’re aware of the program, will choose
     something different.” See, Patterson, J. et. al., “Final Report: Key Findings and Implications for the IRS Free
22
     File Program,” The MITRE Corporation, January 2022, p. 45.
23   130
         INTUIT-FFA-FTC-000139031-032.
     131
         Patterson, J. et. al., “Final Report: Key Findings and Implications for the IRS Free File Program,” The
24   MITRE Corporation, January 2022, Appendix F, tab a) Cost.
25
     132
         Bettman, J., Luce, M. and Payne, J., 1998. “Constructive Consumer Choice Processes.” Journal of
     Consumer Research, 25, 187-217; Chakravarti, A. and Janiszewski, C., 2003. “The Influence of Macro-Level
26   Motives on Consideration Set Composition in Novel Purchase Situations.” Journal of Consumer Research,
     30(2), 244-258, p. 244.
27   133
         Bettman, J., Luce, M. and Payne, J., 1998. “Constructive Consumer Choice Processes.” Journal of
     Consumer Research, 25, 187-217, p. 190; Chakravarti, A. and Janiszewski, C., 2003. “The Influence of
28   Macro-Level Motives on Consideration Set Composition in Novel Purchase Situations.” Journal of Consumer
     Research, 30(2), 244-258, p. 246.
                                                        40
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1    have a few “must have” features, based on their preferences or unique tax situation, that drive

2    consideration and purchase rather than trading off all features in a service. When selecting among

3    feature-rich products, such as the various tax solution services available to taxpayers, academic

4    research also indicates that some consumers use non-compensatory heuristics to quickly narrow the

5    set of alternatives from which to select. 134 This means that some consumers may prefer tax preparation

6    solutions that have certain “must have” features even if the tax preparation solutions require a payment

7    or fee. Even when the decision process is compensatory, the other features of the tax preparation

8    solution, such as higher potential refund or more security in the accuracy of their return, can

9    compensate for the price that is paid.
10            84.      Plaintiff alleges that TurboTax’s “door-opener” ads lure consumers to the TurboTax
11   website with the “free” promise. However, the evidence shows that consumers care about more than
12   just finding the lowest cost tax filing option or filing for free. Consumers consider factors relating the
13   quality and value of TurboTax relative to the price paid, rather than focusing exclusively on free offers.
14   Even if the “free” offer may be enticing to some consumers, consumers will generally conduct research
15   to make their own assessment of the trade-off between price and features of the services they choose
16   for this important task.
17                  C. My Purchase Driver Survey Demonstrates That Most Consumers Do Not Feel
18                     “Locked In” To A Provider After Entering Information

19            85.      Plaintiff alleges that taxpayers are lured in to using TurboTax by the allegedly deceptive

20   advertising and, after filling in their personal and financial information, face a “hard stop” upgrade

21   screen. 135 Plaintiff implies that the inconvenience of changing to a different provider would coerce

22   taxpayers to purchase the paid products to finish filing. While my Purchase Driver Survey was not

23   designed to focus specifically on consumer actions after filling in their income and tax information,

24   the results of my Purchase Driver Survey are consistent with the idea that consumers are comfortable

25

26   134
         Ding, M. et al., 2011. “Unstructured Direct Elicitation of Decision Rules.” Journal of Marketing Research,
27   48(1), 116-127; Payne, J., 1976. “Task Complexity and Contingent Processing in Decision Making: An
     Information Search and Protocol Analysis.” Organizational Behavior and Human Performance, 16(2), 366-
28   387, p. 366.
     135
         Complaint, ¶¶ 64-65.
                                                      41
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1    conducting research even after starting a return online. In unaided open-ended questions, two

2    respondents affirmatively reported that they had tried out tax preparation websites without filing. For

3    example, one respondent said “I went to tax act as well as hr block to see which place would get more

4    money..[sic] I went to each site and filled in all my W2 info, and answered any questions given so I

5    could find tax breaks, turbo tax was more thorough.” 136 In aided closed-ended responses, 21.6% of

6    respondents reported this sort of trial use. 137 Real world data also demonstrate that consumers are

7    willing to start and not finish their returns with TurboTax; in TY 2019, around 30% of users who

8    logged into TurboTax Online never actually filed their taxes. 138

9             86.    My     Purchase     Driver     Survey     results   indicate    that   respondents      change
10   methods/providers. 43.3% of respondents either used or considered using a different method/provider
11   than they used in the previous year. 139 Of the 103 respondents who indicated that they used TurboTax
12   to prepare and file their taxes in 2021, 44 (42.7%) indicated that they considered using a different

13   method/provider in 2021 (but ultimately chose to use TurboTax again).

14            87.    Tax preparation is what academics call a “repeated game.” Taxpayers must decide how

15   to file their taxes each year and this decision is repeated year after year. Firms like Intuit rely heavily

16   on repeat business from satisfied customers. In addition, firms often consider the “lifetime value of a

17   consumer,” which depends upon the ability of the firm to retain its consumers year after year. 140 If

18   consumers, as Plaintiff posits, felt deceived when they found they had to pay for a TurboTax product

19   and also felt they could not reasonably change tax preparation methods at that point for that tax year,

20

21   136
         Respondent ID 1722.
22
     137
         Exhibit 6a.
     138
         Intuit, “Investor Day 2020,” September 23, 2020, p. 75, available at
23   https://s23.q4cdn.com/935127502/files/doc_presentations/2020/09/23/Intuit-Investor092320_POST_v8-
     (2).pdf (“51M logged into [TurboTax Online,]” “35.8M filed with [TurboTax Online,]” and 15.1M filers
24   logged into TurboTax, but did not complete”).
25
     139
         Specifically, 11.0% of respondents “Used a different preparation method/provider in 2021” and 32.3% of
     respondents “Used the same preparation method/provider in 2021 and did consider using a different
26   method/provider.” See, Exhibit 4. Similarly, the 2022 MITRE Report found that 49% of respondents “can see
     [themselves] switch[ing]” filing methods under certain circumstances. See, Patterson, J. et. al., “Final Report:
27   Key Findings and Implications for the IRS Free File Program,” The MITRE Corporation, January 2022,
     Appendix F, tab b) Other methods considered.
28   140
         Lew, G., 2017. “The importance of customer lifetime value in determining their profitability.” The
     Business and Management Review, 8(4), 24-30, p. 24.
                                                       42
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1    they would be unlikely to return to TurboTax in future years and TurboTax would lose that stream of

2    revenue. However, a 2019 study on defection from TurboTax indicates that TurboTax had an overall

3    retention rate of 78.7%, with veteran TurboTax users having an even higher retention rate of 84.3%. 141

4                88.   My Purchase Driver Study finds that 47 out of 103 TurboTax users, 45.6%, used

5    TurboTax in the previous year and did not consider switching (i.e., sorted into Track 1). In open-ended

6    responses, these respondents reported that this was because their current choice was familiar,

7    satisfactory, and easy to use. For example, respondents noted that they didn’t consider another

8    method/provider because “I was pleased with the service in prior years,” “I have always used Turbo

9    Tax for filing my taxes because of how easy it was and the easy layout” and “I was satisfied with turbo
10   tax and found it easy to use.” 142 This is consistent with TurboTax’s generally high customer satisfaction
11   ratings. A TY 2020 NPS Study showed that TurboTax Online scored an NPS of 42, which is consistent

12   with or better than competitors like H&R Block Online (42) and TaxAct (26), who also offer both paid

13   and free products. 143 Even paid editions of TurboTax received a NPS of 38, suggesting a lack of

14   widespread dissatisfaction among the very consumers Plaintiff argues have been deceived. 144 Users of

15   TurboTax paid editions also left tens of thousands of 5-star reviews on the TurboTax website, further

16   indicating their satisfaction with the tax filing process using TurboTax. For example, TurboTax Deluxe

17   currently has more than 50,000 reviews, 78% of which have five stars. Only 3% of reviews have one

18   star. 145

19               89.   Evidence from my Purchase Driver Survey shows that consumers feel comfortable

20   changing tax preparation providers even after starting their tax returns and will even do so strategically

21

22

23
     141
         Intuit, 2019 TurboTax Defection Study, p. 5.
     142
         Respondent IDs 395, 297, and 92.
24   143
         Intuit, 2021 TurboTax Online TY20 NPS Study, p. 4. Net Promoter Score (NPS) is a metric measuring
     consumer satisfaction where consumers rate on a scale of 0 - 10 how likely they would be to recommend a
25   product to a friend. Customers who rate the product from 0 - 6 are considered “detractors,” while customers
     who rate the brand a 9 or 10 are called “promoters.” The NPS is then calculated by netting out detractors from
26   promoters. See, Chen, E., “What is the Net Promoter Score (NPS)?” MIT Orbit, March 5, 2019, available at
     https://orbit-kb.mit.edu/hc/en-us/articles/206440723-What-is-the-Net-Promoter-Score-NPS-.
27   144
         Intuit, 2021 TurboTax Online TY20 NPS Study, p. 5.
28   145
         “TurboTax Deluxe Reviews,” Intuit TurboTax, available at
     https://turbotax.intuit.com/reviews/online/deluxe/?Sort=Rating:desc,SubmissionTime:desc,Helpfulness:desc
                                                      43
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1    to find the best tax solution for them. The high retention rates and customer satisfaction of existing

2    TurboTax customers demonstrate that TurboTax customers are satisfied with their choice of TurboTax,

3    rather than feeling duped or locked in. The 2020 Kirk Fair Disclosure Survey similarly finds that most

4    consumers do not feel “locked into” filing their taxes with TurboTax. 146

5                   D. The 2020 Kirk Fair Disclosure Survey Undermines Plaintiff’s Allegations that

6                      Consumers Were Deceived into Upgrading

7             90.      On November 4, 2020, Ms. Rebecca Kirk Fair provided a white paper report to the FTC
8    describing a study that she, as an expert, conducted. 147 The 2020 Kirk Fair Disclosure Survey tested
9    whether — after being exposed to Free Edition banner advertising 148 and website pages 149 and being
10   asked to imagine they began their return in Free Edition 150 — consumers would respond to different
11   information about alternative filing options as part of the hard stop upgrade process, including
12   additional information about other free filing options. 151 That is, the 2020 Kirk Fair Disclosure Survey
13   used a test and control experimental design in which respondents were randomly assigned to one of
14   three groups: the “Current Screen Group” of respondents saw a current (at the time) upgrade screen;
15   the “Enhanced Information Screen Group” saw an upgrade screen that provided more information
16   about free filing alternatives (specifically the IRS Free File Program); 152 and the “Reduced
17   Information Screen Group” saw an upgrade screen that provided respondents with limited information
18

19

20   146
         2020 Kirk Fair Report, ¶¶ 19-25. For a brief description of the 2020 Kirk Fair Disclosure Survey, see,
     Section V.D.
21   147
         Ms. Kirk Fair’s Report is attached as Appendix J and includes Ms. Kirk Fair’s qualifications, the materials
     she relied upon, a description of the survey and methodology, the survey script and programming instructions,
22   screenshots of the survey, and analyses of the survey’s data.
23
     148
         The Free Edition banner ad presented to respondents included the language “free guaranteed” and “file for
     $0”. See, 2020 Kirk Fair Report, Appendix D.1, p. 5.
24   149
         2020 Kirk Fair Report, Appendix D.1, pp. 6-8.
     150
         2020 Kirk Fair Report, Appendix D.1, p. 9.
25   151
         2020 Kirk Fair Report, ¶¶ 6-9. For a more detailed description of the 2020 Kirk Fair Disclosure Survey
26   design, administration, and analysis, see, Appendix C to the 2020 Kirk Fair Report.
     152
         The stimuli shown to the Enhanced Information Screen Group noted at the top of the upgrade screen in
27   bold font: “Based on what you told us about your tax situation, you’ll need to upgrade to accurately
     complete your taxes. Alternatively, you may be eligible to file for free through the IRS Free File
28   Program.” The stimuli also included the IRS Free File Program in the product table, allowing respondents to
     compare it directly alongside the TurboTax products.
                                                      44
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1    on alternative filing options. 153 Respondents were then asked a series of open-ended and closed-ended

2    questions to understand respondents’ next steps after seeing the upgrade screen, including what tax

3    preparation products they would consider and most likely choose to use. 154 All analyses were done to

4    high scientific standards.

5             91.    In this way, the 2020 Kirk Fair Disclosure Survey generally follows the process

6    Plaintiff alleges in the Complaint that consumers go through. Specifically, Plaintiff has suggested that

7    consumers learn about TurboTax Free Edition via Intuit’s advertising, consumers visit the web page

8    with expectations that they can file their return for free, then start a return still believing that they can

9    file for free, only to be told in the middle of the process that they don’t qualify and must pay to file
10   their taxes. If Plaintiff’s theory that reasonable consumers were deceived by Intuit’s advertisements,
11   website communications, and disclosures were accurate, there are a few ways in which I would expect
12   to see respondents in the 2020 Kirk Fair Disclosure Survey respond to the follow-up questions after
13   seeing an upgrade screen. First, I would expect to see measurable differences in respondents’ choices
14   to upgrade to the TurboTax Paid Products across the three groups (Current Screen, Reduced
15   Information Screen, Enhanced Information Screen — each of which presents different information
16   about alternative filing options), but especially after sharing more detailed information about other
17   free filing options in the Enhanced Information Screen Group. Second, I would expect to see a
18   considerable number of open-ended responses consistent with respondents feeling like they “had no

19   other choice” but to upgrade.

20            92.    To the extent that consumers felt deceived or trapped upon seeing the TurboTax

21   upgrade screen, I would expect to see that they would make different choices as far as which products

22   they would most likely use to file their taxes based on the information provided in the upgrade screen.

23   Importantly, by providing respondents with additional information about other free filing options (i.e.,

24   the Enhanced Information Screen), I would expect to see fewer respondents choose to upgrade to

25

26   153
         2020 Kirk Fair Report, ¶¶ 6-9.
27   154
         2020 Kirk Fair Report, ¶ 9. The target sample U.S. consumers over 18 years old who either (i) had filed
     taxes in 2019 (for 2018 income) or (ii) filed taxes in 2020 (for 2019 income); who used an online tax software
28   to file their household taxes in 2019 or 2020; and who were the party primarily responsible for or
     substantially involved in preparing their household taxes. See, 2020 Kirk Fair Report, Appendix C, p. 4.
                                                      45
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1    TurboTax Paid products and more respondents choose to seek out these other free options, relative to

2    TurboTax’s existing upgrade screen. However, Ms. Kirk Fair finds that there is “no material difference

3    in consumers’ selection of an upgrade to Paid TurboTax products or selection of the IRS Free File

4    Program across study conditions.” 155 The 2020 Kirk Fair Disclosure Survey data indicate that

5    respondents choose to upgrade to Paid TurboTax products (44%, 40%, and 46% in the Current,

6    Reduced, and Enhanced groups, respectively) and choose to use the IRS Free File Program (7%, 9%,

7    10% in the Current, Reduced, and Enhanced groups, respectively) at similar rates across conditions.

8    The differences observed from adding incremental information (i.e., Current vs. Enhanced Information

9    Screen groups) or removing information (i.e., Current vs. Reduced Information Screen groups) are
10   small (2-4%) and not statistically significant. 156
11            93.    Furthermore, to the extent that consumers felt deceived or trapped upon seeing the

12   TurboTax upgrade screens, I would expect to find a considerable number of respondents whose open-

13   ended responses reflect this sentiment. Yet, Ms. Kirk Fair’s analysis of the open-ended response data

14   “demonstrate respondents’ awareness of and willingness to consider other alternatives and to identify

15   and use the ‘right’ product for their specific situation, whether that was TurboTax or an alternative

16   provider.” 157 Nearly 39% of respondents provided responses indicating that they had the “agency to

17   identify the right tax preparation product for their particular tax situation and preferences,” including

18   those who said they would seek out an alternative product (15%), conduct additional research (17%),

19   delete their account/exit the website (5%), upgrade based on what they understand about their tax

20   situation (3%), or upgrade after conducting research (1%). 158 By comparison, Ms. Kirk Fair’s analysis

21

22

23

24
     155
         2020 Kirk Fair Report, ¶¶ 3, 10. “[M]y research indicates that TurboTax’s upgrade screen does not
25   materially change the rate at which customers upgrade or the rate at which they select IRS Free File Program.
     Specifically, when I compare the rate at which taxpayers select a TurboTax Paid product or at which they
26   select the IRS Free File Program, there is no statistically significant difference across the study groups that I
     tested.”
27   156
         2020 Kirk Fair Report, Exhibit 2.A.
28   157
         2020 Kirk Fair Report, ¶ 19.
     158
         2020 Kirk Fair Report, ¶ 22-23, n.20; Exhibit 5.
                                                       46
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                                                                              Exhibit 1
                                                                      Survey Response Statistics

                                                                                                           Number of            % of
 Status                                                                                                   Respondents        Respondents
                                   [1]
 Total Survey Starts                                                                                        1,797              100.0%
 Screened out of survey, due to:                                                                            1,092               60.8%
            [2]
      Age                                                                                                     240                13.4%
                    [3]
      Gender                                                                                                   37                 2.1%
              [4]
      State                                                                                                     1                 0.1%
                             [5]
      Employment                                                                                               69                 3.8%
                                                         [6]
      Participation in similar surveys                                                                         89                 5.0%
                                                  [7]
      Did not file taxes in 2021                                                                              559                31.1%
                                                [8]
      Tax preparation method                                                                                    4                 0.2%
                                          [9]
      Tax preparation role                                                                                     17                 0.9%
                                                        [10]
      Disqualified by panel provider                                                                           29                 1.6%
                                           [11]
      Failed attention check                                                                                   47                 2.6%
                          [12]
 Self Termination                                                                                             166                9.2%
                          [13]
 Exceeded Quota                                                                                               239               13.3%
                              [14]
 Completed Survey                                                                                             300               16.7%
                          [15]
 Completion Rate                                                                                              64.4%
                                                                                                           Number of            % of
 Status                                                                                                   Respondents        Respondents
 Completed Survey                                                                                            300              100.0%
 Removed from analytical sample, due to:                                                                      18                6.0%
                                                               [16]
      Non-Responsive Open Ended Responses                                                                       5                 1.7%
                      [17]
      No Track                                                                                                  3                 1.0%
                                           [18]
      Filing Method - Other                                                                                     2                 0.7%
                                   [19]
      FastTax Filing                                                                                            8                 2.7%
                              [20]
 Analytical Sample                                                                                            282               94.0%


 Notes:
 [1] Includes only respondents who clicked on the survey and proceeded past the digital fingerprinting in S0 (“Please enter the code exactly
 as it appears in the image below, and then click continue.”) of the survey screener, had a non-duplicate IP address, an age and gender on
 file, and passed the Captcha Term.
 [2] Respondents who provided an age which did not match what panel provider had on file, said they were less than 18 years old or did not
 provide an age were screened out of the survey in S2.
 [3] Respondents who either selected “Other / Prefer not to answer” for gender or provided a gender which did not match their profile with
 panel provider were screened out of the survey in S3.
 [4] Respondents who selected “Other” in response to S4 were screened out of the survey.
 [5] Respondents who selected that they or a family member worked for “An accounting, tax, or a tax preparation service provider
 company,” “A marketing, market research, or advertising agency,” or “Your state or the federal government” in response to S5 were
 screened out of the survey.
 [6] Respondents who selected “Accounting or tax services” in response to S6 were screened out of the survey.
 [7] Respondents who did not select “Prepared and filed my household’s taxes” in S7 were screened out of the survey.
 [8] Respondents who selected “Don’t know / Unsure” in response to S8 were screened out of the survey.
 [9] Respondents who selected “I had little involvement in preparing my / our household taxes” or “Don't know / Unsure” in response to S10
 were screened out of the survey.
 [10] Panel provider independently screened responses for quality based on open-ended responses, internal quality control flags, and survey
 complete time.
 [11] Respondents who either selected “Climbed Mount Kashoun” in response to S7, “FastTax Filing” in response to S9, or an incorrect
 response to S11 were screened out of the survey.
 [12] Respondents who self-terminated after proceeding past the digital fingerprinting in S0 were excluded from the survey.
 [13] Respondents who started the survey after the quota for their respective age, region, and gender had been filled were terminated.
 [14] Includes the 300 respondents who qualified for, and completed, the survey.
 [15] The completion rate is 64.4%, or: [completed survey]/[completed survey+self termination].
 [16] Respondents who completed the survey but are excluded from the analytical sample as their open-ended responses were not responsive
 to the questions asked.
 [17] Respondents who completed the survey but are excluded from the analytical sample as they were not placed in a track (by indicating
 “Yes” in Q2: “Did you or did you not use this same method / provider to prepare and file your taxes last year, in 2020 (for 2019 income)?”
 and then “Don't know / Unsure” in Q3: “Did you or did you not consider using a different tax preparation method / provider this year?”).
 [18] Respondents who completed the survey but are excluded from the analytical sample as they answered “Other (Please Specify)” in
 response to S8.
 [19] Respondents who completed the survey but are excluded from the analytical sample as they selected “FastTax Filing” in response to
 F2.
 [20] The analytical sample is the remainder of respondents who completed the survey after the quality control steps as noted above were
 taken. Solely the analytical sample is used when referring to "All Respondents" in the following exhibits.
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                                                             Exhibit 2
                                           Survey Response Statistics for Survey Completes
                                                                                                         Number of            % of
Demographic                                                                                             Respondents       Respondents
           [1]
    Gender
       Female                                                                                                153             54.3%
       Male                                                                                                  129             45.7%
    Age[2]
       18 - 29 years old                                                                                      49             17.4%
       30 - 39 years old                                                                                      38             13.5%
       40 - 49 years old                                                                                      55             19.5%
       50 - 59 years old                                                                                      56             19.9%
       60 years old or older                                                                                  84             29.8%
    Region[3]
       Northeast                                                                                              51             18.1%
       Midwest                                                                                                67             23.8%
       South                                                                                                  98             34.8%
       West                                                                                                   66             23.4%
    Household Income[4]
       Less than $25,000                                                                                      21              7.4%
       $25,000 - $49,999                                                                                      64             22.7%
       $50,000 - $74,999                                                                                      55             19.5%
       $75,000 - $99,999                                                                                      58             20.6%
       $100,000 - $150,000                                                                                    52             18.4%
       Greater than $150,000                                                                                  25              8.9%
       Prefer not to answer                                                                                    7              2.5%

Total                                                                                                        282           100.0%

Notes:
[1] Respondents who selected their gender in response to S3 (“Please indicate your gender”).
[2] Respondents who selected their appropriate age bucket in response to S2 (“How old are you?”).
[3] Respondents who selected a state in response to S4 (“In what state do you currently reside?”) were categorized into census regions by
panel provider.
[4] Respondents who selected their household income in response to F4 (“What was your total household income before taxes in 2020? As
a reminder, all responses are anonymous.”).
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                                                                  Exhibit 3
                                                    Tabulation of Responses to S8 and S9

                                                                                                            Number of           % of
Question                                                                                                    Respondents     Respondents
S8: Thinking about your personal income taxes filed in 2021, how did you prepare and file your
taxes?
        I used an online tax website to prepare and file my / our household taxes[1]                            190           67.4%
              TurboTax                                                                                          103           36.5%
              H&R Block                                                                                          22            7.8%
              TaxAct                                                                                             19            6.7%
              IRS FreeFile                                                                                       15            5.3%
              Credit Karma Tax                                                                                   10            3.5%
              TaxSlayer                                                                                           5            1.8%
              TaxHawk                                                                                             3            1.1%
              Liberty Tax                                                                                         2            0.7%
              Jackson Hewitt                                                                                      2            0.7%
                Other [2]                                                                                         7            2.5%
                Don't Know / Unsure                                                                               2            0.7%
        I worked with a tax professional to prepare and file my / our household taxes (e.g., I worked            46           16.3%
        with a tax accountant, CPA, retail store)
        I used a tax software installed on my computer to prepare and file my / our household taxes              37           13.1%
        (e.g., I used a disk / CD or downloaded software)
        I self-prepared and filed my / our household taxes without using any service (e.g., I prepared my         9            3.2%
        tax forms on paper, I manually filled in my tax forms online)

Total                                                                                                           282          100.0%

Notes:
[1] People who selected this option for question S8 were asked S9: “You indicated that you used an online tax website to prepare and file
your taxes in 2021. Which of the following online tax websites did you use to prepare and file your taxes in 2021?”
[2] All respondents who chose “Other” indicated that they used “FreeTaxUSA.”
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                                                      Exhibit 4
                                           Number of Respondents by Track

                                                                                     Number of               % of
Name             Description                                                        Respondents         Respondents
          [1]    Used the same preparation method/provider in 2021 and did                  157              55.7%
Track 1
                 not consider using a different method/provider
          [2]    Used the same preparation method/provider in 2021 and did                   91              32.3%
Track 2
                 consider using a different method/provider
          [3]                                                                                31              11.0%
Track 3          Used a different preparation method/provider in 2021
          [4]                                                                                 3               1.1%
Track 4          Did not file taxes in 2020 / Didn't know
Total                                                                                       282            100.0%

Notes:
[1] Respondents in this track indicated “Yes” in Q2: “Did you or did you not use this same method / provider to prepare
and file your taxes last year, in 2020 (for 2019 income)? and then “No” in Q3: “Did you or did you not consider using a
different tax preparation method / provider this year?”
[2] Respondents in this track indicated “Yes” in Q2: “Did you or did you not use this same method / provider to prepare
and file your taxes last year, in 2020 (for 2019 income)?” and then “Yes” in Q3: “Did you or did you not consider using
a different tax preparation method / provider this year?”
[3] Respondents in this track indicated “No” in Q2: “Did you or did you not use this same method / provider to prepare
and file your taxes last year, in 2020 (for 2019 income)?”
[4] Respondents in this track indicated “I did not file taxes last year” or “Don't know / Unsure” in Q2: “Did you or did
you not use this same method / provider to prepare and file your taxes last year, in 2020 (for 2019 income)?”
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                                                         Exhibit 5
                        Tabulation of Responses to Consideration Open Ended Questions (Q4a, Q4b)
                                                 Respondents from Track 1


                                                                                                                    % of
                                                                                               Number of
                                                                                                                            [2]
Question                                                                                      Respondents      Respondents
Q4a/b: In your own words, why did you not consider using another method / provider to
prepare and file your taxes this year?[1]
      Current choice is familiar                                                                     96             61.1%
      Current choice is satisfactory                                                                 76             48.4%
      Current choice is easy to use                                                                  35             22.3%
      Past year's tax information is accessible                                                      32             20.4%
      Current choice is cost-effective                                                               24             15.3%
      Hesitant to learn new method                                                                   10              6.4%
      Other methods researched were less preferable to current method / unavailable                   6              3.8%
      Not responsive to question                                                                      0              0.0%
Total[3]                                                                                            157

Notes:
[1] Answers to these open ended questions were coded into numerical 0-1 category variables by independent coders who were blind
to the purpose of this analysis.
[2] The percentages exceed 100% as respondents were allowed to select multiple responses unless they selected “None of the
above” or “Don't Know / Unsure.”
[3] Total is inclusive of respondents who were shown the questions but did not provide a response.
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                                          Exhibit 6a
     Tabulation of Responses to Research Methods Closed Ended Questions (Q6c, Q10c, Q13c)
                        Respondents from Track 2, Track 3, and Track 4


                                                                                            % of
                                                                        Number of
                                                                                                       [2]
Question                                                                Respondents    Respondents
Q6c, Q10c, Q13c: You may have already mentioned this, but which
of these, if any, did you do in researching tax preparation methods /
providers?[1]
       Explored tax preparation software / service websites                  58             46.4%
       Spoke with friends / family                                           54             43.2%
       Read customer reviews or testimonials                                 47             37.6%
       Read articles, rankings, or third-party reviews                       46             36.8%
       Explored the IRS or state government websites                         33             26.4%
       Viewed advertisements                                                 33             26.4%
       Watched online tutorials / videos                                     33             26.4%
       Tried out one or more online tax website(s) without filing            27             21.6%
       Sought advice from a tax professional                                 24             19.2%
       Reviewed marketing emails                                             19             15.2%
       None of the above                                                     12              9.6%
       Other                                                                  2              1.6%
       Don't Know / Unsure                                                    0              0.0%
Total                                                                       125

Notes:
[1] Respondents who selected their chosen research method(s) in response to Q6c, Q10c, or Q13c.
[2] The percentages exceed 100% as respondents were allowed to select multiple responses unless they
selected “None of the above” or “Don't Know / Unsure.”
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                                                       Exhibit 6b
 Tabulation of Responses to Research Methods Open Ended Questions (Q6a, Q6b, Q10a, Q10b, Q13a, Q13b) and Anything
                                                  Else (Q8, Q12, Q15)
                                     Respondents from Track 2, Track 3, and Track 4


                                                                                                                        % of
                                                                                                  Number of
                                                                                                                                [2]
Question                                                                                         Respondents       Respondents
Q6a/b, Q10a/b, Q13a/b: What, if any, research did you conduct into potential tax preparation
methods / providers?[1]
Research Method
        Search engine                                                                                   48              38.4%
        Explored tax preparation software / service websites                                            23              18.4%
        Read customer reviews or testimonials                                                           14              11.2%
        Spoke with friends / family                                                                     13              10.4%
        No research                                                                                     11               8.8%
        Read articles, rankings, or third-party reviews                                                 10               8.0%
        Not responsive to question                                                                       5               4.0%
        Watched online tutorials / videos                                                                4               3.2%
        Viewed advertisements                                                                            3               2.4%
        Sought advice from a tax professional                                                            3               2.4%
        Tried out one or more online tax website(s) without filing                                       2               1.6%
        Explored the IRS or state government websites                                                    1               0.8%
        Reviewed marketing emails
Research Topic
        Researched affordable providers                                                                 27              21.6%
        Researched free providers                                                                        9               7.2%
        Researched providers based on convenience / ease of use                                          8               6.4%
        Researched local options                                                                         5               4.0%
        Researched reliable option                                                                       3               2.4%
        Researched providers that would help with getting the highest return                             3               2.4%
        Researched methods that provide fast return                                                      2               1.6%
Total[3]                                                                                               125

Notes:
[1] Answers to these open ended questions were coded into numerical 0-1 category variables by independent coders who were blind to
the purpose of this analysis.
[2] The percentages exceed 100% as respondents were allowed to select multiple responses unless they selected “None of the above” or
“Don't Know / Unsure.”
[3] Total is inclusive of respondents who were shown the questions but did not provide a response.
[4] Statistics include research methods mentioned in research method open-ended questions (Q6a, Q6b, Q10a, Q10b, Q13a, Q13b) and
anything else questions (Q8, Q12, Q15).
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                                               Exhibit 7
    Frequency Tabulation of Responses to Research Methods Closed Ended Questions (Q6c, Q10c, Q13c)
                             Respondents from Track 2, Track 3, and Track 4



                                                                               Number of           % of
Question                                                                       Respondents     Respondents
Q6c, Q10c, Q13c: You may have already mentioned this, but which of these, if
any, did you do in researching tax preparation methods / providers?
Number of Research Mehods Selected[1]
                                                0                                   12             9.6%
                                                1                                   21            16.8%
                                                2                                   20            16.0%
                                                3                                   31            24.8%
                                                4                                   16            12.8%
                                                5                                   11             8.8%
                                                6                                    6             4.8%
                                                7                                    3             2.4%
                                                8                                    2             1.6%
                                                9                                    0             0.0%
                                               10                                    3             2.4%
Average                                                                             3.0
Total                                                                              125            100.0%

Note:
[1] Respondents who selected “None of the above” or “Don't Know / Unsure” fall under “0” Research Methods
Selected.
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                                           Exhibit 8a
     Tabulation of Responses to Important Factors Closed Ended Questions (Q7c, Q11c, Q14c)
                         Respondents from Track 2, Track 3, and Track 4


                                                                                            % of
                                                                       Number of
                                                                                                       [2]
Question                                                              Respondents      Respondents
Q7c, Q11c, Q14c: You may have already mentioned this, but which
of these factors, if any, were important to you when choosing a tax
preparation method / provider?[1]
       Price                                                                 88             70.4%
       Ease of use                                                           86             68.8%
       Confidence in accuracy / reliability                                  66             52.8%
       Data security                                                         57             45.6%
       Tax refund amount                                                     47             37.6%
       Brand / reputation                                                    47             37.6%
       Getting refund quickly                                                35             28.0%
       Past experience with the tax preparation method / provider            35             28.0%
       Accessing last year's tax information                                 34             27.2%
       Having expert help / individualized attention                         33             26.4%
       Recommendations from friends / family                                 24             19.2%
       Availability of additional services from the same provider            21             16.8%
       Other                                                                  1              0.8%
       None of the above                                                      1              0.8%
       Don't Know / Unsure                                                    0              0.0%
Total                                                                       125

Notes:
[1] Respondents who selected their most important factors in response to Q7c, Q11c, or Q14c.
[2] The percentages exceed 100% as respondents were allowed to select multiple responses unless they
selected “None of the above” or “Don't Know / Unsure.”
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                                                      Exhibit 8b
 Tabulation of Responses to Important Factors Open Ended Questions (Q7a, Q7b, Q11a, Q11b, Q14a, Q14b) and Anything
                                                 Else (Q8, Q12, Q15)
                                    Respondents from Track 2, Track 3, and Track 4


                                                                                                                      % of
                                                                                                 Number of
                                                                                                                              [2]
Question                                                                                        Respondents      Respondents
Q7a/b, Q11a/b, Q14a/b: In your own words, what factors were important to you when choosing
a tax preparation method / provider?[1]
         Affordability                                                                                 51            40.8%
         Ease of use                                                                                   40            32.0%
         Confidence in accuracy / reliability                                                          33            26.4%
         Brand / reputation                                                                            17            13.6%
         Free service                                                                                  16            12.8%
         Efficiency / Time spent filing                                                                13            10.4%
         Having expert help / individualized attention                                                 10             8.0%
         Tax refund amount                                                                             10             8.0%
         Past experience with the tax preparation method / provider                                     7             5.6%
         Getting refund quickly                                                                         7             5.6%
         Data security                                                                                  4             3.2%
         Accessing last year’s tax information within platform                                          4             3.2%
         Not responsive to question                                                                     4             3.2%
         Support regarding filing mistakes and audits                                                   3             2.4%
         Recommendations from friends / family                                                          2             1.6%
         No factors                                                                                     2             1.6%
         Availability of additional services from the same provider                                     1             0.8%
         In-person provider following COVID guidelines                                                  1             0.8%
         Ease of transfering past tax information to a new platform                                     1             0.8%
         IRS approved                                                                                   1             0.8%
Total[3]                                                                                             125

Notes:
[1] Answers to these open ended questions were coded into numerical 0-1 category variables by independent coders who were blind
to the purpose of this analysis.
[2] The percentages exceed 100% as respondents were allowed to select multiple responses unless they selected “None of the above”
or “Don't Know / Unsure.”
[3] Total is inclusive of respondents who were shown the questions but did not provide a response.
[4] Statistics include factors mentioned in factor open-ended questions (Q7a, Q7b, Q11a, Q11b, Q14a, Q14b) and anything else
questions (Q8, Q12, Q15).
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                                               Exhibit 9
    Frequency Tabulation of Responses to Important Factors Closed Ended Questions (Q7c, Q11c, Q14c)
                             Respondents from Track 2, Track 3, and Track 4



                                                                                  Number of          % of
Question                                                                          Respondents    Respondents
Q7c, Q11c, Q14c: You may have already mentioned this, but which of these
factors, if any, were important to you when choosing a tax preparation method /
provider?
Number of Important Factors Selected[1]
                                                  0                                      1            0.8%
                                                  1                                    10             8.0%
                                                  2                                    14            11.2%
                                                  3                                    26            20.8%
                                                  4                                    23            18.4%
                                                  5                                    17            13.6%
                                                  6                                    11             8.8%
                                                  7                                      4            3.2%
                                                  8                                      6            4.8%
                                                  9                                      4            3.2%
                                                 10                                      1            0.8%
                                                 11                                      3            2.4%
                                                 12                                      5            4.0%
Average                                                                                 4.6
Total                                                                                  125          100.0%

Note:
[1] Respondents who selected “None of the above” or “Don't Know / Unsure” fall under “0” Factors Selected.
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                                                                                                                 Exhibit 10 Sensitivity
                                                                                Tabulation of Responses to Research Methods Closed Ended Questions (Q6c, Q10c, Q13c)
                                                                                                   Respondents from Track 2, Track 3, and Track 4

                                                                                                                                      [3]                                       [4]                                  [5]                                  [6]
                                                                            Main Analytical Sample                   All Respondents                  TurboTax Online Users                  No Speeders or Laggers                Non-Litigation Aware
                                                                                                % of                                  % of                                 % of                                  % of                                 % of
                                                                          Number of                             Number of                            Number of                              Number of                            Number of
                                                                                                        [2]                                   [2]                                     [2]                                  [2]                                  [2]
Question                                                                  Respondents     Respondents          Respondents      Respondents         Respondents       Respondents           Respondents    Respondents           Respondents     Respondents
Q6c, Q10c, Q13c: You may have already mentioned this, but which
of these, if any, did you do in researching tax preparation methods /
providers?[1]
             Explored tax preparation software / service websites               58             46.4%                 65              47.1%                 29             51.8%                  57             47.5%                 40              47.6%
             Spoke with friends / family                                        54             43.2%                 58              42.0%                 26             46.4%                  51             42.5%                 38              45.2%
             Read customer reviews or testimonials                              47             37.6%                 53              38.4%                 23             41.1%                  44             36.7%                 28              33.3%
             Read articles, rankings, or third-party reviews                    46             36.8%                 52              37.7%                 25             44.6%                  45             37.5%                 29              34.5%
             Explored the IRS or state government websites                      33             26.4%                 38              27.5%                 17             30.4%                  31             25.8%                 23              27.4%
             Viewed advertisements                                              33             26.4%                 38              27.5%                 12             21.4%                  32             26.7%                 21              25.0%
             Watched online tutorials / videos                                  33             26.4%                 40              29.0%                 18             32.1%                  30             25.0%                 22              26.2%
             Tried out one or more online tax website(s) without filing         27             21.6%                 30              21.7%                 13             23.2%                  25             20.8%                 17              20.2%
             Sought advice from a tax professional                              24             19.2%                 28              20.3%                 14             25.0%                  23             19.2%                 15              17.9%
             Reviewed marketing emails                                          19             15.2%                 23              16.7%                  6             10.7%                  17             14.2%                 11              13.1%
             None of the above                                                  12              9.6%                 12               8.7%                  3              5.4%                  12             10.0%                  7               8.3%
             Other                                                               2              1.6%                  2               1.4%                  0              0.0%                   2              1.7%                  1               1.2%
             Don't Know / Unsure                                                 0              0.0%                  0               0.0%                  0              0.0%                   0              0.0%                  0               0.0%
Total                                                                          125                                  138                                    56                                   120                                   84

Notes:
[1] Respondents who selected their chosen research method(s) in response to Q6c, Q10c, or Q13c.
[2] The percentages exceed 100% as respondents were allowed to select multiple responses unless they selected “None of the above” or “Don't Know / Unsure.”
[3] Includes all respondents who completed the Purchase Driver Survey, without exclusions that lead to the formation of the Main Analytical Sample.
[4] Includes respondents in the Main Analytical Sample who selected “TurboTax” to question S9 (“You indicated that you used an online tax website to prepare and file your taxes in 2021. Which of the following online tax websites did you use to prepare and
file your taxes in 2021?”).
[5] Includes respondents in the Main Analytical Sample who took longer than 2 minutes and shorter than 30 minutes to complete the survey.
[6] Includes respondents in the Main Analytical Sample who selected “No, I am not aware of any media reports, investigations, or lawsuits” in response to question F3 (“Are you or are you not aware of any media reports, investigations, or lawsuits involving a
tax preparation website / software provider or accounting company?”).
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                                                                                                                Exhibit 11 Sensitivity
                                                                                Tabulation of Responses to Important Factors Closed Ended Questions (Q7c, Q11c, Q14c)
                                                                                                   Respondents from Track 2, Track 3, and Track 4

                                                                                                                                      [3]                                       [4]                                  [5]                                  [6]
                                                                            Main Analytical Sample                   All Respondents                  TurboTax Online Users                  No Speeders or Laggers                Non-Litigation Aware
                                                                                                % of                                  % of                                 % of                                  % of                                 % of
                                                                          Number of                             Number of                            Number of                              Number of                            Number of
                                                                                                        [2]                                   [2]                                     [2]                                  [2]                                  [2]
Question                                                                 Respondents      Respondents          Respondents      Respondents         Respondents       Respondents           Respondents    Respondents           Respondents     Respondents
Q7c, Q11c, Q14c: You may have already mentioned this, but which
of these factors, if any, were important to you when choosing a tax
preparation method / provider?[1]
            Price                                                               88             70.4%                 93              67.4%                 37             66.1%                  86             71.7%                 63              75.0%
            Ease of use                                                         86             68.8%                 90              65.2%                 36             64.3%                  81             67.5%                 56              66.7%
            Confidence in accuracy / reliability                                66             52.8%                 70              50.7%                 33             58.9%                  63             52.5%                 52              61.9%
            Data security                                                       57             45.6%                 64              46.4%                 25             44.6%                  54             45.0%                 36              42.9%
            Tax refund amount                                                   47             37.6%                 54              39.1%                 21             37.5%                  45             37.5%                 29              34.5%
            Brand / reputation                                                  47             37.6%                 53              38.4%                 21             37.5%                  46             38.3%                 33              39.3%
            Getting refund quickly                                              35             28.0%                 41              29.7%                 16             28.6%                  33             27.5%                 23              27.4%
            Past experience with the tax preparation method / provider          35             28.0%                 38              27.5%                 17             30.4%                  34             28.3%                 26              31.0%
            Accessing last year's tax information                               34             27.2%                 37              26.8%                 16             28.6%                  31             25.8%                 20              23.8%
            Having expert help / individualized attention                       33             26.4%                 36              26.1%                 15             26.8%                  32             26.7%                 23              27.4%
            Recommendations from friends / family                               24             19.2%                 30              21.7%                 11             19.6%                  23             19.2%                 16              19.0%
            Availability of additional services from the same provider          21             16.8%                 26              18.8%                 10             17.9%                  19             15.8%                 10              11.9%
            Other                                                                1              0.8%                  1               0.7%                  0              0.0%                   1              0.8%                  1               1.2%
            None of the above                                                    1              0.8%                  1               0.7%                  1              1.8%                   1              0.8%                  1               1.2%
            Don't Know / Unsure                                                  0              0.0%                  0               0.0%                  0              0.0%                   0              0.0%                  0               0.0%
Total                                                                          125                                  138                                    56                                   120                                   84

Notes:
[1] Respondents who selected their most important factors in response to Q7c, Q11c, or Q14c.
[2] The percentages exceed 100% as respondents were allowed to select multiple responses unless they selected “None of the above” or “Don't Know / Unsure.”
[3] Includes all respondents who completed the Purchase Driver Survey, without exclusions that lead to the formation of the Main Analytical Sample.
[4] Includes respondents in the Main Analytical Sample who selected “TurboTax” to question S9 (“You indicated that you used an online tax website to prepare and file your taxes in 2021. Which of the following online tax websites did you use to prepare and
[5] Includes respondents in the Main Analytical Sample who took longer than 2 minutes and shorter than 30 minutes to complete the survey.
[6] Includes respondents in the Main Analytical Sample who selected “No, I am not aware of any media reports, investigations, or lawsuits” in response to question F3 (“Are you or are you not aware of any media reports, investigations, or lawsuits involving a
tax preparation website / software provider or accounting company?”).
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                          APPENDIX A
                     CV AND TESTIMONY LIST
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                                                                                                        Updated March 2022


                                                      ACADEMIC VITA
                                                      John R. Hauser
Address

MIT Sloan School of Management
Massachusetts Institute of Technology, E62-538
Cambridge, Massachusetts 02142
(617) 253-2929
https://mitmgmtfaculty.mit.edu/jhauser/

Education

Sc.D.     M.I.T., 1975, Operations Research Dissertation: "A Normative Methodology for Predicting Consumer Response to
          Design Decisions: Issues, Models, Theory and Use.”

          Advisor: John D. C. Little. Committee members: Glen L. Urban and Moshe Ben-Akiva.

S.M.      M.I.T., 1973, Civil Engineering (Transportation Systems Division)

S.M.      M.I.T., 1973, Electrical Engineering

S.B.      M.I.T., 1973, Electrical Engineering
          Joint Thesis (S.M.'s and S.B.): "An Efficient Method to Predict the Impacts of Operating Decisions for Conventional
          Bus Systems." Advisor: Nigel Wilson.

Honorary Degree

Doctor Honoris Causa, Erasmus School of Economics, Erasmus University, Dies Natalis 2016.

Lifetime Achievement Awards

Buck Weaver Award 2013, INFORMS Society of Marketing Science (ISMS).This award recognizes lifetime contributions to
       the theory and practice of marketing science.

Parlin Award 2001, The American Marketing Association describes this award as “the oldest and most distinguished award
        in the marketing research field.”

Converse Award 1996, the American Marketing Association, for “outstanding contributions to the development of the
        science of marketing.”

Churchill Award 2011, the American Marketing Association, Market Research Special Interest Group, for “Lifetime
        achievement in the academic study of marketing research.”

Fellow of the Institute for Operations Research and Management Science (INFORMS)

Inaugural Fellow of the INFORMS Society of Marketing Science (ISMS)

Highly Cited Researcher (ISI Web of Science), Since 2006.



Awards for Published Papers

INFORMS Society of Marketing Science         John D.C. Little Best-paper Award 2020, Finalist

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                                         ISMS Long Term Impact Award, 2019, Finalist
                                         ISMS Long Term Impact Award, 2018, Finalist
        (formerly The Institute          ISMS Long Term Impact Award, 2017, Finalist
        of Management Science)           ISMS Long Term Impact Award, 2012, Finalist
                                         ISMS Long Term Impact Award, 2011, Finalist
                                         John D.C. Little Best-paper Award, 2015, Finalist
                                         John D.C. Little Best-paper Award, 2009, Finalist
                                         John D.C. Little Best-paper Award, 2003, First Place
                                         John D.C. Little Best-paper Award, 1998, Finalist
                                         John D.C. Little Best-paper Award, 1994, Finalist
                                         John D.C. Little Best-paper Award, 1993, First Place
                                         John D.C. Little Best-paper Award, 1990, Honorable Mention
                                         Best paper in Marketing Sciences Literature, 1984, Honorable mention.
                                         Best Paper in Marketing Sciences Literature, 1983, First Place.
                                         Best Paper in Marketing Sciences Literature, 1982, First Place.
                                         Two published articles were cited in 2007 as one of “the top 20 marketing
                                         science articles in the past 25 years.

American Marketing Association:          Explor Award (Leadership is on-line market research), 2004, First-Place
                                         Finalist, Paul Green Award for contributions to marketing research, 2004
                                         MSI Award for Most Significant Contribution to Practice of Marketing in 1996.
                                         Finalist, O'dell Award for best paper in the Journal of Marketing Research,
                                         published in 1986, awarded in 1991.

                                         One of the top 50 most prolific marketing scholars (top journals) in the last 25
                                         years (1982-2006). Total articles, rate of publication, and author-adjusted rate.

Product Development Management Assoc. Best Paper Award, Finalist, 2003.
                                      Best Paper Award, Finalist, 2002.
                                      One of ten most-cited papers in the Journal of Product Innovation Management.
                                      One of the top articles in educational citations in the last twenty years.

European Marketing Academy               Best Paper in IJRM, Finalist, 2014

Sawtooth Software Conference             Best Presentation and Paper, 2006; Runner-up, 2008, Honorable Mention, 2016.

European Society of Marketing Research   Best Paper at Rome conference, September 1984.

Emerald Management Reviews               2010 Citation of Excellence (top 50 of 15,000 published papers in 2009)

Doctoral Consortia Faculty               American Marketing Association, 1979, 1984, 1985, 1986, 1988, 1989, 1991,
                                         1993, 1995, 1997, 1998, 2001, 2003, 2004, 2005, 2006, 2007, 2008, 2009, 2012,
                                         2013, 2014.

                                         INFORMS Society of Marketing Science, 2002 (founding member), 2003, 2004,
                                         2012, 2014, 2015, 2017, 2018.

                                         European Marketing Academy, 1985
Awards, Teaching

MIT Sloan School of Management:          Nominated for Excellence in Teaching Award 2000, 2007, 2008, 2020
                                         Named "Outstanding Faculty" by Business Week Guide to the Best Business
                                         Schools (1995).

                                         Excellence in Teaching Award 1994 (Awarded by the Master's Student class).

Awards for Thesis Supervision


                                                         A-2
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American Marketing Association (Ph.D.):   Winner John Howard Dissertation Award (2010, Matt Selove, Committee)
                                          Co-winner John Howard Dissertation Award (2005, Olivier Toubia)
                                          1st Place (1981, Ken Wisniewski)
                                          Honorable Mention (1979, Patricia Simmie).

INFORMS (Ph.D.)                           ISMS Doctoral Dissertation Proposal Award (2016, Artem Timoshenko)
                                          Winner of the Frank Bass Award (2004, Olivier Toubia, awarded 2005)
                                          Winner of the Frank Bass Award (1989, Abbie Griffin, awarded 1995)

MIT Sloan School of Management (Ph.D.): 1st Place (1987, Peter Fader)

MIT Sloan School of Management (Master's): 1st Place (1991, Jon Silver and John Thompson)
                                        1st Place (1983, Steve Gaskin)
                                        Honorable Mention (1982, Larry Kahn).

Marketing Science Institute               MSI Alden G. Clayton Doctoral Dissertation Proposal Competition 2017, Artem
                                          Timoshenko

Awards, Other

Who’s Who in America                      Since 1997

Who’s Who in Management Science           Since 2000

Who’s Who in Economics                    Since 2003

Who’s Who in Finance and Business         Since 2009

Harvard Business School:                  Marvin Bower Fellow, 1987 - 1988.

National Science Foundation Fellowship:   1971 - 1974.

M.I.T.                                    National Scholar, 1967 - 1971.

Honor Societies:                          Tau Beta Pi, Eta Kappa Nu, Sigma Xi

Directorships, Trustee, Advisory Board

2016 – Present                    Founder, Board of Directors, Hyper Morphing Technologies, B.V.

1988 – Present                    Founder, Senior Product Development Consultant at Applied Marketing Science, Inc.

March 2003 – July 2009            Trustee, Marketing Science Institute

Academic Appointments

January 1989 - Present            Kirin Professor of Marketing
                                  MIT Sloan School of Management
                                  Massachusetts Institute of Technology
                                  Cambridge, Massachusetts 02142

July 2017 – present               Head, Marketing Group

January 2020-June 2020            Acting Area Head, Management Science Area and member of Governance Committee

July 2010 – June 2011             Head, Marketing Group

July 2005 – June 2009             Area Head, Management Science Area

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July 1988 – June 2003              Head, Marketing Group

September 1993 - May 2000          co-Director, International Center for Research on the Management of Technology

September 1997 - May 2000          Research Director, Center for Innovation in Product Development

June 2001 – June 2006              Virtual Customer Initiative Leader, Center for Innovation in Product Development

July 1984 - January 1989           Professor of Management Science
                                   MIT Sloan School of Management
                                   Massachusetts Institute of Technology
                                   Cambridge, Massachusetts 02142

July 1987 - June 1988              Marvin Bower Fellow
                                   Harvard Business School
                                   Harvard University
                                   Cambridge, Massachusetts 02163

March 1985 - May 1985              Visiting Lecturer
                                   European Institute of Business Administration
                                   Fontainebleau, FRANCE

September 1980 - June 1984         Associate Professor of Management Science
                                   MIT Sloan School of Management
                                   Massachusetts Institute of Technology
                                   Cambridge, Massachusetts 02142

September 1975 - August 1980       Assistant Professor of Marketing and of Transportation
                                   (granted tenure and promoted in 1980)
                                   Graduate School of Management and Transportation Center
                                   Northwestern University
                                   Evanston, Illinois 60201

Teaching Interests
        Marketing Management, New Product and Service Development, Competitive Marketing Strategy, Marketing
        Models, Measurement and Marketing Research, Research Methodology, Marketing Analytics.

Research Interests
        Consumer decision measurement: conjoint analysis, non-compensatory methods, adaptive methods, machine-
        learning methods, strategic importance of accuracy. Product forecasting: information acceleration, really-new
        products, incentive-aligned games. Consumer behavior: cognitive simplicity in decision making and in dynamic
        models, theory-based models, vivid stimuli. Morphing: website, banner, product assortment. Voice of the customer
        methods, defensive and competitive strategy, new product development, experimental and quasi-experimental
        methods.

Books

Hauser, John R. and Glen L. Urban (2016), From Little's Law to Marketing Science: Essays in Honor of John D. C. Little,
         MIT Press: Cambridge MA.

        This is an edited volume that serves as a Festschrift to honor the lifetime achievements of John D. C. Little.

Urban, Glen L. and John R. Hauser (1993), Design and Marketing of New Products, 2E, Prentice-Hall.

        A comprehensive text that integrates advanced, state-of-the-art techniques to provide graduate-level students and
        marketing professionals with an understanding of the techniques and an operating ability to design, test, and
        implement new products and services.

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        This text has been honored by being selected for both the Prentice-Hall International Series in Management and the
        Series in Marketing. It has been adopted at a number of major universities. In a 1988 survey it was identified the
        1980 version as the most widely used new product textbook at the graduate level.

        The revision includes new material on designing for quality, reduced cycle times, prelaunch forecasting, quality
        improvement, defensive and competitive strategy, value mapping, the integration of marketing and engineering, new
        issues of organization, customer satisfaction, and new international examples. It is available in Korean and is being
        translated into Japanese and Chinese. Many current texts draw heavily from our material.

        Third most cited work in the Journal of Product Innovation, 1984-2004. (Cited May 2010.)

Urban, Glen L., John R. Hauser, and Niki Dholakia (1986), Essentials of New Product Management, Prentice Hall.

        This is an undergraduate textbook which presents the essential concepts but written for a non-technical audience. It
        has been translated to Japanese and has sold well in Japan.

Hauser, John R. (1986), Applying Marketing Management: Four Simulations, Scientific Press.

        This mini-text and software package contains four tutorial exercises for marketing management concepts. With this
        package students learn positioning, competitive strategy, new product development, and life cycle forecasting while
        using the personal computer to simulate marketing management problems. A detailed instructor's manual and
        transparency masters are also available. It is available in Japanese.

Hauser, John R. (1989), ENTERPRISE: An Integrating Management Exercise, Scientific Press.

        This mini-text and software package contains a comprehensive competitive simulation. Students compete in six
        markets by making marketing and production decisions. A detailed instructor's manual and administrative software
        is also available. It is available in Japanese.

Journal Editor

        Marketing Science, Editor-in-Chief for volumes 8, 9, 10, 11, 12, and 13 (1989-1994). Four issues per year including
        periodic editorials and journal management. Processed about 120 new papers per year. Special Editor for issues on
        the Theory and Practice of Marketing (2014) and Big Data (2016).

Journal Publications (Almost all available for download at web.mit.edu/hauser/www.)

        Citations Reports: Google Scholar: 31,136 citations, H-index of 61. Visited December 23, 2021.

        Davide Proserpio, John R. Hauser, Tomomichi Amano, Alex Burnap, Tong Guo, Dokiun Lee, Xiao Liu, Randall
        Lewis, Kanishka Misra, Eric Schwarz, Artem Timoshenko, Lilei Xu, Hema Yoganarasimhan (2020), “Soul and
        Machine (Learning),“ Marketing Letters, 31:393–404.

        Glen Urban, Artem Timoshenko, Paramveer Dhillon, and John Hauser (2020), “Cutting Through the Hype of Deep
        Learning," MIT Sloan Management Review, Winter, 71-76.

        Hauser, John R., Felix Eggers, and Matthew Selove (2019), "The Strategic Implications of Scale in Choice-Based
        Conjoint Analysis," Marketing Science, 38, 6, 1059-1081.

        Dzyabura, Daria and John R. Hauser (2019), "Recommending Products When Consumers Learn their Preferences,"
        Marketing Science, 38, 3, 417-441.

        Timoshenko, Artem and John R. Hauser (2019), "Identifying Customer Needs from User-Generated Content,"
        Marketing Science, 38, 1, 1-20.

                 Finalist, John D. C. Little Award for Best Article in the Marketing Sciences Literature, 2020.


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Lin, Song, Juanjuan Zhang, and John R. Hauser (2015), “Learning from Experience, Simply,” Marketing Science, 34, 1,
(January-February), 1-19.

         Finalist, John D. C. Little Award for Best Article in the Marketing Sciences Literature, 2015.

Hauser, John R., Guilherme Liberali , and Glen L. Urban (2014), “Website Morphing 2.0: Switching Costs, Partial
Exposure, Random Exit, and When to Morph,” Management Science, 60, 6, (June), 1594–1616.

Hauser, John R. (2014), “Consideration-Set Heuristics,” Journal of Business Research, 67 (8), 1688-1699.

Urban, Glen L., Guilherme Liberali, Erin MacDonald, Robert Bordley, and John R. Hauser (2014), “Morphing Banner
Advertisements,” Marketing Science, 33, 1.

Hauser, John R., Songting Dong, and Min Ding (2014), “ Self-Reflection and Articulated Consumer Preferences,”
Journal of Product Innovation Management, 31, 1, 17-32.

Liberali, Guilherme, Glen L. Urban, and John R. Hauser (2013), “ Competitive Information, Trust, Brand
Consideration, and Sales: Two Field Experiments ” International Journal for Research in Marketing, 30, 2, (June),
101-113.

         Finalist, IJRM Best Paper Award, 2014.

Dzyabura, Daria and John R. Hauser (2011), “Active Machine Learning for Consideration Heuristics,” Marketing
Science, 30, 5, (September-October), 801-819.

Hauser, John R. (2011), “A Marketing Science Perspective on Recognition-Based Heuristics (and the Fast and Frugal
Paradigm),” Judgment and Decision Making, 6, 5, (July), 396-408.

Ding, Min, John Hauser, Songting Dong, Daria Dzyabura, Zhilin Yang, Chenting Su, and Steven Gaskin (2011),
“Unstructured Direct Elicitation of Decision Rules,” Journal of Marketing Research, 48, (February), 116-127.

Hauser, John R., Olivier Toubia, Theodoros Evgeniou, Daria Dzyabura, and Rene Befurt (2010), “Disjunctions of
Conjunctions: Cognitive Simplicity and Consideration Sets,” Journal of Marketing Research, 47, (June), 485-496.

Urban, Glen L., John R. Hauser, Guilherme Liberali, Michael Braun, and Fareena Sultan (2009), “Morph the Web to
Build Empathy, Trust, and Sales,” Sloan Management Review, 50, 4, (Summer), 53-61.

Hauser, John R., Glen L. Urban, Guilherme Liberali, and Michael Braun (2009), “Website Morphing,” Marketing
Science., 28, 2, (March-April), 202-224. Lead article with commentaries by Andrew Gelman, John Gittins, and Hal
Varian. Includes rejoinder.

         Finalist, John D. C. Little Award for Best Article in the Marketing Sciences Literature, 2009.

         Finalist, INFORMS Society for Marketing Science Long Term Impact Award, 2017, 2018, 2019

         2010 Emerald Management Reviews Citation of Excellence for one of best articles published in the top 400
         business and management journals in 2009. (Top 50 of 15,000 articles.)

Toubia, Olivier, John R. Hauser and Rosanna Garcia (2007), “Probabilistic Polyhedral Methods for Adaptive Choice-
Based Conjoint Analysis: Theory and Application,” Marketing Science, 26, 5, (September-October), 596-610.

         Co-winner, American Marketing Association, John Howard Dissertation Award, 2005

Yee, Michael, Ely Dahan, John Hauser, and James Orlin (2007), “Greedoid-Based Non-compensatory Two-Stage
Consideration-then-Choice Inference,” Marketing Science, 26, 4, (July-August), 532-549.

         First Place, American Marketing Association Explor Award, 2004


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Toubia, Olivier and John R. Hauser (2007), “On Managerial Efficient Designs,” Marketing Science, 26, 6, (November-
December), 851-858.

Garcia, Rosanna, Paul Rummel, and John R. Hauser (2007), “Validating Agent-Based Marketing Models Using
Conjoint-Analysis,” Journal of Business Research, 60, 8, (August), 848-857.

Hauser, John R., Gerald Tellis, and Abbie Griffin (2006), “Research on Innovation: A Review and Agenda for
Marketing Science,” Marketing Science, 25, 6, (November-December), 687-717.

         Cited by Thomson Reuters’ Essential Science Indicators as a Fast Breaking Paper in Economics and Business
         in April 2009.

         Cited in 2014 by the International Journal of Research in Marketing as one of the top 10 impactful articles
         published in Marketing Science during 2004-2012..

Hauser, John R. and Olivier Toubia (2005), “The Impact of Utility Balance and Endogeneity in Conjoint Analysis,”
Marketing Science, 24, 3, (Summer), 498-507.

Glen L. Urban and John R. Hauser (2004), “’Listening-In’ to Find and Explore New Combinations of Customer Needs,”
Journal of Marketing, 68, (April), 72-87.

Toubia, Olivier, John R. Hauser, and Duncan Simester (2004), “Polyhedral Methods for Adaptive Choice-based
Conjoint Analysis,” Journal of Marketing Research, 41, 1, (February), 116-131.

         Finalist, Paul Green Award for contributions to the practice of marketing research.

Toubia, Olivier, Duncan I. Simester, John R. Hauser, and Ely Dahan (2003), “Fast Polyhedral Adaptive Conjoint
Estimation,” Marketing Science, 22, 3, (Summer), 273-303.

         First Place, John D. C. Little Award for Best Article in the Marketing Sciences Literature, 2003

         First Place, Frank M. Bass Award for Best Article Based on a Dissertation, 2005.

         Finalist, INFORMS Society for Marketing Science Long Term Impact Award, 2011

         Finalist, INFORMS Society for Marketing Science Long Term Impact Award, 2012

Dahan, Ely and John R. Hauser (2002), “The Virtual Customer,” Journal of Product Innovation Management, 19, 5,
(September), 332-354.

         Finalist, PDMA Best Paper Award in 2003.

Hauser, John R. (2001), "Metrics Thermostat," Journal of Product Innovation Management, 18, 3. (May), 134-153.

         Finalist PDMA Best Paper Award in 2002.

         Cited by the PDMA in 2007 as one of the top articles in the last twenty years in educational citations.

Simester, Duncan I, John R. Hauser, Birger Wernerfelt, and Roland Rust (2000), "Implementing Quality Improvement
Programs Designed to Enhance Customer Satisfaction: Quasi-experiments in the United States and Spain," Journal of
Marketing Research, 37, 1, (February), 102-112.

Hauser, John R. (1998), "Research, Development, and Engineering Metrics." Management Science, 44, 12,
December, 1670-1689.

Hauser, John R. and Gerry Katz (1998), “Metrics: You Are What You Measure!.” European Management Journal, 16,
5, (October), 516-528. Highlighted in “A Round-up of Important Articles from Business Periodicals,” in Mastering
Management Review published by the Financial Times.

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Hauser, John R., Duncan I. Simester, and Birger Wernerfelt (1997), "Side Payments in Marketing," Marketing Science,
16, 3, 246-255.

         Finalist, John D. C. Little Award for Best Article in the Marketing Sciences Literature, 1997.

Urban, Glen L., John R. Hauser, William J. Qualls, Bruce D. Weinberg, Jonathan D. Bohlmann and Roberta A. Chicos
(1997), "Validation and Lessons from the Field: Applications of Information Acceleration," Journal of Marketing
Research, 34, 1, (February), 143-153.

Hauser, John R. and Florian Zettelmeyer (1997), “Metrics to Evaluate R,D&E,” Research Technology Management, 40,
4, (July-August), 32-38.

Griffin, Abbie, and John R. Hauser (1996), "Integrating Mechanisms for Marketing and R&D," Journal of Product
Innovation Management, 13, 3, (May), 191-215.

         One of ten most-cited papers in the Journal of Product Innovation Management (JPIM 24, 3, 2007, p.209)

Hauser, John R., Duncan I. Simester, and Birger Wernerfelt (1996), "Internal Customers and Internal Suppliers," Journal
of Marketing Research, 33, 3, (August), 268-280.
Urban, Glen L., Bruce Weinberg and John R. Hauser (1996), "Premarket Forecasting of Really-New Products," Journal
of Marketing, 60,1, (January), 47-60. Abstracted in the Journal of Financial Abstracts, 2, 23A, (June) 1995.

         1996 MSI Award for the most significant contribution to the advancement of the practice of marketing.
Hauser, John R., Duncan I. Simester, and Birger Wernerfelt (1994), "Customer Satisfaction Incentives," Marketing
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Research Grants

July 2007 – June 2008                    Understanding Non-compensatory Decision Making for Consideration
                                         Decisions (under Consortium with MIT Center for eBusiness and General
                                         Motors, Inc.)

June 2000 – May 2006                     Center for Innovation in Product Development, MIT, Initiative Leader, Virtual
                                         Customer.

January 2001 – May 2002                  eBusiness Center at MIT. Design and Delivery of Online Promotions. (with
                                         John Little, Duncan Simester, and Glen Urban).

January 1997 – May 2000                  Center for Innovation in Product Development, Engineering Research Center
                                         Grant from the National Science Foundation. Research Director. In addition,
                                         research grants for non-monetary incentives, procurement metrics, and virtual
                                         customer methods.

June 1999 – May 2000                     “Metrics Thermostat,” International Center for Research on the Management of
                                         Technology (Principal Investigator).

June 1999- May 2001                      “New Product Metrics at Ford and the US Navy,” Center for Innovation in
                                         Product Development

June 1999- May 2001                      “Lean Sustainment Metrics at the USAF,” Lean Sustainment Initiative at MIT

June 1994 - May 1999                     "Metrics to Value R&D," International Center for Research on the Management
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June 1991 - May 1994                     "Customer Needs, Customer Satisfaction, Sales, and Profit: Providing the Right
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January 1990 - June 1992                 "Information Acceleration and Preproduction Forecasting of New Autos, Phases
                                         I and II." General Motors Electric Vehicle Project. (Associate)

December 1988 - June 1990                "Improved Methodologies to Measure Consumer Needs," Procter & Gamble
                                         Company. (Principal Investigator)

September 1981 - December 1985           "Prelaunch Forecasting System for New Consumer Durables and Its
                                         Applications to Auto Purchases," General Motors, Buick Division (co-Principal
                                         Investigator with Glen L. Urban).

January 1981 - May 1981                  "Marketing Approaches in Travel Demand," United Parcel Service Grant
                                         (Faculty Advisor).
January 1979 - August 1980               "Monitoring the Implementation of Innovative Public Transportation Services"
                                         from University Research Program of the Urban Mass Transportation
                                         Administration (Principal Investigator).
July 1975 - September 1977               "Consumer-Oriented Transportation Service Planning." from the Program of
                                         University Research, U.S. Department of Transportation (Faculty Associate).


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September 1977 - January 1978              "Consumer-oriented Transportation Service: Modification and Evaluation" from
                                           Program of University Research, USDOT (Faculty Associate).

May 1976 - September 1978                  "Enhancement of Communications with a Small Scientific Community Using
                                           Slow-Scan Televideo Terminals and Voice-Grade Telephone Lines" from the
                                           National Science Foundation (Faculty Associate).

January 1976 - December 1976               "A Method for Assessing Pricing and Structural Changes on Transport Mode
                                           Use," U.S. Department of Transportation (Faculty Associate).

September 1976 - June 1977                 "Prediction of Urban Recreational Demand" from the National Science
                                           Foundation (Faculty Consultant).

Invited Lectures (Outside the MIT Sloan School)

        The Wroe Alderson Virtual Symposium 2021, Wharton School, the University of Pennsylvania, May 25, 2021. “An
        Enjoyable Journey into the Future”

        Whitman School of Management, Syracuse University, Syracuse, NY, April 14, 2021, “Aesthetics in Product
        Design.”

        Northeastern University Seminar Series, Boston, MA, November 11, 2019, "Product Recommendations when
        Consumers Learn their Preferences." (joint research with Daria Dzyabura).

        Carnegie Mellon University, April 8, 2016, “The Effect of Precision on Strategic Positioning.”

        University of North Carolina, Kenan-Flagler Business School, Marketing Department. March 7, 2014. “Learning
        from Experience, Simply.”

        Marketing Science Institute, November 2012, “Panel Discussion: Perspectives on Big Data from Marketing
        Scholars,” Cambridge, MA.

        Wharton School, University of Pennsylvania, April 2009, “Website Morphing”

        Max Planck Institute for Human Development, Center for Adaptive Behavior and Cognition, Summer Institute on
        Bounded Rationality in Psychology and Economics, August 2006, “Greedoid-Based Non-Compensatory
        Consider-then-Choice Inference.”

        Northwestern University, Evanston, IL, April 2006, “Greedoid-based Non-compensatory Inference.”

        University of Michigan, Seminar Series, October 2004, “Table Stakes: Non-compensatory Consideration-then-
        Choice Inference.”

        Management Roundtable Special Conference on “Taking the Voice of the Customer to the Next Level,” Boston,
        MA October 2004, “The Virtual Customer.”

        Marketing Science Institute Research Generation Conference, Atlanta, GA, May 2004, “New Products/Innovation,”
        (with Gerry Tellis).

        Marketing Science Institute Conference on Emerging Approaches for Successful Innovation, Chicago, IL, May
        2003, "'Listening-In' to Find Unmet Customer Needs and Solutions."

        University of California at Los Angeles, "Polyhedral CBC (and other fun stuff), February 2003

        New York University, "Polyhedral Methods," March 2003.




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Industrial Liaison Program – Research Directors' Conference, April 2002, "The Virtual Customer."

University of Maryland, "Polyhedral Methods for Conjoint Analysis," March 2002.

Marketing Science Institute Trustees Meeting on Marketing Outside the Silo, Boston, MA, April 2002, "Challenges
and Visions for Marketing's Role in Product Development Processes."

Managing Corporate Innovation -- ILP Symposium celebrating ten years of Management of Technology Research at
MIT. “Dealing with the Virtual Customer: Fast Web-based Customer Input.” April 2001

Epoch Foundation, Cambridge, MA, October 2000, “The Virtual Customer.”

Yale University Research Seminar in Marketing, New Haven, CN, March 2000, "Metrics Thermostat."

Analysis Group Economics Seminar, Boston, MA, December 1999, "The Use of Marketing Research in Litigation."
Also New York, NY, March 2000 and Washington, D. C., March 2002.

Boston Chapter of the Society for Concurrent Engineering, Waltham, MA, October 1999, "Metrics Thermostat."

University of Michigan DuPont Distinguished Speakers’ Series, Ann Arbor, MI, March 1998, “New Product
Metrics.”

Kirin Brewery Co. Limited, Tokyo, JAPAN, December 1998, “You Are What You Measure!” and “Scientific
Studies of the Voice of the Customer.”

NEC Corporation, Tokyo, JAPA, December 1998, “Scientific Studies of the Voice of the Customer.”

University of California at Los Angeles, Los Angeles, CA, February 1997, “Research, Development, and
Engineering Metrics”

Stanford University, Stanford, CA, December 1996, “Metrics to Value R,D&E”

University of California at Los Angeles, Los Angeles, CA, February 1997, “Research, Development, and Engineering
Metrics”

Duke University, Durham, NC, "Internal Customers and Internal Suppliers," Nov. 1995.

University of Minnesota, Minneapolis, MN, "Voice of the Customer," "Internal Customers and Captive Suppliers,"
May 1995.

Winter Retreat, University of Florida, Gainesville, FL, "Internal Customers and Captive Suppliers," December 1993.

Product Development Association - Boston, "Design and Marketing of New Products II: Advances in Product
Development Management over the Last 13 Years," May 1993.

3M, Minneapolis, MN, "Incentives to Encourage a Long-term Perspective and a Customer Focus," Workshop on
"Towards a World-class Research, Development, and Engineering Organization," November 1992.

Baxter Health Care, Orange County, CA, "The Voice of the Customer," August 1992.

TIMS College on the Practice of Management Science (New Directions in Management Science), Cambridge, MA:
"The Voice of the Customer," October 1991.

IBM, Inc., Boca Raton, FL: "Voice of the Customer for Performance Graphics," May 1991.

Kirin Brewery Company, Ltd. Tokyo, JAPAN: "New Product Development" and "Customer Satisfaction and
Customer Needs," April 1991.

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American Iron and Steel Institute, Detroit, MI: "Satisfying the Customer -- Technical Issues," February 1991.

Warner Lambert, Inc., Mountain Laurel, PA: "Communication Among R&D and Marketing," October 1990.

Digital Equipment Corporation, Maynard, MA: "Voice of the Customer," May 1990.

Life Insurance Marketing and Research Association, Inc.: 31st Research Planning Conference, Boston, MA, "The
House of Quality." June 1989.

University of Illinois: "Customer Driven Engineering." April, 1988.

Marketing Science Institute and IBM Thornwood Educational Facility: Quality through Customer Driven
Engineering." April, 1988.

Harvard Business School: "Customer Driven Engineering: Integrating Marketing and Engineering." February, 1988.

Vanderbilt University: "Competitive Price and Advertising Strategies" and "Customer Driven Engineering."
October, 1988.

Columbia University: "Price, Positioning, and Advertising Games: To Equilibrate of Not, Does it Pay to be Smart?"
May, 1987.

New York Marketing Modelers' Club: "Would You Really Rather Have a Buick?: Prelaunch Forecasting of New
Automobiles," May 1987.

M.I.T. Applied Economics: "Competitive Product Selection and Advertising Models." April, 1987.

Northwestern University: "Agendas and Consumer Choice," August, 1986.

AMA Faculty Consortium on Marketing Strategy at the University Tennessee, Knoxville. "Defender: Analyses for
Competitive Strategy," July, 1986.

Ohio State University: "Defensive and Competitive Strategy." May, 1986.

Boston University: "Research in Competitive Strategy." November, 1985.

Midwest Electronics Association, Minneapolis, MN: "New Products for High-Tech Firms." October, 1985.

University of Pennsylvania: "Agendas and Consumer Choice," August, 1985.

Herstein Institute, Vienna Austria: "Competitive Strategy," May, 1985.

Cadbury-Schweppes, Birmingham, England: "New Product Development and Defensive Strategy." May, 1985.

Rhone-Poulenc and Aluminum Pechiney, Paris, France: "New Product Development." April, 1985.

University of Michigan: "Defensive and Competitive Strategy." February, 1985.

Marketing Science Institute Special Mini-Conference: "Defensive Marketing Strategies for Consumer Firms."
September 1983.

University of Chicago, Graduate School of Business, Chicago, IL. "Agendas and Consumer Choice," May 1984.

European Institute for Business Administration (INSEAD), Fontainebleau, FRANCE. "Agendas and Consumer
Choice," June 1984.

University of Connecticut. "Defensive Marketing: Theory, Measurement, and Models," April, 1983.

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        University of Osaka, JAPAN "Defensive Marketing: Theory, Measurement, and Models," August, 1983.

        Kao Soap, Ltd., Tokyo, JAPAN: "Defensive Marketing," August, 1983.

        Johnson & Johnson, K. K., Tokyo, JAPAN: "Defensive Marketing," August, 1983.

        Analog Devices, Inc., Norwood, MA. "New Product Development," May, 1982.

        University of Rochester Research Seminar, "Prelaunch Forecasting of New Consumer Durables," April 1982.

        Frito-Lay R & D Laboratory, Dallas, TX, "Marketing and R & D for New Products," October 1981.

        University of California at Los Angeles Research Seminar, "Defensive Marketing Strategies," July, 1981.

        Purdue University Research Seminar, "Product Realization," October 1979.

        Stanford University Research Seminar, "Product Realization," October 1979.

        Elrick and Lavidge, Inc., Chicago, Illinois, "Product Realization," October 1979.

        Booz, Allen and Hamilton, Inc., Chicago, Illinois, "New Service Planning for Hospitals," April 1979.

        Cornell University Research Seminar, "Intensity Measures of Consumer Preference," February 1979.

        University of Rochester Research Seminar, "Product Realization: Synthesis of Marketing and Economic Theory,"
        December 1978.

        Region VI Center of Health Planning, New Orleans, LA, "Finding the Linkage Through Marketing,: August 1978.

        Nebraska Hospital Association, Kearney, NE, "Hospital Marketing Surveys," May 1978.

        Executive Development Group, Waterloo Management Education Centre, Toronto, Ontario, Canada, "Designing
        New Industrial Products," February 1978.

        Academic Update, Xavier University Graduate Program in Hospital and Health Administration, Cincinnati, OH,
        "Designing Hospital Services: A Marketing Approach," October 1977.

        The Hospital Marketing Workshop, Ireland Educational Corporation, Chicago, Illinois, "Analyzing the Hospital
        Markets," January 1977 and May 1977.

        Association for College Unions - International, 1976 Fall Conference in Green Bay, WI, Keynote Speech -
        "Designing Successful Services: A Marketing Approach," October 1976.

        University of Chicago, Graduate School of Business, Research Seminar, "Testing Probabilistic Models," April 1976.

        Council for the Advancement and Support of Education, Conference on Marketing Alumni Program, New York,
        NY, Keynote Speech, February 1976.

Presentations at Professional Meetings (No published proceedings, some co-presented or presented by co-author[s]*)

        44th ISMS Marketing Science Conference June 16-18, 2022, hosted by Chicago Booth, the University of Chicago
        Business School (Virtual).
         "Leveraging the Power of Images in Managing Product Return Rates: Now with Interpretable Machine-Learned
            Features" with Daria Dzyabura, Siham El Kihal, and Marat Ibragimov.
         "Discovering ‘Product Gaps’ in The Market" with Alex Burnap*
         “Consumer Search and Product Returns” with Siham El Kihal and Marat Ibragimov*


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INFORMS Marketing Science Conference (Virtual), Simon Business School, the University of Rochester, June
2021. “Identifying Profitable and Feasible ‘Design Gaps’ for New Products” with Alex Burnap.*

2020 Conference on Artificial Intelligence, Machine Learning, and Business Analytics (Virtual), Temple University,
December 11-12, 2020. “Identifying Profitable and Feasible Design Gaps for New Products” with Alex Burnap*.

INFORMS Marketing Science Conference (Virtual), Duke University, June 2020.
 “Leveraging the Power of Images in Managing Product Return Rates” with Daria Dzyabura, Siham El Kihal*,
   and Marat Ibragimov.
 “Design Gaps: Using Deep Learning to Balance Consumer Demand and Engineering Costs” with Alex Burnap*

New England Marketing Conference (NEMC),Cambridge, MA, October 11. 2019. “Issues In Ensuring That
Marketing is a Viable Discipline Over the Next Decade.”

11th Triennial Invitational Choice Symposium, Cambridge, MD, May 29-June 1, 2019.
 "Leveraging the Power of Images in Predicting Product Return Rates. Joint research with Daria Dzyabura,
    Siham El Kihal, and Marat Ibragimov.
 "Design and Evaluation of Product Aesthetics: A Human-Machine Hybrid Approach." Joint research with Alex
    Burnap* and Artem Timoshenko.

Smarter Choices for Better Health, Erasmus Initiative Conference, Rotterdam, NL, November 22, 2019, "Morphing
Randomized Controlled Trials." Joint research with Gui Liberali.*

ISMS Marketing Science Conference, Rome, Italy, June 20-22, 2019, "Generating and Testing Product Design
Aesthetics: A Human-Machine Hybrid Approach." Joint research with Alex Burnap* and Artem Timoshenko.

Theory + Practice in Marketing Conference, Columbia Business School, New York, NY, May 16-18, 2019,
"Leveraging the Power of Images in Predicting Product Return Rates. Joint research with Daria Dzyabura, Siham El
Kihal*, and Marat Ibragimov..

INFORMS Doctoral Consortium, Temple University, Philadelphia, PA. June 13, 2018. “Big Data and Machine
Learning.”

INFORMS Marketing Science Conference, Temple University, Philadelphia, PA. June 14-16, 2018.
 John R. Hauser*, “Marketing Science’s Field Guide to Machine Learning and Algorithms.” Plenary Panel.
 John R. Hauser*, “Digital Marketing Applications of AI and Deep Learning ,” Panel Discussion
 Alex Burnap*, Artem Timoshenko, and John R. Hauser , “Deep Learning to Predict Consumer Aesthetic
   Preferences and Augment Product Designers”
 Artem Timoshenko* and John R. Hauser, “Combining Machine Learning and Human Judgment to Identify
   Customer Needs—New Tests and Applications”
 Gui Liberali* and John R Hauser, “Morphing Randomized Controlled Trials”

INFORMS Doctoral Consortium, University of Southern California, Los Angeles, CA. June 7, 2017. “Machine
learning applications for customer-oriented recommendation systems and the voice of the customer.”

INFORMS Marketing Science Conference, University of Southern California, Los Angeles, CA. June 8-10, 2017.
 Daria Dzyabura and John R. Hauser*, “Recommending Products When Consumers Learn Their Preferences.”
 Felix Eggers* and John R. Hauser, “Precision Matters: How Craft in Conjoint Analysis Affects Price and
   Positioning Strategies.”
 Artem Timoshenko* and John R. Hauser, “Identifying Customer Needs from User Generated Content.”

Dies Natalis Academic Symposium, Erasmus University, Rotterdam, The Netherlands, November 8, 2016,
“Recommending Products When Consumers Learn their Preferences.” Based on research with Daria Dzyabura.

Erasmus Centre for Marketing and Innovation, Econometric Workshop, Erasmus University, Rotterdam, The
Netherlands, “Strategic Implications of Precision in Conjoint Analysis. Based on research with Felix Eggers.

2016 Paul D. Converse Symposium, University of Illinois, Champaign, IL, April 21-23, 2016, “Academic
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Achievements of Steven M. Shugan, Converse Winner.”

INFORMS Marketing Science Conference, Shanghai, China. June 16-18, 2016, Xinyu Cao*, T. Tony Ke, John R.
Hauser, Juanjuan Zhang, “Competing for Limited Attention on Social Media.”

INFORMS Marketing Science Conference, Baltimore MD, June 2015. Songting Dong, John Hauser*, Min Ding,
Lixin Huang, and Holger Dietrich, “The Sleuth Game: Predicting Consumer Response to as-yet-unspecified Product
Features for Really New Products.”

AMA/Sheth Foundation Doctoral Consortium, Northwestern University, Evanston, IL, June 2014, “Bridging
Empircs and Practice.”

INFORMS Marketing Science Consortium, Emory University, Atlanta GA, June 2014, “Learning from Experience
Simply.”

AMA Summer Educators’ Conference, San Francisco, CA, August 1-3, 2014. Guilherme Liberali,* Hauser, John R.,
and Glen L. Urban “Recent Advances in Morphing Theory: Challenges and Opportunities for Research."

INFORMS Marketing Science Conference, Atlanta, GA, June 2014. Aliaa Atwi* and John R. Hauser, “Exploration
vs. Exploitation in Rapid Coupon Personalization.”

AMA Sheth Foundation Doctoral Consortium 2013, University of Michigan, Ann Arbor, MI, June 6-9. “Managing
Your Career (as a Marketing Academic).”

AMA Summer Educators’ Conference, Boston MA August 9-11, 2013. Panel on “Academic Integrity in the
Publication Process” with Robert Meyer, Richard Lusch, John Hauser.*

10th Marketing Dynamics Conference, The University of North Carolina at Chapel Hill, May 30 – June 1, 2013.
Song Lin*, Juanjuan Zhang, and John Hauser, “Learning from Experience, Simply.”

Joint Statistical Meetings 2013, Montreal, Ontario, August 2013. Song Lin*, Juanjuan Zhang, and John Hauser,
“Learning from Experience, Simply.”

2012 AMA Sheth Foundation Doctoral Consortium, Foster School of Business, University of Washington, June
2012, Panel: 10 Steps to Successful Publishing.

INFORMS Marketing Science Conference, Boston, MA, June 2012.
 Song Lin*, Juanjuan Zhang, and John R. Hauser, “Learning from Experience, Simply.”
 Glen L. Urban, Guilherme Liberali, Erin MacDonald, Robert Bordley, and John R. Hauser*, “Morphing Banner
   Advertising”
 Matt Selove* and John R. Hauser, “The Strategic Importance of Accuracy in Conjoint Design.”
 Panel: Research Opportunities at the Marketing/Operations Interface

The 2012 Theory & Practice in Marketing (TPM) Conference on Marketing Strategy, Harvard University, Boston,
MA. May 2-3, 2012. Glen L. Urban, Guilherme Liberali, Erin MacDonald, Robert Bordley, and John R. Hauser*,
“Morphing Banner Advertising.”

New England Marketing Conference, Cambridge, MA, October 28, 2011. Gui Liberali, Glen L. Urban and John R.
Hauser*, “ Providing Unbiased Competitive Information to Encourage Trust, Consideration, and Sales: Two Field
Experiments.”

Yale School of Management, Center for Customer Insight, The Customer Insights Conference, New Haven, CT,
May 12-14, 2011. John R. Hauser and Matthew Selove*, “The Strategic Importance of Accuracy in the Relative
Quality of Conjoint Analysis.”

INFORMS Marketing Science Conference, Cologne, Germany, June 2010 (*indicates primary presenter if not me)
 Liberali, Guilherme*, John R. Hauser, and Glen L. Urban, “Optimal Time-to-Morph and Cognitive Costs of
   Morphing.”
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   Liberali, Guilherme, Glen L. Urban, and John R. Hauser, “Do Competitive Test Drives and Product Brochures
    Improve Sales?”
   Urban, Glen L.*, Jong Moon Kim, Erin MacDonald, John R. Hauser and Daria Dzyabura, “Developing
    Consideration Rules for Durable Goods Markets.”

2010 Advanced Research Techniques Forum, San Francisco, CA, June 6-9, 2010, “Unstructured Direct Elicitation
of Non-compensatory and Compensatory Decision Rules,” with Min Ding, Songting Dong*, Daria Dzyabura (listed
as Silinskaia), Zhilin Yang, Chenting Su, and Steven Gaskin.

2009 AMA Sheth Foundation Doctoral Consortium, J. Mack Robinson College of Business, Georgia State
University, June 2009. E-Commerce and Digital Marketing Topics.

INFORMS Marketing Science Conference, Ann Arbor, MI, June 2009 (* indicates primary presenter if not me)
 “An Empirical Test of Incentive-Compatible Direct Elicitation of Heuristic Decision Rules for Consideration
   and Choice,” with Min Ding, Songting Dong, Daria Dzyabura, Zhilin Yang, Chenting Su, and Steven Gaskin
 “Adaptive Profile Evaluation to Identify Heuristic Decision Rules in “Large” and Challenging Experimental
   Designs,” with Daria Dzyabura (formerly Silinskaia)* and Glen L. Urban..
 “Morphing Websites in the Presence of Switching Costs,” with Guilherme Liberali* and Glen L. Urban.
 “Continuous-Time Markov-Process with Misclassification: Modeling and Application to Auto Marketing,” with
   Glen L. Urban* and Guilherme Liberali.
 “An Incentive-Aligned Sleuthing Game For Survey Research,” with Min Ding*
 “Would You Consider a Buick Even if It Were #1 in JD Power?” with Erin MacDonald* and Glen Urban
 “Cognitive Simplicity and Consideration Sets,” with Rene Befurt*, Daria Dzyabura, Olivier Toubia, and
   Theodoros Evgeniou
 “John D. C. Little, a Pioneer in Marketing Science (Festschrift paper),” with Glen L. Urban

INFORMS Marketing Science Conference, Vancouver, B.C., June 2008 (* indicates primary presenter if not me)
 “Cognitive Styles and Website Design,” with Michael Braun, Glen L. Urban, and Clarence Lee.
 Modeling Cognitive Complexity to Predict Consideration Sets,” with Daria Dzyabura (formerly Silinskaia)*,
   Theodoros Evgeniou, Olivier Toubia, and Rene Befurt.
   “Morphing Websites to Match Individual Cognitive Styles,” with Michael Braun*, Glen L. Urban, and
   Guilherme Liberali

Sawtooth Software Conference, Delray, FL, March 2009, “A Critical Review of Non-compensatory and
Compensatory Models of Consideration-Set Decisions,” with Min Ding and Steven Gaskin

AMA Doctoral Consortium, Robert J. Trulaske, Sr. College of Business, University of Missouri, June 2007,
“Looking Ahead: Directions for Scholarly Research in Marketing” and “Building Teaching Effectiveness:
Stimulating Student Interest.”

Sawtooth Software Conference, Santa Rosa, CA, October 2007, “Two-Stage Models: Identifying Non-
Compensatory Heuristics for the Consideration Set then Adaptive Polyhedral Methods Within the Consideration
Set,” with Steven Gaskin, Theodoros Evgeniou, Daniel Bailiff.

AMA Advance Research Technologies Forum, Sante Fe, New Mexico, June 2007, “Two-Stage Models: Identifying
Non-Compensatory Heuristics for the Consideration Set then Adaptive Polyhedral Methods Within the
Consideration Set,” with Steven Gaskin, Theodoros Evgeniou, and Daniel Bailiff.

AMA Doctoral Consortium, W. P. Carey School of Business, Arizona State University, May 2007, “Consideration
The New Battlefield in Product Development.”

Agent-based Models of Market Dynamics and Consumer Behaviour, University of Surrey, Guildford, UK, January
2006, “Co-opetition for the Diffusion of Resistant Innovations: A Case Study in the Global Wine Industry using an
Agent-based Model.” with Rosanna Garcia. Also presented at the American Marketing Association’s Advanced
Research Techniques (ART) Forum in June 2006 at Monterrey CA.

AMA Doctoral Consortium, University of Maryland, College Park, MD, July 2006, “Creating Value: Products and

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Brands.”

Marketing Science Conference, University of Pittsburgh, Pittsburgh, PA, June 2006, “A Truth-telling Sleuthing
Game for Survey Research,” with Min Ding.

Marketing Science Conference, University of Pittsburgh, Pittsburgh, PA, June 2006, On Managerially Efficient
Experimental Designs,: with Olivier Toubia.

Sawtooth Software Conference on Conjoint Analysis, Delray Beach, FL, March 2006, “Must Have” Aspects vs.
Tradeoff Aspects in Models of Customer Decisions,” with Michael Yee, James Orlin, Ely Dahan.

AMA Doctoral Consortium, University of Connecticut, Storrs CT, June 2005, “The Virtual Customer.”

Marketing Science Conference, Emory, Atlanta, GA, June 2005, “Direct, Nonparametric Product Optimization
Using Interactive Genetic Algorithms,” with Kamal Malek and Kevin Karty.

Marketing Science Conference, Emory, Atlanta, GA, June 2005, “Non-Deterministic Polyhedral Methods for
Adaptive Choice-Based Conjoint Analysis: Application to the Diffusion of the New Wine Cork,” with Olivier
Toubia and Rosanna Garcia.

Marketing Science Conference, Emory, Atlanta, GA, June 2005, “Greedoid-Based Non-compensatory Two-Stage
Consideration-then-Choice Inference,” with Michael Yee, Jim Orlin, and Ely Dahan.

Marketing Science Doctoral Consortium, Rotterdam, The Netherlands, June 2004, “Research that Has Impact.”

Marketing Science Conference, Rotterdam, The Netherlands, June 2004, “Improving Choice-Based Polyhedral
Methods by Taking Response Error into Account,” with Olivier Toubia.

Marketing Science Conference, Rotterdam, The Netherlands, June 2004, “The Dream Versus Reality of CRM,” with
Glen L. Urban, Eric Bradlow, and, Mahesh Kumar.

Marketing Science Conference, Rotterdam, The Netherlands, June 2004, “Non-compensatory Consideration-then-
Choice Adaptive Conjoint Analysis,” with Michael Yee and James Orlin.

AMA Doctoral Consortium, Texas A&M University, College Station, TX, June 2004, "Virtual Customer Initiative."

AMA Advanced Research Techniques Forum, June 2004, “Conjoint Adaptive Ranking Database System
(CARDS),” with Ely Dahan, James Orlin, and Michael Yee.

AMA Doctoral Consortium, University of Minnesota, Minneapolis, MN, June 2003, "The Review Process."

Marketing Science Doctoral Consortium, University of Maryland, June 2003, “Roots of Marketing Science
Thought,” with John Little.

Marketing Science Conference, University of Maryland, June 12-15, 2003, "Individual-level Adaptation of Choice-
Based Conjoint Questions: More Efficient Questions and More Accurate Estimation," (with Olivier Toubia and
Duncan Simester).

Marketing Science Conference, University of Alberta, Canada, June 28, 2002, "Configurators, Utility Balance, and
Managerial Use," (with Duncan Simester and Olivier Toubia).

Marketing Science Doctoral Consortium, University of Alberta, Canada, "Helping Managers Structure and Make
Decisions," June 27, 2002. (Founding Consortium).

Marketing Science Conference, University of Alberta, Canada, June 28, 2002, "Adaptive Choice-Based Conjoint
Analysis with Polyhedral Methods," (with Duncan Simester and Olivier Toubia*).



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Advances in Marketing Research and Modeling: The Academic and Industry Impact of Paul E. Green, Wharton,
Philadelphia, PA, May 2002, "New Methods of Data Collection and Estimation Using Polyhedral Estimation
Techniques."

Production and Operations Management Society (POMS) Conference 2002 - High Tech POM, San Francisco, CA,
April 2002, "The Virtual Customer," (with Ely Dahan*).

Product Development Association (PDMA) International Research Conference, Santa Clara, CA, October 2001,
"The Virtual Customer," (with Ely Dahan*).

New England Marketing Conference, Cambridge, MA, September 2002, "Fast Polyhedral Adaptive Conjoint
Estimation," (with Ely Dahan, Duncan Simester, and Olivier Toubia).

Marketing Science Conference, Wiesbaden, Germany, July 2001, "Empirical Test of Web-based Conjoint Analysis
Including ACA, Efficient Fixed Designs, Polyhedral Methods, and Hybrid Methods," (with Ely Dahan, Duncan
Simester, and Olivier Toubia*)

Marketing Science Conference, Wiesbaden, Germany, July 2001, "Evaluation of Fast Polyhedral Adaptive Conjoint
Estimation," (with Duncan Simester and Olivier Toubia).

The 12th Annual Advanced Research Techniques Forum, Amelia Island, Florida, June 2001, "The Virtual
Customer: Communication, Conceptualization, and Computation," (with Ely Dahan*).

AMA Doctoral Consortium, University of Miami, June 2001, "Role of Technology in Marketing."

Marketing Science Conference, UCLA, June 2000, "Applications of the Metrics Thermostat."

Marketing Science Conference, UCLA, June 2000, "The Virtual Customer." (with Ely Dahan and Duncan Simester).

Marketing Science Institute Marketing Metrics Workshop, Washington, D.C. October 1999, "Metrics for New
Product Development: Making Agency Theory Practical," Plenary Speaker.

Marketing Science Conference, Syracuse, NY, May 1999, “Balancing Customer Input, Speed to Market, and
Reduced Cost in New Product Development: What is the Most Profitable Strategy”

ICRMOT Conference on Technology Alliances and New Product Development: A Cross-cultural Perspective,
Mishima, JAPAN, December 1998, “You Are What You Measure!”

AMA Doctoral Consortium, Athens, Georgia, August 1998, “Quantitative Advances in Marketing Models.”

AMA Winter Educators’ Conference, Austin, TX, February 1998 (Plenary Speaker), “New Challenges in the
Marketing-Product Development Interface.”

AMA Doctoral Consortium, Cincinnati OH, August 1997, "Working with Industry."

Marketing Science Conference, Berkeley CA, March 1997, “Cultivating Technological Managers for Customer
Expertise.”

Marketing Science Institute Conference on Interfunctional Interfaces: The Management of Corporate Fault Zones, Palo
Alto, CA, December 1996, “Multi-Stage Modeling of R&D/Marketing Interfaces in New Product Development.”

Marketing Science Conference, Berkeley CA, March 1997, “Cultivating Technological Managers for Customer
Expertise.”

Envisioning the Future on Internet Marketing: Research and Strategy Implications, M.I.T., September 1996, “Agents and
Intermediaries: Roles, Trust, and Value.”

"Can R&D be Evaluated on Market-Driven Criteria?," (with Florian Zettelmeyer). Marketing Science Conference,

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University of Florida, Gainesville, March 1996

"Information Acceleration," (with Glen Urban, William Qualls, Bruce Weinberg, Jon Bohlmann, and Roberta
Chicos). Wharton Conference on Innovation in Product Development, Philadelphia, PA, May 1995.

"Metrics by Which Managers Evaluate R&D Groups," (with Florian Zettelmeyer). Association of Consumer
Research, Boston, MA, October 1994.

"Satisfying the Internal Customer," (with Birger Wernerfelt and Duncan Simester) Marketing Science Conference,
University of Arizona, Tucson, AZ, March 1994.

"Customer-Satisfaction Based Incentive Systems," AMA Educator's Conference, Boston, MA, August 1993.

"Marketing in the 1990s: Emerging Issues," AMA Doctoral Consortium, University of Illinois, August 1993.

"Quality Function Deployment and the Voice of the Customer," Pharmaceutical Management Science Association,
Phoenix AZ, May 1993.

"In a World of Active Time-constrained Customers, How Can a Firm be the Great Communicator," (with Birger
Wernerfelt), Marketing Science Conference, Washington University, St. Louis, MO, March 1993.

"Customer Needs, Customer Satisfaction, Sales, and Profit," (with Birger Wernerfelt, Ronit Bodner, and Duncan
Simester), ORSA/TIMS Joint National Conference, San Francisco, CA, November 1992.

"Customer Satisfaction and Employee Rewards," (with Birger Wernerfelt, Ronit Bodner, and Duncan Semester),
Marketing Science Conference, London, England, June 1992.

"Information Acceleration and Preproduction Forecasting of Electric Autos," (with Glen L. Urban and Bruce
Weinberg), Marketing Science Conference, London, England, June 1992.

"The Voice of the Customer and Customer Satisfaction," ORSA/TIMS Joint National Meeting, Anaheim, CA,
October 1991.

"Modeling Marketing Phenomena," AMA Doctoral Consortium, University of Southern Calif. August 1991.

"Relationship of Satisfaction to Customer Needs and to Market Share," 1st Congress on Customer Satisfaction and
Market-Driven Quality, American Marketing Association, Orlando FL, May 1991.

"Time Flies When You're Having Fun: How Consumers Allocate Their Time When Evaluating Products" (with
Bruce Weinberg, Glen Urban, and Miguel Villas-Boas), Marketing Science Conference, Wilmington, DL, March
1991.

"Information Acceleration and Preproduction Forecasting of New Autos," (with Glen Urban, and Bruce Weinberg),
Marketing Science Conference, Wilmington, DL, March 1991.

"Beyond Quality Function Deployment," ORSA/TIMS Joint National Meeting, Philadelphia, PA October 1990.
(Conference-wide Tutorial)

"Competitive Marketing Strategies," Operations Research 1990 (Osterreichische Gesellschaft fur Operations
Research), Vienna, Austria, August 1990. (Invited Speaker)

"New Product Development: A Quantitative Analysis of Interfunctional Communication" (with Abbie Griffin),
Marketing Science Conference, Urbana, IL, March 1990.

"Integrated Product Development: New Methodological Developments" (with Abbie Griffin), Marketing Science
Conference, Durham, N.C., March 1989.

"Customer Driven Engineering" (with Gregory Cirmak and Robert Klein), ORSA/TIMS Joint National Meeting,

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Washington, D.C., April 1988.

"Competitive Advertising and Pricing in Duopolies" (with Birger Wernerfelt), Marketing Science Conference,
Seattle, Washington, March 1988.

"Customer Driven Engineering" (with Abbie Griffin), Marketing Science Conference, Seattle, Washington, March
1988.

"Customer Needs," Visions of Design Practices for the Future, Newton, MA, October 1987.

"Effective Strategies in Oligopoly" (with Peter Fader), ORSA/TIMS Joint National Meeting, Miami Beach, Florida,
November 1986.

"Competitive Strategy Contest: Result and Analysis" (with Peter Fader), Marketing Science Conference, Dallas, TX,
March 1986.

"The PC As a Tool to Teach Complex Marketing Science Concepts," Marketing Science Conference, Dallas, TX,
March 1986.

"The Coming Revolution in Marketing Theory," Plenary Speaker, European Marketing Conference, Bielefeld, West
Germany. April 1985.

"Defensive Strategy" Confer. on Economics of the Firm, Universite de Paris X, Nanterre, France, April 1985.

"Competitive Marketing Strategies" Marketing Science Conference, Nashville, Tennessee, March 1985.

"Developing New Product Management: Past Progress, Current Efforts, Current Needs" (Panel) Marketing Science
Conference, Nashville, Tennessee, March 1985.

"Testing Competitive Marketing Structures: Theory and Applications" (with Glen Urban) ORSA/TIMS Joint
National Meeting, Dallas, TX November 1984.

"Competitive Strategy," ORSA/TIMS Joint National Meeting, Dallas, Texas, November 1984.

"Forecasting Automobile Sales: An Application of a Value Priority Algorithm," (with Glen Urban), John Roberts
and John Dabels), TIMS XXVI International Meeting, Copenhagen, Denmark, June 1984.

"Consumer Durables: The Actual Consumer Budgets Compared to the Value Priority Model," (with Glen Urban),
Marketing Science Conference, Chicago, Illinois, March 1984.

"Defensive Strategy Models: Application and Predictive Text," (with Steven Gaskin, and Karl Irons) ORSA/TIMS
Joint National Meeting, Orlando, Florida, November 1983.

"New Product Research: Focus on Defensive strategies," Roundtable Program, ORSA/TIMS Joint National
Meeting, Orlando, FL, November 1983.

"Intensity of Preference," (with Steven Shugan) ORSA/TIMS Joint National meeting, San Diego, CA, October
1982.

"Measurement Error Theories for von Neumann-Morgenstern Utility Functions," (with Jehoshua Eliashberg)
ORSA/TIMS Joint National Meeting, San Diego, CA, October 1982.

"Consumer Preference Models: Axioms and Statistics," ORSA/TIMS Joint National Meeting, Houston, Texas,
October 1981.

"Economic Models of Consumer Behavior," (panel discussion), ORSA/TIMS Joint National Meeting, Houston,
Texas, October 1981.


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"Defensive Marketing Strategies, Part II," (with Steven Shugan), ORSA/TIMS Joint National Meeting, Houston,
Texas, October 1981.

"Agendas and Choice Probabilities," (with Amos Tversky), Association of Consumer Research, St. Louis, Missouri,
October 1981, and Special Conference on Choice Theory, Durham, North Carolina , June 1981.

"Strategic Response to Competitive New Products," (with Steven Shugan), ORSA/TIMS Joint National Meeting,
Toronto, Ontario, Canada, May 1981.

"Applications of a Dynamic Semi-Markov Model of Consumer Choice," (with Ken Wisniewski), ORSA/TIMS Joint
National Meeting, Colorado Springs, Colorado, November 1980.

"Models of Consumer Behavior," (panel discussion), ORSA/TIMS joint National Meetings, Colorado Springs,
Colorado, November 1980.

"Dynamic Semi-Markov Models of Consumer Behavior," (with Ken Wisniewski) TIMS International Conference
on Marketing, Paris, June 1980.

"Profit Maximizing Perceptual Positioning," (with Patricia Simmie) TIMS International Conference on Marketing,
Paris, June 1980.

"An Error Theory for von Neumann-Morgenstern Utility Assessment," (with Jehoshua Eliashberg), ORSA/TIMS
Joint National Meeting, Washington, D.C., May 1980.

"Defender: Defensive Strategies Against New Products" (with Steven Shugan), ORSA/TIMS Second Special
Interest Conference on Marketing Measurement and Analysis, Austin, Texas, March 1980.

"Adaptive Control of New Product Launches," (with Ken Wisniewski), ORSA/TIMS Joint National Meeting,
Milwaukee, Wisconsin, October 1979.

"The Value of Up-front Research in New Products," (with Glen Urban), TIMS International Meeting, Honolulu,
Hawaii, June 1979.

"Methods for Computing Probabilities of Choice," (with Steven Shugan), TIMS International Meeting, Honolulu,
Hawaii, June 1979.

"Forecasting and Improving the Adoption of New High Technology Products," (with Pat Lyon), ORSA/TIMS Joint
National Meeting, New Orleans, Louisiana, May 1979.

"A Methodology for Product Realization: Multi-method Procedures," (with Patricia Simmie), ORSA/TIMS Joint
National Meeting, Los Angeles, California, November 1978.

"Searching for Marketing Segments" (with Ken Wisniewski), ORSA/TIMS Joint National Meeting, New York, New
York, May 1978.
"P.A.R.I.S.: An Interactive Market Research System," (with Steven Shugan), ORSA/TIMS Joint National Meeting,
New York, New York, May 1978.
"Extended Conjoint Analysis," (with Steven Shugan), ORSA/TIMS Joint National Meeting, Atlanta, Georgia,
November 1977.

"Consumer Preference Functions: Theory, Measurement, Estimation , and Application," (with Steven Shugan),
ORSA/TIMS Joint National Meeting, Atlanta, Georgia, November 1977.

"Measuring Consumer Preferences for Health Care Plans," (with Glen Urban), ORSA/TIMS Joint National Meeting,
San Francisco, California, May 1977.



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         "Improved Transportation Design with Consumer Response Models: An AMTRAK Example" (with Frank
         Koppelman), ORSA/TIMS Joint National Meeting, Miami, Florida, November 1976.

         "A Comparison of Statistical and Direct Multiattribute Utility Assessment Procedures," (with Glen Urban),
         ORSA/TIMS Joint National Meeting, Las Vegas, Nevada, November 1985.

         "Measuring Consumer Preferences: An Axiomization for Describing Choice," ORSA/TIMS Joint National Meeting,
         Las Vegas, Nevada, November 1975.

         "Modeling Consumer Response to Innovations," (1) Milwaukee Chapter of ORSA/TIMS, November 1985; (2)
         Chicago Chapter of ORSA/TIMS, December 1975.

         "Modeling Decisions of Choice Among Finite Alternatives: Applications to Marketing and to Transportation
         Demand Theory," ORSA/TIMS Joint National Meeting, San Juan, Puerto, Rico, October 1974.

         "An Efficient Model for Planning Bus Routes in Medium Sized Communities," ORSA/TIMS Joint National
         Meeting, San Diego, CA, November 1973.

Professional Affiliations

         The Institute for Operations Research and Management Science (INFORMS)

         INFORMS Society of Marketing Science (ISMS)

         American Marketing Association

         Product Development and Management Association, Certified New Product Development Professional

Professional Services

         President, INFORMS Society of Marketing Science (January 2014 –December 2015). President-elect (a board
         position, January 2012 – December 2013). Past-President (a board position, January 2016 – December 2017).

         Secretary, INFORMS Society of Marketing (January 2002 – December 2005). Founding Officer.

         Advisory Council, INFORMS College of Marketing (1994 - 2002)

         Council of The Institute of Management Sciences (TIMS, 1987 - 1989)

         Associate Editor for Marketing, Management Science, (1980 - 1981)

         Department Editor for Marketing, Management Science, (1982 - 1988)

         Editor-in-Chief, Marketing Science, (1989 - 1994)

         Editor, Special Issue on Big Data, Marketing Science, 2016. Senior Editor, Practice Papers, Marketing Science,
         2016-2018. Associate Editor, Special Issue on the Theory and Practice of Marketing, Marketing Science, 2014.

         Editorial Advisory Board, Sloan Management Review (2000-2002).

         Associate Editor, Journal of Marketing Research (April 2006 – June 2009). First time in journal history that
         Associate Editors had been appointed.

         Associate Editor, Journal of Marketing Research (2020 – 2021, on hiatus at my request)

         Senior Advisory Board, Journal of Marketing Research (July 2009 – 2016). First time such an advisory board was
         formed. Advisory Board (July 2020 to present.)


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       Advisory Board, Marketing Science (2010 – present).

       Advisory Board, Journal of Product Innovation Management (2011 – 2018)

        Emeritus Editorial Board, Marketing Science (includes active reviewing of papers).

        Editorial Boards, Marketing Science, (1980 – 1988, Editor 1989-1995, 2003- 2008, including acting Area Editor),
        Journal of Product Innovation Management (1997 - 2010), Journal of Marketing (2005- 2008, outstanding reviewer
        2006), European Management Journal (advisory, 1998 - 2002), International Journal for Research in Marketing
        (2007 – 2014).


Conference Chairman:     Conference Chair, Profitable Customer-Driven Organizations: Developing the Blueprint,
                         Management Roundtable, May 1994.

Segment Chairman:        Yale School of Management, Center for Customer Insight, The Customer Insights Conference,
                         New Haven, CT. May 12-14, 2011. New Product Innovations.

                         Non-traditional Models of Consumer Preference and Choice, Adaptive Preference and Estimation,
                         Optimizing Product Design and Customer Targeting, Obtaining Information From or About
                         Consumers (Atlanta, GA, 2005, co-chair four sessions)

                         TIMS International Meeting, Copenhagen, Denmark, June 1984 (two sessions).

                         TIMS College of Marketing, Houston, Texas, October 1981 (twelve sessions).

                         TIMS College of Marketing, Milwaukee, Wisconsin, October 1979 (five sessions).

                         American Marketing Association Educator's Conference, Chicago, Illinois, August 1978, (three
                         sessions).

                         INFORMS Marketing Science Conference, Atlanta GA, June 2005 (four sessions)

Session Chairman:        INFORMS (Previously named ORSA or TIMS)

                         Virtual Customer Initiative (Rotterdam, The Netherlands, 2004)

                         New Approaches to Mapping (University of Maryland, 2003)

                         The Virtual Customer (University of Alberta, Canada 2002)

                         The Virtual Customer (Wiesbaden, Germany 2001)

                         Building Competitive Advantage Through Product Quality and R&D (Gainesville, FL 1996)

                         Customer Satisfaction and Its Role in Global Competition (San Francisco, CA 1992)

                         Competitive R&D (Washington, D.C., April 1988)

                         Competitive Marketing Strategy, (St. Louis, Michigan, November 1987)

                         Competition in Multiattributed Spaces (Atlanta, Georgia, November 1985).

                         Marketing: Consumer Measurement (Copenhagen, Denmark, June 1984)

                         Marketing: Dynamic Structures (Copenhagen, Denmark, June 1984)

                         Product Policy (Orlando, Florida, November 1983)

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                           Product Policy (San Diego, California, October 1982)

                           New Product Introduction and Defense in Competitive Environments, (Detroit, Michigan, April
                           1982)
                           New Product and Product Policy Models, (Houston, Texas, October 1981)

                           New Product Models (Toronto, Ontario, Canada, May 1981)

                           Models of Consumer Behavior (Colorado Springs, Colorado, November 1980)

                           New Product Realization and Selection (Los Angeles, California, November 1978).

Session Chairman:          Association of Consumer Research

                           Mathematical Theories of Consumer Behavior (St. Louis, Missouri, October 1981)

Committee Memberships

         Editor Selection Committee, Marketing Science, INFORMS College of Marketing, 2001 (chair), 2004 (chair), 2007.

         Editor Selection Committee, Journal of Marketing Research, American Marketing Association, 1999.

         Conference Steering Committee, Duke Invitational Symposium on Choice Modeling and Behavior, June 1993.

         Editor Selection Committee, Management Science, TIMS.

         Founding Committee for Marketing Science, TIMS College of Marketing, (1979 - 1982).

         Management Science Roundtable, TIMS, (1982 - 1988)

         Marketing Strategy Steering Committee, Marketing Science Institute, (1983 - 1984).

         Organizing Committee for Conference on Economics of the Firm, April 1985, Universite de Paris X Nanterre.

         Organizing Committee for 1985 Conference in Bielefeld, West Germany, European Marketing Academy.

         Publications Committee (1980 - 1982), Operations Society of America.

         Scientific Committee for 1986 Conference in Helsinki, Finland.

         Student Affairs Committee (1978 - 1979), Operations Society of America.

Litigation Consulting (on behalf of, *deposition testimony, †court, commission, or arbitration testimony)

         ABC, Inc., American Broadcasting Company, Inc., and Disney Enterprises, Inc., Plaintiffs, v. Dish Network L.L.C.
                  and Dish Network Corp., (Preliminary Injunction)
         Joseph Adinolfe, et al., v. United Technologies Corp., d/b/a Pratt & Whitney (class action, damages)* †
         Alcatel-Lucent USA Inc. v. Amazon.com, Inc. et al. (Patent Infringement)* †
         Allergan, Inc. Engagement. (Off-label Prescriptions)
         American Express Travel Related Services, Inc. v. Visa USA, Inc., et. al. (Evaluation of marketing research) *
         In Re American Express Anti-Steering Rules Antitrust Litigation (II) (Evaluation of marketing research)*
         American Multi-Cinema, Inc. v. American Movie Classics Company, Inc., et. al. (Confusion)
         Amway v. Procter & Gamble (Damages)*

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Garth A. Anderson, et al. v. American Family Insurance Company (Class Action) *
Anoush Cab, Inc., et al. v. Uber Technologies, Inc., Rasier, LLC (damages) †
Apple, Inc. v. Samsung Electronics Company, Ltd, et al. (Patent infringement, two cases) ** †††
Dane Ashely Burce Tress v. FCA Canada, Inc. and FCA US LLC. (Class action)*
Atlantic Recording Corporation, et. al. v. XM Satellite Radio, Inc. (Copyright infringement).
Ariza, Et Al. v. Luxottica Retail North America (class action)*
Axcan Scandipharm, Inc. V. Global Pharmaceuticals And Impax Laboratories, Inc. (False Advertising)
Avaya Inc. v. SNMP Research International, C.A. (Damages) *
Berlex v. Biogen, Inc. (Damages)*
Blue Mountain Arts, Susan Polis Schutz, and Stephen Schutz v. Hallmark Card, Inc. (Trade Dress)
James And Lisa Camenson, et al.; v. Milgard Manufacturing Inc., et. al. (Class action)
CBS Corporation, CBS Broadcasting Inc., CBS Studios Inc., and Survivor Productions, LLC. v. and DISH Network
         Corporation, DISH Network L.L.C. (damages).
Clearchannel Communications, Inc. (v. SoundExchange) in the Webcasting IV. (Rate setting) *†
Comm-Tract Corp. v. Northern Telecom, Inc. (Advice only)
Comcast Cable Communications. LLC v. Sprint Communications Company (Patent Infringement)*
Computer Aid, Inc. v. Hewlett Packard (damages)*
Dayna Craft, et al. v. Philip Morris Companies, Inc. and Philip Morris Inc. (Class Action).*
Creative Laboratories, Inc. v. Apple Computer, Inc. (Intellectual Property)
CTC Communications Corporation v. Bell Atlantic Corporation (Damages)
Eagle Harbor Holdings LLC, and Mediustech LLC, v. Ford Motor Company (Patent infringement).
Anne Elkind And Sharon Rosen, et al. v. Revlon Consumer Products Corporation, Inc. (Class Action)
EPD v. Curtis (Product Confusion)†
FCA Canada Inc. and FCA US LLC, re Canadian Class Actions re Diesel Fuel Emissions, specifically, Shane
         Witham, et al. v. FCA Canada Inc., FCA US LLC, and FIAT Chrysler Automobiles N.V. (Class Action) †
Fox Broadcasting Company, Inc., Twentieth Century Fox Film Corp., and Fox Television Holdings. Inc., Plaintiffs,
         v. Dish Network L.L.C. and Dish Network Corp., (Preliminary Injunction, Damages)*
Stephen S. Gallagher, et. al. v. State Farm Mutual Automobile Insurance Company, et al. (Class Action)
Geico v. Google and Overture Services (Yahoo), Inc. (Trademark Infringement)
In Re: General Motors, LLC Ignition Switch Litigation (non-testifying expert)
Gillette v. S. C. Johnson (Patent Infringement)
Gyrodata, Inc. v. Atlantic Inertial Systems Inc (“AIS”), et al. (consulting expert)
Heublein vs. Seagrams and Gallo (Liability)
Hewlett-Packard, Inc. v. Factory Mutual Insurance Company (Insurance Coverage)*
IMS Health Incorporated v. Symphony Health Solutions Corporation, Source Healthcare Analytics, LLC, and
         ImpactRx, Inc., C.A. No. 1:13-cv-2071-GMS (D. Del.). (Patent infringement, technical expert.)
Intel v. Advanced Micro Devices (Damages)*
J. B. D. L. Corp. d/b/a, Beckett Apothecary v. Wyeth-Ayerst Laboratories, Inc. and American Home Products
         Corporation, (Class Action)
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Jerry Jacobs, et. al. v. Osmose Inc., et. al. (Class Action)*
Jay Kordich, et. al. v. Salton Maxim Housewares, Inc., et. al. (Trademark)†
In RE J.P. Morgan Chase Cash Balance Litigation (Class Action)*
Michael Kors, Inc. v. Costco Wholesale Corporation (False Advertising, Damages)*
L.A. Taxi Cooperative, Inc. et al. v. Uber Technologies, Inc.; Rasier, LLC; and Rasier-CA, LLC. (False
         Advertising)*.
Lending Tree, Inc. v. The Gator Corporation (Intellectual Property)
Lotus v. Borland (Damages)*
Louis Vuitton Malletier, S. A. v. Hyundai Motor America (Trademark Infringement)*
Malden Transportation, Inc. et al. vs. Uber Technologies, Inc., Rasier, LLC*† (damages). See also Anoush.
Marvin Lumber and Cedar Company v. PPG Industries, Inc., et. al. (Survey Design)
MasterCard International, Inc. v. First National Bank of Omaha (Product Confusion)*
Mayo Foundation v. Mayo Health Facilities (Product Confusion)†
Mead Johnson Nutritionals v. unnamed party (False Advertising)
Merck & Co. (Lanham Act Advice)
In Re Microsoft Corporation Antitrust Litigation (Multi-district Litigation)*
Millennium Laboratories, Inc. v. Ameritox, Ltd. (False Advertising)
Scott Miller, et al. v. Fuhu, Inc. and Fuhu Holdings, Inc. (Class Certification)*
MillerCoors, LLC v. Anheuser-Busch Companies, LLC. (False Advertising) *
National Association of Broadcasters v. SoundExchange in Webcasting V (Rate Setting) *†
Pacific Bell Telephone Company in New Regulatory Framework Review of Customer Satisfaction before the
         California Public Utility Commission†
Luciano F. Paone v. Microsoft Corporation (Patent Infringement)*
Pfizer Consumer Healthcare (Lanham Act Advice)
Playtex v. Procter & Gamble (Claims Substantiation)*†
Procter & Gamble v. Amway (Liability and Damages)*†
Procter & Gamble v. Haugan, et. al. (Liability and Damages)†
Putnum Fund Trustees, (Investment Fraud, advice on market research)
Ram Broadcasting, Inc. (Cellular Telephone Filings)
RealPlayer, Inc. v. Microsoft Corporation (Anti-trust)
Roberts et. al. v. Enterprise Rent-a-Car Company of Boston, Inc. (Class Action)
The Republic of Columbia v. Diageo North America, et al. (Anti-trust).
St. Clair Intellectual Property Consultants, Inc. v. Research in Motion, Ltd. and General Imaging Co. (Patent
         infringement)
Curt Schlesinger and Peter Lore, on behalf themselves and the Certified Class, Plaintiffs, v. Ticketmaster (Class
         action, false advertising, confusion)*
Barbara Schwab, et. al. v. Philip Morris, USA (Class Action)*
SoundExchange, Inc. v. Sirius Satellite Radio, Inc. and XM Satellite Radio, Inc.: In the Matter of Adjustment of
         Rates and Terms for Preexisting Subscription Services and Satellite Digital Radio Services. SDARS I, II,

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                 and III. (Rate setting) 2007*†. 2012*†. 2017*†.
        SoundExchange, Inc. v. iHeart Media (2015) and the National Association of Broadcasters (2020), In the Matter of
                 Determination of Rates and Terms for Digital Performance in Sound Recordings and Ephemeral
                 Recordings. Web IV, V. (Rate Setting). 2015*†, 2020*†
        Sprint Communications Company L.P. et al. v. Comcast Cable Communications, LLC. et al. (Damages)*
        Spotify v. Royalty Rates Holders for Making and Distributing Phonerecords. In the Matter of Determination of
                 Royalty Rates and Terms for Making and Distributing Phonerecords (Phonerecords IV). (Rate setting)
                 2021
        State of Colorado, et. al. v. Warner Chilcott Holdings Company III, Ltd., et. al. (Anti-trust)* †
        State of Florida and Plaintiff States Antitrust Litigation for Disposable Contact Lenses (Survey Analysis)†
        State of Washington v. Comcast, et al. (False Advertising)* †
        Stipic, et. al. v. Behr Process Corporation and Masco International (Class Action)*
        Straumann Company v. Lifecore Biomedical, Inc. (Product Confusion)*
        Sun Microsystems, Inc. v. Microsoft Corporation (Anti-trust).
        Symphony Health Solutions Corporation v. IMS Medical Radar (Technical Expert)*.
        Takada Pharmaceuticals USA, Inc. v. Par Pharmaceutical Companies, Inc. Par Pharmaceutical, Inc., Amneal
                 Pharmaceuticals, LLC, Watson Laboratories, Inc. West-Ward Pharmaceutical Corp., Hikma Americas
                 PLC. (Patent Infringement).
        Charles Tillage et al. v. Comcast Corporation (Class Action)*
        Tivo, Inc. v. Echostar Communications Corporation, et. al* (Patent Infringement)
        Tropicana Products, Inc. v. Vero Beach Groves, Inc. (Lanham Act)† (Declaration accepted as court testimony.)
        United States of America Department of Justice v. AT&T Inc., DirecTV Group Holdings, LLC, And Time Warner
                 Inc.* †
        Wal-Mart Stores, Inc (and other retailers) v. Mastercard International, Inc. (Liability and Damages, Anti-trust)*
        We Media, Inc. v. We: Women’s Entertainment, LLC. (Product Confusion)*.
        Yahoo Holdings, Inc., et al. v. Mozilla Corporation (customer satisfaction) *
        Olua Zakaria, et al. v. Gerber Products Co. d/b/a Nestle Nutrition, Nestle Infant and Nestle Nutrition North America
                 (class action, damages)*.

Marketing, Marketing Research, and Product Development Consulting Not Otherwise Listed

        American Home Foods, Inc.; American Airlines; American Hospital Supply Corporation; Analog Devices, Inc;
        Andersen Consulting, Inc. (Accenture), Applied Marketing Science, Inc.; A.T.&T.; Avon; Barton-Aschmann
        Associates; Baxter Cardiovascular Group, Booz Allen Hamilton, Inc., Cambridge Systematics, Inc.; Chrysler, LLC;
        Colgate-Palmolive; Costello Associates, Inc.; Economics’ Laboratories, Inc.; Elrick and Lavidge, Inc.; Evanston
        Hospital; Evanston, Illinois and Schaumburg, Illinois (Transportation Planning); Fiat Chrysler Automobiles, Fidelity
        Investments; Ford Motor Company; French's Inc., G.D. Searle, Inc.; General Foods, Inc.; General Motors, Inc.,
        Buick Division, Chevrolet Division, Marketing and Product Planning; Gillette; IBM, Inc.; Information Resources,
        Inc.; Intel, Inc., Johnson & Johnson; Kodak; Macromedia, Inc., Management Decision Systems, Inc.; M/A/R/C, Inc.;
        Merck, Inc., Navistar International, Inc.; Pacific Gas and Electric Company, Pepsi-Cola, Inc.; Polaroid; Procter &

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        Gamble Company; Product Genesis, Inc.; RAM Broadcasting, Inc.; Regional Transportation Authority; Richardson-
        Vicks, Inc.; Southern Company Services, Inc.; Time-Life Books; Volunteers in Technical Assistance, and Wyeth-
        Ayerst Laboratories, Inc. Co-founder, senior product development consultant, Applied Marketing Science, Inc.,
        Advisory Board (former), Affinnova, Inc.

M.I.T. or MIT Sloan Committee Work

Associated Faculty Committee to Review the Organizational Learning Center (MIT Sloan), 1995.

Building Committee for the E51 Expansion, MIT Sloan, 1992, Ad Hoc.

Center for Innovation in Product Development

        Leader, Virtual Customer Initiative, 2000 - 2006

        Research Director, 1997 – 2000

Center for Transportation Studies, 1981 - 1982.

        Master of Science in Transportation Committee.

Committee on the Masters in Analytics, 2014-2016.

Committee on the Undergraduate Program, 2003 – 2005.

Committee to Investigate Sloan-Logo Research Notes (MIT Sloan, chair), 2001-2002.

Dean’s Consultation Committee (MIT Sloan), 2008-2009.

Dean Search Committee (MIT Sloan), 1993.

Executive Educational Programs Committee (MIT Sloan), 1983 – 1985, 1998-1999, 2007.

Faculty Admissions Committee, 2004-2009.

Faculty Council (MIT Sloan), 1999.

International Center on Research for the Management of Technology (MIT Sloan).

        Co-Director, (1993 - 2000).

        Joint Steering Committee (1990 - 1993).

Management Science Area, MIT Sloan School of Management.

        Area Head, (2005- 2009).

        Chairman of Subcommittee on Peer Group Comparisons, (1981 - 1982).

        Committee on Management Science Curriculum Redesign, (1982 - 1983).

        Marketing Group Head (1986, 1988 – 2003, 2010-2011).

        Marketing PhD Admissions, Head (2015, 2016)

Management of Technology Program Committee (MIT Sloan), (2001- 2003).

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Master's Program Committee, MIT Sloan, (1980 – 1987, 2007 – 2015).

         Ad hoc committee to develop a Marketing, Operations and Strategy Track (2011-2012).

         Ad hoc committee to understand gender issues in class participation (2015-2016)

         Chairman: Subcommittee On Placement, (1981 - 1982).

         Core Curriculum Implementation Committee (1992-1994).

         Core Curriculum Reassessment Committee (1991-1992).

         Subcommittee on Admissions, Special Consideration, (2007 – 2009).

         Subcommittee on Course Ratings (2011).

         Subcommittee on Entrepreneurship and Innovation Evaluation (Chair, 2008).

         Subcommittee on Fellowship Awards (2014-2015)

         Subcommittee on the Management Science Core, (1982 - 1983).

         Subcommittee on Tracks (2008-2009).

         Subcommittee on Strategy Curriculum (2009).

MIT Sloan Committee on Educational Technology, 2004 – 2006.

Operations Research Center

         Admissions Committee, (1981 - 1982).

         Associated Faculty (1980 – 2000).

         Operations Research Committee (2001- 2003).

         President's Committee (1984).

Organization Committee for the New MIT Sloan Building, E62, (2007- 2009).

Personnel and Policy Committee, MIT Sloan (Executive Committee, 2005 – 2009, 2013-2014).

         Chair of ad hoc committees for reappointment, promotion, and tenure (1983 - 2014).

         Member of ad hoc committees for reappointment, promotion, and tenure (1981 - 2014).

Sloan Appreciation Awards Committee (2013-2014)

Symposium Director, Marketing Center, MIT Sloan School, M.I.T., (1981 - 1982).

Zannetos Dissertation Award Committee, MIT Sloan, (1981-82, 1996-97, chair 1997-1998).

M.I.T. Subjects Taught (often multiple sections)

15.810, Marketing Management (Core)                 Spring 1990, 1991, 1992, 1993, 1994, 1995, 1997, 1998, 1999, 2001,
                                                    2004, 2005. 2006, 2018. Fall 1999, 2006, 2007, 2008, 2011, 2012,
                                                    2013, 2014, 2015. (Teaching awards listed on page 2 of vita.). Retitled

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                                                     Marketing Innovation in 2018.

15.812, Marketing Management (UG)                    Fall 1981, 1982, 1984, 1985, 1986. Spring 1981, 1984, 2006, 2018.
                                                     Retitled Marketing Innovation in 2018.

15.813, Marketing Management in Public Sector        Fall 1980.

15.814, Marketing Innovation                         Spring 2019, 2020

15.8141, Marketing Innovation (UG)                   Spring 2019, 2020

15.814, Marketing Mgmt (Mgmt of Technology)          Fall 1988, 1993, 1999, 2001.

15.820, Advanced Marketing Management                Spring 1990

15.821, Listening to the Customer                    Spring 2021, 2022

15.828, New Product Development                      Spring 1981, 1982, 1989; Fall 1982, 1984; 1985.

15.838, Ph.D. Seminar (Various Topics)               Spring 1986, 1997, 2002, 2006, 2011, 2013, 2014, 2015, 2016, 2021.

15.839, Marketing and Statistics Workshop            Spring 1982; Fall 1982, 1984.

15.TH4, Thesis Project on Competitive Strategy       Spring 1985, 1986.

CS.113, Core Ethics: Ethics in Marketing             Fall 2014, 2015, 2016, 2017, 2019.

CS.108, Core Ethics: Ethics in Drug and Vaccine Tests         Fall 2020, 2021

Summer Session, ILP, and External Executive

        A.T.&T Course on New Product Development, 1986.

        European Institute for Business Administration (INSEAD) European Marketing Programme, 1985.

        Greater Boston Area Executive Program, 1982, 1983.

        M.I.T. Civil Engineering, Demand Theory, 1980, 1981, and 1982.

        M.I.T. ILP, Marketing Strategy and Models in the Information age, 1983.

        M.I.T., Management of R&D, 1989, 1990, 1991, 1992, 1993, 1994. 1995, 1996, 1997, 1998, 1999.

        M.I.T. Marketing Science Symposium, 1981, 1982, 1983, 1984, 1985, 1986, 1987, 1988.

        M.I.T./M.I.P. Executive Program, 1992.

        M.I.T. New Product Development, 1997.

Pedagogical Developments.

        In 2021, I redesigned a course on listening to the customer, including entirely new sessions updated with new
        material and new case studies.

        In 2017-2019, I headed an effort to redesign the basic marketing course with further consideration of redesigning the
        entire marketing curriculum.



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        In 2012, I redesigned the core curriculum in marketing to reflect new developments in marketing analytics, big data,
        and new media.

        In 1990 and 1991, Prof. John D. C. Little and I redesigned the core curriculum in Marketing Management and taught
        the course to the entire Master's class.

        In the 1991-1992 I was part of a committee of six faculty members that redesigned the core curriculum at the Sloan
        School. I supervised the voice-of-the-customer analyses of students and recruiters and encouraged the committee to
        design a program that these customers would find exciting. The new core was implemented in the 1993-1994
        academic year. Student satisfaction increased significantly.

Teaching Notes

        Note on Defensive Marketing Strategy (2005, for 15.810, Marketing Management)

        Note on Product Development (2055, for 15.810, Marketing Management)

        Note on the Voice of the Customer (2018 for 15.814, Marketing Innovation)

        Note on Consumer Behavior (2015, for 15.810, Marketing Management)

        Note on Life Cycle Diffusion Models (2005, for 15.810, Marketing Management)

        Note on Engineering Product Design (2006, for 15.810, Marketing Management)

        Note on Conjoint Analysis (2018, for 15.814, Marketing Innovation)

M.I.T. Thesis Supervision

(a)     MIT Sloan School of Management, Master's Theses

        Hafiz Adamjee (joint with John Scaife), "The Face of the Customer: The Use of Multimedia in Quality Function
        Deployment," - (1993). This product was subsequently commercialized and was a finalist for the New Media
        Invision 1994 Multimedia award at COMDEX/Spring '94.

        Ramay Akras, "Competitive Strategy in the Marketing of Small DDP Computers: an Analysis of Emerging Price
        and Product Position Patterns," - (1986).

        Frederic Amerson, "Strategic Marketing Simulation: Improvements to the Enterprise Integrating Exercise," - (1989).

        Sébastien Andrivet (Sloan Fellows Program), “Customer research, customer-driven design, and business strategy in
        Massively Multiplayer Online Games,” – (2007)

        Andrew Anagnos (joint with Karen Van Kirk), "A Framework for Analyzing Quality in the News Media," - (1991)

        Allen Aerni, "Measurement of Customer Satisfaction," - (1994).

        Joel Berez, "An Investigation of Decision Hierarchies" - (1981).

        Harel Beit-on, "Competitive Strategy for Small Business Jet Aircraft," - (1985).

        Willy Biberstein (SDM Program), "Framework for Customer Interaction Throughout the Automotive Product
        Development Process," (February 2002).

        Andre Borschberg (joint with Webb Elkins), "Defensive Marketing Strategy: Its Application to a financial Decision
        Support System" - Reader (1983).

        Philippe Bosquet, "European Airline Deregulation: Defining Air France's Strategy for the 1990's," - Reader (1989)

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Jill A. Christians, (joint with Cheryl M. Duckworth), "Expectations and Customer Satisfaction: A Market Research
Study for Plimoth Plantation," Reader (1994).

Poh-Kian Chua (MOT Program), “R,D&E Metrics: Shaping the Outcomes of Your R,D&E Investment,” – (1998).

Leslie K. Cooper, "The Structure of Recruiter Needs at the Sloan School of Management: A Quantitative
Assessment," - (1992).

Teruyuki Daino (Sloan Fellows Program), “How a Leading Company Can Overcome a Competitive Challenge: A
Case Study of Anheuser-Busch Company.” – (1998).

Laura E. Donohue, "Software Product Development: An Application of the Integration of R&D and Marketing via
Quality Function Deployment" - (1990)

Cheryl M. Duckworth (joint with Jill A. Christians), "Expectations and Customer Satisfaction: A Market Research
Study for Plimoth Plantation," Reader (1994).

Webb Elkins (joint with Andre Borschberg), "Defensive Marketing Strategy: Its Application to a Financial Decision
Support System" - Reader (1983).

Rasheed El-Moslimany (LFM Program), "Getting Value from the Value Chain: Comfort Choice," Co-Advisor.
(June 2002)

Merve Ergez (Master of Science in Management Studies), Strategic Scent Selection: A Marketing Research Study
for Olivita Brand,” (June 2014).

Julio Faura (MOT Program), "Contribution to Web-based Conjoint Analysis for Market Research," (2000).

Richard Feldman, "Decision Support Systems for Forecasting Communications in the Home," - Reader (1985).

Anders T. Fornander, "The Continuing Operating System Battle in the Personal Computer Industry," - Reader
(1994).

Carl Frank (MOT Program), "Metrics Thermostat for Strategic Priorities in Military System Acquisition Projects,"
(2000).

Mihaela Fulga, "Competitive Pricing and Positioning Strategies in the Dating Service Market," - (1986).

Steven P. Gaskin, "Defender: Test and Application of a Defensive Marketing Model" - (1986). 1st Place, Brooks
Award.

Peter N. Goettler, "A Pre-market Forecasting Model of New Consumer Durables: Development and Application," -
Reader (1986).

Patti N. Goldberger, "Competitive Strategy in the Market for Running Shoes," - (1985).

Akhil Gupta, "The Personal Computer Industry: Economic and Market Influences on Product Positioning
Strategies," - (1986).

Michael Halloran (joint with Marc Silver), "Defensive Marketing Strategy: Empirical Applications" - (1983).

Carla Heaton, "Competitive Strategy in the Facsimile Market," - (1985).

Judith Hee, "Determining Manufacturer's Coupon Strategies" - Reader (1981).

Jonathan E. Higginson, “Understanding Dependencies in Research and Development at the Charles Stark Draper
Laboratory.” - (1997).

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Scott D. Hill, "Correlation of Core Competencies with Market-Driven or Self-Guided Research," - (1995).

Dan Isaacs, "Competitive Pricing and Positioning Strategies in the Imported Beer Marketing," - (1986).

Francois Jacques, "Marketing Strategies in Innovative Industries: The Case of Package/Document Delivery
Services," - Co-Advisor (1985).

Lawrence Kahn, "Competitive Positioning: A Study of Recruiter's and Employer's Perceptions of the Sloan School
of Management" - (1982). Honorable mention Brooke's Thesis Prize.

D. Darcy Kay, "Competitive Strategy for Anti-arthritic Drugs" - (1985).

Young Joo Kim (MOT Program), “R&D Management Applications of The Dynamic Metrics Framework” – (1998)

Priya Kher (Systems Design and Management Program), “Using Application Generated Data to Provide
Personalized User Experience in Software Applications” – (2018)

Sidney A. Kriger, "The Effect of Quality Function Deployment on Communications of the New Product
Development Teams," - (1989)

Yasuke Kume, "New Marketing Strategy of Telecommunications in Japan" - Reader (1981).

Elvind Lange, "Measuring Market Response to Marketing Mix Variables Using Dynamic Modeling and Its
Implications for Brand Strategy" - Reader (1981).

Stephen P. Langhans, "Defensive Marketing Strategy: A Consumer Semi-Durable Case Example" - (1983).

In-Kyu Lee, "Evaluating System for the Upstream Center of R&D for being Market-Oriented in a Consumer
Electronics Company," - (1995).

Michael Leslie (joint with Joel Wachtler), "A Methodology for Making International Marketing Mix Decisions," -
Reader (1985).

Kit Mee Lim, "Competitive Strategy among Companies Offering Credit Cards," - Reader (1985).

James A. Lutz, "Competitive Marketing Strategy in the CAD Marketplace," - (1985).

Larry D. Lyons, "Forecasting the Impact of Competitive Entries on Sales of a New Consumer Durable" - Reader
(1984).

Arpita Majundar (SDM Program), "Strategic Metrics for Product Development at Ford Motor Company," - (2000).

Catherine E. Manion, "A Survey of Customer Satisfaction Incentive Systems for Salespersons," - (1993).

Maureen E. Matamoros, "Information Overload," – Reader (1986).

Meghan McArdle (LFM Program), "Internet-based Rapid Customer Feedback for Design Feature Tradeoff
Analysis," – co-Advisor (2000)

Fernando Motta, "Competitive Strategy Among Panamanian Banks," - (1985).

Neil Novich, "Price and Promotion Analysis Using Scanner Data" - Reader (1981).

Kenji Nozaki, "Marketing and Technology Strategy for the Japanese Architectural Design Company," - (1989).

Seiji Nozawa, “Voice of the Customer Analysis in the Japanese Beer Market.” - (1997).


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Minho Park (MOT Program), “R&D Matrix at LG Electronics.” - (1997)

Stephen Pearse, "Production and Sales Forecasting: A Case Study and Analysis" - Reader (1982).

Ning P. Peng, "An Exploration of the Impact and Success of Customer Satisfaction Programs," - (1994).
Homer Pien (MOT Program), “Competitive Advantage through Successful Management of R&D.” - (1997)
Susan B. Poulin, "Defensive Strategy in the Automatic Test Equipment Industry" (1984).

Jill W. Roberts, "MBA Recruiters' Needs: Voice of the Customer Analysis," - (1992).

Lisa Gayle Ross, "A Voice of the Customer Analysis of M.B.A. Schools: The Student Segment," - (1992). Lisa was
a runner-up for the George Hay Brown Marketing Scholar of the Year in 1992.

Tamaki Sano, “Strategy for Kirin as a Global Brand” – (2009) Sloan Fellow.

John Scaife (joint with Hafiz Adamjee), "The Face of the Customer: The Use of Multimedia in Quality Function
Deployment," - (1993). See award listed under Adamjee.

Paul E. Schoidtz, "Advertising, Price, and Positioning Equilibria," - (1986).

Hongmei Shang, "A Simulation Analysis of Optimal Task Assignment for Growing Managers from R&D Labs," –
(February 2000).

Rosemarie Shield, "Competitive Pricing and Positioning Strategies in the Chromatographic Instruments Market," - ,
(1986).

Jon Silver (joint with John C. Thompson, Jr.), "Beta-binomial Analysis of Customer Needs -- Channels for Personal
Computers," - (1991). 1st Prize, Brooks Award.

Marc Silver (joint with Michael Halloran), "Defensive Marketing Strategy: Empirical Applications" - (1983).

Lisa Silverman, "An Application of New Product Growth Modeling to Automobile Introductions" - (1982).

Sheryl Sligh, "An Assessment of the Analog Modem Market," - (1991).

Jamie Smith, "Industrial Buying Process of Pension Funds for Real Estate," - (1982).

Yoshihito Takahashi (MOT), "Analysis of Strategy in an Ethical Drug Industry," – Reader ( 2000).

Genevieve Tchang, "A Methodology for Planning and Evaluating External Relations at Business Schools" - Reader
(1982).

John C. Thompson, Jr. (joint with Jon Silver), "Beta-binomial Analysis of Customer Needs -- Channels for Personal
Computers," - (1991). 1st Place, Brooks Award.

V. Mullin Traynor, "The Dissemination and Adoption of New Technology: Control Data's Computer-Based
Training System, Plato, and the Electric Utilities" - (1982).

Karen Van Kirk (joint with Andrew Anagnos), "A Framework for Analyzing Quality in the News Media," - (1991)

Joel Wachtler (joint with Michael Leslie), "A Methodology for Making International Marketing Mix Decisions," -
Reader (1985).

Tamao Watanabe, "Customer Analysis of the U.S. Cardiovascular Drug Market: Focusing on Physician's Drug
Choice" - (1991)

Stephen L. Weise, "Expert Decision Support Systems for Marketing Management," – Reader (1986).

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      Nancy Werner, "Competitive Price and Positioning in the Integrated Office Automation Systems Market" - (1986).

      Julie Wherry, “Pre-Test Marketing: Its Current State in the Consumer Goods Industry and Its Effect on Determining
      a Networked Good.” - (2006).

      Ali Yalcin, "The Potentials and Limitations of Customer Satisfaction Indices in Captive Customer-Supplier
      Environments," - (1995)

      Sandra Yie, "The Core Curriculum at Sloan: Establishing a Hierarchy of Needs," - (1992).

      Judy Young, "Responsive Marketing Strategy at AT&T" - (1982).

(b)   Aeronautics S.M. Theses

      Keith Russell (LSI), "Reengineering Metrics Systems for Aircraft Sustainment Teams: A Metrics Thermostat for
      Use in Strategic Priority Management," (February 2001).

(c)   Electrical Engineering, S.B. and M.Eng. Theses

      Chan, Christine W. Y. (M. Eng), “Measuring Non-Monetary Incentives Using Conjoint Analysis,” Co-Advisor
      (1999).

      Emily Hui (M.Eng.), "Application of Polyhedral Conjoint Analysis to the Design of Sloan's Executive Education
      Programs." June 2003.

      Brian T. Miller (S. B.), "A Verification of Price Equilibria Based on Non-Zero Conjectural Variation," (1986).

(d)   Mechanical Engineering, Master’s Theses

      Burt D. LaFountain, “An Empirical Exploration of Metrics for Product Development Teams” – (1999)

      Tina Savage, “The Virtual Customer: A Distributed Methodology for Linking Product Design and Customer
      Preferences.” Co-Advisor (1998).

(e)   Operations Research Center, Master’s Theses

      Jeffrey Moffit (ORC), " Applying the Metrics Thermostat to Naval Acquisitions for Improving the Total Ownership
      Cost – Effectiveness of New Systems," (2001)

      Olivier Toubia (ORC), "Interior-point Methods Applied to Internet Conjoint Analysis," (February 2001), Co-
      Advisor.

(f)   Urban Studies, Master's Theses

      Marijoan Bull, "Affirmative Fair Housing Marketing" - Committee Member (1982).

      Barry Cosgrove, "Marketing Analysis for the Brockton Area Transportation Authority" – Committee Member
      (1981).

(g)   MIT Sloan School of Management, Ph.D. Theses (Universities listed are last known appointment)

      Makoto Abe, "A Marketing Mix Model Developed from Single Source Data: A Semiparametric Approach."
      Committee member (August 1991). Abe is on the faculty at the University of Tokyo.

      Cao, Xinyu, “Consumer Inattention, Uncertainty, and Marketing Strategy.” Committee member (June 2018). Cao is
      joining the faculty at New York University.


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Daria Dzyabura, “Essays on Machine Learning in Marketing (tentative title),” Chairman (June 2012). Dzyabura is
on the faculty at the New Economic School in Russia.

Peter Fader, "Effective Strategies in Oligopolies," Chairman (February 1987). Sloan School of Management,
Zannetos Prize, 1st Place. Fader is on the faculty at the University of Pennsylvania.
Fred Feinberg, "Pulsing Policies for Aggregate Advertising Models" Committee Member (August 1988). Feinberg is
on the faculty of the University of Michigan.
Dave Godes, " Friend or Foe?: The Relationship Between Learning and Incentives and two additional essays in
marketing," (June 2000), Committee Member. Primary advisor on listed essay. Zannetos Prize, 1st Place. Godes is
on the faculty of the University of Maryland.
Abbie Griffin, "Functionally Integrated New Product Development: Improving the Product Development Process
Through Linking Marketing and Technology Development," Chairman. (June 1989). Griffin is on the faculty at the
University of Utah and was editor of Journal of Product Innovation Management from 1997-2003 Frank Bass
Dissertation Award (INFORMS).

Gurumurthy Kalyanaram, "Empirical Modeling of the Dynamics of the Order of Entry Effect on Market Share, Trial
Penetration and Repeat Purchases for Frequently Purchased Consumer Goods," Committee Member (March 1989).
G. K. was on the faculty at the University of Texas, Dallas.

Eriko Kitazawa, "Customer Satisfaction at Japanese Utility Franchises," Committee Member (1996).

Li, Xitong, “Using Web Data and Services: Technology, Theory, and Evidence,” Co-chairman (2014). Li is on the
faculty at HEC Paris.

Eleanor (Nell) Putnam-Farr, “The Effects of Framing on Enrollment and Participation – Field Experiments Using
Different Recruitment Language.” June 2015. Putnam-Farr joined Yale University as a post-doctoral fellow. She is
joining the faculty at Rice University.

John H. Roberts, "A Multiattributed Utility Diffusion Model: Theory and Application to the Prelaunch Forecasting
of Autos". Committee Member (February 1984). Roberts is on the faculty at the London Business School and the
Australian Graduate School of Management..

Matt Selove, “The Strategic Importance of Accuracy in Conjoint Design,” Committee Member (June 2010). Selove
joined the faculty at the University of Southern California. He is now on the faculty at the Chapman University.
John Howard Dissertation Award (AMA), 2010.

Duncan I. Simester, "Analytical Essays on Marketing," Committee Member, (June 1993). Sloan School of
Management, Zannetos Prize, Honorable Mention. Simester is on the faculty of M.I.T.

Artem Timoshenko, "Essays on Machine Learning in Marketing (tentative ,June 2019),." Timoshenko is on the
faculty of Northwestern University.

Olivier Toubia, “New Approaches to Idea Generation and Consumer Input in the Product Development Process,”
(June 2004). Toubia is on the faculty of Columbia University. Frank M. Bass Dissertation Award (INFORMS),
2005, John Howard Dissertation Award (AMA), 2005. ISMS Long-term Impact Award 2016.

Miguel Villas-Boas, "On Promotions and Advertising Policies: A Strategic Approach." Committee member
(February 1991). Villas-Boas is on the faculty at the University of California, Berkeley.

Bruce Weinberg, "An Information-Acceleration-Based Methodology for Developing Preproduction Forecasts for
Durable Goods: Design, Development, and Initial Validation." Committee Member. (August 1992). Weinberg was
on the faculty at Boston University.

Florian Zettelmeyer, “Three Essays on Strategic and Organizational Uses of Information in Marketing.” Committee
Member. Zettelmeyer is on the faculty of Northwestern University.


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(h)     Civil Engineering, Ph.D. Thesis

        Karla Karash (Ph.D.), "An Application of the Lens Model in Measuring Retail Attractiveness and the Effects of
        Transportation Programs" - Committee Member (August 1983). Karash was at the MBTA.

(j)     Mechanical Engineering, Ph.D. Thesis

        Javier Gonzalez-Zugasti (Mechanical Engineering, Ph.D.), "Models for Product Family Design and Selection,"
        (June 2000), Committee Member.

(k)     Operations Research Center, Ph.D. Thesis

        Yee, Michael (Operations Research, Ph.D.), “Inferring Non-Compensatory Choice Heuristics,” (June 2006), Co-
        Advisor. Yee is at MIT’s Lincoln Laboratories.

Northwestern University Ph.D. Thesis Supervision (1975 - 1980 Academic Years)

        Steven M. Shugan, "A Descriptive Stochastic Preference Theory and Dynamic Optimization: Applications Toward
        Predicting Consumer Choice' Chairman (September 1977). Shugan is on the faculty at the University of Florida and
        was editor of Marketing Science for six years.

        Patricia Simmie, "Product Realization: Theory, Models, and Application" - Chairman (June 1979), American
        Marketing Association Dissertation Prize, Honorable Mention. Simmie was at York University.

        Ken J. Wisniewski, "A Semi-Markov Theory of Consumer Response: New Theoretical Properties, Simulation
        Testing, and Empirical Application" Chairman (June 1981). American Marketing Association Dissertation Prize,
        First Place. Wisniewski was on the University of Chicago.




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                          APPENDIX B
                     MATERIALS CONSIDERED
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Case Documents

“Complaint for a Temporary Restraining Order and Preliminary Injunctive Relief Pursuant to Section
13(b) of the Federal Trade Commission Act, 15 U.S.C. § 53(b),” March 28, 2022, Federal Trade
Commission v. Intuit Inc., No. 3:22-cv-1973, United States District Court Northern District of California
San Francisco Division.

Declaration of Nathan Novemsky, March 28, 2022, Federal Trade Commission v. Intuit Inc., No. 3:22-
cv-1973, United States District Court Northern District of California San Francisco Division, and
associated backup.

Kirk Fair, R., “Analysis of Consumer Choices in a Test and Control Study of TurboTax Upgrade
Screens,” Submitted to the FTC on November 4, 2020, and associated backup.

Internal Intuit Documents

Intuit, 2017 Consumer Group FY18 Go-To-Market White Paper.

Intuit, 2019 Our Competitors Study.

Intuit, 2019 TurboTax Defection Study.

Intuit, 2021 TurboTax Online TY20 NPS Study.

INTUIT-FFA-FTC-000139031-032.

INTUIT-FFA-FTC-000549928-959.

Academic Literature

Assael, H., 2004. “Consumer Behavior: A Strategic Approach.” Houghton Mifflin Company, Boston,
MA.

Baskin, E. et al., 2016. “Proximity of Snacks to Beverages Increases Food Consumption in the
Workplace: A Field Study.” Appetite, 103, 244-248.

Bettman, J., Luce, M. and Payne, J., 1998. “Constructive Consumer Choice Processes.” Journal of
Consumer Research, 25, 187-217.

Birks, D. et. al., 2011. “Shifting Boundaries of Research.” Sixth ASC International Conference,
University of Bristol, UK.

Chakravarti, A. and Janiszewski, C., 2003. “The Influence of Macro-Level Motives on Consideration Set
Composition in Novel Purchase Situations.” Journal of Consumer Research, 30(2), 244-258.

Dahan, E. and Hauser, J.R., 2002. “The Virtual Customer,” Journal of Product Innovation Management,
19(5), 332-353.

Diamond, S. S., 2012. “Control Foundations: Rationales and Approaches.” In Trademark and Deceptive
Advertising Surveys: Law, Science, and Design, 201-239. American Bar Association.




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Evidence, 359-423. The National Academies Press.

Ding, M. et al., 2011. “Unstructured Direct Elicitation of Decision Rules.” Journal of Marketing
Research, 48(1), 116-127.

Frederick, S. et al, 2009. “Opportunity Cost Neglect.” Journal of Consumer Research, 36(4), 553-561.

Hauser, D. and Schwarz, N., 2015. “It’s a Trap! Instructional Manipulation Checks Prompt Systematic
Thinking on “Tricky Tasks.” SAGE Open.

Jacoby, J., 2012. “Are Closed-Ended Questions Leading Questions?” In Trademark and Deceptive
Advertising Surveys: Law, Science and Design, 261-285. American Bar Association.

Keller, K. and Swaminathan, V., 2020. “Strategic Brand Management - Building, Measuring and
Managing Brand Equity.” Pearson Education, Hoboken, New Jersey.

Krosnick, J.A. and Presser, S., 2009. “Question and Questionnaire Design.” In Handbook of Survey
Research. Elsevier.

Lavrakas, P., 2008. “Self-Selection Bias.” Sage ResearchMethods.

Lew, G., 2017. “The importance of customer lifetime value in determining their profitability.” The
Business and Management Review, 8(4), 24-30.

Federal Judicial Center, 2004. “Manual for Complex Litigation.”

Morren, M. and Paas, L., 2020. “Short and Long Instructional Manipulation Checks: What Do They
Measure?” International Journal of Public Opinion Research, 32(4).

Novemsky, N. et al, 2007. “Preference Fluency in Choice.” Journal of Marketing Research, 44(3), 347-
356.

Oppenheimer, D., Meyvis, T. and Davidenko, N., 2009. “Instructional Manipulation Checks: Detecting
Satisficing to Increase Statistical Power.” Journal of Experimental Social Psychology, 45(4), 867-872.

Paas, L.J. and Morren, M., 2018. “Please do not answer if you are reading this: respondent inattention in
online panels.” Marketing Letters, 29, 13-21.

Payne, J., 1976. “Task Complexity and Contingent Processing in Decision Making: An Information
Search and Protocol Analysis.” Organizational Behavior and Human Performance, 16(2), 366-387.

Payne, Stanley L., 1951, “The Art of Asking Questions.” Princeton University Press.

Pocheptsova, A. and Novemsky, N., 2010. “When Do Incidental Mood Effects Last? Lay Beliefs versus
Actual Effects.” Journal of Consumer Research, 36(6), 992-1001.

Sawyer, A.G., 1975. “Demand Artifacts in Laboratory Experiments in Consumer Research.” Journal of
Consumer Research, 1(4), 20-30.

Schwarz, N., 1999. “Self-Reports. How the Questions Shape the Answers.” American Psychologist,
54(2), 93-105.


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Shadish, W.R., Cook, T.D. and Campbell, D.T., 2002. “Experimental and Quasi-Experimental Designs
for Generalized Causal Inference.” Wadsworth Cengage Learning.

Struminskaya, B., Weyandt, K. and Bosnjak, M., 2015. “The Effects of Questionnaire Completion Using
Mobile Devices on Data Quality. Evidence from a Probability-based General Population Panel.” GESIS -
Leibniz Institute for the Social Sciences.

Toubia, O., Hauser, J.R. and Garcia, R., 2007. “Probabilistic Polyhedral Methods for Adaptive Choice-
Based Conjoint Analysis: Theory and Application.” Marketing Science, 26(5), 596-610.

Toubia, O., Hauser, J.R. and Simester, D.I., 2004. “Polyhedral Methods for Adaptive Choice-Based
Conjoint Analysis.” Journal of Marketing Research, 41(1), 116-131.

Toubia, O., Simester, D.I., Hauser, J.R. and Dahan, E., 2003. “Fast Polyhedral Adaptive Conjoint
Estimation.” Marketing Science, 22(3), 273-303.

Tourangeau, R., Rips, L.J. and Rasinski, K., 2009. “The Psychology of Survey Response.” Cambridge
University Press.

Wang, J. et al, 2010. “Trade-offs and Depletion in Choice.” Journal of Marketing Research, 47(5), 910-
919.

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https://economics.harvard.edu/files/economics/files/wilson_spring_2016.pdf.

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Report, February 2, 2022, available at https://www.usnews.com/360-reviews/technology/tax-
software/turbotax.

“Buck Weaver Award,” INFORMS, available at https://www.informs.org/Recognizing-
Excellence/Community-Prizes/Marketing-Science-Society/Buck-Weaver-Award/Buck-Weaver-Award-
Application-Process.

“Charles Coolidge Parlin Marketing Research Award,” American Marketing Association, available at
https://www.ama.org/AboutAMA/FoundationAwards/Pages/Parlin-Award.aspx.

Chen, E., “What is the Net Promoter Score (NPS)?” MIT Orbit, March 5, 2019, available at https://orbit-
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EC11-8C62-000D3A9DE12E&cid=7D84CE0F-D852-EC11-8C62-
000D3A9DE12E&utm_source=google&utm_medium=cpc&utm_campaign=panel_book&utm_content=a
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                         APPENDIX C
          PURCHASE DRIVER SURVEY TECHNICAL APPENDIX
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1. Based on my assignment, I designed, conducted, and analyzed an online survey (the “Purchase
    Driver Survey”) to evaluate the process that tax filers go through to identify a tax preparation
    solution, including any research they may conduct, and the factors they consider when
    selecting a tax preparation method / provider.

        A. Survey Design

2. I conducted my Purchase Driver Survey in accordance with the framework cited in the Federal
    Judicial Center’s Manual for Complex Litigation, which specifies the following factors as
    necessary for an appropriate and acceptable sampling method: (i) the population should be
    properly chosen and defined; (ii) the sample chosen should be representative of that population;
    (iii) the survey should be conducted by qualified people following proper interview
    procedures; (iv) the questions asked should be clear and not leading; (v) the data gathered
    should be accurately reported; (vi) the data should be analyzed in accordance with accepted
    statistical principles; and (vii) the process should be conducted to ensure objectivity. The
    Reference Manual on Scientific Evidence, also published by the Federal Judicial Center,
    includes the “Reference Guide on Survey Research” which expands on these criteria.

            i. Target Population and Sample

3. The “Reference Guide on Survey Research” highlights the importance of defining the relevant
    target population, which “consists of all elements (i.e., individuals or other units) whose
    characteristics or perceptions the survey is intended to represent.” 1 The relevant target
    population of this survey is individuals in the United States age 18 or older who have
    previously prepared and filed their household’s taxes. I included all tax filers in my target
    population, irrespective of their tax preparation method or provider. Doing so provides a
    broader perspective on the types of research conducted by tax filers and the product attributes
    that are important to tax filers—including, but not limited to, TurboTax’s existing customers.
    To minimize potential issues with recall, I focused on respondents who had filed their
    household’s taxes within 12 months before taking the Purchase Driver Survey. As the Purchase



1
    Diamond, S.S., 2011. “Reference Guide on Survey Research.” In Reference Manual on Scientific Evidence,
    359-423. The National Academies Press, p. 376.



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    Driver Survey was fielded in July 2021, respondents would have filed their 2021 taxes (for
    2020 income) within the prior two to seven months. 2

             ii. Additional Survey Design Considerations

4. Qualitative Interviews: In developing the Purchase Driver Survey, I first began with a series
    of qualitative interviews to better understand how consumers think about their decision-making
    process in choosing a tax preparation method/provider. These qualitative interviews informed
    word choices and closed-ended options in the survey instrument. I asked Schlesinger Group to
    recruit 15 interview participants for an open-ended conversation about their tax filing
    experience and decision-making process. 3 These conversations were conducted between June
    3 and June 11, 2021. The qualitative interview guide used to structure these conversations is
    attached as Appendix F.

5. Pretests: After designing the Purchase Driver Survey, I conducted a pretest with 11 respondents
    from the survey target population on June 23 and June 24, 2021. 4 As is best practice,
    respondents completed the survey while on the phone with a blind-to-the-purpose moderator
    who asked respondents a series of follow-up questions aimed at understanding whether there
    were any questions that were confusing or not clear, and if the respondents could guess the
    purpose of the Purchase Driver Survey. These pretests were also observed by members of my
    support staff at Analysis Group. The pretest moderator instructions related to the Purchase
    Driver Survey are attached as Appendix G. No pretest respondents were able to guess the
    purpose of the Purchase Driver Survey. After being briefed on the results of the pretests by my
    staff at Analysis Group, I made a few minor clarifying changes to question wording based on



2
    The 2021 tax deadline was extended to May 17, 2021. “Tax Day for individuals extended to May 17: Treasury,
    IRS extend filing and payment deadline,” IRS, March 17, 2021, available at https://www.irs.gov/newsroom/tax-
    day-for-individuals-extended-to-may-17-treasury-irs-extend-filing-and-payment-deadline.
3
    Schlesinger Group is a market research survey company that specializes in data collection services and operates
    in six different countries around the world. See, “Who We Are,” Schlesinger Group, available at
    https://www.schlesingergroup.com/en/company/purpose/.
4
    Pretests are critical in the design of surveys used both in litigation and in academia, as they “increase the
    likelihood that questions are clear and unambiguous” enabling more accurate and consistent responses. A
    carefully conducted pretest affords the researcher the opportunity to unearth and address weaknesses of the
    survey, which can cause “systematically distort[ed] responses if respondents are misled in a particular
    direction.” Diamond, S.S., 2011. “Reference Guide on Survey Research.” In Reference Manual on Scientific
    Evidence, 359-423. The National Academies Press, pp. 388-389.



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    the pretest. Any observations made by respondents during the pretesting were addressed prior
    to the launch of the Purchase Driver Survey. These changes are provided in Appendix H,
    which is a report of pretest results.

        B. Survey Administration

6. Dynata, a well-known market research and consumer panel company with which I have been
    collaborating for more than a decade, recruited respondents to participate in the Purchase
    Driver Survey from a U.S. national sample. 5 At my direction, Dynata targeted an audience of
    individuals aged 18 or older, balancing the inbound sample on age, gender, and geographic
    region according to the United States Census. The survey administration consisted of a
    screener, a main questionnaire, and a set of follow-up questions at the end of the survey.

            i. Screener

7. Invitation and CAPTCHA (S1): Respondents were first asked to complete a human
    identification procedure (i.e., a “CAPTCHA”).

8. Representative sample (S2, S3, and S4): Respondents were then asked to report their age and
    gender, 6 and to input the state in which they currently reside. Respondents whose age or gender
    did not match the age and gender on file with the survey panel company were screened out of
    the Purchase Driver Survey.

9. Occupation (S5): Respondents who reported that they worked for, or anyone in their family
    worked for, an accounting, tax, or a tax preparation service provider company, a marketing,
    market research, or advertising agency, or their state or federal government were excluded.
    These screening criteria are standard screening criteria and protect the reliability of the
    Purchase Driver Survey without adversely affecting the representativeness.




5
    Dynata is a leading provider of first-party data contributed by 60 million consumers and professionals in over
    45 countries including the U.S. See, “Panel Book,” Dynata, available at https://www.dynata.com/panel-book-
    form/?cid=7D84CE0F-D852-EC11-8C62-000D3A9DE12E&cid=7D84CE0F-D852-EC11-8C62-
    000D3A9DE12E&utm_source=google&utm_medium=cpc&utm_campaign=panel_book&utm_content=ad_pan
    el_book&gclid=EAIaIQobChMIk6qciJnv9gIVF_rICh1FFg37EAAYASABEgJaCfD_BwE.




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10. Recent tax filing and red herring (S7): To qualify for the Purchase Driver Survey, respondents
    were offered a list of potential activities they may have undertaken in the last 12 months. The
    order of options was randomized to avoid order effects. 7 To qualify, respondents must have
    selected “Prepared and filed my household’s taxes.” Additionally, respondents who selected
    “Climbed Mount Kashoun” were excluded. This response option was included as a “red
    herring” as Mount Kashoun does not exist. Including answer choices “that are not legitimate
    options […] is very effective in identifying ‘bad’ survey takers” who may provide inaccurate
    data. 8 Terminating respondents who fall into this “trap” ensures that data are only created by
    respondents who are truthfully and carefully responding to the questions.

11. Tax preparation method and product (S8 and S9): Respondents were also asked to report how
    they prepared and filed their income taxes in 2021 as seen in question S8. Those who answered
    “Don’t know / Unsure” were terminated. Respondents who selected “I used an online tax
    website to prepare and file my / our household taxes” were then asked to identify which tax
    website they used. Respondents who selected the “red herring” option “FastTax Filing” were
    terminated to further ensure respondents were carefully considering their responses. These
    responses were also used to tailor subsequent questions in the Purchase Driver Survey to the
    respondents’ chosen tax preparation method/provider.

12. Tax preparation role (S10): Respondents were then asked about their role in deciding how they
    would prepare their taxes. Respondents who did not report that they were at least substantially
    involved in deciding how they would prepare their taxes were excluded.

13. Attention check (S11): Finally, I included an “attention check” question to ensure that
    respondents paid sufficient attention to the Purchase Driver Survey and provided meaningful




7
    In close-ended questions with several answer choices, respondents might be more likely to choose a certain
    option simply because it is first or last on the list. This phenomenon is known as “order effects.” “To control for
    order effects, the order of the questions and the order of the response choices in a survey should be rotated.”
    Diamond, S.S., 2011. “Reference Guide on Survey Research.” In Reference Manual on Scientific Evidence,
    359-423. The National Academies Press, pp. 395-396.
8
    Reimann, C., “Conducting an Online Survey? How to Make Sure You Don’t Get Bad Data,” KS&R, available at
    http://www.ksrinc.com/thought-leadership/pdf/KSR_Online_Data_Integrity.pdf.



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     responses. 9 Respondents who did not select the matching answer choice were excluded from
     the Purchase Driver Survey. 10 Such attention check questions, also known as “Instructional
     Manipulation Checks (IMCs),” are increasingly common in both academic research and
     applied survey research. IMCs enhance survey quality and reliability, do not compromise scale
     validity, and do not induce any biased responses. 11 My use of “red herring” questions
     complements my use of IMCs to assure that only attentive respondents complete my survey.

             ii. Main Questionnaire

14. Introduction and Assignment of Tracks (Q1, Q2, and Q3): Following the screening questions,
     respondents were told that they would be asked questions to learn about their experience filing
     taxes in 2021 (for 2020 income). They were then asked questions about their tax preparation
     method/provider in the previous (2020) tax season. These questions were used to assign
     respondents to “tracks”, or groups of questions relevant to the respondent’s experience
     according to their responses.

                  Q2. You indicated that you prepared and filed your personal income taxes in 2021
                  (for 2020 income) through [CHOSEN METHOD]. Did you or did you not use
                  this same method / provider to prepare and file your taxes last year, in 2020 (for
                  2019 income)? (Select only one option)
                          o Yes, I used this same preparation method / provider last year
                          o No, I used a different preparation method / provider last year
                          o I did not file taxes last year
                          o Don’t know / Unsure
15. Respondents who selected “Yes, I used this same preparation method / provider last year” in
     response to question Q2 were asked a follow up question about whether they considered using




9
     Because “inattentive respondents…do not provide thoughtful answers to survey questions,” these respondents
     may generate inaccurate data. To “catch the ‘bad’ survey takers,” asking respondents to “pick a certain answer”
     to a question can identify inattentive respondents for removal from the sample. See, Reimann, C., “Conducting
     an Online Survey? How to Make Sure You Don’t Get Bad Data,” KS&R, available at
     http://www.ksrinc.com/thought-leadership/pdf/KSR_Online_Data_Integrity.pdf.
10
     Overall, 47 respondents were terminated from the Purchase Driver Survey for having selected “Climbed Mount
     Kashoun” in response to S7, “FastTax Filing” in response to S9, or an incorrect response to S11. See, Exhibit 1.
11
     Hauser, D. and Schwarz, N., 2015. “It’s a Trap! Instructional Manipulation Checks Prompt Systematic Thinking
     on “Tricky Tasks.” SAGE Open; Morren, M. and Paas, L., 2020. “Short and Long Instructional Manipulation
     Checks: What Do They Measure?” International Journal of Public Opinion Research, 32(4).



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     another provider in 2021 (Q3). Based on their responses to Q2-Q3, respondents were assigned
     to one of four question Tracks as summarized in Figure 1 below.

                                                Figure 1 12
                                      Number of Respondents by Track
                                             All Respondents
                                                                                        Number of              % of
     Name          Description                                                        Respondents         Respondents
     Track 1       Used the same preparation method/provider in 2021 and                      157              55.7%
                   did not consider using a different method/provider
     Track 2       Used the same preparation method/provider in 2021 and                        91             32.3%
                   did consider using a different method/provider
     Track 3       Used a different preparation method/provider in 2021                         31             11.0%
     Track 4       Did not file taxes in 2020 / Didn't know                                      3              1.1%
     Total                                                                                    282            100.0%

16. Track 1: Did Not Consider (Q4a and Q4b): Based on their assigned track, respondents were
     asked questions to help understand their tax filing process and experience. Respondents in
     Track 1 indicated that they did not consider using a different method/provider in 2021 and thus
     were not asked detailed questions about their decision-making process. These respondents
     would have most recently made a considered decision regarding their tax preparation
     method/provider more than a year prior and may no longer have detailed recollection of their
     thinking. Therefore, respondents in Track 1 were asked open-ended questions about why they
     did not consider using another method / provider to prepare and file their taxes in 2021. Track
     1 respondents were shown the following questions:

                  Q4a. In your own words, why did you not consider using another method /
                  provider to prepare and file your taxes this year?

                  Q4b. Is there anything else you would like to add about why you did not consider
                  using another method / provider to prepare and file your taxes this year?
17. Tracks 2, 3, and 4: Research Conducted (Q6a-c, Q10a-c, and Q13a-c): Respondents in Tracks
     2, 3, and 4 indicated that they either chose to prepare and file via a new tax preparation
     method/provider in 2021 or at least considered doing so. These respondents were asked more


12
     See, Exhibit 4. Of the three respondents in Track 4, one respondent selected “I did not file taxes last year” and
     two respondents selected “Don’t know / Unsure” in response to Q2: “Did you or did you not use this same
     method / provider to prepare and file your taxes last year, in 2020 (for 2019 income)?”



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     detailed questions about their decision-making process, including questions about the research
     they conducted and the factors that were important to them in choosing a provider. First, these
     respondents were asked open-ended questions about the research they conducted when
     choosing a tax preparation method / provider, followed by a closed-ended question listing
     possible research they may have conducted. 13 For example, Track 2 respondents were shown
     the following questions: 14

                  Q6a. What, if any, research did you conduct into potential tax preparation
                  methods / providers? Please describe the research that you conducted in as much
                  detail as possible.

                  Q6b. Is there anything else you would like to add about the research that you
                  conducted when choosing a tax preparation method / provider?

                  Q6c. You may have already mentioned this, but which of these, if any, did you do
                  in researching tax preparation methods / providers? (Select all that apply)
                          o Explored the IRS or state government websites
                          o Reviewed marketing emails
                          o Watched online tutorials / videos
                          o Viewed advertisements
                          o Read customer reviews or testimonials
                          o Spoke with friends / family
                          o Sought advice from a tax professional
                          o Explored tax preparation software / service websites
                          o Tried out one or more online tax website(s) without filing
                          o Read articles, rankings, or third-party reviews
                          o Other (Please specify)
                          o None of the above
                          o Don’t Know / Unsure
18. Tracks 2, 3, 4: Factors Considered (Q7a-c, Q11a-c, and Q14a-c): Next, respondents in Tracks
     2, 3, and 4 were asked open-ended questions about the factors that were important to them
     when choosing a tax preparation method / provider, followed by a closed-ended question




13
     Closed-ended answer choices were informed by the qualitative interviews conducted prior to the administration
     of the Purchase Driver Survey.
14
     Similar questions were shown to respondents in Tracks 2, 3 and 4. They varied only to account for differences
     in how the tracks were defined. As is best practice, I asked respondents closed-ended questions after the open-
     ended questions in order to elicit respondents’ open-ended responses unbiased by any answer choices listed in
     the closed-ended question.



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     listing possible factors that may have been important to them. 15 For example, respondents in
     Track 2 were asked: 16

                   Q7a. In your own words, what factors were important to you when choosing a
                   tax preparation method / provider? Please describe those factors in as much detail
                   as possible.

                   Q7b. Is there anything else you would like to add about the factors that were
                   important to you when choosing a tax preparation method / provider?

                   Q7c. You may have already mentioned this, but which of these factors, if any,
                   were important to you when choosing a tax preparation method / provider?
                   (Select all that apply)
                           o Recommendations from friends / family
                           o Accessing last year’s tax information
                           o Data security
                           o Having expert help / individualized attention
                           o Price
                           o Ease of use
                           o Past experience with the tax preparation method / provider
                           o Confidence in accuracy / reliability
                           o Brand / reputation
                           o Availability of additional services from the same provider
                           o Tax refund amount
                           o Getting refund quickly
                           o Other (Please specify)
                           o None of the above
                           o Don’t know / unsure


                iii. End-of-Survey Follow-Up Questions

19. Following the main questionnaire, all respondents were also asked a series of follow-up
     questions, which were included to conduct sensitivity analyses and robustness checks on my
     results.




15
     Closed-ended answer choices were informed by the qualitative interviews conducted prior to the administration
     of the Purchase Driver Survey.
16
     Similar questions were shown to respondents in Tracks 2, 3 and 4. They varied only to account for differences
     in how the tracks were defined. Again, as is best practice, I asked respondents closed-ended questions after the
     open-ended questions in order to elicit respondents’ open-ended responses unbiased by any answer choices
     listed in the closed-ended question.



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20. Paid (F1): The first follow-up question asked whether or not the respondent paid to use their
     chosen tax preparation method/provider in 2021 (aside from what they may have paid the
     government in taxes).

21. Recent Software Use (F2): The second follow-up question asked which tax preparation
     websites / software the respondent has used to prepare and file their taxes within the last 5
     years.

22. Media Awareness (F3): The third follow-up question asked whether or not the respondent was
     aware of any media reports, investigations, or lawsuits involving a tax preparation website /
     software provider or accounting company.

23. Income (F4): The fourth and final follow-up question asked what the respondent’s total
     household income was in 2020.

24. The survey instrument for the Purchase Driver Survey is attached as Appendix D, and the
     screenshots of the online survey as it appeared to respondents is attached as Appendix E.

         C. Data Analysis

25. The Purchase Driver Survey was in the field from July 1, 2021 to July 9, 2021.

              i. Analysis of Survey Response Statistics

26. Over the nine days in the field, 1,797 Dynata panel participants clicked on the survey invitation
     link to start the Purchase Driver Survey. Of those, 300 respondents qualified for and completed
     the Purchase Driver Survey. Of the remaining respondents, 1,092 were screened out of the
     survey for sample balancing and qualification reasons, 29 were excluded as part of Dynata’s
     internal quality control process, 17 and 166 self-terminated (i.e., abandoned the survey prior to
     completion).




17
     See, Exhibit 1. Dynata independently screened responses for quality based on open-ended responses, internal
     quality control flags, and survey complete time.



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27. After excluding respondents who: (1) provided non-responsive answers to open-ended
     questions; (2) were not placed into a track; 18 (3) selected “Other” in response to S8; 19 or (4)
     selected the “red herring” option “FastTax Filing” in response to question F2, 282 respondents
     are included in the Main Analytical Sample. Respondents in the Main Analytical Sample took,
     on average, 6 minutes and 7 seconds to complete the Purchase Driver Survey. Exhibit 1
     summarizes the sample selection process for the Purchase Driver Survey.

28. The inbound sample was balanced according to the United States Census with regard to age, 20
     gender, 21 and geographic region. 22 Exhibit 2 outlines the demographic information of
     respondents in my Purchase Driver Survey. Because the Purchase Driver Survey screens for
     respondents who are substantially involved in filing their taxes and included quotas for
     respondents who use online filing solutions, the demographic characteristics of respondents
     cannot be expected to match the census.

29. The share of respondents who use different online tax software providers in the Main
     Analytical Sample is also consistent with what is described in internal Intuit competitor
     studies. 23 Exhibit 3 outlines the share of respondents who indicate using different tax
     preparation methods in my Purchase Driver Survey.




18
     Respondents who indicated in Q3 that they used the same tax preparation method/provider in 2020 as in 2021
     and did not know / were unsure whether or not they considered using another method/provider in 2021 were not
     placed into a track.
19
     Respondents who selected “Other” in response to S8, “Thinking about your personal income taxes filed in 2021,
     how did you prepare and file your taxes?” were excluded since they did not provide a standard method /
     provider.
20
     Patterson, J. et. al., “Final Report: Key Findings and Implications for the IRS Free File Program,” The MITRE
     Corporation, January 2022, Appendix E.
21
     “QuickFacts United States,” United States Census Bureau, available at
     https://www.census.gov/quickfacts/fact/table/US#.
22
     “Tax Year 2019: Historic Table 2 (SOI Bulletin), Total File All States.xlsx,” IRS, available at
     https://www.irs.gov/statistics/soi-tax-stats-historic-table-2. This data can be used to calculate the percent of total
     U.S. returns filed in each U.S. region (Northeast, South, Midwest, and West) by grouping states based on region
     and then finding the proportion of total returns in each region to total U.S. returns.
23
     Intuit, 2019 Our Competitors Study, pp. 3-5.



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30. The share of respondents who pay to use their chosen tax preparation method / provider in the
     Main Analytical Sample is also similar to the U.S. population average. 24

            ii. Analysis of Open-Ended Responses

31. To analyze the open-ended responses to my questions, I designed a “blind” coding procedure.
     Two independent judges who had no knowledge of the purpose or sponsor of the Purchase
     Driver Survey were provided with the verbatim open-ended responses to the open-ended
     questions and asked to categorize, or “code,” the responses. The judges were not provided with
     any information about the context of the matter and were asked to use their best judgment in
     deciding what each respondent meant in their response.

32. The judges were asked to review four “sets” of question responses: (1) responses from Track
     1 respondents to open-ended questions about why they did not consider switching tax
     preparation providers/methods; (2) responses from Tracks 2-4 respondents to open-ended
     questions regarding the research they conducted; (3) responses from Tracks 2-4 respondents
     to open-ended questions regarding factors that were important to them in a tax preparation
     provider/method; and (4) responses from Tracks 2-4 respondents to open-ended questions
     regarding if there was anything else they wanted to add about how they decided upon their
     chosen provider/method.

33. For Question Set 1, which included responses to open-ended questions in Track 1, the judges
     were not provided any potential categories to start their evaluation. For Question Sets 2, 3, and
     4, which included responses to open-ended questions in Tracks 2-4, the judges were provided
     the answer choices from the related closed-ended questions in Tracks 2-4 as an initial list of
     potential categories. These categories were based on the qualitative pretests and are thus an
     appropriate starting point. For example, for Question Set 2 and Question Set 3 the judges were
     provided the closed-ended answer choices from Q6c and Q7c, respectively, as an initial list of
     potential categories for evaluating the open-ended responses related to the types of research




24
     Patel, K., “Tax Preparation Services in the US,” IBISWorld, August 2019, available at
     https://www.gsa.gov/cdnstatic/54121D%20Tax%20Preparation%20Services%20in%20the%20US%20Industry
     %20Report.pdf, p. 13.



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   respondents conducted and factors they considered. For Question Set 4, the judges were
   provided the full list of potential categories from Question Sets 2 and 3.

34. After considering these potential categories, the judges were instructed to review the open-
   ended responses, and “judge whether new or different categories are needed, including whether
   some categories should be combined or disaggregated.” The judges then met with each other
   to discuss their category lists and mutually decided on one list of categories for each question
   set.

35. Next, each judge independently reviewed the open-ended responses and assigned each
   response to one or more of the agreed upon categories. The judges then met to discuss and
   resolve (“tiebreak”) any differences in coding. For the instructions provided to the independent
   judges for the Purchase Driver Survey, see Appendix I.

              iii. Sensitivity Analyses

36. I conducted additional sensitivity analyses (analyses on select sets of respondents) to confirm
   the robustness of my results. These analyses allow me to confirm that the results of my
   Purchase Driver Survey remain stable across different sub-groups of respondents. Individual
   sensitivities may reveal additional insights about the respondents and their chosen research
   methods and important factors, but the overall findings of these sensitivities are consistent with
   the findings from the Main Analytical Sample.

37. My sensitivity analyses included:

          •   Analysis of all respondents in Tracks 2-4 (instead of limiting to the Main Analytical
              Sample)

          •   Analysis of TurboTax users in Tracks 2-4

          •   Analysis excluding respondents from the Main Analytical Sample who indicated they
              were aware of media reports, investigations, or lawsuits involving tax preparation
              websites / providers.

          •   Analysis excluding speeders and laggers from the Main Analytical Sample

38. The results of all my sensitivity analyses were consistent with my Main Analytical Sample.
   The sensitivity analyses discussed above are included in Exhibit 10 and Exhibit 11.



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                          APPENDIX D
              PURCHASE DRIVER SURVEY INSTRUMENT
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                                   Programmer Instructions

[PROGRAMMER NOTES IN BOLD CAPS AND IN BRACKETS.]
[FOR CLOSED-ENDED QUESTIONS, DO NOT ALLOW RESPONDENT TO CLICK
“CONTINUE” WITHOUT CHOOSING AN ANSWER OPTION. FOR OPEN-ENDED
QUESTIONS, DO NOT ALLOW RESPONDENT TO CLICK “CONTINUE” WITHOUT
TYPING IN AN ANSWER OR CHOOSING ANOTHER ANSWER OPTION IF
PRESENT.]
[ROTATE ORDER OF YES / NO ANSWERS IN THE FIRST INSTANCE OF A YES /
NO QUESTION. USE THE SAME ORDER FOR ALL OTHER YES / NO QUESTIONS
WITHIN EACH RESPONDENT.]
[DISABLE THE BROWSER “BACK” BUTTON.]
[TEXT FOR TERMINATES: “THANK YOU FOR YOUR INTEREST IN OUR STUDY.
WE ARE NO LONGER LOOKING FOR PEOPLE WHO MATCH YOUR
CHARACTERISTICS. WE APPRECIATE YOUR TIME.”]

Introduction and Screening
[NO SURVEY / SECTION TITLES TO BE DISPLAYED TO RESPONDENTS.]
[300 COMPLETES FROM AN 18+ NATIONAL SAMPLE. AT LEAST 200 COMPLETES
FROM RESPONDENTS WHO HAVE SELECTED THE ONLINE OPTION FOR
QUESTION S8]
[PANEL MEMBERS WHO START THE SURVEY AND ANSWER QUESTIONS S2-S5
SHOULD BE MATCHED TO THE CENSUS ON AGE, GENDER, AND REGION
DISTRIBUTION IN THE UNITED STATES.]
[DETECT AND RECORD DEVICE RESPONDENT IS USING; SMARTPHONES OR
OTHER MOBILE DEVICES MAY NOT BE USED]

[EACH QUESTION ON A NEW PAGE UNLESS OTHERWISE SPECIFIED]

S0. Digital fingerprinting

S1. Captcha

Thank you for your participation in our study. All your answers will remain confidential. Please
answer all questions to the best of your ability. We are interested in your opinions and reactions.
There are no right or wrong answers, and we will not try to sell you anything based on your
answers. Please do not consult any outside sources (e.g., internet or phone) while taking the
survey.

If you do not know, do not recall, are unsure, or have no opinion, please do not guess. Simply
select the “Don’t know / Unsure” option.


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The “Back” button on your browser has been disabled for the duration of the survey. Please do
not use it while taking the survey.


       □ If you understand these instructions and agree to participate in this survey, please
         check this box and click “Continue” to continue.

S2. How old are you? (Select only one option) [RANDOMIZE BETWEEN THIS ORDER
AND REVERSE; KEEP “PREFER NOT TO ANSWER” LAST]
      o Under 18 years old [TERMINATE]
      o 18 – 29 years old
      o 30 – 39 years old
      o 40 – 49 years old
      o 50 – 59 years old
      o 60 years or older
      o Prefer not to answer [TERMINATE]
[TERMINATE IF AGE DOES NOT MATCH THE VALUE ON FILE]

S3. Please indicate your gender: (Select only one option) [RANDOMIZE “FEMALE” AND
“MALE”]
       o Female
       o Male
       o Other / Prefer not to answer [TERMINATE]
[TERMINATE IF GENDER DOES NOT MATCH THE VALUE ON FILE]

S4. In which state do you currently reside? (Select only one option)
[INSERT DROP DOWN MENU FOR STATE]

S5. Are you or any of your family members employed by…? (Select all that apply)
[RANDOMIZE ORDER; KEEP “NONE OF THE ABOVE” LAST]
       o A home hardware or power tools manufacturer, distributor, or retailer
       o An electronics manufacturer, distributor, or retailer
       o A university or school
       o A food manufacturer, distributor, or retailer
       o An accounting, tax, or a tax preparation service provider company [TERMINATE]
       o A marketing, market research, or advertising agency [TERMINATE]
       o Your state or the federal government [TERMINATE]
       o None of the above [EXCLUSIVE]

[THOSE WHO ARE ASKED S5 SHOULD BE MATCHED TO THE CENSUS ON AGE,
GENDER, REGION]

S6. Have you taken any surveys in the last 30 days on any of these topics? (Select all that apply)
[RANDOMIZE ORDER; KEEP “NONE OF THE ABOVE” LAST]

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       o     Sporting goods or outdoor gear
       o     Accounting or tax services [TERMINATE]
       o     Finance and banking
       o     Investing in the stock market
       o     Clothing
       o     Video games
       o     Music streaming
       o     Shopping at retail stores
       o     None of the above [EXCLUSIVE]

S7.   Which of the following activities, if any, have you done in the last 12 months? (Select all
      that apply) [RANDOMIZE ORDER; KEEP “NONE OF THE ABOVE” LAST]
       o     Prepared and filed my household’s taxes [TERMINATE IF NOT SELECTED]
       o     Sold my home
       o     Listened to a music streaming service
       o     Climbed Mount Kashoun [TERMINATE IF SELECTED]
       o     Opened a new bank account
       o     Gone on a vacation
       o     Resold clothes online
       o     None of the above [EXCLUSIVE]

S8. Thinking about your personal income taxes filed in 2021, how did you prepare and file your
taxes? (Select only one option) [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T
KNOW / UNSURE” LAST]
        □ I used an online tax website to prepare and file my / our household taxes
        □ I used a tax software installed on my computer to prepare and file my / our household
           taxes (e.g., I used a disk / CD or downloaded software)
        □ I worked with a tax professional to prepare and file my / our household taxes (e.g., I
           worked with a tax accountant, CPA, retail store)
        □ I self-prepared and filed my / our household taxes without using any service (e.g., I
           prepared my tax forms on paper, I manually filled in my tax forms online)
        □ Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
        □ Don’t know / Unsure [TERMINATE]

S9. [ASK IF S8=“I used an online tax website to prepare and file my / our household
taxes”] You indicated that you used an online tax website to prepare and file your taxes in 2021.
Which of the following online tax websites did you use to prepare and file your taxes in 2021?
(Select only one option) [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW
/ UNSURE” LAST]
        o TurboTax
        o IRS Free File Program (any provider)
        o H&R Block
        o TaxAct
        o TaxHawk
        o Credit Karma Tax
        o TaxSlayer
        o Jackson Hewitt
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       o   Liberty Tax
       o   FastTax Filing [TERMINATE]
       o   Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
       o   Don’t know / Unsure


S10. Thinking of your taxes filed in 2021, which of the following best describes your role in
deciding how you would prepare your taxes? (Select only one option) [RANDOMIZE ORDER,
AS IS AND REVERSE; KEEP “DON’T KNOW / UNSURE” LAST]
       o I was primarily responsible for selecting my / our household tax preparation method /
           provider
       o I was substantially involved in selecting my / our household tax preparation method /
           provider
       o I had little involvement in selecting my / our household tax preparation method /
           provider [TERMINATE]
       o Don’t know / Unsure [TERMINATE]

S11. People vary in the amount they pay attention to these kinds of surveys. Some take them
seriously and read each question, whereas others go very quickly and barely read the questions at
all. If you have read this question carefully, please select “[RANDOMLY SELECT ONE OF
THE OPTIONS IN LIST BELOW]” below. (Select one only) [TERMINATE IF CORRECT
RESPONSE IS NOT SELECTED]

       o   HP
       o   Dell
       o   Apple
       o   IBM
       o   Microsoft
       o   Sony
       o   Acer
       o   Other (please specify) ____________ [TERMINATE]

[RECORD IF THE RESPONDENT QUALIFIES OR NOT. THE 200 COUNT SHOULD
BE OF QUALIFIED RESPONDENTS. FOR NON-QUALIFYING RESPONDENTS,
DISPLAY PANEL’S TERMINATION PAGE.]

Main Questionnaire

Q1. Thank you! In this survey, we would like to learn about your experience filing taxes in 2021
(for 2020 income). In the following questions, we will ask about your tax filing process and will
try to learn from your experiences or expectations.

Q2. You indicated that you prepared and filed your personal income taxes in 2021 (for 2020
income) through [IF S8=“I worked with a tax professional to prepare and file my / our
household taxes (e.g., I worked with a tax accountant, CPA, retail store),” DISPLAY “a tax

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professional”; IF S8=“I self-prepared and filed my / our taxes without using any service
(e.g., I prepared my tax forms on paper, I manually filled in my tax forms online),”
DISPLAY “self-preparing”; IF S8=“I used a tax software installed on my computer to
prepare and file my / our household taxes (e.g., I used a disk / CD or downloaded
software),” DISPLAY “an installed software”; IF S8=“Other,” DISPLAY THE
RELEVANT INSERTED TEXT; IF S9=“Other,” DISPLAY THE RELEVANT
INSERTED TEXT; IF S9 =“Don’t Know / Unsure,” DISPLAY “an online tax website”; IF
S9=“TurboTax” OR “H&R Block” OR “TaxAct” OR “TaxHawk” OR “Credit Karma
Tax” OR “TaxSlayer” OR “Jackson Hewitt” OR “Liberty Tax,” DISPLAY THE
SELECTED OPTION, IF S9= “IRS FREE FILE PROGRAM” DISPLAY “the IRS Free
File Program”]. Did you or did you not use this same method / provider to prepare and file your
taxes last year, in 2020 (for 2019 income)? (Select only one option) [KEEP SAME YES / NO
ORDER AS IN S7]
         o Yes, I used this same preparation method / provider last year
         o No, I used a different preparation method / provider last year [Skip to Track 3]
         o I did not file taxes last year [Skip to Track 4]
         o Don’t know / Unsure [Skip to Track 4]

Q3. You indicated that you used the same method / provider to prepare and file your taxes in
2020 and 2021. Did you or did you not consider using a different tax preparation method /
provider this year? (Select only one option) [KEEP SAME YES / NO ORDER AS IN S7]

       o Yes, I considered using another method / provider to prepare and file my taxes this
         year [Skip to Track 2]
       o No, I did not consider using another method / provider to prepare and file my taxes
         this year [Skip to Track 1]
       o Don’t know / Unsure [Skip to F1]




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Track 1 - Did not consider another preparation method

[Respondents should only see these questions if Q3= “No, I did not consider using another
method / provider to prepare and file my taxes this year”]

Q4a. In your own words, why did you not consider using another method / provider to prepare
and file your taxes this year?
(Please type in your response. If you do not know the answer or are unsure, please select “Don’t
know / Unsure.”)




[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]
    Don’t know / Unsure
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“DON’T KNOW / UNSURE”]


Q4b. Is there anything else you would like to add about why you did not consider using another
method / provider to prepare and file your taxes this year?
(Please type in your response. If you have nothing else to add, please select “Nothing else.”)
[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]




    Nothing else
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“NOTHING ELSE”]

[Respondents who answer this question should then be moved to F1]




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Track 2 - Considered another preparation method

[Respondents should only see these questions if Q3= “Yes, I considered using another
method / provider to prepare and file my taxes this year”]

Q5. You indicated that you considered using another tax preparation method / provider this year.
Which of the following tax preparation methods / providers did you consider using this year?
(Select all that apply) [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW /
UNSURE” LAST]
       □ I considered [using an] online tax website to prepare and file my / our household
         taxes [IF S8=“I used an online tax website to prepare and file my / our household
         taxes,” CHANGE “using an” TO “using a different”]
       □ I considered [using a] tax software installed on my computer to prepare and file my /
         our household taxes (e.g., I used a disk / CD or downloaded software) [IF S8=“I
         used a tax software installed on my computer to prepare and file my / our
         household taxes (e.g., I used a disk / CD or downloaded software),” CHANGE
         “using a” TO “using a different”]
       □ I considered [working with a] tax professional to prepare and file my / our household
         taxes (e.g., I worked with a tax accountant, CPA, retail store) [IF S8=“I worked with
         a tax professional to prepare and file my / our household taxes (e.g., I worked
         with a tax accountant, CPA, retail store),” CHANGE “working with a” TO
         “working with a different”]
       □ I considered self-preparing and filing my / our household taxes without using any
         service [IF S8=“I self-prepared and filed my / our household taxes without using
         any service (e.g., I prepared my tax forms on paper, I manually filled in my tax
         forms online),” DO NOT DISPLAY THIS OPTION]
       □ Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
       □ Don’t know / Unsure [EXCLUSIVE]


Q6a. What, if any, research did you conduct into potential tax preparation methods / providers?
Please describe the research that you conducted in as much detail as possible.
(Please type in your response. If you do not know the answer or are unsure, please select “Don’t
know / Unsure.”)




[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]
    Don’t know / Unsure




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[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“DON’T KNOW / UNSURE”]


Q6b. Is there anything else you would like to add about the research that you conducted when
choosing a tax preparation method / provider?
(Please type in your response. If you have nothing else to add, please select “Nothing else.”)
[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]




    Nothing else
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“NOTHING ELSE”]

Q6c. You may have already mentioned this, but which of these, if any, did you do in researching
tax preparation methods / providers? (Select all that apply) [RANDOMIZE ORDER; KEEP
“OTHER,” “NONE OF THE ABOVE,” AND “DON’T KNOW / UNSURE” LAST]
        □ Explored the IRS or state government websites
        □ Reviewed marketing emails
        □ Watched online tutorials / videos
        □ Viewed advertisements
        □ Read customer reviews or testimonials
        □ Spoke with friends / family
        □ Sought advice from a tax professional
        □ Explored tax preparation software / service websites
        □ Tried out one or more online tax website(s) without filing
        □ Read articles, rankings, or third-party reviews
        □ Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
        □ None of the above [EXCLUSIVE]
        □ Don’t Know / Unsure [EXCLUSIVE]


Q7a. In your own words, what factors were important to you when choosing a tax preparation
method / provider? Please describe those factors in as much detail as possible.
(Please type in your response. If you do not know the answer or are unsure, please select “Don’t
know / Unsure.”)




[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]
    Don’t know / Unsure



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[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“DON’T KNOW / UNSURE”]

Q7b. Is there anything else you would like to add about the factors that were important to you
when choosing a tax preparation method / provider?
(Please type in your response. If you have nothing else to add, please select “Nothing else.”)
[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]




    Nothing else
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“NOTHING ELSE”]

Q7c. You may have already mentioned this, but which of these factors, if any, were important to
you when choosing a tax preparation method / provider? (Select all that apply) [RANDOMIZE
ORDER; KEEP “OTHER,” “NONE OF THE ABOVE,” AND “DON’T KNOW /
UNSURE” LAST]
      □ Recommendations from friends / family
      □ Accessing last year’s tax information
      □ Data security
      □ Having expert help / individualized attention
      □ Price
      □ Ease of use
      □ Past experience with the tax preparation method / provider
      □ Confidence in accuracy / reliability
      □ Brand / reputation
      □ Availability of additional services from the same provider
      □ Tax refund amount
      □ Getting refund quickly
      □ Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
      □ None of the above [EXCLUSIVE]
      □ Don’t know / unsure [EXCLUSIVE]

Q8. Is there anything else you would like to add about how you decided which method / provider
to use to prepare and file your taxes this year?
(Please type in your response. If you have nothing else to add, please select “Nothing else.”
[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]




    Nothing else
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“NOTHING ELSE”]


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[Respondents who answer this question should then be moved to F1]



Track 3 - Used a different preparation method last year

[Respondents should only see these questions if Q2= “No, I used a different preparation
method / provider last year”]

Q9. You indicated that you used a different method / provider to prepare and file your taxes last
year. Which tax preparation method / provider did you use last year? (Select only one option)
[RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE” LAST]
       □ I [used an] online tax website to prepare and file my / our household taxes [IF S8=“I
          used an online tax website to prepare and file my / our household taxes,”
          CHANGE “used an” TO “used a different”]
       □ I [used a] tax software installed on my computer to prepare and file my / our
          household taxes (e.g., I used a disk / CD or downloaded software) [IF S8=“I used a
          tax software installed on my computer to prepare and file my / our household
          taxes (e.g., I used a disk / CD or downloaded software),” CHANGE “used a” TO
          “used a different”]
       □ I [worked with a] tax professional to prepare and file my / our household taxes (e.g.,
          I worked with a tax accountant, CPA, retail store) [IF S8=“I worked with a tax
          professional to prepare and file my / our household taxes (e.g., I worked with a
          tax accountant, CPA, retail store),” CHANGE “worked with a” TO “worked
          with a different”]
       □ I self-prepared and filed my / our household taxes without using any service [IF
          S8=“I self-prepared and filed my / our household taxes without using any service
          (e.g., I prepared my tax forms on paper, I manually filled in my tax forms
          online),” DO NOT DISPLAY THIS OPTION]
       □ Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
       □ Don’t know / Unsure [EXCLUSIVE]


Q10a. You indicated that you used a different method / provider of tax preparation this year.
What, if any, research did you conduct into potential tax preparation methods / providers?
Please describe the research that you conducted in as much detail as possible.
(Please type in your response. If you do not know the answer or are unsure, please select “Don’t
know / Unsure.”)




[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]
    Don’t know / Unsure



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[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“DON’T KNOW / UNSURE”]


Q10b. Is there anything else you would like to add about the research that you conducted when
choosing a tax preparation method / provider?
(Please type in your response. If you have nothing else to add, please select “Nothing else.”)
[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]




    Nothing else
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“NOTHING ELSE”]

Q10c. You may have already mentioned this, but which of these, if any, did you do in
researching tax preparation methods / providers? (Select all that apply) [RANDOMIZE
ORDER; KEEP “OTHER,” “NONE OF THES ABOVE,” AND “DON’T KNOW /
UNSURE” LAST]
       □ Explored the IRS or state government websites
       □ Reviewed marketing emails
       □ Watched online tutorials / videos
       □ Viewed advertisements
       □ Read customer reviews or testimonials
       □ Spoke with friends / family
       □ Sought advice from a tax professional
       □ Explored tax preparation software / service websites
       □ Tried out one or more online tax website(s) without filing
       □ Read articles, rankings, or third-party reviews
       □ Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
       □ None of the above [EXCLUSIVE]
       □ Don’t Know / Unsure [EXCLUSIVE]


Q11a. In your own words, what factors were important to you when choosing a tax preparation
method / provider? Please describe those factors in as much detail as possible.
(Please type in your response. If you do not know the answer or are unsure, please select “Don’t
know / Unsure.”)




[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]
    Don’t know / Unsure


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[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“DON’T KNOW / UNSURE”]

Q11b. Is there anything else you would like to add about the factors that were important to you
when choosing a tax preparation method / provider?
(Please type in your response. If you have nothing else to add, please select “Nothing else.”)
[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]




    Nothing else
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“NOTHING ELSE”]

Q11c. You may have already mentioned this, but which of these factors, if any, were important
to you when choosing a tax preparation method / provider? (Select all that apply)
[RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE,” AND “DON’T
KNOW / UNSURE” LAST]
       □ Recommendations from friends / family
       □ Accessing last year’s tax information
       □ Data security
       □ Having expert help / individualized attention
       □ Price
       □ Ease of use
       □ Past experience with the tax preparation method / provider
       □ Confidence in accuracy / reliability
       □ Brand / reputation
       □ Availability of additional services from the same provider
       □ Tax refund amount
       □ Getting refund quickly
       □ Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
       □ None of the above [EXCLUSIVE]
       □ Don’t Know / Unsure [EXCLUSIVE]

Q12. Is there anything else you would like to add about how you decided which method /
provider to use to prepare and file your taxes this year?
(Please type in your response. If you have nothing else to add, please select “Nothing else.”
[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]




    Nothing else
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“NOTHING ELSE”]


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[Respondents who answer this question should then be moved to F1]



Track 4 - Did not file taxes last year or Unsure of method

[Respondents should only see these questions if Q2= “I did not file taxes last year” OR
“Don’t know / Unsure”]

Q13a. What, if any, research did you conduct when choosing your method / provider of tax
preparation this year? Please describe the research you conducted in as much detail as possible.
(Please type in your response. If you do not know the answer or are unsure, please select “Don’t
know / Unsure.”)




[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]
    Don’t know / Unsure
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“DON’T KNOW / UNSURE”]


Q13b. Is there anything else you would like to add about the research that you conducted when
choosing a tax preparation method / provider?

(Please type in your response. If you have nothing else to add, please select “Nothing else.”)
[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]




    Nothing else
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“NOTHING ELSE”]

Q13c. You may have already mentioned this, but which of these, if any, did you do in
researching tax preparation methods / providers? (Select all that apply) [RANDOMIZE
ORDER; KEEP “OTHER,” “NONE OF THE ABOVE,” AND “DON’T KNOW /
UNSURE” LAST]
       □ Explored the IRS or state government websites
       □ Reviewed marketing emails
       □ Watched online tutorials / videos
       □ Viewed advertisements
       □ Read customer reviews or testimonials

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       □   Spoke with friends / family
       □   Sought advice from a tax professional
       □   Explored tax preparation software / service websites
       □   Tried out one or more online tax website(s) without filing
       □   Read articles, rankings, or third-party reviews
       □   Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
       □   None of the above [EXCLUSIVE]
       □   Don’t Know / Unsure [EXCLUSIVE]


Q14a. In your own words, what factors were important to you when choosing a tax preparation
method / provider? Please describe those factors in as much detail as possible.
(Please type in your response. If you do not know the answer or are unsure, please select “Don’t
know / Unsure.”)




[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]
    Don’t know / Unsure
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“DON’T KNOW / UNSURE”]

Q14b. Is there anything else you would like to add about the factors that were important to you
when choosing a tax preparation method / provider?
(Please type in your response. If you have nothing else to add, please select “Nothing else.”)
[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]




    Nothing else
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“NOTHING ELSE”]

Q14c. You may have already mentioned this, but which of these factors, if any, were important
to you when choosing a tax preparation method / provider? (Select all that apply)
[RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE,” AND “DON’T
KNOW / UNSURE” LAST]
       □ Recommendations from friends / family
       □ Accessing last year’s tax information
       □ Data security
       □ Having expert help / individualized attention
       □ Price
       □ Ease of use
       □ Past experience with the tax preparation method / provider
                                             D-14
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       □   Confidence in accuracy / reliability
       □   Brand / reputation
       □   Availability of additional services from the same provider
       □   Tax refund amount
       □   Getting refund quickly
       □   Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
       □   None of the above [EXCLUSIVE]
       □   Don’t Know / Unsure [EXCLUSIVE]

Q15. Is there anything else you would like to add about how you decided which method /
provider to use to prepare and file your taxes this year?
(Please type in your response. If you have nothing else to add, please select “Nothing else.”
[OPEN-ENDED TEXT BOX, LIMITED TO 2000 CHARACTERS]




    Nothing else
[REQUIRE RESPONDENT TO ENTER AT LEAST 4 CHARACTERS OR SELECT
“NOTHING ELSE”]

[Respondents who answer this question should then be moved to F1]




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Follow-up Questions

F1. In 2021, did you or did you not pay to use your chosen tax preparation method / provider
(aside from what you may have paid the government in taxes)? (Select only one option) [KEEP
SAME YES / NO ORDER AS IN S7; KEEP “DON’T KNOW / UNSURE” LAST]
       o Yes, I did pay to prepare my taxes in 2021 (for 2020 income)
       o No, I did not pay to prepare my taxes in 2021 (for 2020 income)
       o Don’t know / Unsure

F2. Which of the following, if any, tax preparation websites / software have you used to prepare
and file your taxes within the last 5 years? (Select all that apply) [RANDOMIZE ORDER;
KEEP “Other (please specify)”, “I did not use any tax preparation website / software
within the last 5 years,” AND “Don’t Know / Unsure” LAST]

       □ TurboTax
       □ IRS Free File Program (any provider)
       □ H&R Block
       □ TaxAct
       □ TaxHawk
       □ Credit Karma Tax
       □ TaxSlayer
       □ Jackson Hewitt
       □ Liberty Tax
       □ FastTax Filing
       □ Other (Please specify) [PROVIDE APPROPRIATE SPACE FOR ANSWER]
       □ I did not use any tax preparation website / software within the last 5 years
         [EXCLUSIVE]
       □ Don’t know / Unsure [EXCLUSIVE]

F3. Are you or are you not aware of any media reports, investigations, or lawsuits involving a tax
preparation website / software provider or accounting company? (Select only one option) [KEEP
SAME YES / NO ORDER AS IN S7; KEEP “DON’T KNOW / UNSURE” LAST]
       o Yes, I am aware of at least one media report, investigation, or lawsuit
       o No, I am not aware of any media reports, investigations, or lawsuits
       o Don’t know / Unsure

F4. What was your total household income before taxes in 2020? As a reminder, all responses
are anonymous. (Select only one option)
[RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’TKNOW / UNSURE”
AND “PREFER NOT TO ANSWER” LAST]
       o   Less than $25,000
       o   $25,000 - $49,999
       o   $50,000 - $74,999
       o   $75,000 - $99,999

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     o   $100,000 - $150,000
     o   Greater than $150,000
     o   Don’t know / Unsure
     o   Prefer not to answer




[GO TO PANEL ‘THANK YOU’ PAGE]




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                          APPENDIX E
              PURCHASE DRIVER SURVEY SCREENSHOTS
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I.       Introduction and Screening




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II.   Main Questionnaire




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III.   Track 1




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IV.   Track 2




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V.   Track 3




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VI.   Track 4




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VII.   Follow-Up Questions




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                          APPENDIX F
                  QUALITATIVE INTERVIEW GUIDE
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   I.       INTRODUCTION
Thank you for making time today and talking on the phone with us.
Hello, my name is _____________. I work for a consulting firm located in Boston, MA and
today we’ll be discussing your past and present experiences as a tax filer. In particular, we’ll be
discussing topics related to your experiences with, thoughts of, and preferences for various
features of your tax filing experience.
I’d like our conversation to be very open-ended. You may notice that I will be asking “why” a
lot, and that I will ask you to elaborate on your answers. Some of these questions might seem
obvious or redundant, but it is important that I hear the details in your own words. There are no
right or wrong answers; I just want to understand your experience and opinions.
A few things before we begin:

        We will remove any personally-identifying information (such as your name) in the results
         we provide to our client.

        Everything you tell me will be kept confidential and be used for research purposes only.

        I will not ask you to provide any personal information about your income, the amount
         you pay in taxes, the size of your refund, or your personal financial situation.

        I want to be respectful of your time. This conversation will last no more than 30 minutes.
Do you have any questions before we begin?


   II.      DISCUSSION TOPICS
Please open a conversation and have the respondent talk about how he or she filed taxes this
year. Explore the entire experience. Below are some potential topics to discuss with the
respondent. Each topic does not need to be explored in every interview.


1. Method of preparing and filing respondent’s taxes this year
            a. Whether this method differs from prior years
            b. Whether respondent considered other methods this year
            c. Whether respondent paid for tax preparation
2. Research the respondent conducted when deciding among potential tax preparation methods
3. Factors that were important to the respondent in selecting their chosen tax preparation method
4. Knowledge of the IRS Free File program



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   III.      POTENTIAL THEMES FOR ADDITIONAL PROBING

During the course of the conversation, the following themes may come up and could be probed
further on.
Topic 1:
          ● Brands of in-person tax preparation services respondents may have used:
                 o An independent CPA
                 o H&R Block
                 o Jackson Hewitt
                 o Liberty Tax
          ● Brands of tax preparation software respondents may have used:
                 o TurboTax
                 o IRS Free File Program
                 o H&R Block
                 o TaxAct
                 o TaxHawk
                 o Credit Karma
                 o TaxSlayer
                 o Jackson Hewitt
                 o Liberty Tax

          ● Methods of tax preparation respondents may have used:
                 o Self-preparing
                 o Tax preparation software installed on their computer
                 o Using a CPA (online or in person, including friends/family providing CPA
                   services for free)
                 o Website with online tax preparation software
          ● Other methods of preparing and filing taxes that were considered
          ● Previous methods for preparing and filing taxes
          ● Whether the respondent started their taxes in another method or tested multiple
            methods/brands


Topic 2:
          ● Time and effort spent researching

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      ● Types of research respondents may have conducted:
             o Advertisements
             o Advice from an accountant, financial advisor, or other expert
             o Customer reviews or testimonials
             o Online articles
             o Rankings or third-party reviews
             o Recommendations from friends/family
             o Videos/tutorials
             o Websites of different tax preparation companies


Topic 3
      ● Factors related to price of tax preparation:
             o Paying for add-ons or extras
             o Paying for federal and/or state returns
             o Starting in free versions and upgrading
             o Whether respondent compared prices across providers
      ● Factors that may be important to respondents:
             o Availability of a Refund Anticipation Check or Loan
             o Brand
             o Confidence/trust in accuracy
             o Convenience
             o Ease of use
             o Efficiency/speed of filing
             o Expert advice
             o Getting refund quickly
             o Maximizing refund
             o Past experience with tax preparation method
             o Price/cost of service
             o Product features or extras
             o Product/service ratings or reviews
             o Protection from audits/mistakes
             o Recommendations from friends/family


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Topic 4
       ● Consideration of the IRS Free File Program in the future
       ● Describing the IRS Free File Program


Thank you for your time!




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                         APPENDIX G
       PURCHASE DRIVER PRETEST MODERATOR INSTRUCTIONS
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                                      Pretest Moderator Instructions

Twelve respondents are recruited to participate in pretest interviews.

The participants satisfy all inclusion criteria listed on the screener section of the survey. Three
respondents should be allocated to each of the four survey tracks based on their answers to Q2 and Q3.

Interviews are conducted over the phone by a blind-to-the-purpose moderator while respondents complete
the survey online.

Notes to moderator are in brackets, bolded, and all capital letters.

[Section I: Introduction and Questionnaire]
[MODERATOR TO READ]

Hello, [FIRST NAME]? My name is ______.

        [IF NEEDED] We are calling you for an interview that you scheduled with us. It is a research
        study on consumer products and you agreed to help us by giving your opinions.

Thank you so much for agreeing to take this survey today. I need to let you know that this call may be
monitored for quality assurance purposes. This survey might last up to 30 minutes. Is that all right?

Great! I am going to be on the phone while you take the online survey, so feel free to “think out loud” or
bring up anything you would like while you are taking the survey. If you find any of the questions or
answer options unclear, please feel free to bring that up as well. After you are done taking the survey, I
will ask you a couple of follow-up questions. Does that all sound okay?

Great, let's start. You will need to open a link to the survey. It was provided in an email you received
from us. Please follow the survey link. [IF NECESSARY REMIND WHO THE SENDER OF THE
EMAIL WAS].

[ALLOW THE RESPONDENT TO TAKE THE SURVEY AND FINISH]

[NOTE: IF THE RESPONDENT IS SCREENED OUT, THE PAGE WILL SAY “THANK YOU
FOR YOUR INTEREST IN OUR STUDY. WE ARE NO LONGER LOOKING FOR
PEOPLE WHO MATCH YOUR CHARACTERISTICS. WE APPRECIATE YOUR
TIME.” PLEASE SAY “That's OK, That can happen sometimes. Unfortunately we cannot proceed with
the survey. Thank you very much for your time, and have a nice rest of the day.”]

[Section II: Follow-up Questions]
[QUESTIONS TO ASK AFTER THE RESPONDENT FINISHED RESPONDING TO ALL
SURVEY QUESTIONS AND INDICATES SO. ADD PROBES SUCH AS “ANYTHING ELSE”
TO CONFIRM THAT RESPONDENTS HAVE GIVEN A COMPLETE ANSWER.]

Q1. Did you have any problems while taking the survey? [If respondent says “Yes”]
Can you tell me more about what problems you had?

Q2. Did you think any questions were unclear? [If respondent says “Yes”] Which ones and why?



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Q3. Did you think any of the response options were unclear? [If respondent says “Yes”] Which ones and
why?

Q4. Did any questions in the survey make you feel that you should answer one way or the other? [If
    respondent says “Yes”] Which ones and why?

Q5. Was there anything else about the survey exercise you found unclear? [If respondent says “Yes”]
    What parts and why?

Q6. What do you think might be the purpose for conducting this survey?

Q7. What makes you think so?

Q8. Is there anything else you would like to say about the survey?

Thank you so much for your time. Your participation is appreciated and we will make sure you get credit
for completing this survey.




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                         APPENDIX H
 SUMMARY REPORT OF THE PRETEST OF THE PURCHASE DRIVER STUDY
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                     Summary Report of the Pretest of the Purchase Driver Study

Dynata conducted phone-based pretests of the Purchase Driver Study from June 23, 2021 through June
24, 2021. During the pretest, Dynata interviewed a total of 11 qualified respondents.1 At least two
respondents were interviewed for each of Tracks 1, 2, and 3 of the Purchase Driver Study. Consistent with
the low incidence rate for Track 4 in the Purchase Driver Study, no pretest respondents were recruited for
Track 4. However, the Track 4 questions were carefully reviewed for consistency with Tracks 1-3. The
device that respondents used to take the survey varied, and respondents were able to take the survey on a
computer or a tablet.

Following the pretest moderator instructions, the blind-to-the purpose interviewer asked respondents to
fill out the Purchase Driver Study on their device and asked a series of follow up questions over the phone
(Q1-Q8 in Appendix G) to determine whether respondents encountered any problems while taking the
survey.

Based on the pretest interviews, changes were identified to improve the survey, and these changes are
noted in the table below. No respondents were able to guess the purpose or the sponsor of the Purchase
Driver Survey.


    Change(s)
     made to:              From                          To                           Rationale
    S11         People vary in the         People vary in the amount          This is a stronger
                amount they pay            they pay attention to these         instructional manipulation
                attention to these kinds   kinds of surveys. Some take         check that will help make
                of surveys. Some take      them seriously and read each        sure qualified respondents
                them seriously and read    question, whereas others go         are paying attention to
                each question, whereas     very quickly and barely read        their responses.
                others go very quickly     the questions at all. If you
                and barely read the        have read this question
                questions at all. If you   carefully, please select
                have read this question    “[RANDOMLY SELECT
                carefully, please select   ONE OF THE OPTIONS
                “5” below.                 IN LIST BELOW]” below.
                                           (Select one only)
                o   0 - Not at all         [TERMINATE IF
                    [TERMINATE]
                o   1 [TERMINATE]
                o   2 [TERMINATE]
                o   3 [TERMINATE]
                o   4 [TERMINATE]
                o   5
                o   6 - Very
                    [TERMINATE]

1
         One additional respondent indicated in the pretest recruitment that they considered using another
tax preparation method last year, but in the live pretest they indicated that they did not consider using
another tax preparation method last year. An 11th interview was conducted to ensure 10 complete,
qualified responses. Changes were made to S11 to ensure quality responses and to Q2-Q3 to further
clarify the wording.


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             o   Other (please            CORRECT RESPONSE
                 specify)                 IS NOT SELECTED]
                 ____________
                 [TERMINATE]              o   HP
                                          o   Dell
                                          o   Apple
                                          o   IBM
                                          o   Microsoft
                                          o   Sony
                                          o   Acer
                                          o   Other (please specify)
                                              ____________
                                              [TERMINATE]


Q2           Did you or did you not       Did you or did you not use         “Method / provider” was
(similarly   use this same method         this same method /                  inserted to clarify the level
applies to   to prepare and file your     provider to prepare and             of detail respondents
S10, Q3-     taxes last year, in 2020     file your taxes last year, in       should consider to be the
Q15, F1)                                                                      same. (e.g., working with
             (for 2019 income)?           2020 (for 2019 income)?
                                                                              one CPA this year and a
                                                                              different CPA last year is
             o Yes, I used this           o Yes, I used this same             considered as a different
               same preparation             preparation method /              method.)
               method last year             provider last year
             o No, I used a               o No, I used a different
               different                    preparation method /
               preparation method           provider last year
               last year [Skip to           [Skip to Track 3]
               Track 3]                   o I did not file taxes last
             o I did not file taxes         year [Skip to Track 4]
               last year [Skip to         o Don’t know / Unsure
               Track 4]                     [Skip to Track 4]
             o Don’t know /
               Unsure [Skip to
               Track 4]

Q4a          In your own words, why       In your own words, why did         One respondent indicated
             did you not consider         you not consider using              that they have trouble
             using another method to      another method / provider to        identifying when the
             prepare and file your        prepare and file your taxes         question has the word
             taxes this year?             this year?                          “not.”
                                                                             The word “not” was
                                                                              bolded, underlined, and
                                                                              italicized to make it stand
                                                                              out in the question.
Q4b          Is there anything else you   Is there anything else you         One respondent indicated
             would like to add about      would like to add about why         that they have trouble
             why you did not consider     you did not consider using          identifying when the
             using another method to      another method / provider to

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           prepare and file your        prepare and file your taxes        question has the word
           taxes this year?             this year?                         “not.”
                                                                         The word “not” was
                                                                           bolded, underlined, and
                                                                           italicized to make it stand
                                                                           out in the question.
Q10b       Is there anything else you   Is there anything else you       “This method of tax
           would like to add about      would like to add about the       preparation” was replaced
           the research that you        research that you conducted       with “a tax preparation
           conducted when               when choosing a tax               method / provider” for
           choosing this method of      preparation method /              consistency and clarity
           tax preparation?             provider?                         throughout the survey.




Q13b       Is there anything else you   Is there anything else you       “This method of tax
           would like to add about      would like to add about the       preparation” was replaced
           the research that you        research that you conducted       with “a tax preparation
           conducted when               when choosing a tax               method / provider” for
           choosing this method of      preparation method /              consistency and clarity
           tax preparation?             provider?                         throughout the survey.




F2         Which of the following,      Which of the following, if         Two respondents indicated
           if any, tax preparation      any, tax preparation websites       that they were unsure
           websites / software have     / software have you used to         whether the question was
           you used within the last 5   prepare and file your taxes         intended only to capture
           years?                       within the last 5 years?            websites / software that
                                                                            they filed taxes with in the
                                                                            past 5 years or if they
                                                                            should include any
                                                                            websites that they tried but
                                                                            didn’t ultimately use to
                                                                            file.
                                                                           “Prepare and file” was
                                                                            added in order to maintain
                                                                            consistency with other
                                                                            questions in the survey
                                                                            and to clarify the intent.




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                          APPENDIX I
                INDEPENDENT CODER INSTRUCTIONS
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Survey Overview

    1) You are being asked to be one of two coders of an online survey conducted for market
       research about tax preparation in 2021. In this research, respondents were asked several
       open-ended questions. We are asking you, in your role as a coder, to carefully review and
       categorize their responses.

    2) Each respondent was assigned to one of four tracks: Track 1, Track 2, Track 3, or Track
       4, depending on their answers to closed-ended screener questions. They were then asked
       a series of questions about their decision-making process in choosing a tax preparation
       method for 2021.

    3) You are being asked to code open-ended answers to four sets of survey questions:
          a. Question Set 1: Consideration1
                  i. In your own words, why did you not consider using another method /
                     provider to prepare and file your taxes this year?
                 ii. Is there anything else you would like to add about why you did not
                     consider using another method / provider to prepare and file your taxes
                     this year?

              b. Question Set 2: Research2
                    i. What, if any, research did you conduct into potential tax preparation
                       methods / providers? Please describe the research that you conducted in as
                       much detail as possible.
                   ii. Is there anything else you would like to add about the research that you
                       conducted when choosing a tax preparation method / provider?

              c. Question Set 3: Factors3
                    i. In your own words, what factors were important to you when choosing a
                       tax preparation method / provider? Please describe those factors in as
                       much detail as possible.
                   ii. Is there anything else you would like to add about the factors that were
                       important to you when choosing a tax preparation method / provider?




1
         Question Set 1: Consideration was asked of respondents in Track 1 only. These respondents indicated they
had used the same tax preparation method/provider as last year and didn’t consider using a different one this year.
These respondents were not asked any further open-ended questions.
2
         Question Set 2: Research was asked of respondents in Tracks 2-4 only. These respondents indicated they:
(1) used the same preparation method/provider last year but had considered using a different method/provider this
year (Track 2); (2) used a different preparation method/provider last year (Track 3); or (3) did not file taxes last year
(Track 4). These respondents were also asked Question Sets 3-4.
3
         Question Set 3: Factors was asked of respondents in Tracks 2-4 only. These respondents indicated they: (1)
used the same preparation method/provider last year but had considered using a different method/provider this year
(Track 2); (2) used a different preparation method/provider last year (Track 3); or (3) did not file taxes last year
(Track 4). These respondents were also asked Question Sets 2 and 4.

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              d. Question Set 4: Anything Else4
                    i. Is there anything else you would like to add about how you decided which
                       method / provider to use to prepare and file your taxes this year?


Instructions


    1) You will be responsible for coding open-ended answers to the survey questions above.
    On the pages that follow, you will see coding instructions and examples of how one might
    code responses.

    2) You will be given a single spreadsheet with tabs for the four Question Sets. Each tab will
    include the open-ended answer responses for the relevant Question Set.

    3) Your job is to categorize each open-ended answer into relevant bucket(s) using either a
    “0” or a “1”. To do so, you are instructed to follow the steps explained below to
    develop/code categories:

Development of Categories

    1) Each coder will review the open-ended responses in each Question Set tab and develop
       categories that can be used to commonly describe responses in that Question Set.

    2) Please note that at this stage, you are not expected to begin placing respondents into your
    defined categories. This process will come after you meet with the other coder.

    3) Respondents may mention more than one thing in response to a question. A category
    should describe a common theme across responses but need not identify the totality of the
    response; that is, a given open-ended answer can be categorized in multiple categories.
           a. For example, you might generate multiple categories associated with the answer
               “Boston, lobster, TV” (e.g., cities, foods, and electronics) rather than one
               category.

    4) For Question Sets 2-4, you have been provided with some potential categories. Please
       review these categories and judge whether new or different categories are needed,
       including whether some categories should be combined or disaggregated.
           a. For Question Set 2, the potential categories are:
                   i. Explored the IRS or state government websites
                  ii. Reviewed marketing emails
                 iii. Watched online tutorials / videos
                 iv. Viewed advertisements
                  v. Read customer reviews or testimonials

4
          Question Set 4: Anything Else was asked of respondents in Tracks 2-4 only. These respondents indicated
they: (1) used the same preparation method/provider last year but had considered using a different method/provider
this year (Track 2); (2) used a different preparation method/provider last year (Track 3); or (3) did not file taxes last
year (Track 4). These respondents were also asked Question Sets 2-3.

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                  vi.   Spoke with friends / family
                 vii.   Sought advice from a tax professional
                viii.   Explored tax preparation software / service websites
                  ix.   Tried out one or more online tax website(s) without filing
                   x.   Read articles, rankings, or third-party reviews

          b. For Question Set 3, the potential categories are:
                  i. Recommendations from friends / family
                 ii. Accessing last year’s tax information
               iii. Data security
                iv. Having expert help / individualized attention
                 v. Price
                vi. Ease of use
               vii. Past experience with the tax preparation method / provider
              viii. Confidence in accuracy / reliability
                ix. Brand / reputation
                 x. Availability of additional services from the same provider
                xi. Tax refund amount
               xii. Getting refund quickly

          c. For Question Set 4, respondents may have provided answers related to either
             research or factors. You have been provided with the full set of categories from
             Question Sets 2-3 as potential categories.

   5) Once reviewed, coders will meet with each other to discuss their category lists.
      Ultimately, together, you will decide on one list of categories for each Question Set.


Coding of Answers

   1) Once the lists of categories are confirmed, you will independently review the open-ended
      answers and assign each response to one or more of the categories.

   2) You will assign each open-ended answer the value of “1” if you judge that its content
      belongs in a particular category and a value of “0” if its content does not belong in a
      particular category. Use only one code (“0” or “1”) for each open-ended answer and
      category.

   3) For Question Set 4, please also identify whether the answer relates to research methods
      (Question Set 2), factors (Question Set 3), or both.

   4) A response should be assigned to the category or categories that best fit. You may code a
      response to more than one category, if appropriate.

   5) Do not rush – take your time. Read the question and answer twice before deciding on a
      code.



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6) Respondents may misspell an answer. For example, a respondent might type “Bostan”
when they meant “Boston.” You are to use your judgment of what the respondent meant
when typing the answer.

7) Use your own judgment – do NOT consult with anyone else. This is very important.


6) After both coders have categorized the respondents using the agreed upon list of
   categories, you will meet to resolve (“tiebreak”) any differences in coding. In the case of
   disagreement, you will jointly recode the response in question while keeping track of
   each coder’s initial categorizations and the final categorizations.




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                           APPENDIX J
          KIRK FAIR DISCLOSURE SURVEY AND APPENDICES
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To:         Federal Trade Commission

From:       Rebecca Kirk Fair,1 Managing Principal, Analysis Group

Date:       November 4, 2020

Re:         Analysis of Consumer Choices in a Test and Control Study of TurboTax Upgrade Screens


1. I understand from Counsel for Intuit that the FTC is investigating whether Intuit’s presentation
   of its product offerings to customers who begin their tax preparation process through
   TurboTax’s Free Edition is unfair or deceptive with respect to customers who are not eligible
   for that product and who see upgrade screens providing the option to complete their returns
   using a different TurboTax SKU. Further, I understand that the FTC is investigating whether
   the fact that TurboTax does not directly reference the IRS Free File Program on its upgrade
   screens is unfair and/or deceptive.2 As part of its investigation, I understand that two central
   theories the FTC is evaluating are whether (1) customers would select the IRS Free File
   Program instead of Intuit’s Paid commercial products in greater numbers if the Program were
   presented as part of Intuit’s presentations of “upgrade options” on its website; and (2) whether
   consumers perceive the message on Intuit’s required upgrade screen as compelling or requiring
   them to upgrade to the exclusion of all other tax preparation options. My survey directly speaks
   to both issues with objective data and makes clear that neither concern is warranted.

2. To understand whether the presentation of upgrade options misleads taxpayers, one can
   examine whether (or the extent to which) the presentation of those upgrade options with
   additional information changes consumer behavior. To evaluate this question, I conducted a
   test and control study designed to evaluate the effect of these upgrade screens on consumer
   choices, if any. To the extent that the information provided in the TurboTax upgrade screens
   affected consumers’ decisions to upgrade to a Paid TurboTax product (i.e., Deluxe, Premier,
   or Self-Employed versions) or to use (or not use) the IRS Free File Program, one should
   observe systematic differences in the tax preparation products selected by respondents across
   the study conditions I examined in this survey. By contrast, the absence of significant



1
      M.B.A., Finance and Applied Economics, MIT Sloan School of Management; B.A., Economics, Middlebury
      College. My CV is attached as Appendix A and a list of materials relied upon is attached as Appendix B.
2
      Civil Investigative Demand, Matter No. 1923119, Federal Trade Commission, May 19, 2020 (“FTC Civil
      Investigative Demand, May 19, 2020”), Interrogatories 12, 14-16 (“Hard stops”), pp. 6-8, 13. I understand that
      the FTC defines “hard stops” as “the scenarios in the Free and Paid Commercial Tax Product flows described as
      ‘Specific Upgrades,’ ‘Generic Upgrades,’ and ‘Hard Stops’ in the documents labeled INTUIT-FFA-FTC-
      000169123, list of TY16 Required Upsells and INTUIT-FFA-FTC-000169124, list of TY17 Required Upsells.
      For the purposes of this discussion, I refer to these types of screens that prompt respondents to upgrade from
      Free Edition to a Paid version of TurboTax broadly as “upgrade screens” throughout this memo and other
      materials.
                                                          1
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   differences in respondents’ choices would indicate that the current TurboTax upgrade screens
   do not change consumer behavior.

3. My research demonstrates that there is no material difference in consumers’ selection of an
   upgrade to Paid TurboTax products or selection of the IRS Free File Program across study
   conditions. Further analyses of responses also suggest that consumers can and do conduct
   additional research to identify and use the “right” product for their tax situation, whether that
   is within the TurboTax platform or with an alternative provider, including the IRS Free File
   Program. Thus, I conclude that the current upgrade screens do not induce greater use of
   TurboTax Paid products, nor does providing customers with additional information regarding
   the IRS Free File Program materially change consumers’ selection of the IRS Free File
   Program. Put differently, consumers are no more likely to choose the IRS Free File Program
   even when provided with that express option in an upgrade screen.

   I.       Executive Summary
4. In connection with the FTC’s investigation and in anticipation of potential litigation, I have
   been asked by Counsel for Intuit to evaluate whether and to what extent consumers’ decisions
   to upgrade to TurboTax’s Paid products were affected by the existing upgrade screens, and
   whether and to what extent consumers’ purchase decisions could have been influenced
   differently by potential changes made to these screens. To do so, I conducted a test and control
   survey, identified as my “Disclosure Survey,” to evaluate how consumers who view
   advertisements for TurboTax’s Free Edition, and then begin preparing their taxes using
   TurboTax Free Edition, respond once they are informed that they will need to upgrade or use
   a different product to accurately complete their taxes. In my survey, I presented qualified
   respondents (U.S. taxpayers who had filed their taxes in 2019 or 2020 using an online tax
   preparation software product and who were primarily responsible or substantially involved in
   filing their own/household taxes) with one of three “upgrade” screens: (1) a current upgrade
   screen used by Intuit; (2) a “Reduced Information Screen,” reflecting less information than
   currently provided by Intuit; and (3) an “Enhanced Information Screen,” reflecting more
   information than currently provided by Intuit.

5. Based on my analysis of the Disclosure Survey results, I conclude that:

               Intuit’s current upgrade screens do not induce upgrades from TurboTax’s Free
                Edition to Paid versions of TurboTax.

               Providing customers with additional information regarding the IRS Free File
                Program does not materially change customers’ product selection choices.
                Moreover, even among respondents who were provided with supplemental
                information regarding the IRS Free File Program, overall interest and adoption of
                the IRS Free File Program remains low and largely unchanged. Notably, this

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                 finding is consistent with other publicly-available data, and overall consumer usage
                 patterns.

                Open-ended responses reveal a general preference to identify and use the “right”
                 options for their particular tax situation, and consumers’ willingness to conduct
                 additional research to determine that “right” option, whether it was within
                 TurboTax or with an alternative provider. Respondents did not appear to believe
                 that they were required to use TurboTax to the exclusion of other tax preparation
                 options.

    II.     Design of Disclosure Survey
6. To determine whether and to what extent the at-issue upgrade screens affect consumers’ online
   tax software choices, I conducted a survey using an experimental design. An experimental
   design allows one to “test directly the influence of the stimulus” on respondents.3 In designing,
   pretesting, fielding, and analyzing the data of my survey, I applied best practices, both
   generally for marketing research and for research conducted for the purpose of litigation.4
   Throughout my survey, I minimize the possibility of noise and bias affecting the survey results
   by presenting clear questions and answer choices, asking balanced questions, and rotating
   answer options, among other best practices.5 A complete description of my survey, my
   experimental approach, the target population studied, and other design features of the
   Disclosure Survey is provided as Appendix C.

7. The purpose of the Disclosure Survey was to assess whether and to what extent the information
   presented to prospective TurboTax customers through the software’s upgrade screens affects
   their selection of various tax preparation solutions. Of particular interest was understanding
   how respondents who see advertisements for TurboTax Free Edition and begin preparing their
   taxes using TurboTax’s Free Edition product respond to the information contained in these
   upgrade screens.

8. To study whether and to what extent the upgrade screens and associated communications affect
   the product selection of prospective TurboTax Free Edition customers, I designed the
   Disclosure Survey as a simulation of the process by which consumers might learn about Free
   Edition (i.e., by viewing a TurboTax advertisement and TurboTax’s product information pages

3
    Diamond, Shari S., “Reference Guide on Survey Research,” in Reference Manual on Scientific Evidence, 2011,
    Third Edition, National Academies Press (“Diamond”), p. 398.
4
    I closely adhered to the standards set forth by Federal Judicial Center, in the “Reference Guide on Survey
    Research” and in the “Manual for Complex Litigation.” Both are critical references for designing and
    conducting valid and reliable studies used in litigation. See, e.g., Diamond, pp. 359-423; see also Manual for
    Complex Litigation, Federal Judicial Center, 2004, Fourth Edition (“Manual for Complex Litigation”), p. 103.
5
    See, e.g., Jacoby, Jacob, “Are Closed-Ended Questions Leading Questions?” in Trademark and Deceptive
    Advertising Surveys: Law, Science and Design, eds. Shari S. Diamond and Jerre B. Swann, 2012, American Bar
    Association, pp. 261-284, pp. 274-275; Diamond, pp. 387, 396.


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    on its website), followed by a presentation of an upgrade screen (which varied across
    experimental groups) and questions regarding the respondent’s consideration and selection of
    different options for preparing their taxes.6 Specifically, to assess changes in customers’
    product selections, I studied three different experimental groups:

        The Reduced Information Screen Group was presented with a screen that contained limited
         information on alternative solutions, i.e., respondents were only informed that they would
         need to file their taxes through a different TurboTax product or another filing option.7

        The Current Screen Group was presented with an upgrade screen that informed
         respondents that they would need to upgrade to file their taxes accurately and presented
         respondents with three products: Free Edition, TurboTax Deluxe, and TurboTax Self-
         Employed.8

        The Enhanced Information Screen Group was presented with an upgrade screen that
         informed respondents they would need to upgrade to file their taxes accurately and
         presented respondents with four products: Free Edition, TurboTax Deluxe, TurboTax Self-
         Employed, and IRS Free File Program. The upgrade screen also contained information
         regarding eligibility for the IRS Free File Program, noting in boldface type that “Based on
         what you told us about your tax situation, you’ll need to upgrade to accurately
         complete your taxes. Alternatively, you may be eligible to file for free through the
         IRS Free File Program.”

9. In order to test whether and to what extent respondents’ choices are influenced by the nature
   and detail of information presented in these upgrade screens, I presented respondents with both


6
    This simplified simulation was a conservative exercise in that I asked all respondents to assume that they had
    chosen to begin preparing their taxes using the Free Edition product, despite my understanding that TurboTax
    makes efforts to direct customers to the appropriate product level before they begin the filing process.
    Deposition of Gregory Johnson, In the Matter of TurboTax, Inc., September 29, 2020, pp. 66-67 (“We try and
    ensure consumers get into the product for which they intend.”). See also, for example, INTUIT-FFA-FTC-
    000329046-9033, a presentation on A/B Test Learning.
7
    I included this group as part of my experimental design to serve as a control for measuring respondents’
    behavior in the absence of the guidance provided in the current TurboTax upgrade screens. As described in
    more detail below, I use this group to test whether the current TurboTax upgrade screens induce customers to
    pay for TurboTax services versus a version of the screen with limited amounts of information.
8
    The Current Screen stimulus is based on a 2019 upgrade screen that was shown to TurboTax Free Edition
    customers who reported 1099-MISC income, but was modified to represent a generic upgrade message. The
    “FUS_Business_Income” upgrade screen was the most frequently shown “Hard Stop” (3M customers) in
    TY2017 and the second most frequently shown (3.3M customers) in TY2018. (See,
    INTUIT_FFA_FTC_C013.01-C013.053 at C013.033, Letter from David Gringer to Ian Barlow et al., re: FTC
    Matter No. 1923119, July 31, 2020.) The generic upgrade language I used to modify the screen closely adhered
    to that of other TurboTax upgrade screens (e.g., TurboTax Deluxe generic upgrade screen), which inform the
    user that, “based on what you told us about your tax situation,” “you’ll need to upgrade” “to accurately
    complete your taxes”. See, for example, INTUIT-FFA-FTC-000032744 and INTUIT-FFA-FTC-000032766,
    screenshots of TurboTax upgrade screens.
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    open- and closed-ended questions regarding: (1) the various tax preparation solutions they
    would consider using and (2) which of those solutions, they would most likely select. By
    comparing the rates of selecting alternative tax preparation solutions after the presentation of
    one of the three upgrade screens, I can assess whether there is any change in consumer
    outcomes consistent with the FTC’s investigation.

10. As I discuss here, my research indicates that TurboTax’s upgrade screen does not materially
    change the rate at which customers upgrade or the rate at which they select IRS Free File
    Program. Specifically, when I compare the rate at which taxpayers select a TurboTax Paid
    product or at which they select the IRS Free File Program, there is no statistically significant
    difference across the study groups that I tested. For additional information on the design and
    implementation of my Disclosure Survey, please see Appendices C and D.1-D.2.

    III.    Analysis of Disclosure Survey
11. My Disclosure Survey focused on three main questions: (1) whether or not the current upgrade
    screens induce upgrades to Paid versions of TurboTax; (2) what effect, if any, might an
    enhanced upgrade screen that includes information pertaining to the IRS Free File Program
    have on respondents’ selection of the IRS Free File Program; and (3) whether or not there is
    any evidence to demonstrate that respondents have agency in choosing how to prepare and file
    their taxes. To understand the effect, if any, of the current upgrade screens relative to the
    provision of either more or less information in a modified upgrade screen on respondents’
    stated product choices, I analyzed both closed-ended (Q7 and Q8) and open-ended (Q6 and
    Q9) responses from respondents by experimental group. My analyses reveal that the current
    upgrade screens do not induce selection of Paid TurboTax products, they do not alter
    respondents’ selection of the IRS Free File Program, and that consumers can and do research
    their tax preparation options before making their decisions. I discuss my findings on each of
    these points below.

12. The Current Upgrade Screens Do Not Induce Upgrades to Paid Products: I understand that the
    FTC has expressed concerns that Intuit’s current upgrade screens mislead consumers in a
    manner that induces customers to upgrade to Paid versions of TurboTax.9 My data do not
    support this concern and suggest that it is unwarranted. The results of my survey indicate that
    the upgrade screen that has been used by Intuit does not induce upgrading to Paid versions of
    TurboTax. Additionally, as I discuss further below, the results of my Disclosure Survey
    indicate that consumers understand the circumstances of their tax-filing needs and/or educate
    themselves about the right tax solutions and that many are already aware of the array of
    competitive options for preparing taxes.


9
    INTUIT_FFA_FTC_C013.01-C013.053 at C013.028, Letter from David Gringer to Ian Barlow et al., Re: FTC
    Matter No: 1923119, July 31, 2020.
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13. To evaluate the question of whether the current TurboTax upgrade screens induced customers
    to pay for TurboTax services, I compared respondents’ selection of a Paid version of TurboTax
    (i.e., Deluxe, Premier, or Self-Employed) as a result of being shown the Current Screen, rather
    than the limited amount of information in the Reduced Information Screen. I find that there is
    no statistically significant difference between respondent selection of Paid versions of
    TurboTax between the Current Screen or Reduced Information Screen Groups. Specifically,
    40 percent of respondents indicated that they would be most likely to select a Paid product
    when presented with the Reduced Information Screen stimulus. By comparison, 44 percent of
    respondents in the Current Screen Group indicated that they would be most likely to select a
    Paid product. This difference is small and not statistically significant between the two
    experimental groups (see Exhibit 2.A).

14. An Enhanced Upgrade Screen Would Not Result in Additional Usage of IRS Free File
    Program: I also understand that the FTC may have concerns that Intuit’s current upgrade
    screens have the potential to mislead consumers in a manner that reduces prospective taxpayer
    usage of the IRS Free File Program, including amongst those customers who may be eligible
    for the Program, and also that the FTC is evaluating whether increased disclosure of the IRS
    Free File Program as part of Intuit’s presentation of upgrade options in its interview process to
    customers who would otherwise pay to file their taxes on TurboTax would result in increased
    use of the Program. I find that regardless of whether respondents are specifically educated
    about the IRS Free File Program during the TurboTax upgrade process, their selection of the
    IRS Free File Program is largely unaffected.

15. To evaluate the question of potential impact of the upgrade screens on IRS Free File Program
    usage, I compared respondents’ selection of the IRS Free File Program after being shown the
    Enhanced Information Screen with supplemental information regarding the IRS Free File
    Program, relative to the Current Screen. I used the Enhanced Information Screen to measure
    how customers are likely to respond if provided with supplemental information regarding the
    IRS Free File Program offerings, relative to the Current Screen, which did not include any
    supplemental information regarding the IRS Free File Program. I find that the difference across
    the two groups is not material and lacks statistical significance. Ten percent of respondents in
    the Enhanced Information Screen Group indicated that they would be most likely to select the
    IRS Free File Program. Similarly, 7 percent of respondents in the Current Screen Group
    indicated that they would be most likely to select the IRS Free File Program. This difference
    is small and not statistically significant between the two experimental groups, suggesting that
    the supplemental information does not materially increase selection of the IRS Free File
    Program (see Exhibit 2.A).10

10
     I also compared the overall distribution of respondents’ selections between the Current Screen Group and the
     Enhanced Information Screen Group using a classic chi-squared test and found no statistically significant
     differences.
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16. As a sensitivity, I also evaluated whether taxpayers who have previously paid to prepare their
    taxes using online tax software might have been misled or deceived into doing so by Intuit’s
    current upgrade screens. To test this hypothesis, I analyzed the subset of respondents who, in
    response to F1, indicated having “pa[id] for online tax software to file [their] taxes” in 2019 or
    2020. Notably, I again found no statistically significant difference in the selection of the IRS
    Free File Program across the two groups for this subset of my sample (see Exhibit 7.A).11

17. Moreover, even among respondents who were provided with supplemental information
    regarding the availability of the IRS Free File Program in the Enhanced Information Screen
    Group, overall interest and adoption of the IRS Free File Program remains low. As presented,
    in my full sample of respondents, only 10 percent of respondents in Enhanced Information
    Screen Group indicated that they would be most likely to select the IRS Free File Program (see
    Exhibit 2.A). Given estimates that more than 70 percent of U.S. taxpayers are eligible to use
    the IRS Free File Program and my in-bound qualification procedures reflect the overall U.S.
    census, a selection rate of 10 percent is notably low.12

18. This low rate of adoption in my study is consistent with other publicly-available survey data
    suggesting that consumers are uninterested in using government-sponsored tax preparation
    products, and those consumers who are aware of the IRS Free File Program do not find it an
    appealing option, even without necessarily knowing that the Program lacks a substantial
    number of features and services available for free on TurboTax’s commercial website.13
    Moreover, I understand that approximately ten times more taxpayers use TurboTax’s Free
    Edition to file their taxes completely for free each year than use the software it donates to the
    IRS Free File Program.14 These data and my findings are also consistent with research
    conducted in other countries. For example, statistics published by the Australian Taxation


11
     Specifically, 5 percent of respondents presented with the Enhanced Information Screen indicated that they
     would be most likely to select the IRS Free File Program. 3 percent of respondents in the Current Screen Group
     indicated that they would be most likely to select the IRS Free File Program.
12
     See, “Tax Time Guide: Try Money-Saving IRS Free File,” IRS, March 1, 2018, available at
     https://www.irs.gov/newsroom/tax-time-guide-try-money-saving-irs-free-file (“More than 70 percent of all
     taxpayers – over 107 million people – are eligible for the software products.”). The inbound sample of
     respondents to my study was representative of the adult population in the U.S. based on census information
     linked to age, gender, and regional distribution.
13
     See, e.g., “Memorandum Re: Taxpayer Attitudes Concerning Annual Return Preparation,” Computer &
     Communications’ Industry Association, April 5, 2019, available at https://www.ccianet.org/wp-
     content/uploads/2019/04/PublicOpinionTaxPoll.pdf; INTUIT-FFA-FTC-000549993 at 9993, a recent tax
     survey by Guggenheim Securities; “Independent Assessment of the Free File Program,” October 3, 2019,
     (“MITRE Report”), p. xi.
14
     Approximately 12.6 million customers filed their federal return for free using Free Edition in TY 2018. In the
     same tax year, approximately 1.2 million customers filed their federal return using the TurboTax Free File
     product. See, e.g., INTUIT_FFA_FTC_C002.01-C002.016 at C002.09-C002.010, Letter from D. Reed Freeman
     to Tejasvi Srimushnam et al., re: FTC Matter No: 1923119, July 31, 2019, pp. 9-10.


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     Office reveal that the majority of taxpayers choose to pay to have their taxes prepared for a fee
     rather than prepare them for free with the Australian Taxation Office’s TaxPack booklet.15

19. Many Respondents Demonstrate a Willingness to Consider Alternatives and To Identify and
    Use the “Right” Product for Their Specific Situation: I understand that the FTC is investigating
    whether Intuit’s upgrade screens resulted in customers being “tricked” or “misled” into paying
    for unintended upgrades. Far from this being the case, my analyses of both the closed-ended
    and open-ended questions in the Disclosure Survey demonstrate respondents’ awareness of
    and willingness to consider other alternatives and to identify and use the “right” product for
    their specific situation, whether that was TurboTax or an alternative provider. The data also
    indicated that consumers also largely understand the circumstances of their tax-filing needs
    and/or educate themselves about the right tax solution for their needs.

20. As an initial point, meaningful shares of respondents indicated in Q8 that, after viewing the
    upgrade screen, they would most likely select alternative tax preparation solutions, including
    another online tax preparation software provider, a self-filed paper filing, or an accountant
    supported paper filing (see Exhibit 2.B).16 Moreover, I find no statistically significant
    differences in respondents’ selections of these alternative solutions between the Current Screen
    and Enhanced Information Screen Groups, indicating respondents are clearly willing to select
    alternatives to Intuit’s products if relevant or preferred, regardless of the information contained
    in the upgrade screens.17,18 Indeed, Intuit’s data maintained in the normal course of business
    and shared with the FTC also makes clear that millions of consumers each year decide to
    prepare their taxes a different way after reaching an upgrade screen.19


15
     In the 2001-2002 tax year, approximately 75 percent of personal tax returns in Australia were submitted by tax
     agents on behalf of individual clients. See, “Taxation Statistics 2001-02,” Australian Taxation Office, available
     at https://data.gov.au/data/dataset/67265383-0ecc-4523-8ffd-02790297a65a/resource/0a765a72-d548-40e4-
     97bc-339168abb011/download/2001-02-taxstats.pdf, pp. 3, 10.
16
     Across the three experimental groups, 17 percent of respondents (124 respondents) in the Disclosure Survey
     indicated that they would most likely select another online tax preparation software provider, a self-filed paper
     filing, or an accountant supported paper filing. See Exhibit 2.B.
17
     See, Exhibit 2.B. As discussed paragraph 14, I find statistically significant differences in respondent’s selection
     of these “Other Online Filing Options (e.g., H&R Block, TaxAct, TaxSlayer),” between the Reduced
     Information Screen Group and the Current Screen Group. This finding is consistent with my expectation that
     when provided with limited information regarding next steps, respondents in the Reduced Information Group
     are more likely to see out alternative solutions.
18
     Notably, 17 percent of respondents indicated that they had used two or more online tax preparation software
     providers in the past five years. 21 percent of respondents who indicated they had used TurboTax in the past
     five years had also used an alternative tax preparation software provider during that period.
19
     I understand that Intuit has provided the FTC with data illustrating “that consumers using Intuit’s Free Edition
     were aware of various other tax preparation options available to them, including on the TurboTax website,
     through the IRS Free File program, and other providers.” Data produced in response to Interrogatory 14(f)
     includes the number of customers, by upgrade screen, who started in Free Edition and ultimately filed with a
     Paid Commercial product, a Free Commercial product, the TurboTax Free File Program, or in some other way

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21. Perhaps more importantly, respondents’ open-ended answers to Q6 demonstrate that
    prospective TurboTax customers are well-informed, pursue information from other sources,
    and have direct experience with other tax preparation service providers. Except in very few
    instances (as discussed below), they did not express a view that they were “locked in” to
    TurboTax.

22. Two independent coders who were unaware of the purpose of the research (throughout referred
    to as “coders”) analyzed the open-ended answers to Q6 and found that across the three
    experimental groups, nearly 39 percent, or more than a third of respondents in the Disclosure
    Survey, explicitly described having the agency to identify the right tax preparation product for
    their particular tax situation and preferences (see Exhibit 5).20 That is, across the three
    experimental groups, 15 percent of respondents stated, upon viewing the upgrade screen that
    they would not upgrade and instead would seek out an alternative solution (see Exhibit 5).21
    For example, respondents indicated that, after viewing the upgrade screen:

                 “I would close out of the TurboTax window and file my taxes with H&R Block
                  instead.”

                 “As I'm no longer able to file with the free edition, I would search the internet and
                  compare the Turbo Tax pay for edition with other tax platforms with comparable
                  features.”

                 “Probably leave, knowing my situation (I would never qualify for free!). If I really
                  though free filing a possibility I would go back to see what caused it (capital gains?
                  too much income? What?). I would next put Turbotax aside and look at the other
                  free providers - not everyone has the same thresholds and exclusions.”




     (i.e., “did not file” with TurboTax). See, INTUIT_FFA_FTC_C013.01-C013.053 at C013.035-C013.037, Letter
     from David Gringer to Ian Barlow et al., Re: FTC Matter No. 1923119, July 31, 2020.
20
     In addition to the 15 percent of respondents who stated upon viewing the upgrade screen that they would not
     upgrade and instead would seek out an alternative solution, and the approximately 17 percent of respondents
     who indicated that they would need to conduct additional research or otherwise evaluate which product would
     best fit their needs, other relevant categories include 5 percent of customers who indicated they would “delete
     account / exit the site,” 3 percent of customers who indicated they would likely upgrade due to their “Tax
     Situation,” and 1 percent of customers who indicated they would likely “upgrade after conducting additional
     research.” Accounting for responses that were coded as more than one category (e.g., the 14 responses to Q6
     coded as both “delete account / exit the site” and “consider other alternatives”), these five categories
     collectively capture 39 percent of respondents. As noted above, when respondents in the Reduced Information
     Screen Group are shown limited information regarding next steps, they are more likely to seek information and
     alternatives outside of TurboTax. Similarly, respondents in the Enhanced Information Screen who were shown
     supplemental information regarding the IRS Free File Program mention considering the IRS Free File Program,
     consistent with an aided recall context.
21
     Alternative products specified by respondents include H&R Block, Credit Karma, TaxAct, TaxSlayer, FreeTax
     USA, IRS Free File Program, and other generic alternatives.
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              “Look into other options where I wouldn’t have to pay $60. Maybe H&R Block.
               I’d ask friends how they filed.”

23. Relatedly, approximately 17 percent of respondents indicated in their answers to Q6 that they
    would need to conduct additional research or otherwise evaluate which product would best fit
    their needs (see Exhibit 5). For example:

              “I will need to check online with TurboTax to find another product to use to file
               my taxes. I assume the free version will not work properly with my information. I
               could also change my fiming [sic] option to see if I can continue to use the free
               version.”

              “I would then go to reviews of each of the paid for services. This would help me
               decide if I want to upgrade.”

              “Decide how complicated my taxes are to see if I need to pay for additional
               services.”

              “I would ask chat why they have made that upgrade recommendation. 'what is more
               complicated that Turbo free can't handle it?”

              “I would move on to next screen and find out what I need to do differently and how
               much it would cost. I would then probably go to another website to see what they
               say about the same information provided and compare price.”

              “I would double check to see if I really need an upgrade to finish my taxes and then
               if I really did I would choose the correct product. If not I would continue on with
               the free product.”

              “I would wonder why I needed to upgrade and would investigate accordingly.”

              “I would then go to google and type in Turbo Tax Intuit and read some reviews
               from other people who have used it.”

24. Further, open-ended responses also indicated that respondents who did elect to upgrade
    understood what the specifics of their tax filing needs required. The coders also analyzed the
    open-ended answers to Q9 for respondents who indicated that they would most likely select a
    Paid version of TurboTax and categorized the responses into groups with other similarly-
    indicated answers. The majority of respondents who chose to upgrade to Paid products (e.g.,
    Deluxe, Premier, Self-Employed) indicated that they did so because of their particular tax
    situation (47 percent), their preference for and/or trust in the Intuit products (35 percent), or
    because of the value/price point (9 percent) (see Exhibit 6). These responses indicate that
    consumers reflect on their experiences and information beyond what is presented by TurboTax
    in an upgrade screen when making tax solution choices. For example:

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                 “My taxes aren't especially complicated, but I have a few other issues (like student
                  loan interest) that make it more complicated than a simple return can do. The next
                  step up is the one that normally makes the most sense for me.”

                 “I believe it best suits my needs. I would rather pay to have my taxes done easily
                  rather than try a different product or use the IRS program which may cause errors.”

                 “Because I'm a homeowner and I itemize my deductions”

                 “I have been using TurboTax Deluxe for many years now so I know that it is best
                  suited to my tax situation.”

                 “Although it will cost a bit more money, I trust that TurboTax Deluxe would be
                  worth it in the long run by providing me with simplified taxes.”

                 “I like having the best support and tax version possible. the deluxe version also
                  helps in the case of an audit so it is a piece of mind.”

                 “The deluxe seems to have a number of extra help pieces that aren't available with
                  the free version. Also it isn't unreasonably priced.”

                 “It adjusts to my needs. It is a good value for my money”

25. Lastly, I asked the coders to highlight responses to Q6 and Q9 where the responses suggested
    that respondent would upgrade, but only because the respondent indicated that they “had to”
    upgrade or “couldn’t use Free Edition,” i.e., they had no other choice. The coders identified
    only 11 respondents out of 751 (1 percent) in Q6 and 20 respondents out of 325 (6 percent) in
    Q9 whose answers could be interpreted in this manner (see Exhibits 5 and 6). Thus, it is
    unlikely that reasonable consumers who see an upgrade message on TurboTax believe that
    they must continue with the TurboTax software in order to prepare their taxes or that the IRS
    requires them to do so.

     IV.      Conclusion
26. My Disclosure Survey yields statistically reliable results that can be used to assess the
    materiality, if any, of Intuit’s current upgrade screens and proposed changes to those upgrade
    screens on consumers’ selection of various tax preparation software programs.22 In particular,
    my results can be used to measure whether and to what extent consumers’ decisions to upgrade
    to the Paid versions of TurboTax were affected by the existing upgrade screens, and whether



22
     To confirm that my results are robust, I performed additional sensitivity analyses, i.e., analyses with of
     respondents that let me examine the stability of my survey results across different sub-groups of respondents.
     See Appendix C for further detail.
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     and to what extent consumers’ purchase decisions could have been influenced differently by
     potential changes made to these prompts.

27. Based on my survey results and other research, I conclude that:

                The current TurboTax upgrade screens do not induce upgrades from TurboTax’s
                 Free Edition to Paid versions of TurboTax.

                Providing customers with additional information regarding the IRS Free File
                 Program does not materially change customers’ product selection choices.
                 Moreover, even among respondents who were provided with supplemental
                 information regarding the IRS Free File Program, overall interest and adoption of
                 the IRS Free File Program remains low and unchanged. Notably, this finding is
                 consistent with other publicly-available data, and overall consumer usage
                 patterns.23

                Open-ended responses reveal a general preference to identify and use the “right”
                 options for their particular tax situation, and consumers’ willingness to conduct
                 additional research to determine that “right” option, whether it was within
                 TurboTax or with an alternative provider. Respondents did not appear to believe
                 that they were required to use TurboTax to the exclusion of other tax preparation
                 options.




23
     MITRE Report, p. viii; INTUIT-FFA-FTC - C002.01-C002.016 at C002.09-C002.010, Letter from D. Reed
     Freeman to Tejasvi Srimushnam et al., Re: FTC Matter No: 1923119, July 31, 2019.
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                                                   Exhibit 1
                                           Survey Response Statistics
                                                                        Number of
Status                                                              Respondents     Percent of Total
                         [1]
  Completed Survey                                                         751          24.7%
  Screened Out of Survey, due to:                                        2,195          72.3%
    Age [2]                                                                497          16.4%
    Gender [3]                                                              70           2.3%
                 [4]
    Employment                                                             169           5.6%
                                             [5]
    Participation in similar surveys                                       171           5.6%
    Did not file taxes in 2019 or 2020 [6]                                 274           9.0%
                                     [7]
    Tax preparation method                                                 906          29.9%
                               [8]
    Tax preparation role                                                    95           3.1%
    Survey Speed [9]                                                         0           0.0%
                       [10]
    Quality control                                                         13           0.4%
  Self Termination[11]                                                      88           2.9%
  Exceeded Quota[12]                                                         1           0.0%
Total Survey Starts[13]                                                  3,035         100.0%
Completion Rate[14]                                                       89.5%

Notes:
[1] Includes the 751 respondents who qualified for, and completed, the survey.
[2] Respondents who provided an age which did not match what Dynata had on file were
screened out of the survey in S2.
[3] Respondents who provided a gender which did not match their profile with Dynata were
screened out of the survey in S3.
[4] Respondents who selected that they or a family member worked for “An accounting, tax, or
a tax preparation service provider company,” “A marketing, market research, or advertising,”
or “Your state or the federal government” in response to S5 were screened out of the survey.
[5] Respondents who selected “Accounting or tax services” in response to S6 were screened
out of the survey.
[6] Respondents who selected “No” in response to both S7 (“Did you file taxes in 2019 (for
2018 income)?” and S8 (“Did you file taxes in 2020 (for 2019 income)?” were screened out of
the survey. Respondents who responded “Don't Recall/Unsure” to S8 were also screened out.
[7] Respondents who did not select “I used an online tax software to file my/our household
taxes” in response to S9 were screened out of the survey.
[8] Respondents who selected “I had little involvement in preparing my/our household taxes”
or “Don't Recall/Unsure” in response to S10 were screened out of the survey.
[9] Respondents who completed the survey in less than 1/3 the median time-to-complete were
excluded from the survey.
[10] Respondents who did not select “Fourth” in response to S12 were screened out of the
survey.
[11] Respondents who self-terminated after proceeding past the digital fingerprinting in S0
were excluded from the survey.
[12] Respondents who started the survey after the quota for their respective age, region, and
gender had been filled were terminated.
[13] Includes only respondents who clicked on the survey and proceeded past the digital
fingerprinting in S0 (“Please enter the code exactly as it appears in the image below, and then
click continue.”) of the survey screener (see Appendices D.1 and D.2).
[14] The completion rate is 89.5%, or: [completed survey]/[completed survey+self
termination].
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                                                                                                                    Exhibit 2.A
                                                                                           Comparison of Respondents' Selection of Tax Preparation Products
                                                                                                         Based on Question 7 and Question 8

                                                                                                                                                                           Test of Equality of Distribution              Test of Equality of Proportions
                                         Current Screen Group                                                              Enhanced Information Screen Group
                                    Upgrade Screen with TT Deluxe             Reduced Information Screen Group                   Enhanced Upgrade Screen                   Current vs.            Current vs.            Current vs.           Current vs.
                                      & Self-Employed Products                 No Upgrade Information Provided              with IRS Free File Option Included               Reduced              Enhanced                Reduced               Enhanced
                                    Number of          Percent of               Number of          Percent of                Number of             Percent of
                                   Respondents           Respondents            Respondents            Respondents           Respondents            Respondents              P-value                P-value                P-value               P-value
TurboTax Free Edition                  66                   26%                     37                    15%                    60                    24%                                                                 0.001 ***             0.520
TurboTax Paid Products[1]              109                   44%                    100                   40%                    116                   46%                                                                 0.414                 0.556
IRS Free File Program                   18                    7%                     22                    9%                     25                   10%                   0.002 ***              0.386                  0.510                 0.270
Alternative Program[2]                  36                   14%                      64                  26%                      38                  15%                                                                 0.002 ***             0.816
Don't Know / Unsure[3]                  21                    8%                     27                   11%                     12                     5%                                                                0.648                 0.427
Total                                  250                                          250                                          251

Notes:
[1] TurboTax Paid Products refer to “TurboTax Deluxe”, “TurboTax Premier”, and “TurboTax Self-Employed” answer options.
[2] Alternative programs refer to “Other Online Filing Options”, “Accountant Supported Paper Filing”, “Self-filed Paper Filing”, and “Other” answer options.
[3] Includes the 60 respondents who said “Don't Know / Unsure” to either Q7 or Q8. Specifically, 34 respondents answered “Don't Know / Unsure” in response to Q7 and were not subsequently asked Q8 and 26 respondents answered “Don't Know /
Unsure” in response to Q8.
[4] The tests for equality of distribution and equality of proportions between groups are based on a chi-squared test. P-values below 0.05 reflect statistical significance, i.e., p-values below 0.05 show that the answers are differently distributed across
groups or the proportions are different across groups at the 5% significance level. “***” indicates significance at 1% level, “**” indicates significance at 5% level, “*” indicates significance at 10% level.
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                                                                                                                        Exhibit 2.B
                                                                                               Comparison of Respondents' Selection of Tax Preparation Products
                                                                                                             Based on Question 7 and Question 8

                                                                                                                                                                                    Test of Equality of Distribution              Test of Equality of Proportions
                                                  Current Screen Group                                                              Enhanced Information Screen Group
                                             Upgrade Screen with TT Deluxe             Reduced Information Screen Group                   Enhanced Upgrade Screen                   Current vs.            Current vs.           Current vs.            Current vs.
                                               & Self-Employed Products                  No Upgrade Information Provided             with IRS Free File Option Included               Reduced              Enhanced                Reduced              Enhanced
                                             Number of          Percent of                Number of          Percent of               Number of             Percent of
                                            Respondents           Respondents            Respondents           Respondents            Respondents            Respondents              P-value                P-value               P-value                P-value
TurboTax Free Edition                             66                   26%                     37                   15%                     60                    24%                                                              0.001 ***              0.520
TurboTax Deluxe                                   89                   36%                     64                   26%                     83                    33%                                                              0.015 **               0.551
TurboTax Premier                                  14                    6%                     29                   12%                     27                    11%                                                              0.017 **               0.035 **
TurboTax Self-Employed                             6                    2%                      7                    3%                      6                     2%                                                              0.779                  0.994
IRS Free File Program                             18                    7%                     22                    9%                     25                    10%                                                              0.510                  0.270
Other Online Filing Options                       29                   12%                     47                   19%                     26                    10%                 0.002 ***              0.385                 0.025 **               0.657
Accountant Supported Paper Filing                  2                    1%                      4                    2%                      2                     1%                                                              0.411                  0.997
Self-Filed Paper Filing                            2                    1%                      6                    2%                      6                     2%                                                              0.154                  0.156
Other                                              3                    1%                      7                    3%                      4                     2%                                                              0.201                  0.707
Don't Know / Unsure (Q7)[1]                         12                    5%                      16                   6%                       6                   2%                                                              0.437                 0.147
Don't Know / Unsure (Q8)[2]                          9                    4%                     11                    4%                      6                    2%                                                              0.648                 0.427
Total                                              250                                          250                                          251

Notes:
[1] A total of 34 respondents answered “Don't Know / Unsure” in response to Q7 and were not subsequently asked Q8.
[2] A total of 26 respondents answered “Don't Know / Unsure” in response to Q8.
[4] The tests for equality of distribution and equality of proportions between groups are based on a chi-squared test. P-values below 0.05 reflect statistical significance, i.e., p-values below 0.05 show that the answers are differently distributed across groups or
the proportions are different across groups at the 5% significance level. “***” indicates significance at 1% level, “**” indicates significance at 5% level, “*” indicates significance at 10% level.
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                                                                                                        Exhibit 3.A
                                                                                              Comparison of Responses to Q7
                                                      Question 7: “Which of the following options would you consider using to file your taxes upon seeing this prompt?”

                                                                                                                                                                                             Test of Equality of Proportions
                                             Current Screen Group                                                                         Enhanced Information Screen Group
                                        Upgrade Screen with TT Deluxe                   Reduced Information Screen Group                        Enhanced Upgrade Screen                      Current vs.           Current vs.
                                         & Self-Employed Products                        No Upgrade Information Provided                   with IRS Free File Option Included                 Reduced               Enhanced
                                       Number of           Percent of                    Number of            Percent of                   Number of               Percent of
                                      Respondents              Respondents              Respondents               Respondents              Respondents              Respondents                P-value                P-value
TurboTax Free Edition                     88                        35%                     66                        26%                      94                       37%                    0.033 **               0.601
                       [1]
TurboTax Paid Products                    132                        53%                    115                         46%                    136                        54%                  0.128                  0.756
IRS Free File Program                      33                        13%                     51                         20%                     55                        22%                  0.031 **               0.010 **
Alternative Program[2]                     59                        24%                    106                         42%                     66                        26%                  0.000 ***              0.486
Don't Know / Unsure                        12                         5%                     16                          6%                      6                         2%                  0.437                  0.147
Total                                     250                                               250                                                251

Notes:
[1] TurboTax Paid Products refer to “TurboTax Deluxe”, “TurboTax Premier”, and “TurboTax Self-Employed” answer options. The count represents unique respondents who indicated they would consider a TurboTax
Paid Product.
[2] Alternative programs refer to “Other Online Filing Options”, “Accountant Supported Paper Filing”, “Self-filed Paper Filing”, and “Other” answer options. The count represents unique respondents who indicated they
would consider an alternative program.
[3] The tests for equality of proportions between groups are based on a chi-squared test. P-values below 0.05 reflect statistical significance, i.e., p-values below 0.05 show that the proportions are different across groups at
the 5% significance level. “***” indicates significance at 1% level, “**” indicates significance at 5% level, “*” indicates significance at 10% level.
[4] Respondents were allowed to select more than one answer option for Q7, so the sum of product category counts exceeds the number of total respondents.
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                                                                                                         Exhibit 3.B
                                                                                               Comparison of Responses to Q7
                                                       Question 7: “Which of the following options would you consider using to file your taxes upon seeing this prompt?”

                                                                                                                                                                                                Test of Equality of Proportions
                                                   Current Screen Group                                                                       Enhanced Information Screen Group
                                              Upgrade Screen with TT Deluxe                  Reduced Information Screen Group                       Enhanced Upgrade Screen                     Current vs.           Current vs.
                                               & Self-Employed Products                       No Upgrade Information Provided                  with IRS Free File Option Included                Reduced              Enhanced
                                             Number of           Percent of                   Number of            Percent of                   Number of              Percent of
                                            Respondents              Respondents              Respondents             Respondents              Respondents              Respondents               P-value               P-value
TurboTax Free Edition                             88                       35%                      66                      26%                      94                       37%                 0.033 **              0.601
TurboTax Deluxe                                  110                       44%                      82                      33%                     106                       42%                 0.010 **              0.689
TurboTax Premier                                  27                       11%                      53                      21%                      41                       16%                 0.002 ***             0.071 *
TurboTax Self-Employed                            15                        6%                      17                       7%                      18                        7%                 0.715                 0.597
IRS Free File Program                             33                       13%                      51                      20%                      55                       22%                 0.031 **              0.010 **
Other Online Filing Options                       48                       19%                      81                      32%                      45                       18%                 0.001 ***             0.714
Accountant Supported Paper Filing                  6                        2%                      12                       5%                       7                        3%                 0.150                 0.784
Self-Filed Paper Filing                            7                        3%                      21                       8%                      19                        8%                 0.006 ***             0.016 **
Other                                              4                        2%                      10                       4%                       8                        3%                 0.104                 0.245
Don't Know / Unsure                               12                        5%                      16                       6%                       6                        2%                 0.437                 0.147
Total                                            250                                               250                                              251

Notes:
[3] The tests for equality of proportions between groups are based on a chi-squared test. P-values below 0.05 reflect statistical significance, i.e., p-values below 0.05 show that the proportions are different across groups at the
5% significance level. “***” indicates significance at 1% level, “**” indicates significance at 5% level, “*” indicates significance at 10% level.
[2] Respondents were allowed to select more than one answer option for Q7, so the sum of product category counts exceeds the number of total respondents.
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                                                                                                                       Exhibit 4.A
                                                                                                            Comparison of Responses to Q8:
                                                                            Question 8: “Which of the following options would you most likely select upon seeing this prompt?”

                                                                                                                                                                            Test of Equality of Distribution              Test of Equality of Proportions
                                         Current Screen Group                                                              Enhanced Information Screen Group
                                    Upgrade Screen with TT Deluxe              Reduced Information Screen Group                  Enhanced Upgrade Screen                    Current vs.            Current vs.            Current vs.           Current vs.
                                      & Self-Employed Products                  No Upgrade Information Provided              with IRS Free File Option Included              Reduced               Enhanced                Reduced               Enhanced
                                    Number of          Percent of                Number of          Percent of                Number of             Percent of
                                   Respondents            Respondents           Respondents            Respondents            Respondents           Respondents               P-value                P-value                P-value               P-value
TurboTax Free Edition                    66                    28%                    37                    16%                     60                   24%                                                                0.002 ***             0.417
TurboTax Paid Products[1]                 109                   46%                     100                   43%                    116                   47%                                                              0.503                 0.733
IRS Free File Program                      18                    8%                      22                    9%                     25                   10%                0.002 ***              0.700                  0.473                 0.308
Alternative Program[2]                      36                  15%                      64                   27%                      38                  16%                                                              0.001 ***             0.907
Don't Know / Unsure[3]                      9                     4%                     11                    5%                      6                    2%                                                              0.620                 0.399
Total                                     238                                           234                                          245

Notes:
[1] TurboTax Paid Products refer to “TurboTax Deluxe”, “TurboTax Premier”, and “TurboTax Self-Employed” answer options.
[2] Alternative programs refer to “Other Online Filing Options”, “Accountant Supported Paper Filing”, “Self-filed Paper Filing”, and “Other” answer options.
[3] Does not include the 34 respondents who answered “Don't Know / Unsure” in response to Q7 and were not subsequently asked Q8.
[4] The tests for equality of distribution and equality of proportions between groups are based on a chi-squared test. P-values below 0.05 reflect statistical significance, i.e., p-values below 0.05 show that the answers are differently distributed across
groups or the proportions are different across groups at the 5% significance level. “***” indicates significance at 1% level, “**” indicates significance at 5% level, “*” indicates significance at 10% level.
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                                                                                                                           Exhibit 4.B
                                                                                                                Comparison of Responses to Q8:
                                                                                Question 8: “Which of the following options would you most likely select upon seeing this prompt?”

                                                                                                                                                                                    Test of Equality of Distribution              Test of Equality of Proportions
                                                  Current Screen Group                                                              Enhanced Information Screen Group
                                             Upgrade Screen with TT Deluxe             Reduced Information Screen Group                   Enhanced Upgrade Screen                   Current vs.            Current vs.           Current vs.            Current vs.
                                               & Self-Employed Products                  No Upgrade Information Provided             with IRS Free File Option Included               Reduced              Enhanced                Reduced              Enhanced
                                             Number of          Percent of                Number of          Percent of               Number of             Percent of
                                            Respondents           Respondents            Respondents           Respondents            Respondents            Respondents              P-value                P-value               P-value                P-value
TurboTax Free Edition                             66                   28%                     37                   16%                     60                    24%                                                              0.002 ***              0.417
TurboTax Deluxe                                   89                   37%                     64                   27%                     83                    34%                                                              0.020 **               0.420
TurboTax Premier                                  14                    6%                     29                   12%                     27                    11%                                                              0.014 **               0.043 **
TurboTax Self-Employed                             6                    3%                      7                    3%                      6                     2%                                                              0.755                  0.959
IRS Free File Program                             18                    8%                     22                    9%                     25                    10%                                                              0.473                  0.308
                                                                                                                                                                                      0.002 ***              0.479
Other Online Filing Options                       29                   12%                     47                   20%                     26                    11%                                                              0.020 **               0.586
Accountant Supported Paper Filing                  2                    1%                      4                    2%                      2                     1%                                                              0.399                  0.977
Self-Filed Paper Filing                            2                    1%                      6                    3%                      6                     2%                                                              0.147                  0.166
Other                                              3                    1%                      7                    3%                      4                     2%                                                              0.192                  0.732
Don't Know / Unsure[1]                               9                    4%                     11                    5%                      6                    2%                                                              0.620                 0.399
Total                                              238                                          234                                          245

Notes:
[1] Does not include the 34 respondents who answered “Don't Know / Unsure” in response to Q7 and were not subsequently asked Q8.
[4] The tests for equality of distribution and equality of proportions between groups are based on a chi-squared test. P-values below 0.05 reflect statistical significance, i.e., p-values below 0.05 show that the answers are differently distributed across groups or
the proportions are different across groups at the 5% significance level. “***” indicates significance at 1% level, “**” indicates significance at 5% level, “*” indicates significance at 10% level.
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                                                                                                      Exhibit 5
                                                                                           Comparison of Responses to Q6
                                                                   Question 6: " In your own words, what would you do next upon seeing this screen?"


                                                         Current Screen Group                                                          Enhanced Information Screen Group
                                                    Upgrade Screen with TT Deluxe            Reduced Information Screen Group                Enhanced Upgrade Screen
                                                       & Self-Employed Products               No Upgrade Information Provided           with IRS Free File Option Included                      All Test Groups
                                                    Number of             Percent of           Number of             Percent of           Number of             Percent of           Number of              Percent of
                                                   Respondents          Respondents           Respondents           Respondents          Respondents           Respondents          Respondents            Respondents
Upgrade
      No Other Information Provided                    50                 20%                      9                   4%                    43                  17%                     102                      14%
      Tax Situation                                    12                  5%                      4                   2%                     9                   4%                      25                       3%
      No Other Choice                                   4                  2%                      2                   1%                     5                   2%                      11                       1%
      Brand and Value                                   3                  1%                      1                   0%                     3                   1%                       7                       1%
      Upgrade after Conducting Research                 3                  1%                      1                   0%                     3                   1%                       7                       1%
      Follow Instructions                               2                  1%                      1                   0%                     4                   2%                       7                       1%
Total                                                  72                 29%                     18                   7%                    66                  26%                     156                      21%
Don't Upgrade
      Consider other Alternatives[2]                   23                  9%                     45                 18%                     44                  18%                     112                      15%
      No Other Information Provided                    34                 14%                      0                  0%                     23                   9%                      57                       8%
      Free Edition                                     21                  8%                      2                  1%                     14                   6%                      37                       5%
      Delete Account/ Exit the Site                     4                  2%                     23                  9%                     10                   4%                      37                       5%
Total                                                  81                 32%                     61                 24%                     87                  35%                     229                      30%
Unclear Whether Upgrade or not Upgrade
      Unclear Next Steps                               21                  8%                     25                 10%                     16                   6%                       62                      8%
      Respondent Unsure                                 7                  3%                      7                  3%                      5                   2%                       19                      3%
Total                                                  28                 11%                     32                 13%                     21                   8%                       81                     11%
Additional Research / Consideration
                                                       32                 13%                     55                 22%                     38                  15%                     125                      17%
Follow Instructions Provided / Continue
                                                       22                   9%                    65                 26%                     21                   8%                     108                      14%
Excluded
                                                       17                   7%                    23                   9%                    18                   7%                       58                     8%
Total                                                250                                        250                                        251                                           751

Notes:
[1] Two independent coders working under my direction reviewed and analyzed the open-ended answers to Q6 and categorized them into groups with similarly-indicated answers. Appendix G contains the full set of
instructions provided to the coders.
[2] Alternative products specified by respondents include H&R Block, Credit Karma, TaxAct, TaxSlayer, FreeTax USA, IRS Free File, and other generic alternatives.
[3] Responses categorized as “Excluded” are defined in the coding instructions as “any response that does not belong to any of the categories defined above,” and include non-descriptive, non-relevant responses or
random strings.
[4] Response categories are non-exclusive, so the sum of all categorized responses may exceed the count of total respondents in each product choice and experimental group.
[5] Percent of respondents figures represent [Number of Responses in Category]/[Total Respondents Within Experimental Group].
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                                                                                                 Exhibit 6
                                                   Comparison of Responses to Q9 Among Respondents Who Selected Paid TurboTax Products in Q8
                                                Question 9: "What is the reasoning behind your decision? Why did you select [INSERT ANSWER FROM Q8]?"


                                            Current Screen Group                                                           Enhanced Information Screen Group
                                       Upgrade Screen with TT Deluxe            Reduced Information Screen Group                Enhanced Upgrade Screen
                                          & Self-Employed Products               No Upgrade Information Provided            with IRS Free File Option Included                    All Test Groups
                                                             Percent of                                 Percent of                                  Percent of                                 Percent of
                                       Number of                                  Number of                                   Number of                                  Number of
                                                                          [3]                                        [3]                                         [3]                                        [3]
                                      Respondents          Respondents           Respondents          Respondents            Respondents         Respondents            Respondents         Respondents
TurboTax Deluxe
     Tax Situation                         44                     49%                 20                     31%                  35                    42%                  99                     42%
     Brand/ Preference                     31                     35%                 27                     42%                  32                    39%                  90                     38%
     Value/ Price Point                     9                     10%                  5                      8%                  13                    16%                  27                     11%
     No Other Choice                        5                      6%                  6                      9%                   7                     8%                  18                      8%
        Excluded[4]                         6                      7%                   3                     5%                   4                      5%                 13                      6%
        Next Best Alternative               2                      2%                   8                    13%                   6                      7%                 16                      7%
        Follow Instructions                 1                      1%                   1                     2%                   0                      0%                  2                      1%
Total                                      89                                         64                                          83                                        236

TurboTax Premier
     Tax Situation                          8                     57%                 12                     41%                  16                    59%                  36                     51%
     Brand/ Preference                      5                     36%                 10                     34%                   9                    33%                  24                     34%
     Value/ Price Point                     0                      0%                  2                      7%                   1                     4%                   3                      4%
     No Other Choice                        0                      0%                  1                      3%                   0                     0%                   1                      1%
     Excluded[4]                            1                      7%                   5                    17%                   1                      4%                  7                     10%
     Next Best Alternative                  0                      0%                   0                     0%                   0                      0%                  0                      0%
     Follow Instructions                    0                      0%                   0                     0%                   0                      0%                  0                      0%
Total                                      14                                         29                                          27                                         70

TurboTax Self-Employed
     Tax Situation                          6                    100%                   6                    86%                   5                    83%                  17                     89%
     Brand/ Preference                      0                      0%                   0                     0%                   1                    17%                   1                      5%
     Value/ Price Point                     0                      0%                   0                     0%                   0                     0%                   0                      0%
     No Other Choice                        0                      0%                   1                    14%                   0                     0%                   1                      5%
     Excluded[4]                            0                      0%                   0                     0%                   0                      0%                  0                      0%
     Next Best Alternative                  0                      0%                   0                     0%                   0                      0%                  0                      0%
     Follow Instructions                    0                      0%                   0                     0%                   0                      0%                  0                      0%
Total                                       6                                           7                                          6                                         19

All Paid TurboTax Products
      Tax Situation                        58                     53%                 38                     38%                  56                    48%                 152                     47%
      Brand/ Preference                    36                     33%                 37                     37%                  42                    36%                 115                     35%
      Value/ Price Point                    9                      8%                  7                      7%                  14                    12%                  30                      9%
      No Other Choice                       5                      5%                  8                      8%                   7                     6%                  20                      6%
      Excluded[4]                           7                      6%                   8                     8%                   5                      4%                 20                      6%
      Next Best Alternative                 2                      2%                   8                     8%                   6                      5%                 16                      5%
      Follow Instructions                   1                      1%                   1                     1%                   0                      0%                  2                      1%
Total                                     109                                        100                                        116                                        325

Notes:
[1] Two independent coders working under my direction reviewed and analyzed the open-ended answers to Q9 (for three subsets of respondents) and categorized them into groups with similarly-indicated
answers. Appendix G contains the full set of instructions provided to the coders.
[2] Response categories are non-exclusive, so the sum of all categorized responses may exceed the count of total respondents in each product choice and experimental group.
[3] Percent of respondents figures represent [Number of Responses in Category]/[Total Respondents Within Product Choice and Experimental Group].
[4] Responses categorized as “Excluded” are defined in the coding instructions as “any response that does not belong to any of the categories defined above,” and include non-descriptive, non-relevant
responses or random strings.
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                                                                                                              Exhibit 7.A
                                         Comparison of Respondents' Selection of Tax Preparation Products for Respondents who Paid for Online Tax Software to File Their Taxes in 2019 or 2020[1]
                                                                                                  Based on Question 7 and Question 8

                                                                                                                                                                          Test of Equality of Distribution             Test of Equality of Proportions
                                        Current Screen Group                                                              Enhanced Information Screen Group
                                   Upgrade Screen with TT Deluxe              Reduced Information Screen Group                  Enhanced Upgrade Screen                   Current vs.            Current vs.           Current vs.            Current vs.
                                      & Self-Employed Products                 No Upgrade Information Provided             with IRS Free File Option Included               Reduced              Enhanced               Reduced               Enhanced
                                    Number of          Percent of               Number of          Percent of               Number of             Percent of
                                   Respondents           Respondents           Respondents            Respondents           Respondents            Respondents              P-value                P-value               P-value                P-value
TurboTax Free Edition                  20                   14%                    16                    10%                    21                    14%                                                                0.390                  0.994
TurboTax Paid Products[2]               92                   63%                     80                  52%                     104                  68%                                                                0.062 *                0.368
IRS Free File Program                    5                    3%                      9                   6%                       7                   5%                   0.140                  0.113                 0.314                  0.612
Alternative Program[3]                  20                   14%                     31                  20%                      16                  10%                                                                0.131                  0.390
Don't Know / Unsure[4]                  10                    7%                     18                  12%                       6                    4%                                                               0.444                  0.682
Total                                  147                                          154                                          154

Notes:
[1] The 296 respondents who answered “No, I did not pay for online tax software to file my taxes” or “Don’t recall / Unsure” to Question F1 (“Did you or did you not pay for online tax software to file your taxes in [if S7=YES, “2019” or if S8=YES,
“2020”]?”) are excluded from this sample.
[2] TurboTax Paid Products refer to “TurboTax Deluxe”, “TurboTax Premier”, and “TurboTax Self-Employed” answer options.
[3] Alternative programs refer to “Other Online Filing Options”, “Accountant Supported Paper Filing”, “Self-filed Paper Filing”, and “Other” answer options.
[4] Includes the 34 respondents who said “Don't Know / Unsure” to either Q7 or Q8. Specifically, 17 respondents answered “Don't Know / Unsure” in response to Q7 and were not subsequently asked Q8 and 17 respondents answered “Don't Know /
Unsure” in response to Q8.
[4] The tests for equality of distribution and equality of proportions between groups are based on a chi-squared test. P-values below 0.05 reflect statistical significance, i.e., p-values below 0.05 show that the answers are differently distributed across
groups or the proportions are different across groups at the 5% significance level. “***” indicates significance at 1% level, “**” indicates significance at 5% level, “*” indicates significance at 10% level.
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                                                                                                                  Exhibit 7.B
                                                                   Comparison of Respondents' Selection of Tax Preparation Products Excluding Litigation Aware Respondents[1]
                                                                                                      Based on Question 7 and Question 8

                                                                                                                                                                          Test of Equality of Distribution              Test of Equality of Proportions
                                        Current Screen Group                                                              Enhanced Information Screen Group
                                   Upgrade Screen with TT Deluxe              Reduced Information Screen Group                  Enhanced Upgrade Screen                   Current vs.            Current vs.           Current vs.            Current vs.
                                      & Self-Employed Products                 No Upgrade Information Provided             with IRS Free File Option Included               Reduced              Enhanced                Reduced              Enhanced
                                    Number of          Percent of               Number of          Percent of               Number of             Percent of
                                   Respondents           Respondents           Respondents            Respondents           Respondents            Respondents              P-value                P-value               P-value                P-value
TurboTax Free Edition                  56                   27%                    29                    14%                    51                    25%                                                                0.001 ***              0.635
TurboTax Paid Products[2]               92                   44%                     84                  40%                      91                  44%                                                                0.406                  0.976
IRS Free File Program                   14                    7%                     17                   8%                      20                  10%                   0.001       ***        0.191                 0.585                  0.264
Alternative Program[3]                  30                   14%                     55                  26%                      34                  16%                                                                0.003 ***              0.545
Don't Know / Unsure[4]                  19                    9%                     27                  13%                      12                    6%                                                               0.340                  0.798
Total                                  211                                          212                                          208

Notes:
[1] The 120 respondents who answered “I am aware of at least one media report, investigation, or lawsuit” to Question F2 (“Are you or are you not aware of any media reports, investigations, or lawsuits involving an online tax filing software provider
or accounting company?”) are excluded from this sample.
[2] TurboTax Paid Products refer to “TurboTax Deluxe”, “TurboTax Premier”, and “TurboTax Self-Employed” answer options.
[3] Alternative programs refer to “Other Online Filing Options”, “Accountant Supported Paper Filing”, “Self-filed Paper Filing”, and “Other” answer options.
[4] Includes the 58 respondents who said “Don't Know / Unsure” to either Q7 or Q8. Specifically, 34 respondents answered “Don't Know / Unsure” in response to Q7 and were not subsequently asked Q8 and 24 respondents answered “Don't Know /
Unsure” in response to Q8.
[4] The tests for equality of distribution and equality of proportions between groups are based on a chi-squared test. P-values below 0.05 reflect statistical significance, i.e., p-values below 0.05 show that the answers are differently distributed across
groups or the proportions are different across groups at the 5% significance level. “***” indicates significance at 1% level, “**” indicates significance at 5% level, “*” indicates significance at 10% level.
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                                                                                                                 Exhibit 7.C
                                                            Comparison of Respondents' Selection of Tax Preparation Products Excluding Respondents with Outlier Response Times[1]
                                                                                                     Based on Question 7 and Question 8

                                                                                                                                                                           Test of Equality of Distribution              Test of Equality of Proportions
                                         Current Screen Group                                                              Enhanced Information Screen Group
                                    Upgrade Screen with TT Deluxe             Reduced Information Screen Group                   Enhanced Upgrade Screen                   Current vs.            Current vs.            Current vs.           Current vs.
                                      & Self-Employed Products                 No Upgrade Information Provided              with IRS Free File Option Included               Reduced              Enhanced                Reduced               Enhanced
                                    Number of          Percent of               Number of          Percent of                Number of             Percent of
                                   Respondents           Respondents            Respondents            Respondents           Respondents            Respondents              P-value                P-value                P-value               P-value
TurboTax Free Edition                  61                   26%                     34                    15%                    56                    24%                                                                 0.002 ***             0.612
TurboTax Paid Products[2]              101                   44%                      95                  41%                    107                   46%                                                                 0.573                 0.547
IRS Free File Program                   18                    8%                      21                   9%                     20                    9%                   0.004       ***        0.389                  0.616                 0.724
Alternative Program[3]                  35                   15%                      59                  25%                      38                  16%                                                                 0.006 ***             0.687
Don't Know / Unsure[4]                  17                    7%                     23                   10%                     10                     4%                                                                0.611                 0.785
Total                                  232                                          232                                          231

Notes:
[1] The 29 respondents who completed the survey in under 3 minutes and the 27 respondents who completed the survey in over 30 minutes are excluded from this sample.
[2] TurboTax Paid Products refer to “TurboTax Deluxe”, “TurboTax Premier”, and “TurboTax Self-Employed” answer options.
[3] Alternative programs refer to “Other Online Filing Options”, “Accountant Supported Paper Filing”, “Self-filed Paper Filing”, and “Other” answer options.
[4] Includes the 50 respondents who said “Don't Know / Unsure” to either Q7 or Q8. Specifically, 28 respondents answered “Don't Know / Unsure” in response to Q7 and were not subsequently asked Q8 and 22 respondents answered “Don't Know /
Unsure” in response to Q8.
[4] The tests for equality of distribution and equality of proportions between groups are based on a chi-squared test. P-values below 0.05 reflect statistical significance, i.e., p-values below 0.05 show that the answers are differently distributed across
groups or the proportions are different across groups at the 5% significance level. “***” indicates significance at 1% level, “**” indicates significance at 5% level, “*” indicates significance at 10% level.
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                           APPENDIX A
                        CURRICULUM VITAE
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                                        REBECCA KIRK FAIR
                                         Managing Principal

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rebecca.kirkfair@analysisgroup.com                                                    Boston, MA 02199

Ms. Kirk Fair has over 20 years of experience in conducting economic analysis, managing case teams,
and designing survey instruments in a broad range of matters. Specifically, she has extensive experience
in the development, administration, and analysis of surveys in intellectual property, antitrust, false
advertising, and strategy matters. She has supported the design and implementation of online, mall-
intercept, and telephone surveys using a variety of methodologies, including conjoint and experimental
designs. Ms. Kirk Fair has served as an expert witness in matters involving rebuttal analysis of survey
evidence in an IP matter involving smartphones, corporate valuation, and damages stemming from a
breach of contract. Her experience includes analyses of consumer perception, feature value, and
marketing procedures in connection with fraudulent claims suits and trademark matters.

Ms. Kirk Fair has received numerous awards for her accomplishments, including the Women@ “40 in
Their 40s: Notable Women Competition Professionals” and the Concurrences Antitrust Writing Award
for her coauthored article “The Tyranny of Market Shares: Incorporating Survey-Based Evidence into
Merger Analysis” (Corporate Disputes).

EDUCATION
M.B.A.          MIT Sloan School of Management, Cambridge, MA
B.A.            Economics (with honors), Middlebury College, Middlebury, VT


SELECTED EXPERT TESTIMONY
   Bond v. Berkshire Bank, et al.
    US District Court, District of Massachusetts, Western Division
    Expert witness on behalf of Berkshire Bank. Conducted a survey and testified at deposition on
    banking consumers’ purchase decisions and heterogeneity in consumer banking behaviors,
    specifically with regard to overdraft services.
   YETI Coolers, LLC., v. RTIC Coolers, LLC
    US District Court, Western District of Texas
    Testified at deposition on an experiment designed to evaluate the likelihood of confusion in the high-
    end cooler market.
   PersonalWeb Technologies LLC and Level 3 Communications, LLC. v. International Business
    Machines Corporation
    US District Court, Northern District of California
    Expert witness on behalf of IBM in a patent infringement case. Conducted an online survey of IT
    professionals and analyzed the survey results in an affirmative report. Testified at deposition.
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   U.S. and the States of California, Illinois, North Carolina and Ohio v. DISH Network, LLC
    US District Court, Central District of Illinois
    Expert witness on behalf of Dish. Submitted an expert report evaluating the sampling methodology
    and statistical analysis put forth by the plaintiffs’ expert witness. Testified at deposition and at trial.
   Sterling Jewelers Inc. v. Artistry Ltd.
    US District Court, Northern District of Ohio, Eastern Division
    Expert witness on behalf of Sterling Jewelers in a trademark infringement case. Assessed whether
    Artistry Ltd. suffered damages and determined whether Sterling had been enriched by the alleged
    infringement in an affirmative report. Testified at deposition.

SELECTED CONSULTING EXPERIENCE

Survey-related Litigation
 Elizabeth A. Bally v. State Farm Life Insurance Company
   US District Court, Northern District of California
   Assisted in the implementation and assessment of a survey of the impact on consumer purchase
   behavior and price recall of allegedly misleading measures, including advertising language, in a
   commercial litigation and damages case. Supported field experiments, lab experiments, and analysis
   to assess consumer interpretation of comparison pricing language.
   Large patent infringement suits in online retail industry
    Assisted in the design, implementation, and analysis of a survey to demonstrate that patented
    technologies provided substantial value to online retailers. In a similar ongoing matter, demonstrated
    the consumer impact of a copyrighted feature that provides functionality to a consumer electronics
    product.
   Commercial litigation and damages case in online retail industry
    Assisted in the assessment of the impact on consumer purchase behavior and price recall of allegedly
    misleading measures, including advertising language, in a commercial litigation and damages case.
    Supported field experiments, lab experiments, and analysis to assess consumer interpretation of
    comparison pricing language.
   Antitrust and intellectual property litigations on behalf of Microsoft
    Assisted Microsoft in various IP and antitrust matters in the assessment of the impact on consumer
    behavior, product adoptions, and functionality usage. Matters involved desktop media, browser,
    office productivity, and security software, as well as server software. Supported lab experiments,
    qualitative interviews, and web-scraping studies to assess consumer behavior and usage amongst end-
    customers and IT professionals.
   Trademark infringement matter of athletic apparel company
    Supported marketing expert Joel Steckel in a trademark infringement case in which an athletic
    apparel company claimed that a sports drink maker infringed on its trademark and diluted its brand.
   Trademark dispute in music services
    Developed, designed, and launched a pilot study in a trademark dispute to evaluate respondent
    perception by customer segment.
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   Trademark infringement matter of a candy company
    Supported marketing expert Joel Steckel in a trademark infringement case in front of the TTAB in
    which a candy company was trying to bar entry of a foreign competitor that had infringed on its
    trademark and may have diluted its brand.
   Trademark infringement matter between two apparel companies
    Supported marketing expert Joel Steckel in designing and implementing a reverse confusion survey in
    a trademark infringement case in which an apparel company claimed that an athletic company
    infringed on its design mark.
   Antitrust case in the credit card industry
    Supported marketing expert John Hauser in rebutting an opposing expert’s survey by showing that
    small methodological improvements to the original survey lead to substantial differences in results, in
    a case involving credit card payment procedures.
   Fox Broadcasting Company et al. v. DISH Network LLC et al.
    Supported marketing expert John Hauser in designing and implementing two surveys pertaining to
    use of television services, as well as in analyzing an array of industry data. After more than two years
    of litigation, a California federal judge found that Analysis Group client DISH’s Hopper DVR does
    not infringe Fox’s copyrights.
   Trademark infringement matter in the food industry
    Supported marketing expert Joel Steckel in designing a forward confusion and two reverse confusion
    surveys and implementing the forward confusion survey in a trademark infringement case in which an
    author / speaker claimed that the title of his book was inappropriately used in a TV commercial of a
    packaged food product.
   Confusion matter in the entertainment industry
    Supported marketing expert Joel Steckel in a trademark infringement case in which a TV company
    used a name for its show (and a company featured in the show) that was similar to the name of an
    existing company; assisted with design of forward and reverse confusion surveys.
Antitrust Litigation
   Dahl, et al. v. Kohlberg Kravis Roberts & Co., et al.
    Worked with the JDG in support of numerous experts on issues of class certification and damages for
    group and individual private equity firms in matter alleging collusion.
   Large price-fixing cases in IT manufacturing industries
    Assisted in quantitative analysis and industry research to evaluate competition, pricing, and outputs in
    connection with two separate international price-fixing investigations in IT manufacturing industries.
   Large price-fixing cases in various sectors of the financial service industry
    Assisted in quantitative analysis and market research to examine consistency of plaintiffs in multiple
    class certification matters.
   GO Computer v. Microsoft
    Supported Professor Catherine Tucker of MIT in an analysis of competition amongst
    operating systems and computing platforms.
   Microsoft litigations in various forums
    Economic analysis on behalf of Microsoft in numerous competitor and consumer litigations on issues
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    of competition, pricing, and damages. Supported survey design and research related to server
    software. Developed and critiqued damages models related to computer security, software pricing,
    and product development.

Class Certification Litigation
   Financial exchange cartel litigation
    Supported multiple experts on issues of class certification, marketplace analyses, and damages
    models for the defendant in a matter alleging collusion related to a financial instrument exchange
    platform.
   Air cargo litigations
    Evaluated industry dynamics, transaction data, and damages exposure for several Air Cargo
    defendants, including an evaluation of impact of plea agreements. Marketplace analysis included
    comparison of pricing patterns in areas covered and excluded from plea agreements.
   Antitrust litigation in the transportation sector
    Casework included assisting with settlement negotiations and developing affirmative analyses in
    connection with ongoing class certification proceedings, on behalf of the defendants.
   Auto parts litigation
    Supported affirmative and rebuttal analyses for an indirect purchaser class action in an auto filters
    cartel case. Analyzed wholesale and retail transaction data, evaluated pass-through, and calculated
    firm and product profitability.
   Light cigarettes marketing litigations
    Worked with plaintiffs in class action lawsuits in California, Massachusetts, and Missouri filed
    against the makers of “light” cigarettes. Supported marketing expert Joel Steckel to conduct conjoint
    analyses of consumer preference of light tobacco and nicotine in connection with a damages analysis.
   MasterCard litigations
    Assisted in economic analysis on behalf of MasterCard in government and consumer litigations,
    including several class actions in the US and Canada. Supported design and analysis of consumer
    survey regarding the use of various payment methods. Supported counsel in all phases of trial,
    including the development of direct testimony, trial demonstratives, and cross-examination questions.

Intellectual Property and Commercial Litigation
   TS Media, Inc., et al. v. Public Broadcasting Service
    Superior Court of the District of Columbia
    Supported expert witness in the determination of the importance of the PBS brand and the
    reputational harm that the network would likely suffer as a result of its association with Tavis
    Smiley’s alleged actions.
   Berlex Laboratories, Inc. v. Biogen, Inc.
    US District Court, District of Massachusetts
    Supported expert witness in the determination of a reasonable royalty-related damages claim in a
    patent infringement case in the pharmaceutical industry. Assisted in the design and analysis of a
    market research survey of multiple sclerosis patients for use in damages model.
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   MBIA Insurance v. Credit Suisse Securities
    Supported expert witness Antoinette Schoar in a rebuttal report of Joseph Stiglitz, evaluating the
    relationship between economic and contractual incentives in mortgage-backed securities. Supported
    expert witness Arnold Barnett in a rebuttal report, evaluating statistical relationship between a sample
    of loans on prediction of overall loan performance.
   Front-Loading Washers
    Multiple jurisdictions
    Supported conjoint study and economic analysis in support of multiple damages analyses, in product
    defect litigations against several manufacturers of front-loading washing machines.
   T-Netix, Inc. v. MCI WorldCom Communications, Inc. and Global Tel*Link Corp.
    US District Court, Eastern District of Texas, Marshall Division
    Supported expert witness in all aspects of expert report preparation and deposition testimony in the
    estimation of lost profits and reasonable royalty damages from alleged infringement of patents related
    to prison phone systems.
   Burst.com v. Microsoft Corp.
    US District Court, District of Maryland
    Assisted in an analysis of both patent and trade secrets damages and antitrust damages in a case
    involving software used for streaming media. Responded to plaintiff’s claim of lost profits damages
    and unjust enrichment arising from the misappropriation of trade secrets.
   Gary Kosseff v. James Ciocia et al.
    Court of Chancery of the State of Delaware in and for New Castle County
    Supported expert witness in the determination of fair market value of assets sold in a private
    transaction. Assisted expert in assessment and valuation of comparable companies and rebuttal
    testimony.
   Adelson, et al., v. Adelson
    Massachusetts Superior Court, Middlesex County
    Assisted in the valuation of a family business involving COMDEX. Assisted expert and counsel in
    deposition and trial testimony.

Merger Analyses
   WEX acquisition of EFS
    Supported both parties through the second request and the FTC’s inquiry into the potential unilateral
    and coordinated effects of the merger of two of the country’s largest fleet card companies. The
    transaction was consummated.
   Zimmer’s acquisition of Biomet
    Supported Biomet in its second request compliance and an analysis of product comparability,
    substitution rates, and customer loyalty using transaction and market data.
   Archipelago/NYSE Merger
    Supported Professor Robert Pindyck of MIT in his economic analysis on behalf of the parties, related
    to ease of entry, order internalization, and technological advancements. The transaction was
    consummated.
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   Cintas Corporation Acquisition of G&K Services
    Supported both parties through the second request phase of the FTC merger review process to
    evaluate the potential competitive effects of the acquisition. The transaction was consummated with
    no remedies or divestitures.

   Scripps Networks/Discovery Communications
    Supported Scripps Networks in its acquisition by Discovery Communications to evaluate potential
    competitive concerns in negotiations with multichannel video programming distributors (MVPDs) for
    bundled programming. The transaction was consummated with no remedies or divestitures.

Transfer Pricing Litigation
   Glaxo Americas, et al. v. Internal Revenue Service
    US Tax Court
    Supported expert in econometric analysis and evaluation of pharmaceutical marketing in the
    pharmaceutical industry. Case settled.
   AstraZeneca, et al. v. Her Majesty’s Revenue and Customs
    US Tax Court
    Supported consulting expert team on pharmaceutical valuation and licensing issues. Case settled.

SELECTED PRESENTATIONS AND SPEAKING ENGAGEMENTS
“Market Research Methods in Litigation,” Consumer Class Action CLE webinar (May 19, 2020)
“Fighting Unconscious Bias in the Quest for Authentic Leadership,” 2019 MIT Sloan Global Women’s
Conference (October 3, 2019)
“Fall 2018 iLead Speaker Series: Analysis Group,” MIT Sloan School of Management and the MIT
Leadership Center (September 7, 2018)
“Antitrust in the Amazon World,” American Bar Association webinar (May 31, 2018)
“Practical Issues in Counseling at the Intersection of IP and Antitrust,” New York State Bar Association
Antitrust Law Section Meeting (January 25, 2018)
“Legal Challenges to State Laws Prohibiting Surcharges on Credit Card Transactions: Implications for the
Industry,” American Bar Association (July 14, 2016)
“The Use of Survey Evidence in Class Litigation,” California Bar Association (May 25, 2016)
“The Next Frontiers: Social Media and Other Cutting Edge Issues in Advertising and Marketing,”
Canadian Bar Association Competition Law Fall Conference (October 2, 2015)
“Is False Advertising Anticompetitive,” American Bar Association Antitrust Section Spring Meeting,
Washington DC (April 17, 2015)
“Antitrust Enforcement and the Bazaarvoice Case,” New York State Bar Association Antitrust Law
Section panel (May 21, 2014)
“Branding & Brands in Law, Accounting & Marketing,” The Kenan Institute, University of North
Carolina (April 12, 2012)
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“Reverse Payments – Balancing IP and Antitrust Concerns,” Boston Bar Association (May 20, 2009)
Discussion and guided case study analysis on strategic planning and financial analysis with an emphasis
on the use of historical financial data in monitoring a public company, DirectWomen Board Institute
(February 22, 2008)
“Survey Analysis Report,” First Annual Business Technology Outlook, North Dallas Chamber of
Commerce (October 24, 2007)
“Patent Holding Company Panel,” Streaming Media East Show, New York City (May 15, 2007)
“Innovative Application of Economic Methods,” Analysis Group seminar on patent damages (March
2007)
“Data & Discovery – The Economist’s Perspective,” Analysis Group seminar (May 10, 2005)

PUBLICATIONS
“Why Does the Consumer Welfare Standard Work? Matching Methods to Markets,” with James Bernard
and D. Daniel Sokol, Competition Policy International Antitrust Chronicle (November 2019)
“Hilsley v. Ocean Spray Cranberries, Inc.,” with Rene Befurt, Top Food and Drug Cases, 2018 & Cases
to Watch, 2019, ed. August T. Horvath (May 2019)
“United States – E-commerce Economics: Market Power and Enforcement in Vertical Markets,” with
Nikita Piankov and Emmanuel Frot, chapter in GCR Insights: E-Commerce Competition Enforcement
Guide, ed. Claire Jeffs (January 2019)
“The Ability to Achieve Lost Sales as a Consideration in Damages Analyses under Different Legal
Frameworks,” with Aaron Yeater, American Bar Association Section of Intellectual Property Law,
Landslide, Vol. 11 No. 2 (November/December 2018)
“Trademark Confusion And The Confusing Eveready Survey,” with Stephen Cacciola and Maggie
Hadley, Law360 (October 23, 2018)
“The Tyranny of Market Shares: Incorporating Survey-based Evidence into Merger Analysis,” with Rene
Befurt and Emily Cotton, Corporate Disputes (July–September 2018)
“Singleton v. Fifth Generation, Inc.,” with August T. Horvath, chapter in Top Food and Drug Cases,
2017, & Cases to Watch, 2018, ed. August T. Horvath (May 2018)
“Avoiding bias: ensuring validity and admissibility of survey evidence in litigations,” with Laura
O’Laughlin, chapter in Handbook of Marketing Analytics, eds. Natalie Mizik and Dominique M.
Hanssens (April 2018)
“How To Interpret A Contract? Ask Those Who’d Sign It,” with Omri Ben-Shahar, Lior Strahilevitz, Duo
Jiang, and Kristina Shampanier, Law360 (March 21, 2018)
“Estimating Lost Sales Damages in Antitrust Cases: Can’t Count on Success,” with Aaron Yeater, The
Witness Chair, Issue 71 (Winter 2018)
“The Ability to Achieve Lost Sales as a Consideration in Damages Analyses,” with Aaron Yeater, chapter
in Lost Profits Damages: Principles, Methods, and Applications, eds. Everett P. Harry, III and Jeffrey H.
Kinrich (2017)
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“Managing Multiple Expert Witnesses: Best Practices and Pitfalls,” with Laura Comstock, Andrea Okie,
and Carletta Wong, American Bar Association Section of Litigation, The Woman Advocate (August 17,
2017)
“Survey And Real-World Data: A Winning Combination,” with Peter Simon, Kristina Shampanier, and
Riddhima Sharma, Law360 (July 14, 2017)
“What Consumers Really Think About Reference Price Labels,” with Joel Steckel, Kristina Shampanier,
Laura O’Laughlin, and Jesse Shea, Law360 (March 21, 2017)
“Ensuring Validity and Admissibility of Consumer Surveys,” with Laura O’Laughlin, American Bar
Association Section of Litigation Consumer Litigation Newsletter (Winter 2017)
“Antitrust Enforcement in Two-Sided Markets,” with Juliette Caminade, Federico Mantovanelli, and
David Toniatti, American Bar Association Section of Antitrust Law Economics Committee Newsletter
(Winter 2016)
“3 Questions to Ask When Using Surveys in Litigation,” with Laura O’Laughlin, Law360 (May 15, 2015)
Is It Worth Anything? Using Surveys in Intellectual Property Cases, with Joel Steckel and Rene Befurt,
white paper (2013)
“Tools for Handling Mortgage-Based FCA Claims,” with David Mishol, Law360 (September 26, 2012)
“Digital Media Patents for Profit,” with Dan Rayburn and Almudena Arcelus, Streaming Media
Magazine: Industry Sourcebook 2007

PROFESSIONAL AFFILIATIONS AND AWARDS
Affiliations
ABA (American Bar Association)
 Section of Antitrust Law
 Section of Intellectual Property Law
American Marketing Association (AMA)
Women’s Competition Network (WCN)

Awards
Concurrences
 Antitrust Writing Awards: Business Articles, Economics (2019)
   - For “The Tyranny of Market Shares: Incorporating Survey-Based Evidence into Merger
       Analysis” Corporate Disputes Magazine, July–September 2018
W@Competition
 40 in Their 40s – Notable Women Competition Professionals (2019)
Who’s Who Legal
 Competition: Future Leaders – Economists (2018–2019)
 Consulting Experts: Future Leaders – Competition Economists (2018–2019)
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                          APPENDIX B
                     MATERIALS RELIED UPON
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Legal Documents and Depositions
Civil Investigative Demand, Matter No. 1923119, Federal Trade Commission, May 19, 2020.
Deposition of Catherine Goode, In the Matter of TurboTax, Inc., October 23, 2020.
Deposition of Gregory Johnson, In the Matter of TurboTax, Inc., September 29, 2020.
Deposition of Jack Rubin, In the Matter of TurboTax, Inc., October 30, 2020.


Academic Literature

Diamond, Shari S., “Reference Guide on Survey Research,” in Reference Manual on Scientific Evidence,
   2011, Third Edition, National Academies Press.
Hauser, J., “A Marketing Science Perspective on Recognition-Based Heuristics (and the Fast-and-Frugal
   Paradigm),” Judgment and Decision Making, Vol. 6, No. 5, 2011, pp. 396-408.
Jacoby, J., “Are Closed-Ended Questions Leading Questions?” in Trademark and Deceptive Advertising
    Surveys: Law, Science and Design, eds. Shari S. Diamond and Jerre B. Swann, 2012, American Bar
    Association, pp. 261-284.
Manual for Complex Litigation, Federal Judicial Center, 2004, Fourth Edition.
Olson, D., “Awareness As an Indicator of New Product Performance,” Advances in Consumer Research,
   Vol. 2, 1975, pp. 495-506.
Sawyer, Alan G., “Demand Artifacts in Laboratory Experiments in Consumer Research,” Journal of
   Consumer Research, Vol. 1, No. 4, March 1975, pp. 20-30.

Bates-Stamped Materials

INTUIT_FFA_FTC_C002.01-C002.016, Letter from Reed Freeman to Tejasvi Srimushnam et al., Re:
FTC Matter No: 1923119, July 31, 2019.
INTUIT_FFA_FTC_C013.01-C013.053, Letter from David Gringer to Ian Barlow et al., Re: FTC Matter
No. 1923119, July 31, 2020.
INTUIT-FFA-FTC-000032744.
INTUIT-FFA-FTC-000032766.
INTUIT-FFA-FTC-000169067-9113.
INTUIT-FFA-FTC-000169123.
INTUIT-FFA-FTC-000169124.
INTUIT-FFA-FTC-000259551-9591.
INTUIT-FFA-FTC-000329046-9066.
INTUIT-FFA-FTC-000549993.



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Publicly Available Documents

“Dynata Panel Book,” Dynata, available at http://info.dynata.com/rs/105-ZDT-791/images/Dynata-Panel-
   Book-2020.pdf.
“Independent Assessment of the Free File Program,” The MITRE Corporation, October 3, 2019.
“Memorandum Re: Taxpayer Attitudes Concerning Annual Return Preparation,” Computer &
   Communication’s Industry Association, April 5, 2019, available at https://www.ccianet.org/wp-
   content/uploads/2019/04/PublicOpinionTaxPoll.pdf.
“Products & Pricing,” TurboTax, available at https://turbotax.intuit.com/personal-taxes/online/.
“Tax Time Guide: Try Money-Saving IRS Free File,” IRS, available at
   https://www.irs.gov/newsroom/tax-time-guide-try-money-saving-irs-free-file.
“Taxation Statistics 2001-02,” Australian Taxation Office, July 2004, available at
   https://data.gov.au/data/dataset/67265383-0ecc-4523-8ffd-02790297a65a/resource/0a765a72-d548-
   40e4-97bc-339168abb011/download/2001-02-taxstats.pdf
“Tell us about you -- we’ll recommend the right tax solution,” TurboTax, Wayback Machine, available at
   https://web.archive.org/web/20190325200422/https://turbotax.intuit.com/personal-taxes/online/.
“TurboTax Free Edition,” TurboTax, available at https://turbotax.intuit.com/personal-taxes/online/free-
   edition.jsp.
“TurboTax Free Edition,” TurboTax, Wayback Machine, available at
   https://web.archive.org/web/20190323234438/https://turbotax.intuit.com/personal-taxes/online/free-
   edition.jsp.




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                         APPENDIX C
           DISCLOSURE SURVEY: TECHNICAL APPENDIX
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1. In addressing my assignment, I conducted primary research, reviewed relevant production
    materials provided to me by counsel, and reviewed third-party sources. To determine whether
    and to what extent the current TurboTax upgrade screens1 affect consumers’ tax preparation
    choices, I conducted a survey using an experimental design. The design enables me to isolate
    the effect of different upgrade screens and information contained within, on consumers’
    selection of tax preparation services. My survey examines (1) whether and to what extent
    consumers’ decisions to upgrade to the Paid versions of TurboTax (e.g., Deluxe, Premier, Self-
    Employed) were affected by the existing upgrade screens, and (2) whether and to what extent
    consumers’ purchase decisions could have been differentially influenced by potential changes
    made to these upgrade screens.

2. Using well-accepted principles of survey design and administration, my Disclosure Survey
    finds that exposure to various upgrade screens have, on average, no material effect on
    consumers’ decision to upgrade within the TurboTax environment, nor on consumers’
    selection of the IRS Free File Program. I discuss the survey design, administration, and data
    analysis in turn below.

        A. Survey Design

3. In the sections that follow, I provide an overview of my survey design. I present my
    experimental approach, describe the target population selected and stimuli used, and discuss
    additional methodological and design features implemented in the survey. In designing,
    pretesting, fielding, and analyzing the data of my survey, I applied best practices, both
    generally for marketing research and for research conducted for the purpose of litigation.2



1
    I refer to the screens that prompt respondents to upgrade from Free Edition to a Paid version of TurboTax
    broadly as “upgrade screens.” Civil Investigative Demand, Matter No. 1923119, Federal Trade Commission,
    May 19, 2020 (“FTC Civil Investigative Demand, May 19, 2020”), Interrogatories 12, 14-16 (“Hard stops”), pp.
    6-8, 13. I understand that the FTC defines “hard stops” as “the scenarios in the Free and Paid Commercial Tax
    Product flows described as ‘Specific Upgrades,’ ‘Generic Upgrades,’ and ‘Hard Stops’ in INTUIT-FFA-FTC-
    000169123, list of TY16 Required Upsells and INTUIT-FFA-FTC-000169124, list of TY17 Required Upsells.
2
    I closely adhered to the standards set forth in by Federal Judicial Center, in the “Reference Guide on Survey
    Research” and in the “Manual for Complex Litigation.” Both are critical references for designing and
    conducting valid and reliable studies used in litigation. See, e.g., Diamond, Shari S., “Reference Guide on
    Survey Research,” in Reference Manual on Scientific Evidence, 2011, Third Edition, National Academies Press,
    pp. 359-423 (“Diamond”); see also, Manual for Complex Litigation, Federal Judicial Center, 2004, Fourth
    Edition (“Manual for Complex Litigation”), p. 103.



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          i. Experimental Design

4. A test and control experimental design (or A/B test) is the appropriate way to isolate and
   examine the potential effect, if any, of the current TurboTax upgrade screens and information
   presentation on consumers’ tax software choices. Experimental designs randomly assign
   respondents to one of two (or more) experimental groups, or “conditions,” to determine the
   effect of a particular characteristic, claim, or other feature. The purpose of an experimental
   survey design is to account for any possible alternative explanations for survey respondents’
   answers to questions and reactions to the hypothesized causal characteristic(s). Specifically,
   materials are presented to respondents that vary on the key dimensions in question, and then
   respondents perform a task or respond to questions that allows for the measurement of
   respondents’ reactions to the characteristic(s) of interest. The results of respondent tasks or
   questions are then compared across groups to isolate the effect, if any, of specific changes to
   the stimuli presented to respondents. If analyzed without a comparison to a control or baseline,
   reactions to a stimulus could be affected by factors other than the characteristic(s) of interest.
   Without controlling for these other effects, concluding that respondents’ reactions were caused
   by the characteristic(s) of interest may be incorrect.

5. In this matter, I was asked to study whether and to what extent the information presented to
   prospective TurboTax customers through the software’s upgrade screens affects taxpayer
   selection of various tax preparation solutions. Of particular interest was understanding how
   consumers who begin preparing their taxes using TurboTax’s Free Edition, respond once they
   are informed that they will need to upgrade to a Paid product or use a different product to
   accurately complete their taxes. To study the effect of the upgrade screens on the product
   selection of prospective TurboTax customers, I simulated the process by which consumers
   might learn about Free Edition, namely by viewing an advertisement for TurboTax’s Free
   Edition and viewing TurboTax’s product information pages on its website. I then asked
   respondents to assume that they had chosen to begin preparing their taxes using the Free
   Edition product, before prompting them with an upgrade screen informing them that they




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    would need to upgrade to file their taxes accurately.3 The information contained in this upgrade
    screen varied across the three experimental groups in my study, and I measured the differences
    in respondents’ reactions to these upgrade screens via both closed-ended and open-end
    questions to understand whether and to what extent the information presented affected
    respondents’ selection of various tax preparation solutions.

6. In my survey, respondents were randomly assigned to one of three experience conditions,
    which vary with respect to what information was presented to respondents upon notification
    that they would not qualify for the TurboTax Free Edition: a Current Screen condition that
    features a current TurboTax upgrade screen; an Enhanced Information Screen condition that
    features an upgrade screen with supplemental information regarding the IRS Free File
    Program, including guidance on eligibility requirements for the IRS Free File Program; and a
    Reduced Information Screen condition that provides respondents with very limited information
    as to how to proceed with filing their taxes. The three groups differed by the tax preparation
    options and information presented on the upgrade screen stimulus, which I discuss in more
    detail in Section A.iii below.

            ii. Target Population and Sample

7. One of the most crucial steps during survey design is identifying the population of interest. As
    noted by Dr. Shari Diamond in the “Reference Guide on Survey Research,” “[o]ne of the first
    steps in designing a survey […] is to identify the target population (or universe). The target
    population consists of all elements (i.e. individuals or other units) whose characteristics or
    perceptions the survey is intended to represent.”4

8. Given that my assignment is to determine whether and, if so, the extent to which, consumers’
    choice of tax preparation method is affected by the presence of TurboTax’s current upgrade
    screens and the information contained within, the appropriate target population for my
    Disclosure Survey was U.S. taxpayers who had filed their taxes using an online tax preparation


3
    I understand that TurboTax seeks to assist customers with identifying and starting in the appropriate level
    product for their specific tax situation. See, for example, INTUIT-FFA-FTC-000329046-9066, a presentation on
    A/B Test Learnings. However, for the purposes of my study, I have simplified and assume that all prospective
    TurboTax customers begin preparing their taxes using the Free Edition product.
4
    Diamond, p. 376.



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    software product. Consistent with this definition, I recruited respondents to participate in my
    Disclosure Survey who were U.S. consumers over 18 years old who either (i) had filed taxes
    in 2019 (for 2018 income) or (ii) filed taxes in 2020 (for 2019 income); who used an online
    tax software to file their household taxes in 2019 or 2020; and who were the party primarily
    responsible for or substantially involved in preparing their household taxes. Furthermore, my
    survey screened out respondents with specialized knowledge or expertise, specifically those
    who work, or whose family members work, for an accounting, tax, or a tax preparation service
    provider company, a state or the federal government, or a marketing, market research, or
    advertising agency.

9. I relied on a well-respected survey panel company, Dynata, to ensure the inbound sample to
    the survey was balanced on the U.S. census for age (18 years old and over), gender, and
    geographical region. I obtained a nationwide respondent group of consumers who had filed
    their 2018 or 2019 taxes using online tax software.

           iii. Survey Stimuli

10. As noted above, I sought to study how respondents who begin preparing their taxes using
    TurboTax’s Free Edition product respond to the information contained in an upgrade screen
    based on the current website, relative to either further reduced or enhanced hypothetical
    upgrade screens. I first simulated the process by which consumers might learn about Free
    Edition and what it includes relative to TurboTax’s other Paid products. As first step,
    respondents were required to view the image of an advertisement for TurboTax’s Free Edition
    product. This advertisement reflects an online banner ad that prospective TurboTax customers
    would have viewed online as part of TurboTax’s 2019 tax season campaign and features the
    “FREE guaranteed” language that I understand is part of the FTC’s investigation.5 Next,
    respondents viewed a TurboTax product information screen that included details about
    different TurboTax products and would allow respondents to compare the various TurboTax




5
    INTUIT-FFA-FTC-000259551-9591, presentation on TurboTax advertisements; see also, INTUIT-FFA-FTC-
    000169067-9113, list of TurboTax advertisements.




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     product offerings.6 This information screen and similar information screens were also available
     to prospective TurboTax customers interested in learning more about TurboTax and its various
     product offerings in 2019 and 2020.7 On the next screen, respondents were asked to assume
     they chose “to learn more about TurboTax’s ‘Free Edition’ product to prepare and file your
     federal and, if needed, state tax returns. You click on the ‘Learn more’ button for the Free
     Edition product and are directed to the following webpage.” Respondents were presented on
     this screen with an image of the “TurboTax Free Edition” product page that was available to
     prospective TurboTax customers on the TurboTax website in 2019, and which included further
     details specific to the TurboTax Free Edition product.8 A similar screen was also available to
     prospective TurboTax customers in 2020.9

11. Next, I introduced respondents to the tax filing process. For this exercise, I asked respondents
     to assume that they had chosen to begin preparing their taxes using the Free Edition product.10
     To encourage respondents to bring their own experience and preferences to the exercise, I
     instructed them to “examine the contents in the image as if you were on TurboTax’s website
     deciding about your tax filing options.”11 Respondents were subsequently prompted with an
     upgrade screen informing them that they would “need to upgrade” or “need to file [their] taxes
     using a different TurboTax product […] or use another filing option” in order to file their taxes


6
     I used the Wayback Machine to generate the website interface that respondents would have viewed on March
     25, 2019. “Tell us about you — we’ll recommend the right tax solution,” TurboTax, Wayback Machine,
     available at https://web.archive.org/web/20190325200422/https://turbotax.intuit.com/personal-taxes/online/.
7
     “Tell us about you — we’ll recommend the right tax solution,” TurboTax, available at,
     https://turbotax.intuit.com/personal-taxes/online/
8
     I used the Wayback Machine to generate the Free Edition product page that respondents would have viewed on
     March 23, 2019. “TurboTax Free Edition,” TurboTax, Wayback Machine, available at
     https://web.archive.org/web/20190323234438/https://turbotax.intuit.com/personal-taxes/online/free-edition.jsp.
9
     “TurboTax Free Edition,” TurboTax, available at https://turbotax.intuit.com/personal-taxes/online/free-
     edition.jsp
10
     For the purposes of my study, I did not screen respondents based on their specific tax situation or eligibility for
     TurboTax Free Edition. This simplified simulation was a conservative exercise in that I asked all respondents to
     assume that they had chosen to begin preparing their taxes using the Free Edition product, despite my
     understanding that TurboTax makes efforts to direct customers to the appropriate product level before they
     begin the filing process. Deposition of Gregory Johnson, In the Matter of TurboTax, Inc., September 29, 2020,
     pp. 66-67 (“We try and ensure consumers get into the product for which they intend.”). See also, for example,
     INTUIT-FFA-FTC-000329046-9066, a presentation on A/B Test Learnings.
11
     Appendix D.2, p.28.




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     accurately. As discussed above, the three experimental groups were exposed to different
     upgrade screens that differed in terms of the information provided to respondents regarding
     their tax filing options. Specifically:

         The Reduced Information Screen Group was instructed: “[b]ased on what you told us about
          your tax situation, you’ll need to file your taxes using a different TurboTax product on
          TurboTax.Intuit.com, or use another filing option to accurately file your taxes.”
          Respondents viewed a stimulus that contained no information on their alternative
          solutions.12

         The Current Screen Group was instructed: “[b]ased on what you told us about your tax
          situation, you’ll need to upgrade to accurately file your taxes.” Respondents viewed a table
          that compared product information for three TurboTax products: Free Edition, TurboTax
          Deluxe, and TurboTax Self-Employed.13,14

         The Enhanced Information Screen Group was instructed: “[b]ased on what you told us
          about your tax situation, you’ll need to upgrade to accurately file your taxes. Alternatively,
          you may be eligible to file for free through the IRS Free File Program.” Respondents


12
     I included this group as part of my experimental design to serve as a control for measuring respondents’
     behavior in the absence of the guidance provided in the current TurboTax upgrade screens. As described in
     more detail below, I use this group to test whether the current TurboTax upgrade screens induce customers to
     pay for TurboTax services versus a version of the screen with limited amounts of information.
13
     The Current Screen stimulus is based on a 2019 upgrade screen that was shown to TurboTax Free Edition
     customers who reported 1099-MISC income, but was modified to represent a generic upgrade message. The
     “FUS_Business_Income” upgrade screen was the most frequently shown “Hardstop” (3M customers) in
     TY2017 and the second most frequently shown (3.3M customers) in TY2018. (See,
     INTUIT_FFA_FTC_C013.01-C013.053 at C013.033, Letter from David Gringer to Ian Barlow et al., re: FTC
     Matter No. 1923119, July 31, 2020.) The generic upgrade language I used to modify the screen closely adhered
     to that of other TurboTax upgrade screens (e.g., TurboTax Deluxe generic upgrade screen), which inform the
     user that, “based on what you told us about your tax situation” “you’ll need to upgrade” “to accurately complete
     your taxes.” See, for example, INTUIT-FFA-FTC-000032744 and INTUIT-FFA-FTC-000032766, screenshots
     of TurboTax upgrade screens.
14
     To ensure respondents could understand the upgrade screen within the context of their own tax situation, I
     utilized a generic upgrade screen that did not provide a specific reason why the respondent needed to upgrade
     (e.g., mortgage interest deductions, or investment income). This simplification helps respondents remain in the
     frame of mind of their own particular tax situation, although it may be confusing for some respondents who do
     not understand why they would not qualify for Free Edition (which TurboTax attempts to avoid). See for
     example respondents who indicated in their responses to Q6: “I would wonder why I needed to upgrade and
     would investigate accordingly,” or “I’d probably use the chat feature to ask why I had to stop using that method.
     Perhaps I don’t need to claim and deductions other than the standard deduction and stay with the simple and
     free return version.” See also, Deposition of Catherine Goode, In the Matter of TurboTax, Inc., October 23,
     2020, pp. 194-195: (“Obviously, we feel like the clearer we are, the more likely it is that a customer will
     upgrade, because we want to make sure they understand why it is they are seeing this required upgrade. And
     what we learned before in the past is the clearer we are, the more likely it is that a customer will understand and
     accept it, because we do not want to lose customers at this point.”).




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         viewed a table that compared product information for four products: TurboTax Free
         Edition, TurboTax Deluxe, TurboTax Self-Employed, and IRS Free File Program. The
         upgrade screen also contained information regarding eligibility for the IRS Free File
         Program.
12. Respondents were required to spend at least ten seconds viewing each of the stimuli images.
     The Free Edition advertisement (Q2), TurboTax and Free Edition product pages (Q3 and Q4),
     and upgrade screen (Q5) images could be enlarged. While answering the key product
     consideration and selection questions (Q6-Q9), respondents were able to click on a thumbnails
     of the upgrade screen image, which allowed them to see a large-scale version of the image. For
     detailed programming instructions and stimuli images, see Appendix D.1.

             iv. Additional Survey Design Considerations

13. It is widely acknowledged in the survey field that clarity of the survey questions is critical for
     the reliability of the resulting data. As the “Reference Guide on Survey Research” emphasizes:
     “[w]hen unclear questions are included in a survey, they may threaten the validity of the survey
     by systematically distorting responses if respondents are misled in a particular direction, or by
     inflating random error if respondents guess because they do not understand the question.”15
     Throughout my survey, I minimize the possibility of noise and bias affecting the survey results
     by presenting clear questions and answer choices and rotating answer options.

14. For example, all closed-ended questions in the survey are presented as a clear and concise set
     of choices, in which response options were rotated across respondents.16 For example, the
     answer choices for Q7 were rotated with the TurboTax options kept together randomized in
     order and in reverse. I also avoided forced guessing by offering a “Don’t know / Unsure” or




15
     Diamond, p. 388.
16
     According to the “Reference Guide on Survey Research,” “[t]he order in which questions are asked on a survey
     and the order in which response alternatives are provided in a closed-ended question can influence the
     answers.” Diamond, p. 395. In order to avoid such potential order effects, the “Reference Guide on Survey
     Research” recommends that “the order of the questions and the order of the response choices in a survey should
     be rotated.” Diamond, p. 396.




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     “Don’t recall / Unsure” option as relevant throughout the survey.17 The “Don’t know / Unsure”
     and “Don’t recall / Unsure” answer choices were anchored to always appear last.

15. I took additional steps to minimize demand artifacts. Demand artifacts occur when
     experimental conditions suggest to respondents that they should provide a particular response
     that is “demanded” by the survey.18 To avoid demand artifacts, I conducted a pretest of the
     study and implemented a “blind-to-the-purpose” methodology.

16. Pretests: According to the American Association for Public Opinion Research, Best Practices
     (2011), “[b]ecause it is rarely possible to foresee all the potential misunderstandings or biasing
     effects of different questions or procedures, it is vital for a well-designed survey operation to
     include provision for a pretest.”19 A pretest is conducted to confirm that all questions in a
     survey are clearly understood by respondents, the survey is navigable, and respondents cannot
     guess the purpose of the survey.20 Before the Disclosure Survey was fielded, I conducted
     fifteen pretests (five for each condition) under my direction, with respondents selected from
     the chosen target population (i.e., U.S. taxpayers who had filed their taxes in 2019 or 2020
     using an online tax preparation software product and who were primarily responsible or
     substantially involved in filing their own/household taxes). After the respondents completed
     the online survey, the pretest moderator asked a series of follow-up questions aimed to
     determine whether the questions and answer options were understood by all respondents and
     whether respondents could guess the purpose of the survey. The questions used in my pretest
     were in accordance with best research practices to explore respondent understanding of the



17
     “[T]he survey can use a quasi-filter question to reduce guessing by providing ‘don’t know’ or ‘no opinion’
     options as part of the question ….By signaling to the respondent that it is appropriate not to have an opinion, the
     question reduces the demand for an answer and, as a result, the inclination to hazard a guess just to comply.”
     Diamond, p. 390.
18
     For a discussion of demand artifacts, see Sawyer, Alan G., “Demand Artifacts in Laboratory Experiments in
     Consumer Research,” Journal of Consumer Research, Vol. 1, No. 4, March 1975, pp. 20-30.
19
     Diamond, p. 389, footnote 131.
20
     The “Reference Guide on Survey Research” recommends pretests be conducted on a sample of people who
     would be eligible to take the actual survey. Furthermore, the “Reference Guide on Survey Research”
     recommends that “interviewers observe the respondents for any difficulties they may have with the questions
     and probe for the source of any such difficulties so that the questions can be rephrased if confusion or other
     difficulties arise.” Diamond, pp. 388-389.




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     measure of interest (see Appendix E). Based on pretest results, I made two minor changes to
     the wording of questions in the survey and then pretested again with three additional
     respondents.21 The pretest did not indicate the need for any further changes prior to conducting
     the survey.22 No respondents were able to guess the purpose of the survey based on the survey
     questionnaire.

17. Blind-to-purpose methodology: Respondents and pretest moderators were not provided with
     information on the sponsor or purpose of the survey during, or after the completion of their
     participation, and my pretest assured the effectiveness of this double-blind approach.23 Without
     survey purpose and/or sponsorship information, respondents and moderators were not able to
     adapt their behavior or responses to what they perceived the sponsors of the survey wanted.
     The survey was conducted online by a computer program in order to avoid the potential for
     interview bias, i.e., where an in-person interviewer provides cues to the respondents as to
     preferred answers. In addition, an online survey approximates taxpayers’ real journey as they
     navigate through online tax software to file their taxes. As noted, my pretests confirmed that
     respondents could not guess the purpose or sponsor of the survey.

18. Further, respondents who qualified to participate in the Disclosure Survey were introduced to
     the main questionnaire as a generic study of online tax software providers, “Thank you! In this
     survey, we would like to learn about your experience with online tax software providers. In
     the following questions, we will ask you about one online tax software provider and will try to
     learn from your experiences or expectations” (Q1). Respondents were then told that they had
     “been selected to answer questions about preparing and filing tax returns with TurboTax” (Q2).
     The purpose of this statement was to encourage respondents to believe that TurboTax was




21
     I clarified in S7 that taxes filed in 2019 would be for 2018 income by asking “Did you file taxes in 2019 (for
     2018 income)?” Similarly, in S8, I clarified that taxes filed in 2020 would be for 2019 income by asking “Did
     you file taxes in 2020 (for 2019 income)?” I also modified the follow up question F2 to reflect media reports as
     well as any investigations or lawsuits by asking “Are you or are you not aware of any media reports,
     investigations, or lawsuits involving an online tax filing software provider or accounting company?”
22
     Respondents reported that they were able to clearly view the stimulus, understood the questions and answer
     options, and did not feel that the survey wanted them to respond in a particular way.
23
     Diamond, pp. 410-411.




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     simply one of the online tax software providers being studied as another safeguard against
     demand artifacts.

         B. Survey Administration

19. The Disclosure Survey was administered online, using Dynata’s online panel.24 The survey
     administration consisted of a screener, a main questionnaire, and end-of-survey follow-up
     questions. The Disclosure Survey was in the field from July 29, 2020 to August 3, 2020.

              i. Screener

20. Invitation and device check: Potential respondents were invited to participate through two
     standard channels used by Dynata to recruit survey respondents: (1) their Dynata accounts,25
     and (2) external websites (affiliate partners with databases of users).26 Panel members were
     provided customary Dynata incentives for completing a survey.27 This multi-pronged approach
     to recruiting is used by panel companies to optimize response rates. Additionally, if
     respondents were not taking the survey on a desktop, laptop, or tablet, they were asked to close
     the window and re-open the link on one of those devices to participate in the survey to ensure
     that respondents could view the stimuli properly. Finally, I asked Dynata to ensure the inbound
     sample was representative of the adult population in the U.S. based on census information
     linked to age, gender, and regional distribution (see Appendix D.1).




24
     Dynata’s online panel provides access to over 60 million qualified market research participants in over 90
     countries including the U.S. Dynata ensures that their panelists are properly incentivized, draws samples from a
     variety of sources, and monitors data quality through various checks to ensure high quality data to Dynata’s
     clients. See “Panel Book,” Dynata, available at http://info.dynata.com/rs/105-ZDT-791/images/Dynata-Panel-
     Book-2020.pdf (“Dynata Panel Book”).
25
     Members of Dynata’s panel (individuals who previously agreed to participate in surveys) receive an invitation
     with a link to “START SURVEY” (see Appendix F). If respondents click the link, they are directed to a survey
     for which they qualify. Respondents also have access to a dashboard where they can see the different surveys
     for which they qualify. Respondents are shown the survey length and the incentive for completing the survey
     and then decides whether to proceed with the survey.
26
     Dynata also recruited respondents through partner websites, using Dynata survey links or banners (see
     Appendix F for an example). If users of such a partner website click on the survey link or banner, they are
     directed to a verification page specific to each partner website before beginning a survey. Also see, Dynata
     Panel Book.
27
     Per Dynata’s standard practice, panelists received a certain number of points towards their account upon
     completing the survey. See, Dynata Panel Book.



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21. Representative sample (S2-S6): The survey started with a screening section to arrive to a
     sample representative of the target population. Respondents were asked to provide their age
     (S2), indicate their gender (S3), and select the state in which they currently reside (S4).
     Respondents were only able to continue to the next questions if their responses aligned with
     the defined target population and the information on record with the panel provider. Next,
     respondents were terminated if they or a family member were employed by an accounting, tax,
     or a tax preparation service provider company, state or the federal government, or a marketing,
     market research, or advertising agency (S5). Respondents were also terminated if in the past
     thirty days they had engaged with another survey on accounting or tax services topics (S6).

22. Recent filing of taxes (S7-S8): Respondents were then screened whether they had filed taxes
     in 2019 (for 2018 income) (S7) and allowed to proceed if they selected “Yes” and therefore
     indicated they had filed taxes in 2019. Respondents who did not select “Yes” in S7 were then
     screened for whether they had filed taxes in 2020 (for 2019 income) (S8) and once again
     allowed to proceed if they selected “Yes.” Respondents who did not indicate that they had
     either filed taxes in 2019 (for 2018 income) or in 2020 (for 2019 income) were terminated.28

23. Tax preparation method (S9): Respondents who indicated that they had either filed taxes in
     2019 (for 2018 income) or in 2020 (for 2019 income) were then screened for tax preparation
     method. Respondents were asked about the tax preparation method used for preparing their
     2019 or 2020 taxes and allowed to proceed if they indicated they had used an online tax
     software to file their household taxes. Respondents who responded they worked with a “third
     party provider,” or “self-prepared,” or used “other” methods, or selected “Don’t recall /
     Unsure” were terminated.

24. Tax preparation role (S10): Respondents who indicated that they had either filed taxes in 2019
     (for 2018 income) or in 2020 (for 2019 income) and used an online tax software to file their
     household taxes, were then screened for their role in preparing and filing taxes. In particular,
     respondents were asked about their role in filing their 2019 or 2020 taxes and allowed to
     proceed if they indicated they were “the party primarily responsible for preparing [their]


28
     In my sample of qualifying respondents, 97.3 percent of respondents indicated they had filed taxes in 2019 (for
     2018 income), and 2.7 percent of respondents indicated that they had filed taxes only in 2020 (for 2019
     income).



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   household taxes,” or “substantially involved in preparing [their] household taxes.”
   Respondents who indicated they had “little involvement in preparing [their] household taxes”
   or selected “Don’t recall / Unsure” were terminated.

25. Tax preparation product (S11): Respondents who indicated that they had either filed taxes in
   2019 (for 2018 income) or in 2020 (for 2019 income), and used an online tax software to file
   their household taxes, and who were primarily responsible or substantially involved in filing
   their own/household taxes were then asked to specify the online tax software providers they
   had used in the past five years. The options included “TurboTax,” “TaxAct,” “TaxSlayer,”
   “H&R Block,” “FreeTaxUSA,” “Other,” and “Don’t recall/Unsure.” Respondents were
   allowed to select all options that applied, and no respondents were terminated based on their
   response to S11.

26. Attention check (S12): The final question in the screener section acted as an attention check to
   make sure respondents were reading questions and answers carefully. Respondents were asked
   to select a specific answer (“Fourth”) from a list of words presented to them (S12). The order
   of these answers was randomized for each respondent. Respondents who did not provide the
   appropriate answer were terminated. A summary of respondents excluded from the survey is
   shown in Exhibit 1.

           ii. Main Questionnaire

27. Introduction to main survey (Q1-Q4): To minimize demand artifacts, respondents who
   qualified for the Disclosure Survey were instructed that “[i]n this survey, we would like to
   learn about your experience with online tax software providers. In the following questions, we
   will ask you about one online tax software provider and will try to learn from your experiences
   or expectations” (Q1). Respondents were then told that they had “been selected to answer
   questions about preparing and filing tax returns with TurboTax” (Q2). The purpose of this
   statement was to encourage respondents to believe that TurboTax was simply one of the online
   tax software providers being studied, as another safeguard against demand artifacts. On the
   same screen, respondents were presented with an image of TurboTax advertisement and
   instructed:

       Please imagine that you are preparing to file your income taxes for last year’s income and
       view the following advertisement for TurboTax’s online tax software.


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   On the next screen (Q3), respondents were shown an image of a TurboTax product information
   screen from the TurboTax website and were told:

       Please imagine that you visit TurboTax’s website and are presented with the following
       product information screen.
   Next, respondents were presented with an image of the TurboTax Free Edition product page
   (Q4) and were told:

       Please assume you choose to learn more about TurboTax’s “Free Edition” product to
       prepare and file your federal and, if needed, state tax returns. You click on the “Learn
       more” button for the Free Edition product and are directed to the following webpage.
28. Random assignment to experimental groups and stimuli: After having viewed the three stimuli
   images (Q1-Q4) to simulate learning about TurboTax’s product offerings and in particular,
   Free Edition, respondents were randomly assigned to one of the three experimental groups. As
   a simplification of the typical product selection process, respondents were asked to imagine
   that they “choose to use TurboTax’s ‘Free Edition’ product to begin preparing your tax returns.
   Upon creating or logging into your TurboTax account and responding to a series of questions
   on successive windows about your personal information, tax situation, and income, you are
   prompted with a screen with some information,” (Q5).

29. Product consideration and selection (Q6-Q9): After viewing the appropriate upgrade screen
   for their experimental group, respondents were asked a series of open- and closed-end
   questions to understand their reactions to the information contained in the upgrade screen.
   More specifically, respondents were asked:

       [a]gain, imagine that you choose to use TurboTax’s “Free Edition” product to begin
       preparing your tax returns. Upon creating or logging into your TurboTax account and
       responding to a series of questions on successive windows about your personal
       information, tax situation, and income, you are prompted with some information in the
       screen above. In your own words, what would you do next upon seeing this screen?
   Respondents were provided appropriate space to type in their open-ended responses for this
   question (Q6). Respondents were then asked “[y]ou may have already indicated this, but which
   of the following options would you consider using to file your taxes upon seeing this prompt?”
   and provided multiple answer choices and the “Don’t know/ Unsure” option (Q7). In the set




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     of answer choices, I included TurboTax products (i.e., Free Edition29 and all three Paid
     products), the IRS Free File Program, other online tax software offerings, and offline
     alternatives. I allowed respondents to indicate that they would consider more than one tax
     preparation product. If respondents chose any option other than “Don’t know/Unsure” in Q7,
     they were asked a follow-up question: “[o]f the option(s) you mentioned you would consider
     in the previous question, which of the following options would you most likely select upon
     seeing this prompt?” (Q8). Respondents were presented with the set of products they had
     indicated in Q7 they would consider using to file their taxes, as well as a “Don’t know /
     Unsure” option. Finally, respondents were asked about the “reasoning behind [their] decision”
     (Q9) and provided appropriate space to type in their open-ended responses.

              iii. End-of-Survey Follow-Up Questions

30. Online tax software payment (F1): After the stimuli-related questions, all respondents were
     asked if they had paid for online tax software in the year they had confirmed tax software use
     (2019 if they had answered “YES” to S7, and “2020” if they had answered “YES” to S8).
     Respondents were provided the possible answer options: “Yes, I paid for online tax software
     to file my taxes,” “No, I did not pay for online tax software to file my taxes,” and “Don’t recall
     / Unsure.”

31. Lawsuit awareness (F2): Finally, at the end of the survey, all respondents were asked: “Are
     you or are you not aware of any media reports, investigations, or lawsuits involving an online
     tax filing software provider or accounting company? (Select only one option)” and provided
     with three possible answer options: “I am aware of at least one media report, investigation, or
     lawsuit,” “I am not aware of any media reports, investigations, or lawsuits,” and “Don’t know
     / Unsure.”


29
     Because my Disclosure Survey was designed as a simplified exercise, I did not screen on respondents’
     particular tax situation, and as a result, it is likely that some portion of respondents are in fact eligible to use
     Free Edition. For this reason, I included Free Edition as a possible answer choice to Q7 and Q8. In my
     Disclosure Survey, respondents’ consideration and selection of Free Edition under the Current Screen Group
     (35 percent and 26 percent, respectively) is generally less than the share of TurboTax customers that start in
     Free Edition and are able to file using Free Edition in the actual world. As acknowledged by Mr. Jack Rubin,
     approximately 70 percent of customers who start in Free Edition, end up finishing in Free Edition. See,
     INTUIT_FFA_FTC_C013.01-C013.053 at C013.040-041, Letter from David Gringer to Ian Barlow et al., re:
     FTC Matter No. 1923119, July 31, 2020. Deposition of Jack Rubin, In the Matter of TurboTax, Inc., October
     30, 2020, p. 209. Also see Exhibits 2.A and 3.A.



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32. The full questionnaire, including the images of the stimuli included in the survey, is presented
     in Appendix D.1, and screenshots of the survey as experienced by respondents are presented
     in Appendix D.2.

         C. Data Analysis

33. By comparing the set of tax preparation products that respondents’ indicated they would most
     likely select across the Current Screen, Enhanced Information Screen, and Reduced
     Information Screen Groups, it is possible to isolate the effect, if any, that the current upgrade
     screens and any proposed modifications to the upgrade screens had on respondents. My
     analyses as presented in the sub-sections below demonstrate that the current TurboTax upgrade
     screens do not have a statistically significant effect on consumers’ selection of a Paid TurboTax
     product or the IRS Free File Program. Specifically, when I compare the rate at which taxpayers
     select a TurboTax Paid product or at which they select the IRS Free File Program, there is no
     statistically significant difference across the study groups that I tested. I also conducted
     sensitivity analyses amongst sub-populations of respondents based on whether they paid to file
     their taxes in a prior year; their reported awareness of media reports, investigations, or lawsuits
     (i.e., litigation awareness); and their pace of responding (i.e., excluded respondents who
     completed the survey significantly slower or faster than the majority of respondents). The
     results of these sensitivity analyses further affirm my conclusions. More details on my analysis
     are described in the sections below.

             i. Response Statistics

34. A total of 751 respondents completed the Disclosure Survey, with 250 respondents randomly
     assigned to each of the three experimental groups.30 A complete description of the survey
     respondents is provided in Exhibit 1.

             ii. Analysis of Responses

35. To understand the effect, if any, of the current upgrade screens relative to the provision of
     either more or less information in a modified upgrade screen on respondents’ stated product


30
     The Enhanced Information Screen Group included 251 respondents that completed the study. The Reduced
     Information Screen Group and Current Screen Group each had 250 completes.



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     selections, I analyzed both closed-ended (Q7 and Q8) and open-ended (Q6 and Q9) responses
     from respondents by experimental group. I have organized my analysis below topically.

36. The Current Upgrade Screens Do Not Induce Upgrades to Paid Products: I understand that the
     FTC has expressed concerns that Intuit’s current upgrade screens mislead consumers in a
     manner that induces customers to upgrade to Paid versions of TurboTax.31 My data do not
     support this concern and suggest that it is unwarranted. First, the results of my survey indicate
     that the upgrade screen that has been used by Intuit does not induce upgrading to Paid versions
     of TurboTax. Second, and as I discuss further below, the results of my Disclosure Survey
     indicate that consumers understand the circumstances of their tax-filing needs and/or educate
     themselves about the right tax solutions and that many are already aware of the array of
     competitive options for preparing taxes.

37. I evaluated the question of whether the current TurboTax upgrade screens could have induced
     customers to pay for TurboTax services by comparing respondents’ selection of a Paid version
     of TurboTax (i.e., Deluxe, Premier, or Self-Employed products) as a result of being shown the
     Current Screen rather than the limited amount of information in the Reduced Information
     Screen.32 In this comparison, the Reduced Information Screen Group acts as a control. It
     measures whether customers are more likely to select an upgrade to a Paid version of TurboTax
     when provided with the information found in the actual world relative to when provided with
     less information. I find that there is no statistically significant difference between respondents’
     selection of Paid TurboTax products between the Current Screen or Reduced Information
     Screen conditions.33 Specifically, 40 percent of respondents in the Reduced Information Screen


31
     INTUIT_FFA_FTC_C013.01-C013.053 at C013.028, Letter from David Gringer to Ian Barlow et al., Re: FTC
     Matter No: 1923119, July 31, 2020.
32
     Each respondent is asked to first identify the services they will consider and then from those which tax filing
     solution they are most likely to select. Given that some respondents indicated uncertainty in their consideration
     set, to understand the distribution of actual tax filing solution selection, I included the 34 respondents who
     indicated at Q7 that they were not sure which product(s) they would consider and therefore were not asked Q8
     in my tabulations in my presentation of my primary analysis in Exhibits 2.A and 2.B. For completeness, I have
     also tabulated Q7 (respondents’ consideration) and Q8 (respondents’ selection) separately in Exhibits 3.A-B
     and 4.A-B, respectively.
33
     My primary results are based on respondents’ selection choices. However, for completeness I also evaluated
     respondents’ consideration of Paid versions of TurboTax across study groups and I similarly find that the
     difference between the Current Screen Group and Reduced Information Screen Group is not statistically




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   Group indicated that they would be most likely to select a Paid product when presented with
   the Reduced Information Screen stimuli. By comparison, 44 percent of respondents in the
   Current Screen Group indicated that they would most likely to select a Paid product. This
   difference is small and not statistically significant between the two experimental groups (see
   Exhibit 2.A).

38. An Enhanced Upgrade Screen Would Not Result in Additional Usage of IRS Free File
   Program: I also understand that the FTC has expressed concerns that Intuit’s current upgrade
   screens have the potential to mislead consumers in a manner that reduces prospective taxpayer
   usage of the IRS Free File Program, including amongst those customers who may be eligible
   for the Program, and also that the FTC is evaluating whether increased disclosure of the IRS
   Free File Program as part of Intuit’s presentation of upgrade options in its interview process to
   customers who would otherwise pay to file their taxes on TurboTax would result in increased
   use of the Program. Again, the results of my survey indicate that consumers educate themselves
   about the right tax solutions and that many are aware of the array of competitive options for
   tax filing. Further, I confirmed that regardless of whether respondents are specifically educated
   about the IRS Free File Program during the TurboTax upgrade process, their selection of the
   IRS Free File Program is largely unaffected.

39. I evaluated the question of potential impact of the upgrade screen on IRS Free File Program
   usage by comparing respondents’ selection of the IRS Free File Program as a result of being
   shown an Enhanced Information Screen with supplemental information regarding the IRS Free
   File Program, relative to the Current Screen. I used the Enhanced Information Screen to
   measure how customers are likely to respond if provided with supplemental information
   regarding the IRS Free File Program offerings, relative to the Current Screen, which did not



   significant. I find that 46 percent of respondents in the Reduced Information Screen Group indicated that they
   would consider a Paid product when presented with the Reduced Information Screen stimuli. By comparison,
   53 percent of respondents in the Current Screen Group indicated that they would consider a Paid product. This
   difference is small and not statistically significant between the two experimental groups. See Exhibit 3.A.
   If I consider the rate of selection conditional on considering an upgrade to a Paid product, 87 percent (100 out
   of 115) of respondents in the Reduced Information Screen Group who indicated that they would consider a Paid
   product ultimately indicated they would most likely select a Paid product. For the Current Screen Group, this
   rate of selecting a Paid product was 83 percent (109 out of 132 respondents). See Exhibits 3.A and 4.A.




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     include any supplemental information regarding the IRS Free File Program. I find that the
     difference between the two groups is not material and lacks statistical significance. Ten percent
     of respondents in the Enhanced Information Screen Group indicated that they would be most
     likely to select the IRS Free File Program. Similarly, 7 percent of respondents in the Current
     Screen Group indicated that they would be most likely to select the IRS Free File Program.34
     This difference is small and not statistically significant between the two experimental groups,
     suggesting that the supplemental information does not materially increase selection of the IRS
     Free File Program (see Exhibit 2.A).35

40. I understand that the FTC is likely most concerned as to whether taxpayers who have
     previously paid to prepare their taxes using online tax software might have been misled or
     deceived into doing so by Intuit’s current upgrade screens. To test this hypothesis, I also
     analyzed as a sensitivity the subset of respondents who, in response to F1, indicated having
     “pa[id] for online tax software to file [their] taxes” in 2019 or 2020. Notably, I again found no
     statistically significant difference in the selection of the IRS Free File Program across the




34
     I also compared the overall distribution of respondents’ selections between the Current Screen Group and the
     Enhanced Information Screen Group using a classic chi-squared test and found no statistically significant
     differences.
35
     Again, for completeness I also evaluated respondents’ consideration of the IRS Free File versions of TurboTax
     and find a small but statistically significant difference between the Current Screen Group and the Enhanced
     Information Screen Group. I find that 22 percent of respondents in the Enhanced Information Screen Group
     indicated that they would consider the IRS Free File Program when presented with the Enhanced Information
     Screen stimuli. By comparison, 13 percent of respondents in the Current Screen Group indicated that they
     would consider the IRS Free File Program. See Exhibit 3.A. This is consistent with my expectation that in an
     aided recall setting, when respondents are provided with cues to facilitate their memory of particular responses
     (i.e., the IRS Free File Program) that are of relevance to the purpose of the study, a slightly higher proportions
     of people are expected to choose that option. See, e.g., Hauser, J., “A Marketing Science Perspective on
     Recognition-Based Heuristics (and the Fast-and-Frugal Paradigm),” Judgment and Decision Making, Vol. 6,
     No. 5, 2011, pp. 396-408; Olson, D., “Awareness As an Indicator of New Product Performance,” Advances in
     Consumer Research, Vol. 2, 1975, pp. 495-506.
     If I consider the rate of selection conditional on considering the IRS Free File Program, 45 percent (25 out of
     55) of respondents in the Enhanced Information Screen Group who indicated that they would consider the IRS
     Free File Program ultimately indicated they would most likely select the IRS Free File Program. For the Current
     Screen Group, this rate of selecting the IRS Free File Program was 55 percent (18 out of 33 respondents). See
     Exhibits 3.A and 4.A.




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     Enhanced Information Screen and the Current Screen Groups for this subset of my sample (see
     Exhibit 7.A).36

41. Moreover, even among respondents who were provided with supplemental information
     regarding the IRS Free File Program in the Enhanced Information Screen Group, overall
     interest and adoption of the IRS Free File Program remains low. As presented, in my full
     sample of respondents, only 10 percent of respondents in Enhanced Information Screen Group
     indicated that they would be most likely to select the IRS Free File Program (see Exhibit 2.A).
     Given estimates that more than 70 percent of U.S. taxpayers are eligible to use the IRS Free
     File Program and my in-bound qualification procedures reflect the overall U.S. census, a
     selection rate of 10 percent is notably low.37

42. This low rate of adoption in my study is consistent with other publicly-available survey data
     suggesting that consumers are uninterested in using government-sponsored tax preparation
     products, and those consumers who are aware of the IRS Free File Program do not find it an
     appealing option, even without necessarily knowing that the Program lacks a substantial
     number of features and services available for free on TurboTax’s commercial website.38
     Indeed, respondents in the Enhanced Information Screen Group indicated that they would be
     more likely to select: TurboTax Deluxe (33 percent), TurboTax Free Edition (24 percent),
     TurboTax Premier (11 percent), and Other Online Filing Options (10 percent) than IRS Free



36
     Specifically, 5 percent of respondents presented with the Enhanced Information Screen indicated that they
     would be most likely to select the IRS Free File Program. Three percent of respondents in the Current Screen
     Group indicated that they would be most likely to select the IRS Free File Program (see Exhibit 7.A).
37
     See, “Tax Time Guide: Try Money-Saving IRS Free File,” IRS, March 1, 2018, available at
     https://www.irs.gov/newsroom/tax-time-guide-try-money-saving-irs-free-file (“More than 70 percent of all
     taxpayers – over 107 million people – are eligible for the software products.”). The inbound sample of
     respondents to my study was representative of the adult population in the U.S. based on census information
     linked to age, gender, and regional distribution.
38
     See, “Memorandum Re: Taxpayer Attitudes Concerning Annual Return Preparation,” Computer &
     Communication’s Industry Association, April 5, 2019, available at https://www.ccianet.org/wp-
     content/uploads/2019/04/PublicOpinionTaxPoll.pdf; INTUIT-FFA-FTC-000549993 at 9993, a recent tax
     survey by Guggenheim Securities; “Independent Assessment of the Free File Program,” The MITRE
     Corporation, October 3, 2019, (“MITRE Report”), p. xi.
     One respondent in my survey echoed this sentiment, stating that they would select an upgrade because “I
     believe it best suits my needs. I would rather pay to have my taxes done easily rather than try a different
     product or use the IRS program which may cause errors.”




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     File Program (10 percent), even after providing respondents with this supplemental
     information (see Exhibit 2.B). Moreover, I understand that approximately ten times more
     taxpayers use TurboTax’s Free Edition to file their taxes completely for free each year than
     use the software it donates to the IRS Free File Program.39 These data and my findings are also
     consistent with research conducted in other countries. For example, statistics published by the
     Australian Taxation Office reveal that the majority of taxpayers choose to pay to have their
     taxes prepared for a fee rather than prepare them for free with the Australian Taxation Office’s
     TaxPack booklet.40

43. Many Respondents Demonstrate a Willingness to Consider Alternatives and To Identify and
     Use the “Right” Product for Their Specific Situation: I understand that the FTC is investigating
     whether Intuit’s upgrade screens resulted in customers being “tricked” or “misled” into paying
     for unintended upgrades. Far from this being the case, my analyses of both the closed-ended
     and open-ended questions in the Disclosure Survey demonstrate respondents’ awareness of
     and willingness to consider other alternatives and to identify and use the “right” product for
     their specific situation, whether that was TurboTax or an alternative provider. The data also
     indicated that consumers also understand the circumstances of their tax-filing needs and/or
     educate themselves about the right tax solution for their needs.

44. As an initial point, meaningful shares of respondents indicated in Q8 that, after viewing the
     upgrade screen, they would most likely select alternative tax preparation solutions, including
     another online tax preparation software provider, a self-filed paper filing, or an accountant
     supported paper filing (see Exhibit 2.B).41 Moreover, I find no statistically significant



39
     Approximately 12.6 million customers filed their federal return for free using Free Edition in TY 2018. In the
     same tax year, approximately 1.2 million customers filed their federal return using the TurboTax Free File
     product. See, INTUIT_FFA_FTC_C002.01-C002.016 at C002.09-010, Letter from Reed Freeman to Tejasvi
     Srimushnam et al., re: FTC Matter No: 1923119, July 31, 2019.
40
     In the 2001-2002 tax year, approximately 75 percent of personal tax returns in Australia were submitted by tax
     agents on behalf of individual clients. See, “Taxation Statistics 2001-02,” Australian Taxation Office, available
     at https://data.gov.au/data/dataset/67265383-0ecc-4523-8ffd-02790297a65a/resource/0a765a72-d548-40e4-
     97bc-339168abb011/download/2001-02-taxstats.pdf, pp. 3, 10.
41
     Across the three experimental groups, 17 percent of respondents (124 respondents) in the Disclosure Survey
     indicated that they would most likely select another online tax preparation software provider, a self-filed paper
     filing, or an accountant supported paper filing. See Exhibit 2.B.




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     differences in respondents’ selections of these alternative solutions between the Current Screen
     and Enhanced Information Screen Groups, indicating respondents are clearly willing to select
     alternatives to Intuit’s products if relevant or preferred, regardless of the information contained
     in the upgrade screens.42,43 Indeed, Intuit’s data maintained in the normal course of business
     and shared with the FTC also makes clear that millions of consumers each year decide to
     prepare their taxes a different way after reaching an upgrade screen.44

45. Perhaps more importantly, respondents’ open-ended answers to Q6 demonstrate that
     prospective TurboTax customers are well-informed, pursue information from other sources,
     and have direct experience with other tax preparation service providers. Except in very few
     instances (as discussed below), they did not express a view that they were “locked in” to
     TurboTax.

46. Two independent coders who were unaware of the purpose of the research (throughout referred
     to as “coders”) working under my direction reviewed and analyzed the open-ended answers to




42
     See, Exhibit 2.B. I find statistically significant differences in respondents’ selection of “Other Online Filing
     Options (e.g., H&R Block, TaxAct, TaxSlayer),” between the Reduced Information Screen Group and the
     Current Screen Group. This finding is consistent with my expectation that when provided with limited
     information regarding next steps, respondents in the Reduced Information Screen Group are more likely to seek
     out alternative solutions. This is also consistent with TurboTax’s experience that if customers have a positive
     experience, they will be more likely to complete their returns and to return or recommend TurboTax in
     following years. See, Deposition of Catherine Goode, In the Matter of TurboTax, Inc., October 23, 2020, pp.
     194-195 (“And what we learned before in the past is the clearer we are, the more likely it is that a customer will
     understand and accept it, because we do not want to lose customers at this point.”); and Deposition of Jack
     Rubin, In the Matter of TurboTax, Inc., October 30, 2020, pp. 208-209 (“Because we want them to be satisfied
     with their experience and come back year after year and tell their friends. […] And of the folks who actually
     pay for one of TurboTax's products, they're repeat rate is actually higher than those who don't. And so you can
     actually see in market that, you know, we want people to be satisfied, and we want them to come back year after
     year. We went them to tell their friends about what a great experience it is, and that's we're doing.”).
43
     Notably, 17 percent of respondents indicated that they had used two or more online tax preparation software
     providers in the past five years. 21 percent of respondents who indicated they had used TurboTax in the past
     five years had also used an alternative tax preparation software provider during that period.
44
     I understand that Intuit has provided the FTC with data illustrating “that consumers using Intuit’s Free Edition
     were aware of various other tax preparation options available to them, including on the TurboTax website,
     through the IRS Free File program, and other providers.” Data produced in response to Interrogatory 14(c)-14(f)
     includes the number of customers, by upgrade screen, who started in Free Edition and ultimately filed with a
     Paid Commercial product, a Free Commercial product, TurboTax’s Free File Program, or in some other way
     (i.e., “did not file” with TurboTax). See, INTUIT_FFA_FTC_C013.01-C013.053 at C013.035-C013.037, Letter
     from David Gringer to Ian Barlow et al., Re: FTC Matter No. 1923119, July 31, 2020.




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     Q6, categorizing respondents’ answers into groups with other similarly-indicated answers.45
     Across the three experimental groups, 15 percent of respondents stated, upon viewing the
     upgrade screen, that they would not upgrade and instead would seek out an alternative solution
     (see Exhibit 5).46 For example, respondents indicated that, after viewing the upgrade screen:

                 “I would close out of the TurboTax window and file my taxes with H&R Block
                  instead.”

                 “As I'm no longer able to file with the free edition, I would search the internet and
                  compare the Turbo Tax pay for edition with other tax platforms with comparable
                  features.”

                 “Probably leave, knowing my situation (I would never qualify for free!). If I really
                  though free filing a possibility I would go back to see what caused it (capital gains?
                  too much income? What?). I would next put Turbotax aside and look at the other
                  free providers - not everyone has the same thresholds and exclusions.”

                 “Look into other options where I wouldn’t have to pay $60. Maybe H&R Block.
                  I’d ask friends how they filed.”

47. Relatedly, approximately 17 percent of respondents indicated in their answers to Q6 that they
     would need to conduct additional research or otherwise evaluate which product would best fit
     their needs (see Exhibit 5). For example:

                 “I will need to check online with TurboTax to find another product to use to file
                  my taxes. I assume the free version will not work properly with my information. I
                  could also change my fiming [sic] option to see if I can continue to use the free
                  version.”

                 “I would then go to reviews of each of the paid for services. This would help me
                  decide if I want to upgrade.”

                 “Decide how complicated my taxes are to see if I need to pay for additional
                  services.”

                 “I would ask chat why they have made that upgrade recommendation. 'what is more
                  complicated that Turbo free can't handle it?”


45
     Under my instruction, a team of two coders reviewed the open-ended responses to Q6 and Q9 (for specific
     subsets of respondents). Appendix G contains the full set of instructions provided to the coders.
46
     Alternative products specified by respondents include H&R Block, Credit Karma, TaxAct, TaxSlayer, FreeTax
     USA, IRS Free File Program, and other generic alternatives.



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                 “I would move on to next screen and find out what I need to do differently and how
                  much it would cost. I would then probably go to another website to see what they
                  say about the same information provided and compare price.”

                 “I would double check to see if I really need an upgrade to finish my taxes and then
                  if I really did I would choose the correct product. If not I would continue on with
                  the free product.”

                 “I would wonder why I needed to upgrade and would investigate accordingly.”

                 “I would then go to google and type in Turbo Tax Intuit and read some reviews
                  from other people who have used it.”

48. Taken together, these two categories of responses (along with some other smaller categories)47
     indicate that nearly 39 percent, or more than a third of respondents in the Disclosure Survey
     explicitly described having the agency to identify the right tax preparation product for their
     particular tax situation and preferences (see Exhibit 5).

49. Further, open-ended responses also indicated that respondents that did elect to upgrade
     understood that the specifics of their tax situation required an upgrade. After indicating which
     product they would be most likely to select in question Q8, I asked respondents for the
     “reasoning behind [their] decision,” to better understand their motivation for choosing a
     particular product. As described in Appendix G, two coders analyzed the open-ended answers
     for respondents who indicated that they would most likely select a Paid product version of
     TurboTax, and categorizing the responses into groups with other similarly-indicated answers.48
     Indeed, the majority of respondents who chose to upgrade to Paid products (e.g., Deluxe,
     Premier, Self-Employed) indicated that they did so because of their particular tax situation (47




47
     The coders categorized 5 percent of responses to Q6 as likely to “delete account / exit site” after seeing the
     upgrade prompts, 3 percent as likely upgrade due to their “Tax Situation,” and another 1 percent as likely
     “upgrade after conducting research.” Accounting for responses that were coded as more than one category (e.g.,
     the 14 responses to Q6 coded as both “delete account / exit the site” and “consider other alternatives”), these
     five categories collectively capture 39 percent of respondents. See Exhibit 5.
48
     Under my instruction, a team of two independent coders reviewed the open-ended responses to Q6 and Q9 (for
     specific subsets of respondents). Appendix G contains the full set of instructions provided to the coders.




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     percent), their preference for and/or trust in the Intuit products (35 percent), or because of the
     value/price point (9 percent) (see Exhibit 6).49 For example:

                 “My taxes aren't especially complicated, but I have a few other issues (like student
                  loan interest) that make it more complicated than a simple return can do. The next
                  step up is the one that normally makes the most sense for me.”

                 “I believe it best suits my needs. I would rather pay to have my taxes done easily
                  rather than try a different product or use the IRS program which may cause errors.”

                 “Because I'm a homeowner and I itemize my deductions”

                 “I have been using TurboTax Deluxe for many years now so I know that it is best
                  suited to my tax situation.”

                 “Although it will cost a bit more money, I trust that TurboTax Deluxe would be
                  worth it in the long run by providing me with simplified taxes.”

                 “I like having the best support and tax version possible. the deluxe version also
                  helps in the case of an audit so it is a piece of mind.”

                 “The deluxe seems to have a number of extra help pieces that aren't available with
                  the free version. Also it isn't unreasonably priced.”

                 “It adjusts to my needs. It is a good value for my money”

     Such responses indicate that consumers reflect on their experiences and information beyond
     what is presented by TurboTax in an upgrade screen when choosing a tax preparation method.

50. Lastly, I also asked the coders to highlight responses to Q6 and Q9 where the responses
     suggested that respondent would upgrade but only because they “had to” or “couldn’t use Free
     Edition,” i.e., they felt they had no other choice.50 The coders identified only 11 respondents


49
     In the Reduced Information Screen Group, 8 percent of respondents that selected an upgrade to TurboTax
     Deluxe, Premier, or Self-Employed explained their choice in a way that implied feeling as if they had “no other
     choice.” In comparison, 5 percent of respondents in the Current Screen Group that selected an upgrade to a
     TurboTax Paid products, explained their choice in a similar way. See Exhibit 6.
50
     As discussed previously, the Disclosure Survey is a simplified exercise that does not pre-screen for respondents
     with a particular tax situation. As a consequence of this simplified approach, it may be that some respondents
     could indeed use Free Edition in the actual world and others may simply be disappointed to learn that they do
     not qualify for a free product.



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     out of 751 (1 percent) in Q6 and 20 respondents out of 325 (6 percent) in Q9 whose answers
     could be interpreted in this manner (see Exhibits 5 and 6). Thus, it is unlikely that reasonable
     consumers who see an upgrade message on TurboTax believe that they must continue with the
     TurboTax software in order to prepare their taxes or that the IRS requires them to do so.

              iii. Sensitivity Analyses

51. To confirm that my results are robust, I performed additional sensitivity analyses, i.e., analyses
     with select sets of respondents that let me examine the stability of my survey results across
     different sub-groups of respondents.51 For example, I performed the same analyses of product
     selections across the three study groups based on the 455 respondents who indicated in F1,
     “Yes, I paid for online tax software to file my taxes” in 2019 or 2020 (Exhibit 7.A) As
     discussed above, I still find no statistically significant difference in respondents’ selection of
     the IRS Free File Program across groups. I do find a small but statistically significant difference
     in respondents’ selection of Paid products between the Current Screen (63 percent) and
     Reduced Information Screen Groups (52 percent); this is consistent with my expectation that
     respondents who have previously paid for online tax preparation software will expect more
     guidance and support through the tax preparation process and illustrates that Intuit’s incentives
     are to communicate information clearly with taxpayers.52

52. I also performed the same analyses of product selection distribution between the three study
     groups, but excluded the 120 respondents who indicated in F2 that they were aware of “at least
     one media report, investigation, or lawsuit.”53 (See Exhibit 7.B) This sensitivity analysis did


51
     See backup calculations for a complete set of results to my sensitivity analyses. I performed the same analyses
     of tax product selection (based on Q7 and Q8), but: (1) excluded respondents who did not pay or were unsure if
     they paid to prepare their taxes in 2019 or 2020; (2) excluded respondents who were aware of “at least one
     media report, investigation, or lawsuit” and (3) excluded respondents who completed the survey in under 3
     minutes or over 30 minutes.
52
     See also, Deposition of Catherine Goode, In the Matter of TurboTax, Inc., October 23, 2020, pp. 192, 194-195;
     and Deposition of Jack Rubin, In the Matter of TurboTax, Inc., October 30, 2020, pp. 208-209. The rate of
     selecting a Paid TurboTax product is slightly higher for the Enhanced Information Screen Group, although the
     difference is not statistically significant.
53
     Specifically, in response to F2 (“Are you or are you not aware of any media reports, investigations, or lawsuits
     involving an online tax software provider or accounting company?”), 120 respondents indicated they were
     aware of “at least one media report, investigation, or lawsuit,” 545 respondents indicated they were not aware of
     “any media reports, investigations, or lawsuits,” and 86 respondents indicated they didn’t know / were unsure
     whether they were aware of “any media reports, investigations, or lawsuits.”



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   not change my results; I still find no statistically significant difference in respondents’ selection
   of Paid TurboTax products across the three groups, and no statistically significant difference
   in respondents’ selection of the IRS Free File Program between the Current Screen and
   Enhanced Information Screen Groups.

53. Similarly, I also performed a sensitivity analysis with respondents who took a longer or shorter
   amount of time to complete the survey. Specifically, I excluded those respondents who took
   the survey in either under 3 minutes or over 30 minutes based on the distribution of time-to-
   complete for all respondents. This resulted in the exclusion of 56 respondents, and I similarly
   compared the distribution of tax preparation products selected across the three survey groups
   with the remaining sample (see Exhibit 7.C). I still find no statistically significant difference
   in respondents’ selection of Paid TurboTax products across the three groups, and no
   statistically significant difference in respondents’ selection of the IRS Free File Program
   between the Current Screen and Enhanced Information Screen Groups. The results of these
   sensitivities do not change my findings.




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                         APPENDIX D.1
                   DISCLOSURE SURVEY SCRIPT
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                                        Programmer Instructions

[PROGRAMMER NOTES IN BOLD CAPS AND IN BRACKETS.]
[FOR CLOSE-ENDED QUESTIONS, DO NOT ALLOW RESPONDENT TO CLICK
“CONTINUE” WITHOUT CHOOSING AN ANSWER OPTION. FOR OPEN-ENDED
QUESTIONS, DO NOT ALLOW RESPONDENT TO CLICK “CONTINUE” WITHOUT
TYPING IN AN ANSWER OR CHOOSING ANOTHER ANSWER OPTION IF PRESENT.]
[ROTATE ORDER OF YES/NO ANSWERS IN THE FIRST INSTANCE OF A YES/NO
QUESTION. USE THE SAME ORDER FOR ALL OTHER YES/NO QUESTIONS WITHIN
EACH RESPONDENT.]
[DISABLE THE BROWSER “BACK” BUTTON.]
[QUALIFYING RESPONDENTS WILL BE RANDOMLY ASSIGNED TO ONE OF THREE
GROUPS: TEST GROUP 1 (“CURRENT”), TEST GROUP 2 (“ENHANCED”), AND CONTROL
(“REDUCED INFO”) GROUP.]
[TEXT FOR TERMINATES: “THANK YOU FOR YOUR INTEREST IN OUR STUDY. WE ARE
NO LONGER LOOKING FOR PEOPLE WHO MATCH YOUR CHARACTERISTICS. WE
APPRECIATE YOUR TIME.”]

Introduction and Screening
[NO SURVEY/SECTION TITLES TO BE DISPLAYED TO RESPONDENTS.]
[750 COMPLETES (250 IN EACH GROUP) FROM A 18+ NATIONAL SAMPLE]
[PANEL MEMBERS WHO START THE SURVEY AND ANSWER QUESTIONS S2-S5
SHOULD BE MATCHED TO THE CENSUS ON AGE, GENDER, AND REGION
DISTRIBUTION IN THE UNITED STATES.]
[DETECT DEVICE RESPONDENT IS USING; IF IT’S A SMARTPHONE OR OTHER MOBILE
DEVICE (NOT A DESKTOP, LAPTOP, OR TABLET COMPUTER), INSTRUCT TO LOG
BACK IN WITH APPROVED DEVICE WITH THE MESSAGE: “Sorry, your device cannot be used
for this survey. Please close this window and go to a desktop, laptop computer, or tablet device to take the
survey to maximize your window. Once you are at one of these devices, click on the same link to take the
survey.”]

[EACH QUESTION ON A NEW PAGE UNLESS OTHERWISE SPECIFIED]

S0. Digital fingerprinting

S1. Captcha

Thank you for your participation in our study. All your answers will remain confidential. Please try to
answer all questions to the best of your ability. We are interested in your opinions and reactions. There
are no right or wrong answers, and we will not try to sell you anything based on your answers. Please do
not consult any outside sources (e.g., internet or phone) while taking the survey.

If you do not know, do not recall, are unsure, or have no opinion, please do not try to guess and simply
select the “Don’t Know / Don’t Recall / Unsure” option.


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The “Back” button on your browser has been disabled for the duration of the survey. Please do not use it
while taking the survey.


        □   If you understand these instructions and agree to participate in this survey, please check this
            box and click “Continue” to continue.

S2. How old are you? (Select only one option) [RANDOMIZE BETWEEN THIS ORDER AND
REVERSE; KEEP “PREFER NOT TO ANSWER” LAST]
       □ Under 18 years old [TERMINATE]
       □ 18 – 29 years old
       □ 30 – 39 years old
       □ 40 – 49 years old
       □ 50 – 59 years old
       □ 60 years or older
       □ Prefer not to answer [TERMINATE]
[TERMINATE IF AGE DOES NOT MATCH THE VALUE ON FILE]

S3. Please indicate your gender: (Select only one option) [RANDOMIZE “FEMALE” AND “MALE”]
        □ Female
        □ Male
        □ Prefer not to answer [TERMINATE]
[TERMINATE IF GENDER DOES NOT MATCH THE VALUE ON FILE]

S4. In which state do you currently reside? (Select only one option)
[INSERT DROP DOWN MENU FOR STATE]



S5. Are you or any of your family members employed by…? (Select all that apply) [RANDOMIZE
ORDER; KEEP “NONE OF THE ABOVE” LAST]
        □ A home hardware or power tools manufacturer, distributor, or retailer
        □ An electronics manufacturer, distributor, or retailer
        □ A university or school
        □ A food manufacturer, distributor, or retailer
        □ An accounting, tax, or a tax preparation service provider company [TERMINATE]
        □ A marketing, market research, or advertising agency [TERMINATE]
        □ Your state or the federal government [TERMINATE]
        □ None of the above [EXCLUSIVE]
[THOSE WHO ARE ASKED S5 SHOULD BE MATCHED TO THE CENSUS ON AGE,
GENDER, AND REGION]

S6. Have you taken any surveys in the last 30 days on any of these topics? (Select all that apply)
[RANDOMIZE ORDER; KEEP “NONE OF THE ABOVE” LAST]
       □ Sporting goods or outdoor gear
       □ Advertisements on TV
       □ Accounting or tax services [TERMINATE]


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        □   Clothing
        □   Video games
        □   Cosmetics
        □   Shopping at retail stores
        □   None of the above [EXCLUSIVE]

S7. Did you file taxes in 2019 (for 2018 income)? (Select only one option) [RANDOMIZE ORDER;
USE THE SAME ORDER FOR ALL OTHER YES/NO QUESTIONS WITHIN EACH
RESPONDENT]
        □ Yes
        □ No
        □ Don’t recall / Unsure
[GO TO S8 IF “NO” OR “DON’T RECALL/ UNSURE” IS SELECTED. OTHERWISE SKIP TO
S9]

S8. Did you file taxes in 2020 (for 2019 income)? (Select only one option) [USE THE SAME ORDER
AS S7]
        □ Yes
        □ No [TERMINATE]
        □ Don’t recall / Unsure [TERMINATE]

S9. Thinking about your taxes filed in [if S7=YES, “2019” or if S8=YES, “2020”], how did you prepare
your taxes? (Select only one option) [RANDOMIZE ORDER]
        □ I used an online tax software to file my/our household taxes
        □ I worked with a third party provider to file my/our household taxes (e.g., I worked with a tax
            accountant, CPA, retail store) [TERMINATE]
        □ I self-prepared and filed my/our household taxes on paper [TERMINATE]
        □ Other [TERMINATE]
        □ Don’t recall / Unsure [TERMINATE]


S10. Thinking of your taxes filed in [if S7=YES, “2019” or if S8=YES, “2020”], which of the following
best describes your role? (Select only one option) [RANDOMIZE ORDER, AS IS AND REVERSE;
KEEP “DON’T RECALL / UNSURE” LAST]
        □ I was the party primarily responsible for preparing my/our household taxes
        □ I was substantially involved in preparing my/our household taxes
        □ I had little involvement in preparing my/our household taxes [TERMINATE]
        □ Don’t recall / Unsure [TERMINATE]

S11. You indicated that you used online tax software to file your taxes in [if S7=YES, “2019” or if
S8=YES, “2020”]. Which of the following online tax software providers have you used in the past 5
years? (Select all that apply) [RANDOMIZE ORDER]
        □ TurboTax
        □ TaxAct
        □ TaxSlayer
        □ H&R Block
        □ FreeTaxUSA
        □ Other
        □ Don’t recall / Unsure


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S12. For quality control purposes, please select “Fourth” from the list below. (Select only one option)
[RANDOMIZE ORDER]
       □ First [TERMINATE]
       □ Second [TERMINATE]
       □ Third [TERMINATE]
       □ Fourth
       □ Fifth [TERMINATE]


[RECORD IF THE RESPONDENT QUALIFIES OR NOT. THE 750 COUNT (250 PER GROUP)
SHOULD BE OF QUALIFIED RESPONDENTS. FOR NON-QUALIFYING RESPONDENTS,
DISPLAY PANEL’S TERMINATION PAGE. RANDOMLY ASSIGN QUALIFYING
RESPONDENTS TO EITHER THE TEST 1, TEST 2, OR CONTROL GROUP, A MINIMUM OF
250 RESPONDENTS PER GROUP.]




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Main Questionnaire

Q1. Thank you! In this survey, we would like to learn about your experience with online tax software
providers. In the following questions, we will ask you about one online tax software provider and will try
to learn from your experiences or expectations.
Q2. You have been selected to answer questions about preparing and filing tax returns with TurboTax.
Please imagine that you are preparing to file your income taxes for last year’s income and view the
following advertisement for TurboTax’s online tax software.
[SHOW ADVERTISEMENT IMAGE ON PAGE. RESPONDENTS SHOULD NOT BE ABLE TO
SKIP VIEWING THE IMAGE.

THERE SHOULD BE A 10 SECOND DELAY BEFORE THE “CONTINUE” BUTTON
APPEARS. A COUNT-DOWN SHOULD BE PRESENTED UNDER THE ADVERTISEMENT
WITH THE FOLLOWING TEXT: “The “Continue” button will appear in X seconds.” (THIS TEXT
SHOULD BE REMOVED WHEN X=0) FOLLOWED BY “Click “Continue” when ready.”]




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Q3. Please imagine that you visit TurboTax’s website and are presented with the following product
information screen.
[SHOW IMAGE ON PAGE. RESPONDENTS SHOULD NOT BE ABLE TO SKIP VIEWING
THE IMAGE. ALLOW RESPONDENTS TO ZOOM IN AND OUT ON THE PAGE.

THERE SHOULD BE A 10 SECOND DELAY BEFORE THE “CONTINUE” BUTTON
APPEARS. A COUNT-DOWN SHOULD BE PRESENTED WITH THE FOLLOWING TEXT:
“The “Continue” button will appear in X seconds.” (THIS TEXT SHOULD BE REMOVED WHEN
X=0) FOLLOWED BY “Click “Continue” when ready.”]




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Q4. Please assume you choose to learn more about TurboTax’s “Free Edition” product to prepare and file
your federal and, if needed, state tax returns. You click on the “Learn more” button for the Free Edition
product and are directed to the following webpage.
Scroll to the bottom of the page to select the “Continue” button.
[SHOW THE FREE EDITION LANDING PAGE IMAGE BELOW AS A SCROLLABLE
EMBEDDED IMAGE. RESPONDENTS SHOULD VIEW AND SCROLL TO THE BOTTOM OF
THE IMAGE IN ORDER TO CLICK “CONTINUE.” ALLOW RESPONDENTS TO ZOOM IN
AND OUT IN THE POP-UP WINDOW.
THERE SHOULD BE A 10 SECOND DELAY BEFORE THE “CONTINUE” BUTTON
APPEARS. A COUNT-DOWN SHOULD BE PRESENTED WITH THE FOLLOWING TEXT:
“The “Continue” button will appear in X seconds.” (THIS TEXT SHOULD BE REMOVED WHEN
X=0) FOLLOWED BY “Click “Continue” when ready.”]




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Q5. Imagine you choose to use TurboTax’s “Free Edition” product to begin preparing your tax returns.
Upon creating or logging into your TurboTax account and responding to a series of questions on
successive windows about your personal information, tax situation, and income, you are prompted with a
screen with some information.
You will view this screen on the next page. Please examine the contents in the image as if you were on
TurboTax’s website deciding about your tax filing options. You can look at the image for as long as you
like. You may also click on the image to enlarge.
[STIMULI: ONCE RESPONDENTS CLICK CONTINUE, SHOW ONE IMAGE TO THE
APPROPRIATE GROUP ON THE NEXT PAGE. RESPONDENTS SHOULD NOT BE ABLE TO
SKIP VIEWING THE IMAGE.
ON THE PAGE WITH THE IMAGE, THERE SHOULD BE A 10 SECOND DELAY BEFORE
THE “CONTINUE” BUTTON APPEARS. A COUNT-DOWN SHOULD BE PRESENTED WITH
THE FOLLOWING TEXT: “The “Continue” button will appear in X seconds.” (THIS TEXT
SHOULD BE REMOVED WHEN X=0) FOLLOWED BY “Click “Continue” when ready.”]
RESPONDENTS SHOULD BE ABLE TO CLICK ON THE IMAGE TO ENLARGE IN A POP-
UP WINDOW.

THE STIMULI SHOWN TO THE RESPONDENT SHOULD REMAIN AVAILABLE TO THE
RESPONDENT UNTIL THE END OF THE MAIN QUESTIONNAIRE IN THE FORM OF
CLICKABLE THUMBNAILS ABOVE THE QUESTION TEXT. IF THE THUMBNAIL IS
CLICKED, THE IMAGE SHOULD APPEAR IN A FULL-SCREEN POP-UP WINDOW.
IMMEDIATELY BELOW THE THUMBNAIL AND ABOVE EACH QUESTION WHERE THE
THUMBNAIL IS DISPLAYED, INSERT THE INSTRUCTION. “Please click the X in the upper
right corner to return to the survey.”]




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TEST GROUP 1 (N=250 RESPONDENTS) - CURRENT




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TEST GROUP 2 (N=250 RESPONDENTS) - ENHANCED




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CONTROL GROUP (N=250 RESPONDENTS) - REDUCED INFO




Q6. Again, imagine that you choose to use TurboTax’s “Free Edition” product to begin preparing your tax
returns. Upon creating or logging into your TurboTax account and responding to a series of questions on
successive windows about your personal information, tax situation, and income, you are prompted with
some information in the screen above. In your own words, what would you do next upon seeing this
screen?


[OPEN-ENDED QUESTION, PROVIDE APPROPRIATE SPACE FOR ANSWER]


Q7. You may have already indicated this, but which of the following options would you consider using to
file your taxes upon seeing this prompt? (Select all that apply) [RANDOMIZE ORDER; KEEP
TURBOTAX OPTIONS TOGETHER AND RANDOMIZE ORDER, AS IS AND REVERSE;
KEEP “OTHER” AND “DON’T KNOW / UNSURE” TOGETHER AND LAST; MAKE “DON’T
KNOW/UNSURE” OPTION MUTUALLY EXCLUSIVE FROM ALL OTHER OPTIONS]
       □   TurboTax Free Edition
       □   TurboTax Deluxe
       □   TurboTax Premier
       □   TurboTax Self-Employed
       □   IRS Free File Program
       □   Other Online Filing Options (e.g., H&R Block, TaxAct, TaxSlayer)
       □   Accountant Supported Paper Filing
       □   Self-Filed Paper Filing

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        □   Other
        □   Don’t know / Unsure [SKIP TO F1]

Q8. Of the option(s) you mentioned you would consider in the previous question, which of the following
options would you most likely select upon seeing this prompt? (Select only one option) [THE ANSWER
OPTIONS WOULD BE LIMITED TO THOSE SELECTED BY EACH RESPONDENT IN
RESPONSE TO Q7 AND “Don’t know / Unsure”]


Q9. What is the reasoning behind your decision? Why did you select [INSERT ANSWER FROM Q8]?
[OPEN-ENDED QUESTION, PROVIDE APPROPRIATE SPACE FOR ANSWER]


Follow-up Question

[REMOVE POP UP WINDOW]


F1. Did you or did you not pay for online tax software to file your taxes in [if S7=YES, “2019” or if
S8=YES, “2020”]?
        □   Yes, I paid for online tax software to file my taxes
        □   No, I did not pay for online tax software to file my taxes
        □   Don’t recall / Unsure


F2. Are you or are you not aware of any media reports, investigations, or lawsuits involving an online tax
software provider or accounting company? (Select only one option)
        □   I am aware of at least one media report, investigation, or lawsuit
        □   I am not aware of any media reports, investigations, or lawsuits
        □   Don’t know / Unsure


[GO TO PANEL ‘THANK YOU’ PAGE]




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                         APPENDIX D.2
                DISCLOSURE SURVEY SCREENSHOTS
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                        APPENDIX E
              PRETEST MODERATOR INSTRUCTIONS
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                                      Pretest Moderator Instructions

The pretest sample will include respondents who meet the study screening criteria. A minimum of ten
pretest interviews will be conducted over the phone by a trained, blind-to-the-purpose interviewer with
blind-to-the-purpose respondents at Analysis Group.

Notes to moderator are in brackets, bolded, and all capital letters.

[Section I: Introduction and Questionnaire]
[MODERATOR TO READ]

Hello, [FIRST NAME]? My name is ______. Thank you so much for agreeing to take this survey today.
I am going to be on the phone while you take an online survey. I will be on the phone the entire time you
are taking the survey, so feel free to “think out loud” or bring up anything you would like while you are
taking the survey. Please be thorough in your responses and take as much time as you need. After you are
done taking the survey, I will ask you a couple of follow-up questions. Does that all sound okay?

[ALLOW THE RESPONDENT TO TAKE THE SURVEY AND FINISH]

[Section II: Follow-up Questions]
[QUESTIONS TO ASK AFTER THE RESPONDENT FINISHED RESPONDING TO ALL
SURVEY QUESTIONS AND INDICATES SO. ADD PROBES SUCH AS “ANYTHING ELSE”
TO CONFIRM THAT RESPONDENTS HAVE GIVEN A COMPLETE ANSWER.]




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Date/time of pre-test: ____________________

Treatment group: ____________________

Length of time to complete survey: ____________________

General notes during survey, if any:




Q1. Did you have any problems while taking the survey?




Q2. Did you think any questions were unclear? If so, which ones and why?




Q3. Did you think any answer options were unclear? If so, which ones and why?




Q4. Did you or did you not have any difficulty viewing the image(s)?



Q5. What do you think might be the purpose for conducting this survey?




Q6. What makes you think so?




Q7. Is there anything else you would like to say about the survey?




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                           APPENDIX F
                  DYNATA INVITE AND MATERIALS
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                          APPENDIX G
                INDEPENDENT CODER INSTRUCTIONS
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                                      Coding Instructions

You are being asked to be one of two coders of an online survey conducted for market research.
In this research, 750 respondents were asked two open-ended questions. We are asking you, in
your role as a coder, to carefully review and categorize their responses.
Each respondent was assigned to one of three groups: test group 1, test group 2, or control.
Depending on the assigned group, each respondent viewed a certain stimulus. They were then
asked a series of questions about how they would respond based on the information contained in
the stimulus they viewed. The stimuli and script of the survey will be provided to you before you
review any of the survey responses.
General Instructions

   1) You will be responsible for coding open-ended answers to survey questions (i.e.,
   assigning them to categories or “buckets” of responses). According to the descriptions
   provided to you for each category, you will assign each answer to a category using a “1” if
   the answer contains the content of interest and a “0” if it does not contain the content of
   interest. On the pages that follow, you will see the questions, coding instructions,
   descriptions for categories, and examples of how they are answered, and how one might code
   those responses.

   2) You will be assigned to review open-ended answers to two questions (Q6 and Q9). For
   Q6, you will be given a single spreadsheet with all respondents’ answers to that question and
   pre-defined categories. For Q9, you will receive one spreadsheet with the answers to that
   question from a subset of respondents, along with pre-defined categories.

   [See descriptions of categories on the following pages]

   3) Your job is to categorize each open-ended answer into the relevant bucket(s) using either
   a “0” or a “1”. In order to do so, you are instructed to follow the steps explained below to
   categorize responses:

           a. Each coder will review responses to the open-ended questions for the first 100
              respondents independently. Each coder will also review the pre-defined categories
              and you will meet with each other to discuss the list of pre-defined categories and
              propose modifications, if needed. Please judge whether new categories are
              needed, whether categories should be combined, or whether categories should be
              disaggregated. You will decide on one list of categories together.

           b. Once the list of categories is confirmed, you will independently review the open-
              ended answers and assign each response to one of the categories using flags of
              “0” or “1”. You will assign the answer to “1” if the answer contains the content
              of interest and will assign the answer to “0” if it does not contain the content of
              interest. Ideally, a response should be assigned to the category that best fits the
              response. But you may code an answer to more than one category as appropriate.
              Descriptions of the answer categories and some suggested keywords for each

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          category are provided to you as guidelines but you are welcome to suggest and
          incorporate additional keywords based on your review.

       c. After both coders have categorized the respondents using the agreed upon list of
          categories, you will meet to resolve (“tiebreak”) any differences in coding. In the
          case of disagreement, you will jointly recode the response in question while
          keeping track of each coder’s initial categorizations and the final categorizations.


4) Use only one code (“0” or “1”) for each open-ended answer and response bucket.

5) Do not rush – take your time. Read the question and answer twice before deciding on a
code.

6) Respondents may misspell an answer. For example, a respondent might type “Bostan”
when s/he meant “Boston.” You are to use your judgment of what the respondent meant
when typing the answer.

7) Use your own judgment – do NOT consult with anyone else. This is very, very
important.




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You will be coding answers to the following questions:

Q6. Again, imagine that you choose to use TurboTax’s “Free Edition” product to begin preparing
your tax returns. Upon creating or logging into your TurboTax account and responding to a
series of questions on successive windows about your personal information, tax situation, and
income, you are prompted with some information in the screen above. In your own words, what
would you do next upon seeing this screen?

Q9. What is the reasoning behind your decision? Why did you select [TurboTax
Deluxe/TurboTax Premier/TurboTax Self-Employed]?

For Q9, you will receive one spreadsheet that includes three subsets of respondents (1)
Respondents who selected TurboTax Deluxe, (2) Respondents who selected TurboTax Premier,
and (3) Respondents who selected TurboTax Self-Employed. This spreadsheet includes pre-
defined categories relevant to these subsets.


You will be coding whether the answers reference products associated with TurboTax. Before
you start coding, please spend 10 minutes reviewing the TurboTax products page:

https://turbotax.intuit.com/personal-taxes/online/

Click around the website to familiarize yourself with TurboTax’s products. Then proceed to
coding the pre-defined categories for each response as follows:

Question 6: Categories and descriptions

Please note that relevant keywords for each category are provided as guidelines. You are
welcome to suggest and incorporate additional keywords based on your review and provide
feedback on any of the keywords below.

Also, in the Don’t Upgrade - Consider Other Alternatives category, please record the product
mentioned by the respondent, if specified in their answer to Q6.

   1. Upgrade
       1.1. No other information provided:
            -   Description: Respondents who simply wrote “upgrade” with no additional information
                provided
            -   Relevant keywords: “upgrade” and any common misspellings, exclude responses that
                contain “don’t upgrade” or “wouldn’t upgrade”
       1.2. Follow instructions:
            - Description: Respondents who indicate they would upgrade because of the prompt
            - Relevant keywords: “instructions” “prompt” “agree”


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   1.3. Tax situation:
       -    Description: Respondents who indicate they would upgrade because of their special tax
            situation and needs
       -    Relevant keywords: “1099” “personal” “investment” “multiple sources” “self-employed”
   1.4. Brand and value:
       -    Description: Respondents who indicate they would upgrade because of a preference for
            or loyalty to TurboTax products
       -    Relevant keywords: “last year” “always” “prefer” “I’ve used” “value”
   1.5. Upgrade after conducting research:
       -    Description: Respondents who indicate they would likely upgrade after reviewing their
            options or conducting further research
       -    Relevant keywords: “research the recommended upgrade” “compare options” AND
            “TurboTax”
   1.6. No other choice:
       -    Description: Respondents who indicate they would upgrade because they “have to” or
            “have no choice”
       -    Relevant keywords: “have to upgrade” “need to upgrade” “must upgrade”
2. Don’t upgrade
   2.1. No other information provided:
       -    Description: Respondents who simply wrote “don’t upgrade” with no additional
            information
       -    Relevant keywords: “don’t upgrade” “wouldn’t upgrade” “do not upgrade”
   2.2. Free Edition:
       -    Description: Respondents who indicate they believe their taxes are simple and would
            remain with the Free Edition product
       -    Relevant keywords: “stick to free” “have simple taxes” “simple income” and “free”
   2.3. Delete account / Exit the site:
       -    Description: Respondents who indicate they will not upgrade and that they would delete
            their TurboTax account or exit the TurboTax site.
       -    Relevant keywords: “delete” “leave the website” “close” “get out” “quit”
   2.4. Consider other alternatives:
       -    Description: Respondents who indicate they will not upgrade and that they would
            research, consider, or choose other alternatives, including TurboTax Free File and/ or
            competitors’ (free or paid) offerings

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           -   Please also specify: Generic alternatives, TurboTax Free File, IRS Free File, H&R
               Block, TaxAct, TaxSlayer, etc.
           -   Relevant keywords: “H&R Block” “Other tax programs” “TaxAct” “TaxSlayer”
               “alternatives” “different service” “another tax service/software” “go to another”
               “another vendor”
   3. Unclear Whether Upgrade or Not Upgrade
       3.1. Unclear Next Steps:
           -   Description: Respondents who do not indicate whether they would or would not upgrade
           -   Relevant keywords: “do nothing” “maybe” “either”
       3.2. Respondent Unsure:
           -   Description: Respondents who indicate they are unsure whether they would or would not
               upgrade
           -   Relevant keywords: “unsure” “don’t know”

   4. Additional Research / Consideration:
           -   Description: Respondents who do not specify whether they would or would not upgrade,
               but specify that they will conduct additional research or consider their options
           -   Relevant keywords: “research other options” “read” “learn more” “learn more” “think
               more” “review” “consider which option”
   5. Follow Instructions Provided / Continue:
           -   Description: Respondents who do not specify whether they would or would not upgrade,
               but who indicate that they will follow the instructions on the site or continue in their
               usage of the TurboTax site
           -   Relevant keywords: “click link” “follow directions” “enter information” “keep going”

   6. Excluded:
           -   Description: Any response that does not belong to any of the categories defined above.
           -   Examples: “beautiful” “great” or random character strings

Question 9: Categories and descriptions

Please note that relevant keywords for each category are provided as guidelines. You are
welcome to suggest and incorporate additional keywords based on your review and provide
feedback on any of the keywords below.




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1. Respondents who selected TurboTax Deluxe/TurboTax Premier/TurboTax Self-Employed

   1.1. Tax situation:
           -   Description: Respondents who select TT Deluxe/TT Premier/TT Self-Employed because
               of their special tax situation and needs
           -   Relevant keywords: “income” “investment” “appropriate version” “tax circumstances”
               “form” “rental” “property” “fit my needs” “expenses” “complicated” “functionality”
               “relevant” “self-employed” “business” “fit my needs”
   1.2. Next Best Alternative:
           -   Description: Respondents who select TT Deluxe/TT Premier/TT Self-Employed because
               it is the next best alternative to TT Free Edition
           -   Relevant keywords: “next” “step up”
   1.3. Follow Instructions: Respondents who select TT Deluxe/TT Premier/TT Self-Employed
       because they are following the instructions in the prompt
   1.4. Brand / Preference:
           -   Description: Respondents who select TT Deluxe/TT Premier/TT Self-Employed because
               of a preference for or loyalty to TurboTax products
           -   Relevant keywords: “comprehensive” “features” “familiar” “trust” “extra help” “best”
               “used in past” “like” “best option” “faster”
   1.5. Value / Price Point:
           -   Description: Respondents who select TT Deluxe/TT Premier/TT Self-Employed because
               of the price or cost-effectiveness of the option they chose
           -   Relevant keywords: “value” “cheapest” “good price” “affordable” “good offer”
   1.6. No Other Choice:
           -   Description: Respondents who select TT Deluxe/TT Premier/TT Self-Employed because
               they “have to” or “have no choice”
           -   Relevant keywords: “can’t use”/“don’t qualify” AND “free” or “have to” “need to”
               “must”

   1.7. Excluded
           -   Description: Any response that does not belong to any of the categories defined above.
           -   Examples: “beautiful” “great” or random character strings




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